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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                                         Chapter 11

 PURDUE PHARMA L.P., et al.,                                    Case No. 19-23649 (RDD)

                  Debtors.1                                     (Jointly Administered)


       NOTICE OF FILING OF SIXTH PLAN SUPPLEMENT PURSUANT TO THE
        FIFTH AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION
            OF PURDUE PHARMA L.P. AND ITS AFFILIATED DEBTORS

          PLEASE TAKE NOTICE that on June 2, 2021, the above-captioned debtors and debtors

in possession (collectively, the “Debtors”) filed the Fifth Amended Joint Chapter 11 Plan of

Reorganization of Purdue Pharma L.P. and Its Affiliated Debtors [D.I. 2967] (as modified,

amended, or supplemented from time to time, the “Plan”). On June 2, 2021, the Debtors filed the



1
  The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034), Imbrium
Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven Seas Hill Corp.
(4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140), Purdue
Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc. (7805),
Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584), Rhodes
Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and SVC Pharma
Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser Boulevard, Stamford,
CT 06901.
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Disclosure Statement for Fifth Amended Joint Chapter 11 Plan of Reorganization of Purdue

Pharma L.P. and Its Affiliated Debtors [D.I. 2969] (as modified, amended, or supplemented from

time to time, the “Disclosure Statement”). Capitalized terms used but not otherwise defined

herein shall have the meanings ascribed to such terms in the Plan.

       PLEASE TAKE FURTHER NOTICE that the Plan and Disclosure Statement

contemplate the submission of certain documents (or forms thereof), schedules, and exhibits

(the “Plan Supplement”) in advance of the hearing on confirmation of the Plan

(the “Confirmation Hearing”).

       PLEASE TAKE FURTHER NOTICE that, on April 23, 2021, the Debtors filed the

Notice of Filing of Plan Supplement Pursuant to the First Amended Joint Chapter 11 Plan of

Reorganization of Purdue Pharma L.P. and Its Affiliated Debtors [D.I. 2732] (the “First Plan

Supplement”) in support of the Plan.

       PLEASE TAKE FURTHER NOTICE that, on April 25, 2021, the Debtors filed the

Notice of Filing of Second Plan Supplement Pursuant to the First Amended Joint Chapter 11 Plan

of Reorganization of Purdue Pharma L.P. and Its Affiliated Debtors [D.I. 2737] (the “Second Plan

Supplement”) in support of the Plan.

       PLEASE TAKE FURTHER NOTICE that, on May 15, 2021, the Debtors filed the

Notice of Filing of Third Plan Supplement Pursuant to the Second Amended Joint Chapter 11 Plan

of Reorganization of Purdue Pharma L.P. and Its Affiliated Debtors [D.I. 2867] (the “Third Plan

Supplement”) in support of the Plan.

       PLEASE TAKE FURTHER NOTICE that, on May 17, 2021, the Debtors filed the

Notice of Filing of Fourth Plan Supplement Pursuant to the Second Amended Joint Chapter 11




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Plan of Reorganization of Purdue Pharma L.P. and Its Affiliated Debtors [D.I. 2868] (the “Fourth

Plan Supplement”) in support of the Plan.

       PLEASE TAKE FURTHER NOTICE that, on May 26, 2021, the Debtors filed the

Notice of Filing of Fifth Plan Supplement Pursuant to the Fourth Amended Joint Chapter 11 Plan

of Reorganization of Purdue Pharma L.P. and Its Affiliated Debtors [D.I. 2938] (the “Fifth Plan

Supplement” and, together with the First Plan Supplement, the Second Plan Supplement, the

Third Plan Supplement, and the Fourth Plan Supplement, the “Plan Supplement”) in support of

the Plan.

       PLEASE TAKE FURTHER NOTICE that the Debtors hereby file the following revised

Plan Supplement documents:

        Exhibit A             Hospital Trust Distribution Procedures

        Exhibit A-1           Redline of Hospital Trust Distribution Procedures

        Exhibit B             NAS Monitoring Trust Distribution Procedures

        Exhibit B-1           Redline of NAS Monitoring Trust Distribution Procedures

        Exhibit E             TPP Trust Distribution Procedures

        Exhibit E-1           Redline of TPP Trust Distribution Procedures

        Exhibit G             National Opioid Abatement Trust Distribution Procedures

        Exhibit G-1           Redline of National Opioid Abatement Trust Distribution
                              Procedures
        Exhibit H             Tribe Trust Distribution Procedures

        Exhibit H-1           Redline of Tribe Trust Distribution Procedures

        Exhibit I             Non-NAS PI Trust Distribution Procedures




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        Exhibit I-1              Redline of Non-NAS PI Trust Distribution Procedures

        Exhibit J                NAS PI Trust Distribution Procedures

        Exhibit J-1              Redline of NAS PI Trust Distribution Procedures

Redlines filed herein reflect changes in each Plan Supplement document from the version filed on

May 26, 2021. Exhibits and Schedules of Plan Supplement documents without any change have

been omitted from Redlines.

       PLEASE TAKE FURTHER NOTICE that the forms of documents contained in the Plan

Supplement are integral to, and are considered part of, the Plan. If the Plan is confirmed, the

documents contained in the Plan Supplement will be approved by the Bankruptcy Court pursuant

to the order confirming the Plan.

       PLEASE TAKE FURTHER NOTICE that the Debtors reserve the right, subject to the

terms and conditions set forth in the Plan, to alter, amend, modify, or supplement any document

in the Plan Supplement; provided that if any document in the Plan Supplement is altered, amended,

modified, or supplemented in any material respect prior to the hearing to confirm the Plan, the

Debtors will file a blackline of such document with the Bankruptcy Court.

       PLEASE TAKE FURTHER NOTICE that copies of the Plan Supplement, the Plan, and

the Disclosure Statement may be obtained free of charge by visiting the website of Prime Clerk

LLC at https://restructuring.primeclerk.com/purduepharma. You may also obtain copies of any

pleadings by visiting the Bankruptcy Court’s website at http://www.nysb.uscourts.gov in

accordance with the procedures and fees set forth therein.

       PLEASE TAKE FURTHER NOTICE that copies of the Plan Supplement may be

obtained   free    of   charge      by   visiting   the   website   of   Prime   Clerk   LLC   at

https://restructuring.primeclerk.com/purduepharma. You may also obtain copies of any pleadings



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by visiting the Bankruptcy Court’s website at http://www.nysb.uscourts.gov in accordance with

the procedures and fees set forth therein.




Dated:   June 2, 2021
         New York, New York


                                             DAVIS POLK & WARDWELL LLP

                                             By: /s/ Eli J. Vonnegut

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                                             Counsel to the Debtors
                                             and Debtors in Possession




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                                       Exhibit A

                          Hospital Trust Distribution Procedures
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                                        HOSPITAL TRUST
                                   DISTRIBUTION PROCEDURES1

§ 1.    APPLICABILITY.

Pursuant to the plan of reorganization of Purdue Pharma L.P. and its Debtor affiliates
(the “Plan”)2 and the Master TDP, the following claims (“Hospital Channeled Claims”) shall be
channeled to and liability therefor shall be assumed by the Hospital Trust as of the Effective Date:
(i) all Hospital Claims, 3 which include all Claims against the Debtors held by providers of
healthcare treatment services or any social services, in their capacity as such, that are not
Domestic Governmental Entities, and (ii) all Released Claims and Shareholder Released Claims
held by providers of healthcare treatment services or any social services, in their capacity as such,
that are not Domestic Governmental Entities. Hospital Channeled Claims shall be administered,
liquidated and discharged pursuant to the Hospital Trust Documents, and satisfied solely from
funds held by the Hospital Trust as and to the extent provided in these distribution procedures
(this “Hospital TDP”). This Hospital TDP sets forth the manner in which the Hospital Trust
shall make Abatement Distributions to Holders of Hospital Channeled Claims (such Abatement
Distributions, “Hospital Abatement Distributions”) that satisfy the eligibility criteria for
Authorized Recipients set forth herein. Hospital Channeled Claims shall be fully discharged
pursuant to this Hospital TDP.

Hospital Authorized Recipients (as defined below) are required to use all funds distributed to
them from the Hospital Trust solely and exclusively for (i) the Authorized Abatement Purposes
set forth in § 7 or (ii) the payment of attorneys’ fees and costs of Holders of Hospital Channeled
Claims (including counsel to the Ad Hoc Group of Hospitals) (such Authorized Abatement
Purposes, collectively, “Hospital Authorized Abatement Purposes”).

§ 2.    CLAIMS ADMINISTRATION.

The Plan contemplates that the Hospital Trust will receive a total of $250 million over time, with
an initial payment of $25 million to the Hospital Trust on the Effective Date (the “Initial Hospital
Trust Distribution”) and five subsequent payments to the Hospital Trust from the Master
Disbursement Trust in the following amounts: (i) $35 million on July 31, 2022, (ii) $45 million
on July 31, 2023, (iii) $45 million on July 31, 2024, (iv) $50 million on July 31, 2025, and (v)




1
    These procedures are qualified by the terms of the Plan. Holders of Hospital Channeled Claims are strongly
    advised to review the Plan as well as all of the Hospital Trust Documents and the Debtors’ Disclosure Statement
    for additional information on the terms of the Plan and the treatment of Hospital Channeled Claims.
2
    Terms used but not defined herein shall have the meaning ascribed to them in the Plan.
3
    For the avoidance of doubt, “Hospital Claim” as defined in the Plan includes, without limitation, (i) the Claims
    set forth in the 1,030 Proofs of Claim filed by hospitals and the 150 Proofs of Claim filed by other treatment
    providers and (ii) Claims against the Debtors held by non-federal acute care hospitals as defined by the U.S.
    Centers for Medicare and Medicaid Services (“CMS”), and non-federal hospitals and hospital districts that are
    required by law to provide inpatient acute care and/or fund the provision of inpatient acute care.
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$50 million on July 31, 2026. 4 So long as he is able to serve as of the Effective Date, the
presumptive trustee of the Hospital Trust is Hon. Thomas Hogan (Ret.) (the “Trustee”). If Judge
Hogan is not able to serve, then a new Trustee will be selected in accordance with the Plan in
advance of the Effective Date by the Ad Hoc Group of Hospitals with the consent of the Debtors
(which consent shall not be unreasonably withheld, delayed or denied). 5 The Ad Hoc Group of
Hospitals is a group of certain Holders of Hospital Channeled Claims consisting of the Ad Hoc
Group of Hospitals identified in the Second Amended Verified Statement of the Ad Hoc Group of
Hospitals Pursuant to Bankruptcy Rule 2019 [D.I. 1536].

The Trustee shall have the power and authority to perform all functions on behalf of the Hospital
Trust, and shall undertake all administrative responsibilities as are provided in the Plan and the
Hospital Trust Documents.6 The Trustee shall be responsible for all decisions and duties with
respect to the Hospital Trust.7

The Trustee shall have the authority to determine the eligibility of Hospital Authorized
Recipients and the amount of Hospital Abatement Distributions made by the Hospital Trust. In
order to qualify as a Hospital Authorized Recipient and be eligible to receive a Hospital
Abatement Distribution, Holders of Hospital Channeled Claims must comply with the terms,
provisions and procedures set forth herein, including the Hospital Abatement Distribution Form
Deadline and the timely submission of all forms required pursuant hereto. The Trustee may
investigate any Hospital Channeled Claim, and may request information from any Holder of a


4
    In the event that any payment date is on a date that is not a Business Day, then the making of such payment may
    be completed on the next succeeding Business Day, but shall be deemed to have been completed as of the
    required date.
5
    The Hospital Trust Agreement shall provide that, in the event of a vacancy in the Trustee position, whether by
    term expiration, death, retirement, resignation, or removal, the vacancy shall be filled by the unanimous vote of
    the Hospital Trust Advisory Committee (the “TAC”); in the event that the TAC cannot appoint a successor
    Trustee, for any reason, the Bankruptcy Court shall select the successor Trustee.
6
    The Hospital Trust Agreement shall provide that the Trustee shall have the power to appoint such officers, hire
    such employees, engage such legal, financial, accounting, investment, auditing, forecasting, and other
    consultants, advisors, and agents as the business of the Hospital Trust requires, and delegate to such persons
    such powers and authorities as the fiduciary duties of the Trustee permit and as the Trustee, in its discretion,
    deem advisable or necessary in order to carry out the terms of the Hospital Trust, including without limitation
    the Delaware Trustee, and any third-party claims or noticing agent deemed necessary or convenient by the
    Trustee, and pay reasonable compensation to those employees, legal, financial, accounting, investment, auditing,
    forecasting, and other consultants, advisors, and agents employed by the Trustee after the Effective Date
    (including those engaged by the Hospital Trust in connection with its alternative dispute resolution activities).
7
    The Hospital Trust Agreement shall provide that: (i) the Trustee shall receive a retainer from the Hospital Trust
    for his or her service as a Trustee in the amount of $25,000 per annum, paid annually; (ii) hourly time shall first
    be billed and applied to the annual retainer; (iii) hourly time in excess of the annual retainer shall be paid by the
    Hospital Trust; (iv) for all time expended as a Trustee, including attending meetings, preparing for such
    meetings, and working on authorized special projects, the Trustee shall receive the sum of $525 per hour; (v) for
    all non-working travel time in connection with Hospital Trust business, the Trustee shall receive the sum of
    $275 per hour; (vi) all time shall be computed on a decimal (1/10th) hour basis; and (vii) the Trustee shall not
    be required to post any bond or other form of surety or security unless otherwise ordered by the Bankruptcy
    Court.



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Hospital Channeled Claim to ensure compliance with the terms set forth in this Hospital TDP,
the other Hospital Trust Documents and the Plan.

Pursuant to section 1123(b)(3)(B) of the Bankruptcy Code and applicable state corporate law, the
Trustee shall be and is appointed as the successor-in-interest to, and the representative of, the
Debtors and their Estates for the retention, enforcement, settlement or adjustment of the Hospital
Channeled Claims.

In accordance with Section 5.11(b) and (c) of the Plan, the Trustee shall receive copies of all
Proofs of Claims for the Hospital Claims on the Effective Date, and shall be entitled to make
reasonable requests to NewCo for additional information and documents reasonably necessary
for the administration of the Hospital Trust, which may include those medical, prescription or
business records of the Debtors related to the Hospital Channeled Claims, which records shall be
transferred to NewCo on the Effective Date.

§ 3.   QUALIFYING CERTIFICATION.

To qualify as a Hospital Authorized Recipient, a Holder of a Hospital Channeled Claim must
certify in its Hospital Abatement Distribution Form (as defined below) that:

       (a)     It adheres to the standard of care for the emergency department, hospital wards
               and outpatient clinics at the time of any prospective evaluation, diagnosis, and
               treatment of OUD, including with respect to the applicable standard of care for
               the treatment of addiction, acute withdrawal and treatment for OUD with
               medication assisted treatment; and

       (b)     It provides discharge planning and post-discharge care coordination for patients
               with OUD, including information for appropriate OUD treatment services.

A Holder of a Hospital Channeled Claim must demonstrate through the Requisite Hospital
Claims data that it has been damaged in the past and reasonably anticipates incurring additional
abatement expenses in the future arising from patients suffering from OUD; if it does not do so,
then it will not receive any Hospital Abatement Distribution.

§ 4.   ELIGIBILITY FOR HOSPITAL ABATEMENT DISTRIBUTIONS; NOTICES.

       (a)     Eligibility for Hospital Abatement Distributions

To qualify as a Hospital Authorized Recipient eligible to receive Hospital Abatement
Distributions from the Hospital Trust, each applicable Holder of a Hospital Channeled Claim
must:

               (i)    Have timely filed a Proof of Claim in the Debtors’ Chapter 11 case (that is,
                      on or before July 30, 2020); provided, that this requirement shall not apply
                      to a Holder of a Hospital Channeled Claim that (a) is listed on the national
                      registry of hospitals maintained by the American Hospital Directory®, as
                      in effect on the Effective Date and (b) is (x) a non-federal acute care
                      hospital as defined by CMS or (y) a non-federal hospital or hospital


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                          district that is required by law to provide inpatient acute care and/or fund
                          the provision of inpatient acute care;

                 (ii)     Timely submit the form attached hereto as Exhibit A (the “Hospital
                          Abatement Distribution Form”) containing:

                          A.       the certification set forth in § 3;

                          B.       a certification signed by the Holder of a Hospital Channeled Claim
                                   or its attorney attesting to the accuracy and truthfulness of the
                                   Holder of a Hospital Channeled Claim’s submission. Such
                                   certification must include an attestation that no data required for
                                   claims processing and distribution valuation, and no records or
                                   information that would reasonably be relevant to the valuation of
                                   the distribution, have been misrepresented or withheld; and

                          C.       the certification that the Holder of a Hospital Channeled Claim will
                                   comply with § 7 in its use of any funds distributed to it; and

                 (iii)    Provided all of the requisite claims data (as described in § 5 the “Requisite
                          Claims Data”) as part of a timely filed Proof of Claim or in connection
                          with submitting a Hospital Abatement Distribution Form.

Any Holder of a Hospital Channeled Claim who meets all of the above criteria (i)-(iii) (each, a
“Hospital Authorized Recipient”) shall qualify for Hospital Abatement Distributions, subject to
the limitations otherwise set forth herein; however, if such Holder does not meet such criteria,
then it will not qualify as a Hospital Authorized Recipient and will not receive any Hospital
Abatement Distributions. Any discrepancy as to whether a Holder of a Hospital Channeled
Claim qualifies as a Hospital Authorized Recipient pursuant to the criteria as set forth in this
§ 4(a) will be resolved by the Trustee.

Those Hospital Claims that are evidenced by timely filed Proofs of Claim in the Debtors’
Chapter 11 Cases (that is, for which Proofs of Claim were filed prior to or on the General Bar
Date of July 30, 2020, i.e., D.I. 1536) that contained all of the Requisite Claims Data for such
Hospital Claims have satisfied the requirements of §§ 4(a)(i) and 4(a)(iii), and shall be required
to submit only a Hospital Abatement Distribution Form that provides the certifications set forth
in § 4(a)(ii) to qualify for Hospital Abatement Distributions. 8

FOR AVOIDANCE OF DOUBT, FOR A HOLDER OF A HOSPITAL CHANNELED CLAIM
TO QUALIFY AS A HOSPITAL AUTHORIZED RECIPIENT AND BE ELIGIBLE TO
RECEIVE A HOSPITAL ABATEMENT DISTRIBUTION, SUCH HOLDER OF A HOSPITAL

8
    There are approximately 1,180 Hospital Claims believed to satisfy the requirements of §§ 4(a)(i) and 4(a)(iii),
    comprising approximately 1,030 Proofs of Claim filed by hospitals and 150 Proofs of Claim filed by other
    treatment providers; this Hospital TDP does not constitute an admission by the Trustee that such Proofs of
    Claim in fact contained all applicable Requisite Claims Data, and the Trustee reserves the right to request
    additional information from any Holder of a Hospital Channeled Claim before such Holder of a Hospital
    Channeled Claim is determined to be a Hospital Authorized Recipient.



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CHANNELED CLAIM MUST TIMELY SUBMIT A FULLY COMPLETED HOSPITAL
ABATEMENT DISTRIBUTION FORM BY OR BEFORE THE HOSPITAL ABATEMENT
DISTRIBUTION FORM DEADLINE (THAT IS, FORTY-FIVE (45) DAYS AFTER THE
DATE OF THE APPLICABLE HOSPITAL ABATEMENT DISTRIBUTION DEADLINE
NOTICE, AS SET FORTH HEREIN).

      (b)      Notices

               (i)     As soon as reasonably practicable after the Effective Date of the Plan, the
                       Trustee or the Claims Administrator, as applicable, shall cause a notice to
                       be served on each Holder of a Hospital Channeled Claim that (i) is listed
                       on the national registry of hospitals maintained by the American Hospital
                       Directory ®, as in effect on the Effective Date and (ii) is (x) a non-federal
                       acute care hospital as defined by CMS or (y) a non-federal hospital or
                       hospital district that is required by law to provide inpatient acute care
                       and/or fund the provision of inpatient acute care. Such notice shall
                       contain, among other things that the Trustee deems reasonable and
                       appropriate under the circumstances, (i) this Hospital TDP, including the
                       Hospital Abatement Distribution Form attached hereto, (ii) the URL for
                       the Debtors’ claims and noticing website where such Hospitals can locate
                       the Plan (https://restructuring.primeclerk.com/purduepharma), and (iii)
                       clear instructions for submitting a Hospital Abatement Distribution Form
                       to the Trustee, the deadline set forth in each such Hospital Abatement
                       Distribution Form for submitting the Hospital Abatement Distribution
                       Form being 45 days after the date of such notice.

               (ii)    Also as soon as reasonably practicable after the Effective Date, the Trustee
                       or the Claims Administrator, as applicable, shall cause a notice (each such
                       notice, and each notice delivered pursuant to § 4(b)(i) above, a “Hospital
                       Abatement Distribution Deadline Notice”) to be served on each of the
                       Holders of the approximately 1,180 Hospital Claims for which there are
                       timely filed Proofs of Claim, indicating whether such Proof of Claim
                       contained the Requisite Claims Data for such Hospital Claim, and
                       providing each such Holder of a Hospital Channeled Claim with 45 days
                       from the date of such notice to submit a Hospital Abatement Distribution
                       Form that complies with this § 4. Such notice shall make clear whether
                       the applicable Proof of Claim (i) contained the Requisite Claims Data (and
                       therefore such Holder of a Hospital Channeled Claim is required to
                       provide only the certifications set forth in § 4(a)(ii)) or (ii) did not contain
                       the Requisite Claims Data in its Proof of Claim (and therefore such Holder
                       of a Hospital Channeled Claim is required to satisfy both §§ 4(a)(ii) and
                       4(a)(iii) hereof when it submits its Hospital Abatement Distribution Form).

               (iii)   For any Holder of a Hospital Channeled Claim that receives a Hospital
                       Abatement Distribution Deadline Notice pursuant to §§ 4(b)(i) or 4(b)(ii)
                       hereof and submits a Hospital Abatement Distribution Form, and all of its
                       parts, by the applicable deadline (with respect to each such notice, the


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                      “Hospital Abatement Distribution Form Deadline”) and whose Hospital
                      Abatement Distribution Form is substantially complete but otherwise
                      defective in such a manner as to render such Holder of a Hospital
                      Channeled Claim ineligible to receive Hospital Abatement Distributions,
                      and to the extent such defect is determined by the Trustee to be curable,
                      the Trustee, as applicable, shall provide such Holder of a Hospital
                      Channeled Claim with notice of the defect and a reasonable period of time
                      following delivery of such notice for such Holder of a Hospital Channeled
                      Claim to cure such defective Hospital Abatement Distribution Form. The
                      Trustee shall exercise discretion in determining defect, curability and the
                      period of time in which a defect may be cured. Under no circumstance is
                      the Trustee obligated to send a notice of defect for Hospital Abatement
                      Distribution Forms that do not provide responses to the requirements set
                      forth under §§ 4(a)(ii) and 4(a)(iii).

               (iv)   Other than pursuant to the cure procedures set forth herein, any Holder of
                      a Hospital Channeled Claim that does not submit a Hospital Abatement
                      Distribution Form shall not qualify as a Hospital Authorized Recipient,
                      and any Holder of a Hospital Channeled Claim that submits a Hospital
                      Abatement Distribution Form after the Hospital Abatement Distribution
                      Form Deadline shall not qualify as a Hospital Authorized Recipient. No
                      Hospital Abatement Distribution Form shall be accepted after the Hospital
                      Abatement Distribution Form Deadline.

§ 5.   EVIDENCE FOR             DETERMINATION             OF     HOSPITAL        ABATEMENT
       DISTRIBUTIONS.

       (a)     To permit the Trustee to evaluate the amount each Hospital Authorized Recipient
               is to receive as a Hospital Abatement Distribution, and to the extent not already
               submitted in connection with its Proof of Claim, a Holder of a Hospital Channeled
               Claim must submit all of the following, non-exhaustive, data and types of
               documents, unless otherwise determined in the discretion of the Trustee in
               consultation with the TAC and consistent with § 4(b)(iii):

               (i)    A properly and fully completed Hospital Abatement Distribution Form,
                      with all its parts and requisite submissions, as established by the Trustee,
                      consistent with the requirements set forth in § 4; and

               (ii)   copies of all claims, complaints, proofs of claim, notices, settlement
                      documents, releases, recoveries, compensation received, or similar
                      documents that a Holder of a Hospital Channeled Claim submits or
                      entered into in respect of claims asserted against or to be asserted against
                      any other entity or person arising from or related to such Holder of a
                      Hospital Channeled Claim’s OUD program or related to any of the injuries
                      that underlie that claim presented to the Trustee.




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The Trustee may request additional information as reasonably necessary in the opinion of the
Trustee to determine the amount to be distributed to a Hospital Authorized Recipient. The
Trustee shall establish a reasonable timeframe in which a Hospital Authorized Recipient must
provide any requested information.

§ 6.    DETERMINATION OF HOSPITAL ABATEMENT DISTRIBUTION AMOUNTS.

        (a)      The Trustee (or its agents or representatives) shall review the timely submitted
                 Hospital Abatement Distribution Forms.

        (b)      The Trustee shall utilize (but shall have no rights in or to the intellectual property
                 contained in) the proprietary Legier Model and Algorithm (the “Model”),
                 prepared and operated by Legier & Company, apac, for determining the amount
                 of each Hospital Abatement Distribution. The amount of the Hospital Abatement
                 Distribution to be paid to each Hospital Authorized Recipient shall be determined
                 within 120 days after the applicable Hospital Abatement Distribution Form
                 Deadline or in a period of time determined by the Trustee to be most practicable.

        (c)      The Model shall determine the amount distributable to each Hospital Authorized
                 Recipient based on (1) the diagnostic codes associated with operational charges
                 incurred by the Hospital Authorized Recipient in connection with the treatment of
                 Opioid Use Disorder, (2) the portion of such charges that were not reimbursed,
                 and (3) the following distribution determination factors and weights: 9

                 (i)      Units of morphine milligram equivalents (MME) dispensed in the Hospital
                          Authorized Recipient’s service area (“Service Area”) during the period
                          January 1, 2006-December 31, 2014 (the “Measurement Period”) (to be
                          weighted at 10%);

                 (ii)     Opioid use disorder rates at the State level, pro-rated for each Hospital
                          Authorized Recipient (to be weighted at 10%);

                 (iii)    Opioid overdose deaths in the Hospital Authorized Recipient’s Service
                          Area (to be weighted at 8.75%)

                 (iv)     Operational impact calculated using the Model, to include opioid
                          diagnoses, and charge and reimbursement data (to be weighted at 35%);

                 (v)      Hospital Authorized Recipient’s opioid related patients as a percentage of
                          its total patients (to be weighted at 18.75%);

                 (vi)     17.5% for either



9
    The Model calculates a Hospital Authorized Recipient’s loss resulting from its treatment of patients with OUD
    and other opioid diagnoses, considering the total charges and collections for each, among other things, including
    a causation algorithm applied to each patient encounter.



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                        A.     such Hospital Authorized Recipient having filed a timely Proof of
                               Claim in the Purdue Pharma bankruptcy claim filing process, or

                        B.     such Hospital Authorized Recipient having been designated as a
                               “Safety Net Hospital” as defined by the CARES Act as in effect on
                               the Effective Date.

§ 7.   HOSPITAL AUTHORIZED ABATEMENT PURPOSES.

       (a)     All net funds (after the deduction of all legal fees and litigation expenses, as
               described herein, and in the Hospital Trust Agreement) distributed to Hospital
               Authorized Recipients shall be used solely and exclusively for Opioid Use
               Disorder (“OUD”) abatement programs, whether currently existing or newly
               initiated. As a condition of receiving a Hospital Abatement Distribution, each
               Hospital Authorized Recipient must submit to the Trustee on its Hospital
               Abatement Distribution Form a written statement that all funds will be spent only
               in the Authorized Recipient’s Service Area for one or more of the following
               Hospital Authorized Abatement Purposes:

               (i)      Providing transportation to treatment facilities for patients with OUD.

               (ii)     Providing continuing professional education in addiction medicine,
                        including addressing programs addressing stigma.

               (iii)    Counteracting diversion of prescribed medication in ED or practice,
                        consistent with the following goal: reducing opioid misuse, OUD,
                        overdose deaths, and related health consequences throughout the hospital
                        Service Area (county or region).

               (iv)     Participating in community efforts to provide OUD treatment to others in
                        the community, such as those in jails, prisons, or other detention facilities.

               (v)      Providing community education events on opioids and OUD.

               (vi)     Providing Naloxone kits and instruction to patients upon discharge.

               (vii)    Implementing needle exchange in hospital or adjacent clinic and providing
                        on-site MAT services if possible.

               (viii)   Prospectively providing otherwise unreimbursed or under-reimbursed
                        future medical services for patients with OUD or other opioid related
                        diagnoses.

               (ix)     Building or leasing space to add half-way house beds.

               (x)      Participating in research regarding development of innovative OUD
                        treatment practices.



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                    (xi)    Directing moneys to any other public or private Authorized Recipient of
                            funds concerning the treatment of persons with OUD or other opioid-
                            related diagnoses; provided that such recipient’s use of such funds would
                            otherwise constitute an Authorized Abatement Purpose.

                    (xii)   Medication-Assisted Treatment (“MAT”) Programs: an aggregate of $50
                            million may be earmarked for Holders of Hospital Channeled Claims to
                            establish and implement a MAT program or to continue, complete and/or
                            implement an existing MAT program already under development. 10

                    (xiii) Engaging in any other abatement activity with the express permission of
                           the Court, at the request of the Trustee.

           (b)      In addition, the Hospital Trust shall, in accordance with the Plan, the
                    Confirmation Order and the Hospital Trust Documents, make Hospital Abatement
                    Distributions to Hospital Authorized Recipients exclusively for Hospital
                    Authorized Abatement Purposes within each Hospital Authorized Recipients’
                    respective Service Area identified in the claim. Decisions concerning Hospital
                    Abatement Distributions made by the Hospital Trust will consider the need to
                    ensure that underserved urban and rural areas, as well as minority communities,
                    receive equitable access to the funds.

           (c)      To the extent any Holder of a Hospital Channeled Claim that is otherwise a
                    Hospital Authorized Recipient does not comply with this § 7, such Holder of a
                    Hospital Channeled Claim shall not be a Hospital Authorized Recipient and shall
                    be disqualified from receiving Hospital Abatement Distributions, notwithstanding
                    any other eligibility determination pursuant to other sections or procedures set
                    forth herein or in the other Hospital Trust Documents.

§ 8.       HOSPITAL ABATEMENT DISTRIBUTIONS BY HOSPITAL TRUST.

           (a)      Once the Trustee has calculated the amount of the Hospital Abatement
                    Distribution to be paid to each Hospital Authorized Recipient, and also calculated
                    each Hospital Authorized Recipient’s pro rata share of the total sum of all
                    Hospital Abatement Distributions to be paid to all Hospital Authorized Recipients,
                    then the Trustee shall make interim Hospital Abatement Distributions, from time
                    to time in its judgment, to those Hospital Authorized Recipients that have
                    complied with all of the criteria and procedures described herein. Unless
                    otherwise determined by the Trustee, such Hospital Authorized Recipients may
                    receive one interim, and one final, distribution.

           (b)      All payments made for one or more of said Hospital Authorized Abatement
                    Purposes shall be subject to audit by the Trustee of the Hospital Trust and shall be
                    repaid with a ten percent (10%) penalty added for any funds found by audit to

10
       The Hospital Abatement Distribution Form will provide an opportunity to indicate the proportion and amount of
       Hospital Abatement Distributions that the Hospital Authorized Recipient intends to apply to MAT programs.



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               have been spent for an unauthorized purpose. Such audit may occur any time
               prior to the wind-down of the Trust.

       (c)     Hospital Abatement Distributions will be subject to a common benefit assessment
               and may be subject to certain additional assessments for payment of attorneys’
               fees and costs of the Ad Hoc Group of Hospitals in accordance with Section 5.8
               of the Plan.

§ 9.   REPORTING BY HOSPITAL AUTHORIZED RECIPIENTS.

       (a)     Within ninety (90) days after the end of a distribution period (that being the
               twelve (12) month period following each annual distribution date), each Hospital
               Authorized Recipient that received a distribution must submit to the Hospital
               Trust a certification regarding its satisfaction of the minimum spending
               requirements on Hospital Authorized Abatement Purposes or that it was unable to
               meet the minimum spending requirements and must carryover a portion of its
               distribution.

       (b)     If the Hospital Authorized Recipient has not met the requirements during that
               period, those allocated but unused funds can carry over to the subsequent periods
               and will continue to carry forward each year until the Hospital Authorized
               Recipient meets the relevant spending requirements for Hospital Authorized
               Abatement Purposes. Additional annual certification(s) must be submitted until
               the Hospital Authorized Recipient meets the relevant spending requirements. A
               Hospital Authorized Recipient shall not be subject to a penalty for failing to meet
               the minimum spending requirements with respect to its Hospital Abatement
               Distribution during a given distribution period.

       (c)     The Hospital Trust shall have the right to audit a claimant to determine whether
               the Hospital Authorized Recipient’s expenditures for Hospital Authorized
               Abatement Purposes have met the requirements set forth in the Hospital Trust
               Documents.

       (d)     Each Hospital Authorized Recipient, if and when requested by the Hospital
               Trustee (or its agents or representatives), shall provide supporting documentation,
               in a mutually agreed upon format, demonstrating that the Hospital Authorized
               Recipient’s expenditures for Hospital Authorized Abatement Purposes have met
               the requirements of the Hospital Trust Documents. All Proofs of Claim, Hospital
               Abatement Distribution Forms and certifications filed or submitted by Holders of
               Hospital Channeled Claims are subject to audit by the Hospital Trustee (or its
               agents or representatives). If the Hospital Trustee finds a material misstatement
               in a Holder of a Hospital Channeled Claim’s Proof of Claim, Hospital Abatement
               Distribution Form or certification, the Hospital Trustee may allow that Holder of
               a Hospital Channeled Claim up to 30 days to resubmit its Proof of Claim,
               Hospital Abatement Distribution Form or certification with supporting
               documentation or revisions. Failure of the Holder of a Hospital Channeled Claim
               to timely correct its misstatement in a manner acceptable to the Hospital Trustee


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               may result in forfeiture of all or part of the Holder of a Hospital Channeled
               Claim’s qualification as a Hospital Authorized Recipient or right to receive
               Hospital Abatement Distributions.

        (e)    The Trustee shall have the power to take any and all actions that in the judgment
               of the Trustee are necessary or proper to fulfill the purposes of Hospital Trust.
               The Hospital Trust retains the right to seek return by legal means of any
               expenditures which fail to comply with the requirements of this Hospital TDP.

§ 10.   REPORTING BY THE HOSPITAL TRUST.

The Hospital Trust shall file an annual report with the Bankruptcy Court after each year that the
Hospital Trust is in existence, summarizing the distributions made from the Hospital Trust and
detailing the status of any Hospital Authorized Recipient audits, and any recommendations made
by the Trustee relating to such audits.




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                               EXHIBIT A
                 HOSPITAL ABATEMENT DISTRIBUTION FORM

See Attached




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                                      Exhibit A-1

                    Redline of Hospital Trust Distribution Procedures
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                                           HOSPITAL TRUST
                                      DISTRIBUTION PROCEDURES1

§ 1.       APPLICABILITY.


Pursuant to the plan of reorganization of Purdue Pharma L.P. and its Debtor affiliates
(the “Plan”)2 and the Master TDP, the following claims (“Hospital Channeled Claims”) shall be
channeled to and liability therefor shall be assumed by the Hospital Trust as of the Effective
Date: (i) all Hospital Claims,3 which include all Claims against the Debtors held by providers of
healthcare treatment services or any social services, in their capacity as such, that are not
Domestic Governmental Entities, and (ii) all Released Claims and Shareholder Released Claims
held by providers of healthcare treatment services or any social services, in their capacity as
such, that are not Domestic Governmental Entities. Hospital Channeled Claims shall be
administered, liquidated and discharged pursuant to the Hospital Trust Documents, and satisfied
solely from funds held by the Hospital Trust as and to the extent provided in these distribution
procedures (this “Hospital TDP”). This Hospital TDP sets forth the manner in which the
Hospital Trust shall make Abatement Distributions to Holders of Hospital Channeled Claims
(such Abatement Distributions, “Hospital Abatement Distributions”) that satisfy the eligibility
criteria for Authorized Recipients set forth herein. Hospital Channeled Claims shall be fully
discharged pursuant to this Hospital TDP.

Hospital Authorized Recipients (as defined below) are required to use all funds distributed to
them from the Hospital Trust solely and exclusively for (i) the Authorized Abatement Purposes
set forth in § 7 or (ii) the payment of attorneys’ fees and costs of Holders of Hospital Channeled
Claims (including counsel to the Ad Hoc Group of Hospitals) (such Authorized Abatement
Purposes, collectively, “Hospital Authorized Abatement Purposes”).

§ 2.       CLAIMS ADMINISTRATION.


The Plan contemplates that the Hospital Trust will receive a total of $250 million over time, with
an initial payment of $25 million to the Hospital Trust on the Effective Date (the “Initial Hospital
Trust Distribution”) and five subsequent payments to the Hospital Trust from the Master
Disbursement Trust in the following amounts: (i) $35 million on July 31, 2022, (ii) $45 million
on July 31, 2023, (iii) $45 million on July 31, 2024, (iv) $50 million on July 31, 2025, and (v)


1
       These procedures are qualified by the terms of the Plan. Holders of Hospital Channeled Claims are strongly
       advised to review the Plan as well as all of the Hospital Trust Documents and the Debtors’ Disclosure Statement
       for additional information on the terms of the Plan and the treatment of Hospital Channeled Claims.
2
       Terms used but not defined herein shall have the meaning ascribed to them in the Plan.
3
       For the avoidance of doubt, “Hospital Claim” as defined in the Plan includes, without limitation, (i) the Claims
       set forth in the 1,030 Proofs of Claim filed by hospitals and the 150 Proofs of Claim filed by other treatment
       providers and (ii) Claims against the Debtors held by non-federal acute care hospitals as defined by the U.S.
       Centers for Medicare and Medicaid Services (“CMS”), and non-federal hospitals and hospital districts that are
       required by law to provide inpatient acute care and/or fund the provision of inpatient acute care.
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$50 million on July 31, 2026.4 So long as he is able to serve as of the Effective Date, the
presumptive trustee of the Hospital Trust is Hon. Thomas Hogan (Ret.) (the “Trustee”). If Judge
Hogan is not able to serve, then a new Trustee will be selected in accordance with the Plan in
advance of the Effective Date by the Ad Hoc Group of Hospitals with the consent of the Debtors
(which consent shall not be unreasonably withheld, delayed or denied). 5 The Ad Hoc Group of
Hospitals is a group of certain Holders of Hospital Channeled Claims consisting of the Ad Hoc
Group of Hospitals identified in the Second Amended Verified Statement of the Ad Hoc Group of
Hospitals Pursuant to Bankruptcy Rule 2019 [D.I. 1536].


The Trustee shall have the power and authority to perform all functions on behalf of the Hospital
Trust, and shall undertake all administrative responsibilities as are provided in the Plan and the
Hospital Trust Documents.6 The Trustee shall be responsible for all decisions and duties with
respect to the Hospital Trust.7

The Trustee shall have the authority to determine the eligibility of Hospital Authorized
Recipients and the amount of Hospital Abatement Distributions made by the Hospital Trust. In
order to qualify as a Hospital Authorized Recipient and be eligible to receive a Hospital
Abatement Distribution, Holders of Hospital Channeled Claims must comply with the terms,
provisions and procedures set forth herein, including the Hospital Abatement Distribution Form
Deadline and the timely submission of all forms required pursuant hereto. The Trustee may

4
    In the event that any payment date is on a date that is not a Business Day, then the making of such payment may
    be completed on the next succeeding Business Day, but shall be deemed to have been completed as of the
    required date.
5
    The Hospital Trust Agreement shall provide that, in the event of a vacancy in the Trustee position, whether by
    term expiration, death, retirement, resignation, or removal, the vacancy shall be filled by the unanimous vote of
    the Hospital Trust Advisory Committee (the “TAC”); in the event that the TAC cannot appoint a successor
    Trustee, for any reason, the Bankruptcy Court shall select the successor Trustee.
6
    The Hospital Trust Agreement shall provide that the Trustee shall have the power to appoint such officers, hire
    such employees, engage such legal, financial, accounting, investment, auditing, forecasting, and other
    consultants, advisors, and agents as the business of the Hospital Trust requires, and delegate to such persons
    such powers and authorities as the fiduciary duties of the Trustee permit and as the Trustee, in its discretion,
    deem advisable or necessary in order to carry out the terms of the Hospital Trust, including without limitation
    the Delaware Trustee, and any third-party claims or noticing agent deemed necessary or convenient by the
    Trustee, and pay reasonable compensation to those employees, legal, financial, accounting, investment,
    auditing, forecasting, and other consultants, advisors, and agents employed by the Trustee after the Effective
    Date (including those engaged by the Hospital Trust in connection with its alternative dispute resolution
    activities).
7
    The Hospital Trust Agreement shall provide that: (i) the Trustee shall receive a retainer from the Hospital Trust
    for his or her service as a Trustee in the amount of $25,000 per annum, paid annually; (ii) hourly time shall first
    be billed and applied to the annual retainer; (iii) hourly time in excess of the annual retainer shall be paid by the
    Hospital Trust; (iv) for all time expended as a Trustee, including attending meetings, preparing for such
    meetings, and working on authorized special projects, the Trustee shall receive the sum of $525 per hour; (v) for
    all non-working travel time in connection with Hospital Trust business, the Trustee shall receive the sum of
    $275 per hour; (vi) all time shall be computed on a decimal (1/10th) hour basis; and (vii) the Trustee shall not
    be required to post any bond or other form of surety or security unless otherwise ordered by the Bankruptcy
    Court.



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investigate any Hospital Channeled Claim, and may request information from any Holder of a
Hospital Channeled Claim to ensure compliance with the terms set forth in this Hospital TDP,
the other Hospital Trust Documents and the Plan.

Pursuant to section 1123(b)(3)(B) of the Bankruptcy Code and applicable state corporate law, the
Trustee shall be and is appointed as the successor-in-interest to, and the representative of, the
Debtors and their Estates for the retention, enforcement, settlement or adjustment of the Hospital
Channeled Claims.

In accordance with Section 5.11(b) and (c) of the Plan, the Trustee shall receive copies of all
Proofs of Claims for the Hospital Claims on the Effective Date, and shall be entitled to make
reasonable requests to NewCo for additional information and documents reasonably necessary
for the administration of the Hospital Trust, which may include those medical, prescription or
business records of the Debtors related to the Hospital Channeled Claims, which records shall be
transferred to NewCo on the Effective Date.

§ 3.   QUALIFYING CERTIFICATION.

To qualify as a Hospital Authorized Recipient, a Holder of a Hospital Channeled Claim must
certify in its Hospital Abatement Distribution Form (as defined below) that:

       (a)     It adheres to the standard of care for the emergency department, hospital wards
               and outpatient clinics at the time of any prospective evaluation, diagnosis, and
               treatment of OUD, including with respect to the applicable standard of care for
               the treatment of addiction, acute withdrawal and treatment for OUD with
               medication assisted treatment; and

       (b)     It provides discharge planning and post-discharge care coordination for patients
               with OUD, including information for appropriate OUD treatment services.

A Holder of a Hospital Channeled Claim must demonstrate through the Requisite Hospital
Claims data that it has been damaged in the past and reasonably anticipates incurring additional
abatement expenses in the future arising from patients suffering from OUD; if it does not do so,
then it will not receive any Hospital Abatement Distribution.

§ 4.   ELIGIBILITY FOR HOSPITAL ABATEMENT DISTRIBUTIONS; NOTICES.

       (a)     Eligibility for Hospital Abatement Distributions

To qualify as a Hospital Authorized Recipient eligible to receive Hospital Abatement
Distributions from the Hospital Trust, each applicable Holder of a Hospital Channeled Claim
must:

               (i)    Have timely filed a Proof of Claim in the Debtors’ Chapter 11 case (that
                      is, on or before July 30, 2020); provided, that this requirement shall not
                      apply to a Holder of a Hospital Channeled Claim that (a) is listed on the
                      national registry of hospitals maintained by the American Hospital
                      Directory®, as in effect on the Effective Date and (b) is (x) a non-federal


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                          acute care hospital as defined by CMS or (y) a non-federal hospital or
                          hospital district that is required by law to provide inpatient acute care
                          and/or fund the provision of inpatient acute care;

                 (ii)     Timely submit the form attached hereto as Exhibit A (the “Hospital
                          Abatement Distribution Form”) containing:

                          A.       the certification set forth in § 3;

                          B.       a certification signed by the Holder of a Hospital Channeled Claim
                                   or its attorney attesting to the accuracy and truthfulness of the
                                   Holder of a Hospital Channeled Claim’s submission. Such
                                   certification must include an attestation that no data required for
                                   claims processing and distribution valuation, and no records or
                                   information that would reasonably be relevant to the valuation of
                                   the distribution, have been misrepresented or withheld; and

                          C.       the certification set forth in § 7that the Holder of a Hospital
                                   Channeled Claim will comply with § 7 in its use of any funds
                                   distributed to it; and

                 (iii)    Provided all of the requisite claims data (as described in § 5 the “Requisite
                          Claims Data”) as part of a timely filed Proof of Claim or in connection
                          with submitting a Hospital Abatement Distribution Form.

Any Holder of a Hospital Channeled Claim who meets all of the above criteria (i)-(iii) (each, a
“Hospital Authorized Recipient”) shall qualify for Hospital Abatement Distributions, subject to
the limitations otherwise set forth herein; however, if such Holder does not meet such criteria,
then it will not qualify as a Hospital Authorized Recipient and will not receive any Hospital
Abatement Distributions. Any discrepancy as to whether a Holder of a Hospital Channeled
Claim qualifies as a Hospital Authorized Recipient pursuant to the criteria as set forth in this
§ 4(a) will be resolved by the Trustee.


Those Hospital Claims that are evidenced by timely filed Proofs of Claim in the Debtors’
Chapter 11 Cases (that is, for which Proofs of Claim were filed prior to or on the General Bar
Date of July 30, 2020, i.e., D.I. 1536) that contained all of the Requisite Claims Data for such
Hospital Claims have satisfied the requirements of §§ 4(a)(i) and 4(a)(iii), and shall be required
to submit only a Hospital Abatement Distribution Form that provides the certifications set forth
in § 4(a)(ii) to qualify for Hospital Abatement Distributions. 8


8
    There are approximately 1,180 Hospital Claims believed to satisfy the requirements of §§ 4(a)(i) and 4(a)(iii),
    comprising approximately 1,030 Proofs of Claim filed by hospitals and 150 Proofs of Claim filed by other
    treatment providers; this Hospital TDP does not constitute an admission by the Trustee that such Proofs of
    Claim in fact contained all applicable Requisite Claims Data, and the Trustee reserves the right to request
    additional information from any Holder of a Hospital Channeled Claim before such Holder of a Hospital
    Channeled Claim is determined to be a Hospital Authorized Recipient.



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FOR AVOIDANCE OF DOUBT, FOR A HOLDER OF A HOSPITAL CHANNELED CLAIM
TO BE QUALIFY AS A HOSPITAL AUTHORIZED RECIPIENT AND BE ELIGIBLE TO
RECEIVE A HOSPITAL ABATEMENT DISTRIBUTION, SUCH HOLDER OF A HOSPITAL
CHANNELED CLAIM MUST TIMELY SUBMIT A FULLY COMPLETED HOSPITAL
ABATEMENT DISTRIBUTION FORM BY OR BEFORE THE HOSPITAL ABATEMENT
DISTRIBUTION FORM DEADLINE (THAT IS, FORTY-FIVE (45) DAYS AFTER THE
DATE OF THE APPLICABLE HOSPITAL ABATEMENT DISTRIBUTION DEADLINE
NOTICE, AS SET FORTH HEREIN).

      (b)      Notices

               (i)    As soon as reasonably practicable after the Effective Date of the Plan, the
                      Trustee or the Claims Administrator, as applicable, shall cause a notice to
                      be served on each Holder of a Hospital Channeled Claim that (i) is listed
                      on the national registry of hospitals maintained by the American Hospital
                      Directory ®, as in effect on the Effective Date and (ii) is (x) a non-federal
                      acute care hospital as defined by CMS or (y) a non-federal hospital or
                      hospital district that is required by law to provide inpatient acute care
                      and/or fund the provision of inpatient acute care. Such notice shall
                      contain, among other things that the Trustee deems reasonable and
                      appropriate under the circumstances, (i) this Hospital TDP, including the
                      Hospital Abatement Distribution Form attached hereto, (ii) the URL for
                      the Debtors’ claims and noticing website where such Hospitals can locate
                      the Plan (https://restructuring.primeclerk.com/purduepharma), and (iii)
                      clear instructions for submitting a Hospital Abatement Distribution Form
                      to the Trustee, the deadline set forth in each such Hospital Abatement
                      Distribution Form for submitting the Hospital Abatement Distribution
                      Form being 45 days after the date of such notice.

               (ii)   Also as soon as reasonably practicable after the Effective Date, the Trustee
                      or the Claims Administrator, as applicable, shall cause a notice (each such
                      notice, and each notice delivered pursuant to § 4(b)(i) above, a “Hospital
                      Abatement Distribution Deadline Notice”) to be served on each of the
                      Holders of the approximately 1,180 Hospital Claims for which there are
                      timely filed Proofs of Claim, indicating whether such Proof of Claim
                      contained the Requisite Claims Data for such Hospital Claim, and
                      providing each such Holder of a Hospital Channeled Claim with 45 days
                      from the date of such notice to submit a Hospital Abatement Distribution
                      Form that complies with this § 4. Such notice shall make clear whether
                      the applicable Proof of Claim (i) contained the Requisite Claims Data (and
                      therefore such Holder of a Hospital Channeled Claim is required to
                      provide only the certifications set forth in § 4(a)(ii)) or (ii) did not contain
                      the Requisite Claims Data in its Proof of Claim (and therefore such Holder
                      of a Hospital Channeled Claim is required to satisfy both §§ 4(a)(ii) and




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                       4(a)(iii) hereof when it submits its Hospital Abatement Distribution
                       Form).

               (iii)   For any Holder of a Hospital Channeled Claim that receives a Hospital
                       Abatement Distribution Deadline Notice pursuant to §§ 4(b)(i) or 4(b)(ii)
                       hereof and submits a Hospital Abatement Distribution Form, and all of its
                       parts, by the applicable deadline (with respect to each such notice, the
                       “Hospital Abatement Distribution Form Deadline”) and whose Hospital
                       Abatement Distribution Form is substantially complete but otherwise
                       defective in such a manner as to render such Holder of a Hospital
                       Channeled Claim ineligible to receive Hospital Abatement Distributions,
                       and to the extent such defect is determined by the Trustee to be curable,
                       the Trustee, as applicable, shall provide such Holder of a Hospital
                       Channeled Claim with notice of the defect and a reasonable period of time
                       following delivery of such notice for such Holder of a Hospital Channeled
                       Claim to cure such defective Hospital Abatement Distribution Form. The
                       Trustee shall exercise discretion in determining defect, curability and the
                       period of time in which a defect may be cured. Under no circumstance is
                       the Trustee obligated to send a notice of defect for Hospital Abatement
                       Distribution Forms that do not provide responses to the requirements set
                       forth under §§ 4(a)(ii) and 4(a)(iii).

               (iv)    Other than pursuant to the cure procedures set forth herein, any Holder of
                       a Hospital Channeled Claim that does not submit a Hospital Abatement
                       Distribution Form shall not qualify as a Hospital Authorized Recipient,
                       and any Holder of a Hospital Channeled Claim that submits a Hospital
                       Abatement Distribution Form after the Hospital Abatement Distribution
                       Form Deadline shall not qualify as a Hospital Authorized Recipient. No
                       Hospital Abatement Distribution Form shall be accepted after the Hospital
                       Abatement Distribution Form Deadline.

§ 5.   EVIDENCE FOR              DETERMINATION             OF    HOSPITAL         ABATEMENT
       DISTRIBUTIONS.

       (a)     To permit the Trustee to evaluate the amount each Hospital Authorized Recipient
               is to receive as a Hospital Abatement Distribution, and to the extent not already
               submitted in connection with its Proof of Claim, a Holder of a Hospital
               Channeled Claim must submit all of the following, non-exhaustive, data and types
               of documents, unless for good cause shown such data and documentation is
               unavailable (to beotherwise determined in the discretion of the Trustee in
               consultation with the TAC and consistent with § 4(b)(iii):

               (i)     A properly and fully completed Hospital Abatement Distribution Form,
                       with all its parts and requisite submissions, as established by the Trustee,
                       consistent with the requirements set forth in § 4; and




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                    (ii)     copies of all claims, complaints, proofs of claim, notices, settlement
                             documents, releases, recoveries, compensation received, or similar
                             documents that a Holder of a Hospital Channeled Claim submits or
                             entered into in respect of claims asserted against or to be asserted against
                             any other entity or person arising from or related to such Holder of a
                             Hospital Channeled Claim’s OUD program or related to any of the injuries
                             that underlie that claim presented to the Trustee.

The Trustee may request additional information as reasonably necessary in the opinion of the
Trustee to determine the amount to be distributed to a Hospital Authorized Recipient. The
Trustee shall establish a reasonable timeframe in which a Hospital Authorized Recipient must
provide any requested information.

§ 6.       DETERMINATION OF HOSPITAL ABATEMENT DISTRIBUTION AMOUNTS.

           (a)      The Trustee (or its agents or representatives) shall review the timely submitted
                    Hospital Abatement Distribution Forms.

           (b)      The Trustee shall utilize (but shall have no rights in or to the intellectual property
                    contained in) the proprietary Legier Model and Algorithm (the “Model”),
                    prepared and operated by Legier & Company, apac, for determining the amount of
                    each Hospital Abatement Distribution. The amount of the Hospital Abatement
                    Distribution to be paid to each Hospital Authorized Recipient shall be determined
                    within 120 days after the applicable Hospital Abatement Distribution Form
                    Deadline or in a period of time determined by the Trustee to be most practicable.


           (c)      The Model shall determine the amount distributable to each Hospital Authorized
                    Recipient based on (1) the diagnostic codes associated with operational charges
                    incurred by the Hospital Authorized Recipient in connection with the treatment of
                    Opioid Use Disorder, (2) the portion of such charges that were not reimbursed,
                    and (3) the following distribution determination factors and weights: 9

                    (i)      Units of morphine milligram equivalents (MME) dispensed in the
                             Hospital Authorized Recipient’s service area (“Service Area”) during the
                             period January 1, 2006-December 31, 2014 (the “Measurement Period”)
                             (to be weighted at 10%);

                    (ii)     Opioid use disorder rates at the State level, pro-rated for each Hospital
                             Authorized Recipient (to be weighted at 10%);




9
       The Model calculates a Hospital Authorized Recipient’s loss resulting from its treatment of patients with OUD
       and other opioid diagnoses, considering the total charges and collections for each, among other things, including
       a causation algorithm applied to each patient encounter.



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               (iii)   Opioid overdose deaths in the Hospital Authorized Recipient’s Service
                       Area (to be weighted at 8.75%)

               (iv)    Operational impact calculated using the Model, to include opioid
                       diagnoses, and charge and reimbursement data (to be weighted at 35%);

               (v)     Hospital Authorized Recipient’s opioid related patients as a percentage of
                       its total patients (to be weighted at 18.75%);

               (vi)    17.5% for either

                       A.     such Hospital Authorized Recipient having filed a timely Proof of
                              Claim in the Purdue Pharma bankruptcy claim filing process, or

                       B.     such Hospital Authorized Recipient having been designated as a
                              “Safety Net Hospital” as defined by the CARES Act as in effect on
                              the Effective Date.

§ 7.   HOSPITAL AUTHORIZED ABATEMENT PURPOSES.

       (a)     All net funds (after the deduction of all legal fees and litigation expenses, as
               described herein, and in the Hospital Trust Agreement) distributed to Hospital
               Authorized Recipients shall be used solely and exclusively for Opioid Use
               Disorder (“OUD”) abatement programs, whether currently existing or newly
               initiated. As a condition of receiving a Hospital Abatement Distribution, each
               Hospital Authorized Recipient must submit to the Trustee on its Hospital
               Abatement Distribution Form a written statement that all funds will be spent only
               in the Authorized Recipient’s Service Area for one or more of the following
               Hospital Authorized Abatement Purposes:

               (i)     Providing transportation to treatment facilities for patients with OUD.

               (ii)    Providing continuing professional education in addiction medicine,
                       including addressing programs addressing stigma.

               (iii)   Counteracting diversion of prescribed medication in ED or practice,
                       consistent with the following goal: reducing opioid misuse, OUD,
                       overdose deaths, and related health consequences throughout the hospital
                       Service Area (county or region).

               (iv)    Participating in community efforts to provide OUD treatment to others in
                       the community, such as those in jails, prisons, or other detention facilities.

               (v)     Providing community education events on opioids and OUD.

               (vi)    Providing Naloxone kits and instruction to patients upon discharge.




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                  (vii)    Implementing needle exchange in hospital or adjacent clinic and providing
                           on-site MAT services if possible.

                  (viii)   Prospectively providing otherwise unreimbursed or under-reimbursed
                           future medical services for patients with OUD or other opioid related
                           diagnoses.

                  (ix)     Building or leasing space to add half-way house beds.

                  (x)      Participating in research regarding development of innovative OUD
                           treatment practices.

                  (xi)     Directing moneys to any other public or private Authorized Recipient of
                           funds concerning the treatment of persons with OUD or other opioid-
                           related diagnoses; provided that such recipient’s use of such funds would
                           otherwise constitute an Authorized Abatement Purpose.

                  (xii)    Medication-Assisted Treatment (“MAT”) Programs: an aggregate of $50
                           million may be earmarked for Holders of Hospital Channeled Claims to
                           establish and implement a MAT program or to continue, complete and/or
                           implement an existing MAT program already under development. 10

                  (xiii) Engaging in any other abatement activity with the express permission of
                         the Court, at the request of the Trustee.

         (b)      In addition, the Hospital Trust shall, in accordance with the Plan, the
                  Confirmation Order and the Hospital Trust Documents, make Hospital Abatement
                  Distributions to Hospital Authorized Recipients exclusively for Hospital
                  Authorized Abatement Purposes within each Hospital Authorized Recipients’
                  respective Service Area identified in the claim. Decisions concerning Hospital
                  Abatement Distributions made by the Hospital Trust will consider the need to
                  ensure that underserved urban and rural areas, as well as minority communities,
                  receive equitable access to the funds.

         (c)      To the extent any Holder of a Hospital Channeled Claim that is otherwise a
                  Hospital Authorized Recipient does not comply with this § 7, such Holder of a
                  Hospital Channeled Claim shall not be a Hospital Authorized Recipient and shall
                  be disqualified from receiving Hospital Abatement Distributions, notwithstanding
                  any other eligibility determination pursuant to other sections or procedures set
                  forth herein or in the other Hospital Trust Documents.




10
     The Hospital Abatement Distribution Form will provide an opportunity to indicate the proportion and amount of
     Hospital Abatement Distributions that the Hospital Authorized Recipient intends to apply to MAT programs.



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§ 8.   HOSPITAL ABATEMENT DISTRIBUTIONS BY HOSPITAL TRUST.

       (a)     Once the Trustee has calculated the amount of the Hospital Abatement
               Distribution to be paid to each Hospital Authorized Recipient, and also calculated
               each Hospital Authorized Recipient’s pro rata share of the total sum of all
               Hospital Abatement Distributions to be paid to all Hospital Authorized
               Recipients, then the Trustee shall make interim Hospital Abatement Distributions,
               from time to time in its judgment, to those Hospital Authorized Recipients that
               have complied with all of the criteria and procedures described herein. Unless
               otherwise determined by the Trustee, such Hospital Authorized Recipients may
               receive one interim, and one final, distribution.

       (b)     All payments made for one or more of said Hospital Authorized Abatement
               Purposes shall be subject to audit by the Trustee of the Hospital Trust and shall be
               repaid with a ten percent (10%) penalty added for any funds found by audit to
               have been spent for an unauthorized purpose. Such audit may occur any time
               prior to the wind-down of the Trust.

       (c)     Pursuant to Section 5.8(c) of the Plan, 5% of each Hospital Abatement
               Distribution made by the Hospital Trust will be paid to the Common Benefit
               Escrow and then, upon its establishment, directly to the Common Benefit Fund,
               on a periodic schedule. On the Effective Date, the Hospital Attorney Fee Fund
               shall be established for theDistributions will be subject to a common benefit
               assessment and may be subject to certain additional assessments for payment of
               attorneys’ fees and costs of the Ad Hoc Group of Hospitals with respect to
               Hospital Channeled Claims. The Hospital Attorney Fee Fund shall be funded with
               an amount equal to (i) 20% of each Hospital Abatement Distribution made by the
               Hospital Trust to Holders of Hospital Channeled Claims that has not retained
               separate counsel through an individual contingency fee arrangement less (ii) the
               amount of such Hospital Abatement Distributions payable to the Common Benefit
               Escrow and the Common Benefit Fund under Section 5.8(c) of the Plan. All
               requests for payments of attorneys’ fees or costs inconsistent with this § 8(c),
               whether under section 503 of the Bankruptcy Code or otherwise, by any Holder of
               a Hospital Channeled Claim (or any ad hoc group thereof, including the Ad Hoc
               Group of Hospitals) or any attorney therefor are hereby waived, and any such
               request shall be Disallowed in full. The Hospital Attorney Fee Fund shall be
               administered by the Hospital Trust on terms acceptable to the Ad Hoc Group of
               Hospitals.in accordance with Section 5.8 of the Plan.

§ 9.   REPORTING BY HOSPITAL AUTHORIZED RECIPIENTS.

       (a)     Within ninety (90) days after the end of a distribution period (that being the
               twelve (12) month period following each annual distribution date), each Hospital
               Authorized Recipient that received a distribution must submit to the Hospital
               Trust a certification regarding its satisfaction of the minimum spending
               requirements on Hospital Authorized Abatement Purposes or that it was unable to


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               meet the minimum spending requirements and must carryover a portion of its
               distribution.

        (b)    If the Hospital Authorized Recipient has not met the requirements during that
               period, those allocated but unused funds can carry over to the subsequent periods
               and will continue to carry forward each year until the Hospital Authorized
               Recipient meets the relevant spending requirements for Hospital Authorized
               Abatement Purposes. Additional annual certification(s) must be submitted until
               the Hospital Authorized Recipient meets the relevant spending requirements. A
               Hospital Authorized Recipient shall not be subject to a penalty for failing to meet
               the minimum spending requirements with respect to its Hospital Abatement
               Distribution during a given distribution period.

        (c)    The Hospital Trust shall have the right to audit a claimant to determine whether
               the Hospital Authorized Recipient’s expenditures for Hospital Authorized
               Abatement Purposes have met the requirements set forth in the Hospital Trust
               Documents.

        (d)    Each Hospital Authorized Recipient, if and when requested by the Hospital
               Trustee (or its agents or representatives), shall provide supporting documentation,
               in a mutually agreed upon format, demonstrating that the Hospital Authorized
               Recipient’s expenditures for Hospital Authorized Abatement Purposes have met
               the requirements of the Hospital Trust Documents. All Proofs of Claim, Hospital
               Abatement Distribution Forms and certifications filed or submitted by Holders of
               Hospital Channeled Claims are subject to audit by the Hospital Trustee (or its
               agents or representatives). If the Hospital Trustee finds a material misstatement
               in a Holder of a Hospital Channeled Claim’s Proof of Claim, Hospital Abatement
               Distribution Form or certification, the Hospital Trustee may allow that Holder of
               a Hospital Channeled Claim up to 30 days to resubmit its Proof of Claim,
               Hospital Abatement Distribution Form or certification with supporting
               documentation or revisions. Failure of the Holder of a Hospital Channeled Claim
               to timely correct its misstatement in a manner acceptable to the Hospital Trustee
               may result in forfeiture of all or part of the Holder of a Hospital Channeled
               Claim’s qualification as a Hospital Authorized Recipient or right to receive
               Hospital Abatement Distributions.

        (e)    The Trustee shall have the power to take any and all actions that in the judgment
               of the Trustee are necessary or proper to fulfill the purposes of Hospital Trust.
               The Hospital Trust retains the right to seek return by legal means of any
               expenditures which fail to comply with the requirements of this Hospital TDP.

§ 10.   REPORTING BY THE HOSPITAL TRUST.

The Hospital Trust shall file an annual report with the Bankruptcy Court after each year that the
Hospital Trust is in existence, summarizing the distributions made from the Hospital Trust and




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detailing the status of any Hospital Authorized Recipient audits, and any recommendations made
by the Trustee relating to such audits.




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                               EXHIBIT A
                 HOSPITAL ABATEMENT DISTRIBUTION FORM

See Attached




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                                      Exhibit B

                     NAS Monitoring Trust Distribution Procedures
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                            NAS MONITORING TRUST AGREEMENT

                                               SCHEDULE B

                NAS MONITORING TRUST DISTRIBUTION PROCEDURES


§ 1.    APPLICABILITY.

Pursuant to the plan of reorganization of Purdue Pharma L.P. and its Debtor affiliates (the
“Plan”)1 and the Master TDP, the following claims (“NAS Monitoring Channeled Claims”) shall
be channeled to and liability therefor shall be assumed by the NAS Monitoring Trust as of the
Effective Date: (i) all NAS Monitoring Claims, which include all Claims against any Debtor held
on account of an NAS Child (with respect to such Claims, an “NAS Monitoring Claimant”) that
relate to medical monitoring support, educational support, vocational support, familial support or
similar related relief,2 and (ii) all Released Claims and Shareholder Released Claims that are held
on account of an NAS Child and that relate to medical monitoring support, educational support,
vocational support, familial support or similar related relief, and are not for alleged personal
injuries suffered by an NAS Child. NAS Monitoring Channeled Claims shall be administered,
liquidated and discharged pursuant to the NAS Monitoring Trust Documents, and satisfied solely
from funds held by the NAS Monitoring Trust as and to the extent provided in these distribution
procedures (this “NAS Monitoring TDP”). This NAS Monitoring TDP sets forth the manner in
which the NAS Monitoring Trust shall make Abatement Distributions to Authorized Recipients
(such Abatement Distributions, “NAS Monitoring Grants”) 3 that satisfy the eligibility criteria for
Authorized Recipients set forth herein. All Distributions in respect of NAS Monitoring
Channeled Claims shall be exclusively in the form of (i) NAS Monitoring Grants to be used
exclusively for the Authorized Abatement Purposes set forth Section 2(h), or (ii) the payment of
the attorneys’ fees and costs of counsel constituting the NAS Committee (such Authorized
Abatement Purposes, collectively, “NAS Monitoring Authorized Abatement Purposes”). No
Holders of NAS Monitoring Channeled Claims shall receive direct recoveries on account of their
NAS Monitoring Channeled Claims; the NAS Monitoring Trust shall make NAS Monitoring
Grants to NAS Authorized Recipients in accordance with this NAS Monitoring TDP.

§ 2.    ADMINISTRATION BY TRUSTEE; ELIGIBILITY.

        (a)      The trustee of the NAS Monitoring Trust (the “Trustee”) will be selected in
                 accordance with the Plan in advance of the Effective Date by [____] with the
                 consent of the Debtors (which consent shall not be unreasonably withheld,
                 delayed or denied).

1
    Capitalized terms used but not defined herein or in the other NAS Monitoring Trust Documents shall have the
    meaning ascribed to them in the Plan.
2
    For the avoidance of doubt, NAS Monitoring Claims do not include any Claim that is for an alleged personal
    injury suffered by an NAS Child.
3
    As used herein, NAS Monitoring Grants may refer to Abatement Distributions, either in part or in whole, as the
    context requires, that the NAS Monitoring Trust has Awarded to an Authorized Recipient.
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        (b)      The Trustee shall have the power and authority to perform all functions on behalf
                 of the NAS Monitoring Trust, and shall undertake all administrative
                 responsibilities as are provided in the Plan and the NAS Monitoring Trust
                 Documents.4 The Trustee shall be responsible for all decisions and duties with
                 respect to the NAS Monitoring Trust. 5

        (c)      The Trustee (in consultation with the members of the Trust Advisory Committee
                 (the “TAC”)) shall have the authority to determine the eligibility of NAS
                 Authorized Recipients (as defined below) and the amount of NAS Monitoring
                 Grants made by the NAS Monitoring Trust.

        (d)      A potential Grant Recipient or Grantee, in order to qualify as an Authorized
                 Recipient and be eligible to receive an NAS Monitoring Grant, a potential Grant
                 Recipient must:

                 (i)      Submit a Grant Proposal Form (as defined below) that complies with the
                          requirements set forth in Section 3 hereof;

                 (ii)     Execute a Grant Agreement (as defined below) that complies with the
                          requirements set forth in Section 6 hereof; and

                 (iii)    Agree to comply with and be bound by the reporting obligations set forth
                          in Section 7 hereof.

        (e)      Only a potential Grant Recipient or Grantee 6 who is Awarded 7 an NAS
                 Monitoring Grant by the NAS Monitoring Trust and complies with the foregoing
                 requirements set forth in this Section 2 shall be an Authorized Recipient and

4
    The NAS Monitoring Trust Agreement shall provide that the Trustee shall have the power to appoint, employ,
    or retain at reasonable cost such individuals as are necessary for operation and administration of the Trust,
    including without limitation employees, contractors, or professionals, and to delegate to such individuals
    discrete functions to be performed under the oversight, supervision and/or monitoring of the Trustee, and remit
    payment, in reasonable amounts, to employees, contractors, and/or legal, accounting, financial, investment or
    other professionals necessary for operation or administration of the Trust.
5
    The NAS Monitoring Trust Agreement shall provide that: (i) the Trustee may pay from the Corpus reasonable
    compensation to the Trustee and any employees, contractors or professionals retained by the Trust; (ii) the
    amounts of such compensation shall be determined by a vote of the majority members of the TAC; (iii) the
    amounts expended for operation and administration of the Trust, which amounts shall not exceed in the
    aggregate a value equal to one and one-half percent (1.5%) of the net assets of the Trust; and (iv)
    notwithstanding any state law to the contrary, the Trustee (including any successor trustee) shall be exempt
    from giving any bond or other surety in any jurisdiction.
6
    “Grant Recipient” or “Grantee” means the recipient of an NAS Monitoring Grant from the NAS Monitoring
    Trust who, prior to receipt of such NAS Monitoring Grant, shall agree to abide by and perform all conditions
    and requirements which may be established by the NAS Monitoring Trust pertinent to such NAS Monitoring
    Grant.
7
    “Award” or “Awarded” or “Awarding” means a determination by the NAS Monitoring Trust to award an NAS
    Monitoring Grant for the purpose of funding an NAS Abatement Program sponsored by a Grant Recipient or
    Grantee.


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                eligible to receive Abatement Distributions in the form of an NAS Monitoring
                Grant from the NAS Monitoring Trust (each such eligible Grant Recipient or
                Grantee, an “NAS Authorized Recipient”).

        (f)     Pursuant to section 1123(b)(3)(B) of the Bankruptcy Code and applicable state
                corporate law, the NAS Monitoring Trust shall be and is appointed as the
                successor-in-interest to, and the representative of, the Debtors and their Estates
                for the retention, enforcement, settlement or adjustment of the NAS Monitoring
                Channeled Claims.

        (g)     Pursuant to that authority, the Trustee (in consultation with the TAC) may
                evaluate any Grant Proposal (as defined below), and the member of the TAC
                which undertakes such review and consideration of a Grant Proposal may request
                information from the potential Grant Recipient or Grantee to ensure compliance
                with the NAS Monitoring Trust Documents.

        (h)     All NAS Monitoring Grants to NAS Authorized Recipients shall be received
                subject to the obligation of such NAS Authorized Recipient to any NAS
                Monitoring Grant funds solely for a program relating to neonatal abstinence
                syndrome sponsored by a Grant Recipient or Grantee, which advances all or any
                of the following goals: (1) preparing children with a history of NAS to be ready to
                enter or to succeed in school; (2) informing through evidence the Standard of
                Care for all NAS Children ages zero (0) to six (6), with priority given to NAS
                Children ranging in age from three (3) to six (6) (the “Identified Group”); and/or
                (3) enhancing the Mother-Child Dyad (any program relating to any of the NAS
                Monitoring Authorized Abatement Purposes, an “NAS Abatement Program”).

        (i)     NAS Monitoring Grants will be subject to a common benefit assessment and
                certain additional assessments for payment of attorneys’ fees and costs of the
                NAS Committee in accordance with Section 5.8 of the Plan.

§ 3.    FORM OF GRANT PROPOSALS.8

        (a)     Prior to the Effective Date of the Plan, the Trustee, in consultation with the TAC,
                shall devise a Grant Proposal form (the “Grant Proposal Form”) which shall
                include, at a minimum, the following necessary information for the evaluation of
                Grant Proposals:

                (i)      a historical chronology of the establishment, function, and region of
                         operation of the proposed NAS Abatement Program;

                (ii)     a description of the mission, purpose, and methods of the proposed NAS
                         Abatement Program;

8
    “Grant Proposal” means a proposal for the Awarding of an NAS Monitoring Grant for funding of an NAS
    Abatement Program sponsored by a potential Grant Recipient or Grantee, which proposal shall comply with all
    requirements for Grant Proposals established by this Agreement.



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                 (iii)    identification of the States or territories of the United States, or the regions
                          thereof, in which the program is located and operates;

                 (iv)     a description of the population served by the proposed NAS Abatement
                          Program, including the approximate number of such population and a
                          statement of the specific needs of the population that the program is
                          designed to serve;

                 (v)      evidence of the efficacy of the program in addressing its mission or
                          purpose;

                 (vi)     the requested monetary amount of the NAS Monitoring Grant sought by
                          the proposed NAS Abatement Program from the NAS Monitoring Trust;

                 (vii)    a statement of the intended uses of any NAS Monitoring Grant Awarded
                          and NAS Abatement Distribution by the NAS Monitoring Trust to the
                          potential Grant Recipient;

                 (viii)   the projected time period over which any Awarded NAS Monitoring
                          Abatement Distribution will be utilized or expended;

                 (ix)     a projected budget for the proposed NAS Abatement Program, including
                          line items identifying the purpose(s) of the proposed expenditures and a
                          schedule for such expenditures;

                 (x)      identification by the program of its financial or internal documents which
                          will be utilized to account for and track the proposed expenditures,
                          including an agreement of the Grant Recipient or Grantee to provide the
                          same to the NAS Monitoring Trust for the purpose of monitoring the
                          expenditures made from any Awarded NAS Monitoring Grant;

                 (xi)     a pledge and agreement by the potential Grant Recipient or Grantee to
                          regularly report, on a quarterly basis, the expenditures that are made from
                          any Awarded Abatement Distribution, and to produce for review and
                          monitoring by the NAS Monitoring Trust, on a quarterly basis, the
                          identified financial or internal documents which verify, account for and
                          track such expenditures; and

                 (xii)    an acknowledgement and agreement by the potential Grant Recipient or
                          Grantee that the Award of an NAS Monitoring Grant does not constitute
                          a contractual agreement between the Grant Recipient or Grantee and
                          the NAS Monitoring Trust; that the amount of any Abatement
                          Distribution of an Award will be made from a Fund 9 established for
                          such purpose by the NAS Monitoring Trust, and that such Grant

9
    Fund shall have the meaning ascribed to such term in the Delaware Statutory Trust Act, Chapter 38 of title 12 of
    the Delaware Code, 12 Del. C. §§3801 et seq.



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                      Recipient or Grantee’s sole recourse is to such Fund, rather than to the
                      Trust, its Corpus or any other Fund established by the Trust; that receipt
                      by the Grant Recipient or Grantee of an Abatement Distribution is
                      conditioned upon execution and return by the Grant Recipient or
                      Grantee of a “Grant Agreement” which shall contain, inter alia, the
                      Trust’s requirements for receipt and use of the Abatement Distribution;
                      and that no binding agreement shall arise as between the NAS
                      Monitoring Trust and the Grant Recipient or Grantee until such time as
                      the Abatement Distribution is received by the Grant Recipient or
                      Grantee, at which time the Grant Agreement shall become effective

§ 4.   REVIEW AND CONSIDERATION OF GRANT PROPOSALS.

       (a)     Upon receipt by the Trust, a Grant Proposal in proper form shall be tendered to a
               member of the TAC for review and investigation. In the exercise of his or her
               office, the TAC member undertaking such review and investigation is encouraged
               to communicate directly with the potential Grant Recipient or Grantee, or its
               representatives, and may request therefrom any additional documents or
               information which such member of the TAC believes necessary for his or her
               review and consideration of the Grant Proposal.

       (b)     The member of the TAC which undertakes such review and consideration of the
               Grant Proposal shall prepare a written report, to be distributed to the Trustee and
               all other members of the TAC, which summarizes the Grant Proposal and the
               results of the review and investigation of the Grant Proposal.

       (c)     After distribution of such written report, and at the next regularly occurring
               meeting or special meeting of the Trustee and the TAC, the Grant Proposal shall
               be presented for discussion and deliberation. The TAC may, but is not required to,
               vote on Awarding an NAS Monitoring Grant to the potential Grant Recipient or
               Grantee with respect to such Grant Proposal and/or vote as to the amount of such
               Abatement Distribution from a Fund to be established by the Trust, if the NAS
               Monitoring Grant is Awarded. At any subsequent meeting of the Trustee and the
               TAC, the TAC may take up, consider, discuss, and vote upon any pending Grant
               Proposal.

       (d)     In the event of a vote of a majority of the members of the TAC to Award any
               NAS Monitoring Grant for the funding of an NAS Abatement Program sponsored
               by any Grant Recipient or Grantee, the Trustee shall inform the Grant Recipient
               or Grantee of the Award and of the amount of the Abatement Distribution to be
               made by the NAS Monitoring Trust to the Grant Recipient or Grantee, provided
               that no binding agreement for the Award of the NAS Monitoring Grant or the
               Abatement Distribution shall exist until execution and return of the Grant
               Agreement by the Grant Recipient or Grantee and the receipt of the Abatement
               Distribution by the Grant Recipient or Grantee.




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        (e)        Review of Grant Proposals shall occur at regularly scheduled intervals in
                   accordance with the below:

                 Application Due Dates                                          Review and Award Cycles
       New                 Renewal /            AIDS              Scientific Merit     Advisory         Earliest Start
                         Resubmission /                               Review         Council Review         Date
                          Revision (as
                            allowed)
 September 08,           September 08,      September 08,         November 2021       January 2022        April 2022
     2021                    2021               2021
January 10, 2022     January 10, 2022      January 17, 2022        March 2022          May 2022           July 2022
 September 08,           September 08,      September 08,         November 2022       January 2023        April 2023
     2022                    2022               2022
January 10, 2023     January 10, 2023      January 10, 2023        March 2023          May 2023           July 2023
 September 08,           September 08,      September 08,         November 2023       January 2024        April 2024
     2023                    2023               2023
January 10, 2024     January 10, 2024      January 10, 2024        March 2024          May 2024           July 2024


§ 5.    REQUIREMENTS,   CONSIDERATIONS   AND                                           PREFERENCES               FOR
        AWARDING OF NAS MONITORING GRANTS.

        (a)        Requirements for Awarding NAS Monitoring Grants:

                   (i)        All NAS Monitoring Grants Awarded by the NAS Monitoring Trust shall
                              relate to NAS and shall advance all or any of the following goals: (i)
                              preparing children with a history of NAS to be ready to enter or to succeed
                              in school; (ii) informing through evidence the Standard of Care for all
                              NAS Children ages zero (0) to six (6), with priority given to NAS
                              Children ranging in age from three (3) to six (6) (the “Identified Group”);
                              and/or (iii) enhancing the Mother-Child Dyad.

                   (ii)       For all NAS Abatement Programs which propose to span an operational
                              period of three years and which have a goal of either preparing children in
                              the Identified Group to be ready to enter or succeed in school or of
                              enhancing the Mother-Child Dyad (“Eligible Programs”), NAS
                              Monitoring Grants should be made (i) to entities operating or planning to
                              operate evidence-based programs such as, by way of example only, The
                              Child First Program (https://www.childfirst.org), and (ii) NAS Monitoring
                              Grants should be prioritized to Grant Recipients or Grantees which service
                              populations in States, Reservations, Counties or Cities with excessive rates
                              of NAS births and otherwise underserved communities. No less than
                              eighty-nine percent (89%) of the Net-Assets or Corpus shall be used for
                              the NAS Monitoring Grants referenced in this Section 5(a)(ii).




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               (iii)   Without delaying the identification and funding of Eligible Programs
                       under Section 5(a)(ii), the NAS Monitoring Trust may, if approved by a
                       vote of the majority of the TAC and as necessary to address a
                       demonstrated need in significant parts of the country, Award an NAS
                       Monitoring Grant or Grants, in an aggregate amount not to exceed one
                       percent (1%) of the Net-Assets or Corpus of the Trust, for the
                       development of a scalable program serving the families of the Identified
                       Group, for the purposes of (i) providing clinical and in-home assessment
                       of latent medical and developmental conditions; (ii) identifying and
                       providing access to necessary services for the individual families of the
                       Identified Group; and/or (iii) maintaining accountable reporting of
                       program metrics.

               (iv)    Without delaying the identification and funding of Eligible Programs
                       under Section 5(a)(ii), the NAS Monitoring Trust may Award an NAS
                       Monitoring Grant or Grants, in an aggregate amount not to exceed five
                       percent (5%) of the Net-Assets or Corpus of the Trust, to research
                       institution(s) to conduct and publish the results of research into the
                       approaches for helping children and families harmed, impacted or at risk
                       of fetal opioid exposure. Grant Recipients or Grantees under this
                       Section 5(a)(iv) will receive access to the de-identified health outcome
                       metrics provided by other Grant Recipients and to the scientific documents
                       of Purdue, the Purdue Debtors, and the IAC to the extent such scientific
                       documents are part of a public record or in the public domain, including
                       documents relating to preclinical toxicology.

               (v)     The NAS Monitoring Trust shall, in accordance with the Plan, the
                       Confirmation Order and the applicable Monitoring Trust Documents,
                       make Abatement Distributions to Grant Recipients or Grantees exclusively
                       for Authorized Abatement Purposes. Decisions concerning Abatement
                       Distributions made by the NAS Monitoring Trust will consider the need to
                       ensure that underserved urban and rural areas, as well as minority
                       communities, receive equitable access to the funds.

      (b)      Preference: For purposes of the Awarding of NAS Monitoring Grants, an existing
               and operational NAS Abatement Program with an evidence-based record of
               efficacy shall be preferred over a new or start-up NAS Abatement Program which
               has yet to begin operation.

      (c)      Additional Considerations:     In Awarding NAS Monitoring Grants and
               determining the amount thereof, the Trustee and the TAC shall consider the
               following non-exhaustive factors pertinent to NAS Abatement Program(s) (each,
               a “Program”) proposed by potential Grant Recipients or Grantees:

               (i)     Whether the proposed Program serves a region of the United States which
                       has been greatly impacted by opioid use disorder and the occurrence of
                       Neonatal Abstinence Syndrome in infants born in such region;


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               (ii)     Whether the proposed Program will benefit an underserved population of
                        NAS Children and their families;

               (iii)    Whether the proposed Program places a focus on early intervention to
                        improve the outcomes for the Mother-Child Dyad with respect to NAS;

               (iv)     Whether the proposed Program offers a comprehensive assessment of
                        children and/or families impacted by NAS;

               (v)      Whether the proposed Program offers or provides medical care access or
                        medical care coordination to children and families impacted by NAS;

               (vi)     Whether the proposed Program offers counseling, individually or in group
                        sessions, to Birth Mothers and/or Guardians with regard to best practices
                        in caring for an NAS Child or NAS Children;

               (vii)    Whether the proposed Program addresses emotional, behavioral,
                        developmental, or learning problems experienced by NAS Children and
                        provides educational, counseling, treatment or care coordination options
                        with regard to the same;

               (viii)   Whether the proposed Program involves any data collection, data analysis,
                        or data reporting components, including without limitation, reporting of
                        data to the NAS Monitoring Trust or to state or federal governmental
                        offices or agencies, such as the Center for Disease Control’s National
                        Center on Birth Defects and Developmental Disabilities;

               (ix)     Whether the proposed Program is designed to compare health outcomes
                        across opioid use disorder treatment regimens to inform with regard to
                        best practice guidelines for pregnant Birth Mothers with respect to
                        mitigating or preventing the occurrence of NAS in infants;

               (x)      Whether the proposed Program involves the education of Birth Mothers
                        and potential Birth Mothers with regard to the risks and danger of opioid
                        use during pregnancy and/or is designed to reduce the usage of opioids
                        during pregnancy by Birth Mothers and potential Birth Mothers;

               (xi)     Whether the proposed Program is designed to connect pregnant Birth
                        Mothers with prenatal care, substance abuse treatment, or necessary multi-
                        specialty services; and

               (xii)    Whether the proposed Program provides medical or other care
                        coordination for children who were diagnosed with NAS or who
                        experienced intrauterine opioid exposure.




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§ 6.   THE GRANT AGREEMENT.

       (a)     All Grant Recipients or Grantees which are Awarded an NAS Monitoring Grant
               for funding of an NAS Abatement Program shall execute a Grant Agreement prior
               to receipt of any Abatement Distribution from any Fund of the NAS Monitoring
               Trust.

       (b)     The Grant Agreement shall contain, at a minimum, an acknowledgement by the
               Grant Recipient or Grantee that:

               (i)     the sole recourse of the Grant Recipient or Grantee is to the Fund
                       established by the NAS Monitoring Trust pertinent to such NAS
                       Monitoring Grant;

               (ii)    the Grant Agreement shall not be effective and binding until the Grant
                       Recipient or Grantee’s receipt of an Abatement Distribution and that the
                       NAS Monitoring Trust reserves the right to make or pay such Abatement
                       Distribution(s) in installments;

               (iii)   the NAS Monitoring Trust, including its Trustee, the members of its TAC,
                       and its employees, contractors and professionals shall have no
                       responsibility or liability for administration or operation of the Awarded
                       NAS Abatement Program sponsored by the Grant Recipient or Grantee;

               (iv)    the Grant Recipient or Grantee agrees to indemnify and hold harmless the
                       NAS Monitoring Trust, including its Trustee, the members of its TAC, and
                       its employees, contractors and professionals from any and all claims
                       arising out of operation or administration of the Awarded NAS Abatement
                       Program sponsored by the Grant Recipient or Grantee;

               (v)     the Grant Recipient or Grantee agrees that monies yet to be distributed to
                       the Grant Recipient or Grantee by the NAS Monitoring Trust for an
                       Awarded NAS Abatement Program may be withheld or withdrawn by the
                       NAS Monitoring Trust in the event of the financial inability of the NAS
                       Monitoring Trust to pay Abatement Distribution(s), or in the event of the
                       Grant Recipient or Grantee’s noncompliance with the requirements of the
                       NAS Monitoring Grant. The Grant Recipient or Grantee agrees and
                       acknowledges that the NAS Monitoring Trust retains the right to seek
                       return by legal means of any expenditures which fail to comply with the
                       requirements of the NAS Monitoring Grant; and

               (vi)    the Grant Recipient or Grantee agrees to make financial and other
                       disclosures, on at least an annual basis, to the NAS Monitoring Trust
                       relating to the implementation and operation of the Awarded NAS
                       Abatement Program, including but not limited to data relating to NAS
                       which the Grant Recipient or Grantee receives or derives from operation
                       of the NAS Abatement Program, provided that the disclosure of personal



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                       identifying information of the individual(s) or population(s) served by the
                       program shall not be required.

       (c)     In addition, each Grant Agreement shall contain the NAS Monitoring Trust’s
               requirements of the Grant Recipient or Grantee in the operation and
               administration of the Awarded NAS Abatement Program, which requirements
               shall be program specific and are to be determined by the members of the TAC,
               utilizing and drawing upon their independent and collective medical, scientific,
               technical or other expertise.

§ 7.   MONITORING OF AWARDED                         NAS   MONITORING          GRANTS       AND
       ABATEMENT DISTRIBUTIONS.

       (a)     In addition to the quarterly reports on expenditures set forth in Section 3(a)(xi),
               Grant Recipients and Grantees which received Abatement Distributions for the
               funding of NAS Abatement Programs shall be required to report annually to the
               NAS Monitoring Trust. Such reports and supporting documentation submitted by
               the Grant Recipient or Grantee shall contain information sufficient for the Trustee
               and TAC to monitor whether:

               (i)     Awards and Abatement Distributions are being used by the Grant
                       Recipient or Grantee as intended by the NAS Monitoring Trust and within
                       the scope of the NAS Abatement Program for which the Award and
                       Abatement Distribution was made;

               (ii)    The Grant Recipient or Grantee is complying with the projected budget for
                       the NAS Abatement Program sponsored by the Grant Recipient or Grantee;

               (iii)   The status of the Grant Recipient or Grantee’s achievement of the
                       milestones, efficacies, or benefits for which the NAS Abatement Program
                       was designed or is being operated; and

               (iv)    Data relating to NAS which the Grant Recipient or Grantee receives or
                       derives from operation of the NAS Abatement Program.

       (b)     The Trustee shall have the power to take any and all actions that in the judgment
               of the Trustee are necessary or proper to fulfill the purposes of NAS Monitoring
               Trust. The NAS Monitoring Trust retains the right to seek return by legal means
               of any expenditures which fail to comply with the requirements of this NAS
               Monitoring TDP.




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                                      Exhibit B-1

                 Redline of NAS Monitoring Trust Distribution Procedures
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                               NAS MONITORING TRUST AGREEMENT

                                                  SCHEDULE B

                   NAS MONITORING TRUST DISTRIBUTION PROCEDURES


§ 1.       APPLICABILITY.


Pursuant to the plan of reorganization of Purdue Pharma L.P. and its Debtor affiliates (the
“Plan”)1 and the Master TDP, the following claims (“NAS Monitoring Channeled Claims”) shall
be channeled to and liability therefor shall be assumed by the NAS Monitoring Trust as of the
Effective Date: (i) all NAS Monitoring Claims, which include all Claims against any Debtor held
on account of an NAS Child (with respect to such Claims, an “NAS Monitoring Claimant”) that
relate to medical monitoring support, educational support, vocational support, familial support or
similar related relief,2 and (ii) all Released Claims and Shareholder Released Claims that are
held on account of an NAS Child and that relate to medical monitoring support, educational
support, vocational support, familial support or similar related relief, and are not for alleged
personal injuries suffered by an NAS Child. NAS Monitoring Channeled Claims shall be
administered, liquidated and discharged pursuant to the NAS Monitoring Trust Documents, and
satisfied solely from funds held by the NAS Monitoring Trust as and to the extent provided in
these distribution procedures (this “NAS Monitoring TDP”). This NAS Monitoring TDP sets
forth the manner in which the NAS Monitoring Trust shall make Abatement Distributions to
Authorized Recipients (such Abatement Distributions, “NAS Monitoring Grants”)3 that satisfy
the eligibility criteria for Authorized Recipients set forth herein. All Distributions in respect of
NAS Monitoring Channeled Claims shall be exclusively in the form of (i) NAS Monitoring
Grants to be used exclusively for the Authorized Abatement Purposes set forth Section 2(h), or
(ii) the payment of the attorneys’ fees and costs of counsel constituting the NAS Committee
(such Authorized Abatement Purposes, collectively, “NAS Monitoring Authorized Abatement
Purposes”). No Holders of NAS Monitoring Channeled Claims shall receive direct recoveries on
account of their NAS Monitoring Channeled Claims; the NAS Monitoring Trust shall make NAS
Monitoring Grants to NAS Authorized Recipients in accordance with this NAS Monitoring TDP.

§ 2.       ADMINISTRATION BY TRUSTEE; ELIGIBILITY.

           (a)      The trustee of the NAS Monitoring Trust (the “Trustee”) will be selected in
                    accordance with the Plan in advance of the Effective Date by [____] with the


1
       Capitalized terms used but not defined herein or in the other NAS Monitoring Trust Documents shall have the
       meaning ascribed to them in the Plan.
2
       For the avoidance of doubt, NAS Monitoring Claims do not include any Claim that is for an alleged personal
       injury suffered by an NAS Child.
3
       As used herein, NAS Monitoring Grants may refer to Abatement Distributions, either in part or in whole, as the
       context requires, that the NAS Monitoring Trust has Awarded to an Authorized Recipient.
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                 consent of the Debtors (which consent shall not be unreasonably withheld,
                 delayed or denied).


        (b)      The Trustee shall have the power and authority to perform all functions on behalf
                 of the NAS Monitoring Trust, and shall undertake all administrative
                 responsibilities as are provided in the Plan and the NAS Monitoring Trust
                 Documents.4 The Trustee shall be responsible for all decisions and duties with
                 respect to the NAS Monitoring Trust.5

        (c)      The Trustee (in consultation with the members of the Trust Advisory Committee
                 (the “TAC”)) shall have the authority to determine the eligibility of NAS
                 Authorized Recipients (as defined below) and the amount of NAS Monitoring
                 Grants made by the NAS Monitoring Trust.

        (d)      A potential Grant Recipient or Grantee, in order to qualify as an Authorized
                 Recipient and be eligible to receive an NAS Monitoring Grant, a potential Grant
                 Recipient must:

                 (i)      Submit a Grant Proposal Form (as defined below) that complies with the
                          requirements set forth in Section 3 hereof;

                 (ii)     Execute a Grant Agreement (as defined below) that complies with the
                          requirements set forth in Section 6 hereof; and

                 (iii)    Agree to comply with and be bound by the reporting obligations set forth
                          in Section 7 hereof.




4
    The NAS Monitoring Trust Agreement shall provide that the Trustee shall have the power to appoint, employ,
    or retain at reasonable cost such individuals as are necessary for operation and administration of the Trust,
    including without limitation employees, contractors, or professionals, and to delegate to such individuals
    discrete functions to be performed under the oversight, supervision and/or monitoring of the Trustee, and remit
    payment, in reasonable amounts, to employees, contractors, and/or legal, accounting, financial, investment or
    other professionals necessary for operation or administration of the Trust.
5
    The NAS Monitoring Trust Agreement shall provide that: (i) the Trustee may pay from the Corpus reasonable
    compensation to the Trustee and any employees, contractors or professionals retained by the Trust; (ii) the
    amounts of such compensation shall be determined by a vote of the majority members of the TAC; (iii) the
    amounts expended for operation and administration of the Trust, which amounts shall not exceed in the
    aggregate a value equal to one and one-half percent (1.5%) of the net assets of the Trust; and (iv)
    notwithstanding any state law to the contrary, the Trustee (including any successor trustee) shall be exempt from
    giving any bond or other surety in any jurisdiction.



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        (e)      Only a potential Grant Recipient or Grantee6 who is Awarded7 an NAS
                 Monitoring Grant by the NAS Monitoring Trust and complies with the foregoing
                 requirements set forth in this Section 2 shall be an Authorized Recipient and
                 eligible to receive Abatement Distributions in the form of an NAS Monitoring
                 Grant from the NAS Monitoring Trust (each such eligible Grant Recipient or
                 Grantee, an “NAS Authorized Recipient”).

        (f)      Pursuant to section 1123(b)(3)(B) of the Bankruptcy Code and applicable state
                 corporate law, the NAS Monitoring Trust shall be and is appointed as the
                 successor-in-interest to, and the representative of, the Debtors and their Estates
                 for the retention, enforcement, settlement or adjustment of the NAS Monitoring
                 Channeled Claims.

        (g)      Pursuant to that authority, the Trustee (in consultation with the TAC) may
                 evaluate any Grant Proposal (as defined below), and the member of the TAC
                 which undertakes such review and consideration of a Grant Proposal may request
                 information from the potential Grant Recipient or Grantee to ensure compliance
                 with the NAS Monitoring Trust Documents.

        (h)      All NAS Monitoring Grants to NAS Authorized Recipients shall be received
                 subject to the obligation of such NAS Authorized Recipient to any NAS
                 Monitoring Grant funds solely for a program relating to neonatal abstinence
                 syndrome sponsored by a Grant Recipient or Grantee, which advances all or any
                 of the following goals: (1) preparing children with a history of NAS to be ready to
                 enter or to succeed in school; (2) informing through evidence the Standard of
                 Care for all NAS Children ages zero (0) to six (6), with priority given to NAS
                 Children ranging in age from three (3) to six (6) (the “Identified Group”); and/or
                 (3) enhancing the Mother-Child Dyad (any program relating to any of the NAS
                 Monitoring Authorized Abatement Purposes, an “NAS Abatement Program”).

        (i) Pursuant to Section 5.8(c) of the Plan, 5% of each NAS Monitoring Grant made by the
                NAS Monitoring Trust will be paid to the Common Benefit Escrow and then,
                upon its establishment, directly to the Common Benefit Fund, on a periodic
                schedule. On the Effective Date, the NAS Monitoring Attorney Fee Fund shall be
                established for the payment of attorneys’ fees and costs of the NAS Committee
                with respect to Holders of NAS Monitoring Channeled Claims. The NAS
                Monitoring Attorney Fee Fund shall be funded with an amount equal to (i) 20% of


6
    “Grant Recipient” or “Grantee” means the recipient of an NAS Monitoring Grant from the NAS Monitoring
    Trust who, prior to receipt of such NAS Monitoring Grant, shall agree to abide by and perform all conditions
    and requirements which may be established by the NAS Monitoring Trust pertinent to such NAS Monitoring
    Grant.
7
    “Award” or “Awarded” or “Awarding” means a determination by the NAS Monitoring Trust to award an NAS
    Monitoring Grant for the purpose of funding an NAS Abatement Program sponsored by a Grant Recipient or
    Grantee.



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                   each NAS Monitoring Grant made by the NAS Monitoring Trust less (ii) the
                   amount of such NAS Monitoring Grants payable to the Common Benefit Escrow
                   and the Common Benefit Fund under Section 5.8(c) of the Plan. All requests for
                   payments of attorneys’ fees or costs inconsistent with this Section 2(i), whether
                   under section 503 of the Bankruptcy Code or otherwise, by any Holder of an NAS
                   Monitoring Channeled Claim (or any ad hoc group thereof, including the NAS
                   Committee) or any attorney therefor are hereby waived, and any such request shall
                   be Disallowed in full. The NAS Monitoring Attorney Fee Fund shall be
                   administered by the NAS Monitoring Trust on terms acceptable to the NAS
                   Committee.

           (i)     NAS Monitoring Grants will be subject to a common benefit assessment and
                   certain additional assessments for payment of attorneys’ fees and costs of the
                   NAS Committee in accordance with Section 5.8 of the Plan.


§ 3.       FORM OF GRANT PROPOSALS.8

           (a)     Prior to the Effective Date of the Plan, the Trustee, in consultation with the TAC,
                   shall devise a Grant Proposal form (the “Grant Proposal Form”) which shall
                   include, at a minimum, the following necessary information for the evaluation of
                   Grant Proposals:

                   (i)      a historical chronology of the establishment, function, and region of
                            operation of the proposed NAS Abatement Program;

                   (ii)     a description of the mission, purpose, and methods of the proposed NAS
                            Abatement Program;

                   (iii)    identification of the States or territories of the United States, or the regions
                            thereof, in which the program is located and operates;

                   (iv)     a description of the population served by the proposed NAS Abatement
                            Program, including the approximate number of such population and a
                            statement of the specific needs of the population that the program is
                            designed to serve;

                   (v)      evidence of the efficacy of the program in addressing its mission or
                            purpose;

                   (vi)     the requested monetary amount of the NAS Monitoring Grant sought by
                            the proposed NAS Abatement Program from the NAS Monitoring Trust;



8
       “Grant Proposal” means a proposal for the Awarding of an NAS Monitoring Grant for funding of an NAS
       Abatement Program sponsored by a potential Grant Recipient or Grantee, which proposal shall comply with all
       requirements for Grant Proposals established by this Agreement.



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                 (vii)    a statement of the intended uses of any NAS Monitoring Grant Awarded
                          and NAS Abatement Distribution by the NAS Monitoring Trust to the
                          potential Grant Recipient;

                 (viii)   the projected time period over which any Awarded NAS Monitoring
                          Abatement Distribution will be utilized or expended;

                 (ix)     a projected budget for the proposed NAS Abatement Program, including
                          line items identifying the purpose(s) of the proposed expenditures and a
                          schedule for such expenditures;

                 (x)      identification by the program of its financial or internal documents which
                          will be utilized to account for and track the proposed expenditures,
                          including an agreement of the Grant Recipient or Grantee to provide the
                          same to the NAS Monitoring Trust for the purpose of monitoring the
                          expenditures made from any Awarded NAS Monitoring Grant;

                 (xi)     a pledge and agreement by the potential Grant Recipient or Grantee to
                          regularly report, on a quarterly basis, the expenditures that are made from
                          any Awarded Abatement Distribution, and to produce for review and
                          monitoring by the NAS Monitoring Trust, on a quarterly basis, the
                          identified financial or internal documents which verify, account for and
                          track such expenditures; and


                 (xii)    an acknowledgement and agreement by the potential Grant Recipient or
                          Grantee that the Award of an NAS Monitoring Grant does not constitute
                          a contractual agreement between the Grant Recipient or Grantee and
                          the NAS Monitoring Trust; that the amount of any Abatement
                          Distribution of an Award will be made from a Fund 9 established for
                          such purpose by the NAS Monitoring Trust, and that such Grant
                          Recipient or Grantee’s sole recourse is to such Fund, rather than to the
                          Trust, its Corpus or any other Fund established by the Trust; that
                          receipt by the Grant Recipient or Grantee of an Abatement Distribution
                          is conditioned upon execution and return by the Grant Recipient or
                          Grantee of a “Grant Agreement” which shall contain, inter alia, the
                          Trust’s requirements for receipt and use of the Abatement Distribution;
                          and that no binding agreement shall arise as between the NAS
                          Monitoring Trust and the Grant Recipient or Grantee until such time as
                          the Abatement Distribution is received by the Grant Recipient or
                          Grantee, at which time the Grant Agreement shall become effective



9
    Fund shall have the meaning ascribed to such term in the Delaware Statutory Trust Act, Chapter 38 of title 12 of
    the Delaware Code, 12 Del. C. §§3801 et seq.



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§ 4.   REVIEW AND CONSIDERATION OF GRANT PROPOSALS.

       (a)     Upon receipt by the Trust, a Grant Proposal in proper form shall be tendered to a
               member of the TAC for review and investigation. In the exercise of his or her
               office, the TAC member undertaking such review and investigation is encouraged
               to communicate directly with the potential Grant Recipient or Grantee, or its
               representatives, and may request therefrom any additional documents or
               information which such member of the TAC believes necessary for his or her
               review and consideration of the Grant Proposal.

       (b)     The member of the TAC which undertakes such review and consideration of the
               Grant Proposal shall prepare a written report, to be distributed to the Trustee and
               all other members of the TAC, which summarizes the Grant Proposal and the
               results of the review and investigation of the Grant Proposal.

       (c)     After distribution of such written report, and at the next regularly occurring
               meeting or special meeting of the Trustee and the TAC, the Grant Proposal shall
               be presented for discussion and deliberation. The TAC may, but is not required
               to, vote on Awarding an NAS Monitoring Grant to the potential Grant Recipient
               or Grantee with respect to such Grant Proposal and/or vote as to the amount of
               such Abatement Distribution from a Fund to be established by the Trust, if the
               NAS Monitoring Grant is Awarded. At any subsequent meeting of the Trustee
               and the TAC, the TAC may take up, consider, discuss, and vote upon any pending
               Grant Proposal.

       (d)     In the event of a vote of a majority of the members of the TAC to Award any
               NAS Monitoring Grant for the funding of an NAS Abatement Program sponsored
               by any Grant Recipient or Grantee, the Trustee shall inform the Grant Recipient
               or Grantee of the Award and of the amount of the Abatement Distribution to be
               made by the NAS Monitoring Trust to the Grant Recipient or Grantee, provided
               that no binding agreement for the Award of the NAS Monitoring Grant or the
               Abatement Distribution shall exist until execution and return of the Grant
               Agreement by the Grant Recipient or Grantee and the receipt of the Abatement
               Distribution by the Grant Recipient or Grantee.




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        (e)        Review of Grant Proposals shall occur at regularly scheduled intervals in
                   accordance with the below:

                 Application Due Dates                                          Review and Award Cycles
       New                 Renewal /            AIDS              Scientific Merit     Advisory         Earliest Start
                         Resubmission /                               Review         Council Review         Date
                          Revision (as
                           allowed)
 September 08,           September 08,      September 08,         November 2021       January 2022        April 2022
     2021                    2021               2021
January 10, 2022     January 10, 2022      January 17, 2022        March 2022          May 2022           July 2022
 September 08,           September 08,      September 08,         November 2022       January 2023        April 2023
     2022                    2022               2022
January 10, 2023     January 10, 2023      January 10, 2023        March 2023          May 2023           July 2023
 September 08,           September 08,      September 08,         November 2023       January 2024        April 2024
     2023                    2023               2023
January 10, 2024     January 10, 2024      January 10, 2024        March 2024          May 2024           July 2024


§ 5.    REQUIREMENTS,   CONSIDERATIONS  AND                                            PREFERENCES              FOR
        AWARDING OF NAS MONITORING GRANTS.

        (a)        Requirements for Awarding NAS Monitoring Grants:

                   (i)        All NAS Monitoring Grants Awarded by the NAS Monitoring Trust shall
                              relate to NAS and shall advance all or any of the following goals: (i)
                              preparing children with a history of NAS to be ready to enter or to succeed
                              in school; (ii) informing through evidence the Standard of Care for all
                              NAS Children ages zero (0) to six (6), with priority given to NAS
                              Children ranging in age from three (3) to six (6) (the “Identified Group”);
                              and/or (iii) enhancing the Mother-Child Dyad.

                   (ii)       For all NAS Abatement Programs which propose to span an operational
                              period of three years and which have a goal of either preparing children in
                              the Identified Group to be ready to enter or succeed in school or of
                              enhancing the Mother-Child Dyad (“Eligible Programs”), NAS
                              Monitoring Grants should be made (i) to entities operating or planning to
                              operate evidence-based programs such as, by way of example only, The
                              Child First Program (https://www.childfirst.org), and (ii) NAS Monitoring
                              Grants should be prioritized to Grant Recipients or Grantees which service
                              populations in States, Reservations, Counties or Cities with excessive
                              rates of NAS births and otherwise underserved communities. No less than
                              eighty-nine percent (89%) of the Net-Assets or Corpus shall be used for
                              the NAS Monitoring Grants referenced in this Section 5(a)(ii).


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               (iii)   Without delaying the identification and funding of Eligible Programs
                       under Section 5(a)(ii), the NAS Monitoring Trust may, if approved by a
                       vote of the majority of the TAC and as necessary to address a
                       demonstrated need in significant parts of the country, Award an NAS
                       Monitoring Grant or Grants, in an aggregate amount not to exceed one
                       percent (1%) of the Net-Assets or Corpus of the Trust, for the
                       development of a scalable program serving the families of the Identified
                       Group, for the purposes of (i) providing clinical and in-home assessment
                       of latent medical and developmental conditions; (ii) identifying and
                       providing access to necessary services for the individual families of the
                       Identified Group; and/or (iii) maintaining accountable reporting of
                       program metrics.

               (iv)    Without delaying the identification and funding of Eligible Programs
                       under Section 5(a)(ii), the NAS Monitoring Trust may Award an NAS
                       Monitoring Grant or Grants, in an aggregate amount not to exceed five
                       percent (5%) of the Net-Assets or Corpus of the Trust, to research
                       institution(s) to conduct and publish the results of research into the
                       approaches for helping children and families harmed, impacted or at risk
                       of fetal opioid exposure. Grant Recipients or Grantees under this
                       Section 5(a)(iv) will receive access to the de-identified health outcome
                       metrics provided by other Grant Recipients and to the scientific
                       documents of Purdue, the Purdue Debtors, and the IAC to the extent such
                       scientific documents are part of a public record or in the public domain,
                       including documents relating to preclinical toxicology.

               (v)     The NAS Monitoring Trust shall, in accordance with the Plan, the
                       Confirmation Order and the applicable Monitoring Trust Documents,
                       make Abatement Distributions to Grant Recipients or Grantees
                       exclusively for Authorized Abatement Purposes. Decisions concerning
                       Abatement Distributions made by the NAS Monitoring Trust will consider
                       the need to ensure that underserved urban and rural areas, as well as
                       minority communities, receive equitable access to the funds.

      (b)      Preference: For purposes of the Awarding of NAS Monitoring Grants, an existing
               and operational NAS Abatement Program with an evidence-based record of
               efficacy shall be preferred over a new or start-up NAS Abatement Program which
               has yet to begin operation.




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      (c)      Additional Considerations:     In Awarding NAS Monitoring Grants and
               determining the amount thereof, the Trustee and the TAC shall consider the
               following non-exhaustive factors pertinent to NAS Abatement Program(s) (each,
               a “Program”) proposed by potential Grant Recipients or Grantees:

               (i)      Whether the proposed Program serves a region of the United States which
                        has been greatly impacted by opioid use disorder and the occurrence of
                        Neonatal Abstinence Syndrome in infants born in such region;

               (ii)     Whether the proposed Program will benefit an underserved population of
                        NAS Children and their families;

               (iii)    Whether the proposed Program places a focus on early intervention to
                        improve the outcomes for the Mother-Child Dyad with respect to NAS;

               (iv)     Whether the proposed Program offers a comprehensive assessment of
                        children and/or families impacted by NAS;

               (v)      Whether the proposed Program offers or provides medical care access or
                        medical care coordination to children and families impacted by NAS;

               (vi)     Whether the proposed Program offers counseling, individually or in group
                        sessions, to Birth Mothers and/or Guardians with regard to best practices
                        in caring for an NAS Child or NAS Children;

               (vii)    Whether the proposed Program addresses emotional, behavioral,
                        developmental, or learning problems experienced by NAS Children and
                        provides educational, counseling, treatment or care coordination options
                        with regard to the same;

               (viii)   Whether the proposed Program involves any data collection, data analysis,
                        or data reporting components, including without limitation, reporting of
                        data to the NAS Monitoring Trust or to state or federal governmental
                        offices or agencies, such as the Center for Disease Control’s National
                        Center on Birth Defects and Developmental Disabilities;

               (ix)     Whether the proposed Program is designed to compare health outcomes
                        across opioid use disorder treatment regimens to inform with regard to
                        best practice guidelines for pregnant Birth Mothers with respect to
                        mitigating or preventing the occurrence of NAS in infants;

               (x)      Whether the proposed Program involves the education of Birth Mothers
                        and potential Birth Mothers with regard to the risks and danger of opioid
                        use during pregnancy and/or is designed to reduce the usage of opioids
                        during pregnancy by Birth Mothers and potential Birth Mothers;




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               (xi)    Whether the proposed Program is designed to connect pregnant Birth
                       Mothers with prenatal care, substance abuse treatment, or necessary multi-
                       specialty services; and

               (xii)   Whether the proposed Program provides medical or other care
                       coordination for children who were diagnosed with NAS or who
                       experienced intrauterine opioid exposure.

§ 6.   THE GRANT AGREEMENT.

       (a)     All Grant Recipients or Grantees which are Awarded an NAS Monitoring Grant
               for funding of an NAS Abatement Program shall execute a Grant Agreement prior
               to receipt of any Abatement Distribution from any Fund of the NAS Monitoring
               Trust.

       (b)     The Grant Agreement shall contain, at a minimum, an acknowledgement by the
               Grant Recipient or Grantee that:

               (i)     the sole recourse of the Grant Recipient or Grantee is to the Fund
                       established by the NAS Monitoring Trust pertinent to such NAS
                       Monitoring Grant;

               (ii)    the Grant Agreement shall not be effective and binding until the Grant
                       Recipient or Grantee’s receipt of an Abatement Distribution and that the
                       NAS Monitoring Trust reserves the right to make or pay such Abatement
                       Distribution(s) in installments;

               (iii)   the NAS Monitoring Trust, including its Trustee, the members of its TAC,
                       and its employees, contractors and professionals shall have no
                       responsibility or liability for administration or operation of the Awarded
                       NAS Abatement Program sponsored by the Grant Recipient or Grantee;

               (iv)    the Grant Recipient or Grantee agrees to indemnify and hold harmless the
                       NAS Monitoring Trust, including its Trustee, the members of its TAC,
                       and its employees, contractors and professionals from any and all claims
                       arising out of operation or administration of the Awarded NAS Abatement
                       Program sponsored by the Grant Recipient or Grantee;

               (v)     the Grant Recipient or Grantee agrees that monies yet to be distributed to
                       the Grant Recipient or Grantee by the NAS Monitoring Trust for an
                       Awarded NAS Abatement Program may be withheld or withdrawn by the
                       NAS Monitoring Trust in the event of the financial inability of the NAS
                       Monitoring Trust to pay Abatement Distribution(s), or in the event of the
                       Grant Recipient or Grantee’s noncompliance with the requirements of the
                       NAS Monitoring Grant. The Grant Recipient or Grantee agrees and
                       acknowledges that the NAS Monitoring Trust retains the right to seek



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                       return by legal means of any expenditures which fail to comply with the
                       requirements of the NAS Monitoring Grant; and

               (vi)    the Grant Recipient or Grantee agrees to make financial and other
                       disclosures, on at least an annual basis, to the NAS Monitoring Trust
                       relating to the implementation and operation of the Awarded NAS
                       Abatement Program, including but not limited to data relating to NAS
                       which the Grant Recipient or Grantee receives or derives from operation
                       of the NAS Abatement Program, provided that the disclosure of personal
                       identifying information of the individual(s) or population(s) served by the
                       program shall not be required.

       (c)     In addition, each Grant Agreement shall contain the NAS Monitoring Trust’s
               requirements of the Grant Recipient or Grantee in the operation and
               administration of the Awarded NAS Abatement Program, which requirements
               shall be program specific and are to be determined by the members of the TAC,
               utilizing and drawing upon their independent and collective medical, scientific,
               technical or other expertise.

§ 7.   MONITORING OF AWARDED                      NAS     MONITORING           GRANTS       AND
       ABATEMENT DISTRIBUTIONS.

       (a)     In addition to the quarterly reports on expenditures set forth in Section 3(a)(xi),
               Grant Recipients and Grantees which received Abatement Distributions for the
               funding of NAS Abatement Programs shall be required to report annually to the
               NAS Monitoring Trust. Such reports and supporting documentation submitted by
               the Grant Recipient or Grantee shall contain information sufficient for the Trustee
               and TAC to monitor whether:

               (i)     Awards and Abatement Distributions are being used by the Grant
                       Recipient or Grantee as intended by the NAS Monitoring Trust and within
                       the scope of the NAS Abatement Program for which the Award and
                       Abatement Distribution was made;

               (ii)    The Grant Recipient or Grantee is complying with the projected budget for
                       the NAS Abatement Program sponsored by the Grant Recipient or
                       Grantee;

               (iii)   The status of the Grant Recipient or Grantee’s achievement of the
                       milestones, efficacies, or benefits for which the NAS Abatement Program
                       was designed or is being operated; and

               (iv)    Data relating to NAS which the Grant Recipient or Grantee receives or
                       derives from operation of the NAS Abatement Program.




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      (b)      The Trustee shall have the power to take any and all actions that in the judgment
               of the Trustee are necessary or proper to fulfill the purposes of NAS Monitoring
               Trust. The NAS Monitoring Trust retains the right to seek return by legal means
               of any expenditures which fail to comply with the requirements of this NAS
               Monitoring TDP.




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                                      Exhibit E

                           TPP Trust Distribution Procedures
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                          TPP TRUST DISTRIBUTION PROCEDURES 1

§ 1.    APPLICABILITY.

Pursuant to the plan of reorganization of Purdue Pharma L.P. and its Debtor affiliates
(the “Plan”)2 and the Master TDP, the following claims (“Third-Party Payor Channeled Claims”)
shall be channeled to and liability therefor shall be assumed by the TPP Trust as of the Effective
Date: (i) all Third-Party Payor Claims, which include all Claims against the Debtors held by
Third-Party Payors that are not Domestic Governmental Entities (“TPP Claimants”), 3 and (ii) all
Released Claims and Shareholder Released Claims held by Third-Party Payors that are not
Domestic Governmental Entities. Third-Party Payor Channeled Claims shall be administered,
liquidated and discharged pursuant to the TPP Trust Documents, and satisfied solely from funds
held by the TPP Trust as and to the extent provided in these distribution procedures (this “TPP
TDP”). This TPP TDP sets forth the manner in which the TPP Trust shall make Abatement
Distributions to TPP Claimants that satisfy the eligibility criteria for Authorized Recipients set
forth herein, including the timely filing of a TPP Abatement Claim Form, as defined in Section 4
herein (such Abatement Distributions, “TPP Abatement Distributions”). Third-Party Payor
Channeled Claims shall be fully discharged pursuant to this TPP TDP. All Distributions in
respect of Third-Party Payor Channeled Claims shall be exclusively in the form of TPP
Abatement Distributions and may be used exclusively for the Authorized Abatement Purposes
set forth herein.

§ 2.    RECEIPT AND USE OF FUNDS BY THE TPP TRUST.

The Plan contemplates that the TPP Trust will receive a total of $365 million over time, with an
initial payment of $1 million to the TPP Trust on the Effective Date (the “Initial TPP Trust
Distribution”) and three subsequent payments to the TPP Trust from the Master Disbursement
Trust in the following amounts: (i) $121 million on July 31, 2022, (ii) $121 million on July 31,
2023 and (iii) $122 million on July 31, 2024. 4 The funds paid to the TPP Trust shall be used for
1
    These procedures are qualified by the terms of the Plan. TPP Claimants are strongly advised to review the Plan
    as well as all of the TPP Trust Documents, the Debtors’ Disclosure Statement and the LRP Agreement for
    additional information on the terms of the Plan and the treatment of Third-Party Payor Channeled Claims.
    Although the LRP Agreement is a PI Trust Document, it has been attached to this TPP TDP as Exhibit 1 purely
    for ease of reference for TPP Claimants and potential TPP Authorized Recipients.
2
    Terms used but not defined herein shall have the meaning ascribed to them in the Plan.
3
    For the avoidance of doubt, “Third-Party Payor Claims” include any Claims against any Debtor that are held by
    Third-Party Payors (including any Claims based on the subrogation rights of the Holder thereof that are not
    Other Subordinated Claims) that are not Domestic Governmental Entities; provided that Claims in respect of
    self-funded government plans that were and are asserted through private Third-Party Payors shall be included in
    this definition of “Third-Party Payor Claims.” For the avoidance of doubt, claims of Third-Party Payors against
    Holders of PI Claims or Distributions payable to Holders of PI Claims are not claims against any Debtor and
    therefore are not included in this definition of “Third-Party Payor Claims.” The claims of Third-Party Payors
    against Holders of PI Claims and Distributions payable to Holders of PI Claims are addressed in the LRP
    Agreement, as noted in Section 2 hereof and in Exhibit 1. See supra n.1.
4
    In the event that any payment date is on a date that is not a Business Day, then the making of such payment may
    be completed on the next succeeding Business Day, but shall be deemed to have been completed as of the
    required date.
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the administration (including the payment of expenses) of the TPP Trust, and to make the TPP
Abatement Distributions to TPP Claimants that qualify as TPP Authorized Recipients (as defined
below), subject to the assessments payable to the Common Benefit Escrow (and, later, the
Common Benefit Fund) of 5% of each TPP Abatement Distribution pursuant to Section 5.8 of
the Plan.

TPP Authorized Recipients are required to use all funds distributed to them from the TPP Trust
solely and exclusively for (i) the Authorized Abatement Purposes set forth herein in Section 8
and Appendices C and D or (ii) the payment of attorneys’ fees and costs of TPP Authorized
Recipients (including counsel to the Third-Party Payor Group) (collectively, the “TPP
Authorized Abatement Purposes”); provided, that a TPP Authorized Recipient that makes the
certification required under Sections 8 and 9 regarding minimum spending requirements will be
deemed to have used the funds received as a TPP Abatement Distribution for TPP Authorized
Abatement Purposes; provided, further that such certification may be subject to audit by the TPP
Trust.

CLAIMS THAT THIRD-PARTY PAYORS MAY HAVE AGAINST DISTRIBUTIONS
PAYABLE TO HOLDERS OF PI CLAIMS (SUCH AS REIMBURSEMENT AND LIEN
CLAIMS) ARE NOT BEING ADMINISTERED BY THE TPP TRUST AND ARE NOT
SUBJECT TO THE PROCEDURES SET FORTH HEREIN. THIRD-PARTY PAYORS MAY
ELECT TO RESOLVE SUCH CLAIMS THROUGH THE LIEN RESOLUTION
PROCEDURES UNDER THE LRP AGREEMENT, WHICH SHALL BE ATTACHED AS
EXHIBIT [•] TO THE PI TRUST AGREEMENT (AND IS ATTACHED HEREIN AS
EXHIBIT 1 FOR EASE OF REFERENCE), AND WHICH SHALL BE FILED WITH THE
PLAN SUPPLEMENT. THE PLAN SUPPLEMENT (INCLUDING THE LRP AGREEMENT)
MAY        BE      OBTAINED       FREE      OF       CHARGE      AT
HTTPS://RESTRUCTURING.PRIMECLERK.COM/PURDUEPHARMA. DISTRIBUTIONS
TO PARTICIPATING THIRD-PARTY PAYORS UNDER THE LRP AGREEMENT WILL BE
MADE BY THE PI TRUSTEE FROM FUNDS HELD BY THE PI TRUST.

§ 3.    ADMINISTRATION BY TRUSTEE.

The trustee of the TPP Trust (the “Trustee”) will be selected in accordance with the Plan in
advance of the Effective Date by the Third-Party Payor Group with the consent of the Debtors
(which consent shall not be unreasonably withheld, delayed, or denied.). 5

The Trustee shall have the power and authority to perform all functions on behalf of the TPP
Trust, and shall undertake all administrative responsibilities of the TPP Trust (whether directly or
through professionals and agents engaged by the TPP Trust, including a claims administrator) as
are provided in the Plan and the TPP Trust Documents.6 The Trustee shall be responsible for all

5
    The TPP Trust Agreement will be filed on or prior to the Plan Supplement Deadline.
6
    The TPP Trust Agreement shall provide that the Trustee shall have the authority to, in his/her discretion, consult
    with and retain attorneys, financial advisors, accountants, or other professionals and employees, including any
    third-party claims administrators or claims and noticing agent, as the Trustee deems appropriate in the
    reasonable exercise of his/her discretion, and who the Trustee reasonably determines to have qualifications
    necessary to assist the Trustee in the proper administration of the TPP Trust. The Trustee may pay the

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decisions and duties with respect to the TPP Trust, as more fully set forth in the TPP Trust
Agreement.7

The Trustee shall have the exclusive authority to determine the eligibility of TPP Claimants to be
TPP Authorized Recipients and the amount of TPP Abatement Distributions to be made by the
TPP Trust. In order to qualify as a TPP Authorized Recipient and be eligible to receive a TPP
Abatement Distribution, TPP Claimants must comply with the terms, provisions and procedures
set forth herein, including the TPP Abatement Claim Deadline (defined below) and the timely
submission of all forms required pursuant hereto (which shall be in addition to, and not in
substitution of, Proofs of Claim filed in the Chapter 11 Cases). The Trustee may investigate any
Third-Party Payor Channeled Claim, and may request information from any TPP Claimant to
ensure compliance with the terms set forth in this TPP TDP, the other TPP Trust Documents and
the Plan.

Pursuant to section 1123(b)(3)(B) of the Bankruptcy Code and applicable state corporate law, the
Trust shall be and is appointed as the successor-in-interest to, and the representative of, the
Debtors and their Estates for the retention, enforcement, settlement or adjustment of the Third-
Party Payor Channeled Claims.

In accordance with Section 5.11(b) and (c) of the Plan, the Trustee shall receive copies of all
Proofs of Claims for the Third-Party Payor Claims on the Effective Date, and shall be entitled to
reasonably request and receive from NewCo such additional information and documents as
reasonably necessary for the administration of the TPP Trust, which may include those medical,
prescription or business records of the Debtors related to the Third-Party Payor Channeled
Claims, which records shall be transferred from the Debtors to NewCo on the Effective Date.

§ 4.       ELIGIBILITY FOR TPP ABATEMENT DISTRIBUTIONS.

To qualify as a TPP Authorized Recipient to receive TPP Abatement Distributions from the TPP
Trust, each TPP Claimant must:

           a. Have timely filed a Proof of Claim in the Debtors’ Chapter 11 Cases (that is, on or
              before July 30, 2020) and checked the box identifying itself as a Third-Party Payor;
           b. Timely submit an additional, completed form (the “TPP Abatement Claim Form,”
              available at Appendix A) to the TPP Trust by the TPP Abatement Claim Deadline,
              which shall be no later than sixty (60) days after the Effective Date of the Plan 8 (the
              “TPP Abatement Claim Deadline”) in accordance with the instructions provided with
              the TPP Abatement Claim Form; and


       reasonable fees, costs and expenses of such persons (including to him/herself and his/her firm) out of the assets
       of the TPP Trust in the ordinary course of business, pursuant to the terms of the TPP Trust Agreement.
7
       The TPP Trust Agreement shall provide for the compensation of the Trustee. The Trustee shall not be required
       to post any bond or other form of surety or security unless otherwise ordered by the Bankruptcy Court.
8
    In the event that the deadline (i.e., the sixtieth day after the Effective Date) falls on a date that is not a Business
       Day, then the deadline shall be the next succeeding Business Day,


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        c. Have provided in connection with such TPP Abatement Claim Form, by or before the
           TPP Abatement Claim Deadline, a calculation of its Purdue-Related Opioid Spend (as
           defined in Appendix B), utilizing the Maximum Eligible Amount Calculation
           Methodology.9

Any TPP Claimant who meets all of the above criteria (a)-(c) (each such TPP Claimant, a “TPP
Authorized Recipient”) shall qualify for TPP Abatement Distributions, subject to the limitations
otherwise set forth herein.

FOR AVOIDANCE OF DOUBT, FOR A TPP CLAIMANT TO QUALIFY AS A TPP
AUTHORIZED RECIPIENT AND BE ELIGIBLE TO RECEIVE A TPP ABATEMENT
DISTRIBUTION, SUCH TPP CLAIMANT MUST HAVE TIMELY FILED A PROOF OF
CLAIM IDENTIFYING ITSELF AS A THIRD-PARTY PAYOR BY OR BEFORE THE
GENERAL BAR DATE AND MUST TIMELY SUBMIT A TPP ABATEMENT CLAIM
FORM BY OR BEFORE THE TPP ABATEMENT CLAIM DEADLINE (THAT IS, SIXTY (60)
DAYS AFTER THE EFFECTIVE DATE OF THE PLAN, AS SET FORTH BELOW), USING
THE MAXIMUM ELIGIBLE AMOUNT CALCULATION METHODOLOGY.

        (a)     Initial Proof of Claim

All TPP Claimants were required, in order to preserve their claims against the Debtors, to file
Proofs of Claim by the General Bar Date (that is, July 30, 2020) established by the Bankruptcy
Court. More than 467,108 such Proofs of Claim were filed. Many, though not all, were filed
using estimated or unliquidated amounts.

Any TPP Claimant that did not timely file a Proof of Claim and check the box on the claim form
identifying itself as a Third-Party Payor is barred from asserting or seeking to enforce its Third-
Party Payor Claim, pursuant to the Bar Date Order, and shall not be a TPP Authorized Recipient
or eligible to receive a TPP Abatement Distribution from the TPP Trust.

        (b)     TPP Abatement Claim Deadline

All TPP Claimants that timely filed a Proof of Claim on or before July 30, 2020 shall be required
to submit a TPP Abatement Claim Form by the TPP Abatement Claim Deadline. Any TPP
Claimant that does not submit a TPP Abatement Claim Form shall not qualify as a TPP
Authorized Recipient, and any TPP Claimant that submits a TPP Abatement Claim Form after
the TPP Abatement Claim Deadline shall not qualify as a TPP Authorized Recipient, and shall
have no right to any distribution from the TPP Trust. No TPP Abatement Claim Form shall be
accepted after the TPP Abatement Claim Deadline.

The TPP Abatement Claim Form requires all TPP Claimants to use the Maximum Eligible
Amount Calculation Methodology to determine the amount of their Purdue-Related Opioid
Spend, which shall determine the maximum amount they are eligible to receive as a TPP
Abatement Distribution. However, the actual amount of the TPP Abatement Distribution to a
TPP Authorized Recipient will depend on the total dollar amounts of (i) the TPP Abatement

9
    The Maximum Eligible Amount Calculation Methodology is attached as Appendix B.


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Distribution to all TPP Authorized Recipients and (ii) the Purdue-Related Opioid Spend of all
TPP Authorized Recipients.

The TPP Abatement Claim Form (including instructions for the required calculations and the
deadlines and for the submission of such TPP Abatement Claim Form on the website to be
maintained by the TPP Trust) will be distributed by the Trustee (or an agent thereof) to each TPP
Claimant that timely filed a Proof of Claim promptly after the Effective Date and in no event
more than three business days after the Effective Date (such notice, the “TPP Abatement
Distribution Claim Form Notice”). The TPP Abatement Claim Form will make it clear that after
the TPP Abatement Claim Forms are reviewed by the Trustee, the TPP website will be the sole
form of notice of the TPP Trust’s determination of the TPP Abatement Distribution amount each
TPP Authorized Recipient is to receive. The deadline for the posting of such determinations on
the website is described in Section 5(a) herein.

As set forth in the instructions attached to the TPP Abatement Claim Form, for those claims
that are being submitted on a consolidated basis for multiple TPP Claimants, the filer shall
provide aggregate information in Part 3 of the TPP Abatement Claim Form, and attach a chart
identifying the TPP Claimants included in the consolidated claim, the last five digits of each
TPP Claimant’s federal tax identification number (“FEIN”) or other unique identifier
acceptable to and approved by the Trustee, and the dollar amount of that TPP Claimant’s
claim, as calculated pursuant to the instructions.

A TPP Claimant (or its attorney) must deliver, as part of the TPP Abatement Claim Form, a
certification signed by the TPP Claimant or its attorney attesting to the accuracy and truthfulness
of the TPP Claimant’s submission. Such certification must include an attestation that the TPP
Claimant utilized the Maximum Eligible Amount Calculation Methodology to determine the
Purdue-Related Opioid Spend and that no data required for claims processing and valuation, and
no records or information that would reasonably be relevant to the valuation of the claim, have
been misrepresented or omitted.

A TPP CLAIMANT THAT FILED AN INITIAL PROOF OF CLAIM MUST TIMELY
SUBMIT A TPP ABATEMENT CLAIM FORM IN ORDER TO QUALIFY AS A TPP
AUTHORIZED RECIPIENT AND TO BE ELIGIBLE FOR TPP ABATEMENT
DISTRIBUTIONS FROM THE TPP TRUST. TPP ABATEMENT DISTRIBUTIONS FROM
THE TPP TRUST SHALL BE THE SOLE SOURCE OF RECOVERY IN RESPECT OF
THIRD-PARTY PAYOR CHANNELED CLAIMS, AND NO TPP CLAIMANT SHALL
HAVE ANY OTHER OR FURTHER RECOURSE TO THE DEBTORS OR THEIR ESTATES,
THE TPP TRUST OR ANY OTHER RELEASED PARTY OR SHAREHOLDER RELEASED
PARTY IN RESPECT OF ITS THIRD-PARTY PAYOR CHANNELED CLAIMS.

       (c)     Use of Maximum Eligible Amount Calculation Methodology to Determine
               Purdue-Related Opioid Spend

In addition to the requirements set forth above, each TPP Claimant must use the Maximum
Eligible Amount Calculation Methodology to identify its Purdue-Related Opioid Spend on a TPP
Abatement Claim Form in order to qualify as a TPP Authorized Recipient and to be eligible to
receive a TPP Abatement Distribution hereunder. On the TPP Abatement Claim Form, each TPP


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Claimant must set forth, inter alia, the total amount of its Purdue-Related Opioid Spend,
certifying that it used the Maximum Eligible Amount Calculation Methodology, as set forth on
Appendix B attached hereto, to calculate its Maximum Eligible Amount (as defined below).

TPP Claimants shall not be required to submit the data underlying the amount of their Purdue-
Related Opioid Spend with the TPP Abatement Claim Form but shall promptly provide
supporting documentation and data, if and when requested by the Trustee, sufficient to enable
confirmation of the amounts.

§ 5.       DETERMINATION OF TPP ABATEMENT DISTRIBUTIONS.

           (a)     Claims Review and Reconciliation

The Trustee shall review the timely submitted TPP Abatement Claim Forms.

As part of this review and aggregation process, the Trustee shall identify and eliminate
duplicative claims, if any, submitted by more than one TPP Authorized Recipient (e.g., by a Self-
Funded Health Plan 10 independently and as an ASO 11 encompassed by a TPP Authorized
Recipient filing an aggregate Proof of Claim) to ensure a TPP Authorized Recipient does not
receive multiple TPP Abatement Distributions in connection with the same Purdue-Related
Opioid Spend.

No later than 270 days after the TPP Abatement Claim Deadline, the Trustee shall cause the
website [www._________.com] to be updated to reflect the TPP Trust’s determination of the
maximum amounts eligible to be distributed to TPP Authorized Recipients (with respect to each
TPP Authorized Recipient, its “Maximum Eligible Amount”) and initial percentage of total TPP
Abatement Distributions represented by such Maximum Eligible Amount (with respect to each
TPP Authorized Recipient, its “Initial Allocation Percentage”). This will require that the TPP
Trust match the TPP Abatement Claim Forms to the Proofs of Claim that were timely filed as
Third-Party Payor Claims in connection with the General Bar Date, review the TPP Abatement
Claim Forms and any supporting documentation and data, make determinations about the
amount and validity of the Maximum Eligible Amounts submitted by TPP Authorized Recipients,
and eliminate any duplicative TPP Abatement Claim Forms that request TPP Abatement
Distributions for the same Purdue-Related Opioid Spend.

Each TPP Authorized Recipient’s Initial Allocation Percentage will be calculated by dividing (i)
the final dollar amount of such TPP Authorized Recipient’s Maximum Eligible Amount by (ii)
the total dollar amount of all TPP Authorized Recipients’ Maximum Eligible Amounts plus the


10
     The term Self-Funded Health Plan (“SFHP”) means a health or disability benefits plan provided by an employer,
     association, union, or other such entity (the “entity”) to its employees, members, or other such beneficiaries
     entitled to receive benefits under the plan, using the entity’s own funds, whereby the entity assumes most of the
     financial risk relating to health insurance. A SFHP may secure stop-loss coverage from an insurer only to cover
     unexpectedly large or catastrophic claims.
11
       Self-Funded Health Plans for which a Third-Party Payor performs administrative services only are referred to
       herein as Administrative Services Only customers or “ASO” or “ASO customers.”


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disputed, unresolved Third-Party Payor Channeled Claims for which funds must be reserved (see
below).

Within five business days of updating the website to reflect the TPP Trust’s determination of the
maximum amounts eligible to be distributed to TPP Authorized Recipients, the Trustee will, via
email, notify each TPP Claimant who has submitted a TPP Abatement Claim Form that the
website has been updated.

       (b)     Challenges to Determinations by the TPP Trust

TPP Authorized Recipients will have thirty (30) days from the date that the Trustee emails notice
of the updating of the TPP Trust website as set forth in Section 5(a) hereof, to submit a letter or
letters to the TPP Trust by submitting such letter or letters on the TPP Trust website challenging
the TPP Trust’s determination regarding its Maximum Eligible Amount or Initial Allocation
Percentages and/or the Maximum Eligible Amounts or Initial Allocation Percentages of any
other TPP Authorized Recipient (the “Challenge Deadline”). A separate letter must be submitted
for each challenged Maximum Eligible Amounts and/or Initial Allocation Percentages.

A TPP Authorized Recipient may challenge the Maximum Eligible Amounts and/or Initial
Allocation Percentages of as many other TPP Authorized Recipients as it wishes, though each
challenge must be made separately by one TPP Authorized Recipient against a single other TPP
Authorized Recipient, made on a good faith basis, and accompanied by a detailed letter
identifying the basis or bases for the challenge. A TPP Claimant that did not timely file a Proof
of Claim and does not timely submit a TPP Abatement Claim Form shall not have the right to
challenge the amount of any other TPP Authorized Recipient’s Maximum Eligible Amounts
and/or Initial Allocation Percentages.

The TPP Trust will have up to forty-five (45) days after the Challenge Deadline to resolve
challenges (the “Resolution Deadline”). If a Claim has been timely challenged and no agreement
can be reached between the TPP Trust and the TPP Authorized Recipient or TPP Authorized
Recipients (i.e., the TPP Authorized Recipient challenging the determination of the TPP Trust,
and in the event that the challenge relates to the Maximum Eligible Amount and/or Initial
Allocation Percentage of a different TPP Authorized Recipient, that TPP Authorized Recipient),
the TPP Authorized Recipient that brought the challenge has the right to file a motion with
respect to such challenge with the Bankruptcy Court, within thirty (30) days from the Resolution
Deadline.

If there is a timely challenge, the amount of the challenged Maximum Eligible Amount and/or
Initial Allocation Percentage shall be determined by negotiated resolution if possible, or, in the
absence of agreement, (i) the TPP Trust’s determination of the Maximum Eligible Amount
and/or Initial Allocation Percentage will control, if no motion is timely filed with the Bankruptcy
Court, and (ii) the amount of the Maximum Eligible Amount and/or Initial Allocation Percentage
will be determined by the Bankruptcy Court, if a motion is timely filed.

If appropriate due to a successful challenge, the Trustee shall modify one or more amounts of
Maximum Eligible Amounts and/or Initial Allocation Percentages accordingly.



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Challenges that do not result in a change to the amount of any Maximum Eligible Amount and/or
Initial Allocation Percentages shall be deemed unsuccessful and the challenging TPP Authorized
Recipient shall be charged for all fees and expenses associated with adjudicating the failed
challenge, including all time spent by the Trustee and associated TPP Trust professionals; such
fees and expenses shall be subtracted from the challenging TPP Authorized Recipient’s TPP
Abatement Distribution payment.

If no challenge is timely received, the TPP Trust’s determination shall become a final
determination as to the amount of that Maximum Eligible Amount and/or Initial Allocation
Percentage.

Promptly following the Challenge Deadline, the Trustee shall cause the website
[www._________.com] to be updated to reflect the final determination of each TPP Authorized
Recipient’s Maximum Eligible Amount and/or Initial Allocation Percentage, which shall become
such TPP Authorized Recipient’s “Final Allocation Percentage.” The website shall also reflect
which, if any, Third-Party Payor Channeled Claims continue to be subject to dispute.

§ 6.   TPP ABATEMENT DISTRIBUTIONS BY TPP TRUST.

There will be three annual distributions by the TPP Trust, and the TPP Trust will provide a
distribution report on the TPP Trust website in advance of each of the distributions.

The first distribution report will be due on the February 15, 2023 (or, if February 15, 2023 is not
a Business Day, the next Business Day), provided that February 15, 2023 is at least fifteen (15)
months after the Effective Date. If it is not, the first distribution report will be due on the date
that is fifteen (15) months after the Effective Date. The second and third distribution reports will
be due one year and two years, respectively, after the date of the filing of the first distribution
report.

Distributions to TPP Authorized Recipients will begin thirty (30) days after the filing of
each distribution report, with the date on which that distribution begins being a
“distribution date.”

The maximum amount each TPP Authorized Recipient shall be allowed to receive from a
distribution shall be equal to the total gross distributable amount for all TPP Authorized
Recipients eligible to receive TPP Abatement Distributions, multiplied by each TPP Authorized
Recipient’s Final Allocation Percentage, all subject to any amounts reserved on account of
disputed Third-Party Payor Channeled Claims, consistent with Section 7. The existence of a
Final Allocation Percentage for a particular TPP Authorized Recipient does not entitle that TPP
Authorized Recipient to receive any funds, however, unless it has also complied with the terms
of the TPP Trust and the funding of delineated opioid abatement initiatives therein.

At the option of the Trustee, any Cash payment may be made by a check or wire transfer or as
otherwise required or provided in the TPP Trust Agreement.

The Trustee shall not be required to make any TPP Abatement Distributions of Cash in an
amount less than $100, or such lower amount as determined by the Trustee in accordance with
the TPP Trust Agreement to any TPP Authorized Recipient; provided, however, that if any TPP

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Abatement Distribution is not made pursuant to this Section, such TPP Abatement Distribution
shall be added to any subsequent TPP Abatement Distribution to be made to such TPP
Authorized Recipient. The Trustee shall not be required to make any final distribution of Cash in
an amount less than $100 to any TPP Authorized Recipient. If the amount of any final TPP
Abatement Distribution to any TPP Authorized Recipient would be $100 or less, then such
distribution shall be made available for distribution to all TPP Authorized Recipients receiving
final distributions of at least $100.

In the event that following all distributions and upon completion of the TPP Trust’s tasks, the
TPP Trust is left with de minimis funds, the Trustee may make a donation of such de minimis
funds to an IRS accredited charity.

Assessments to the Common Benefit Escrow (and, later, the Common Benefit Fund) of 5% of
each TPP Abatement Distribution shall be paid pursuant to Section 5.8 of the Plan.

§ 7.       TREATMENT OF DISPUTED THIRD-PARTY PAYOR CHANNELED CLAIMS.

If thirty (30) days prior to the due date of a distribution report, a Maximum Eligible Amount
and/or Initial Allocation Percentage remains disputed, funds shall be reserved on account of that
Maximum Eligible Amount and/or Initial Allocation Percentage. Once the Trustee or the
Bankruptcy Court, as applicable, makes a determination as to the amount of the TPP Authorized
Recipient’s Maximum Eligible Amount and/or Initial Allocation Percentage, that TPP
Authorized Recipient may be entitled to a “catch-up” payment in connection with the next
distribution report and distribution date, consistent with the determination.

THE TPP TRUST SHALL NOT BE REQUIRED TO RESERVE FUNDS FOR A
DISPUTED CLAIM UNLESS A TPP CLAIMANT TIMELY SATISFIED THE
REQUIREMENTS OF SECTIONS 3 AND 5, INCLUDING BUT NOT LIMITED TO
HAVING FILED (I) A PROOF OF CLAIM BY OR BEFORE THE GENERAL BAR
DATE AND (II) A TPP ABATEMENT CLAIM FORM, UTILIZING THE MAXIMUM
ELIGIBLE AMOUNT CALCULATION METHODOLOGY, BY OR BEFORE THE TPP
ABATEMENT CLAIM DEADLINE. A TPP CLAIMANT THAT FAILED TO TIMELY
FILE A PROOF OF CLAIM OR TIMELY SUBMIT A TPP ABATEMENT CLAIM
FORM SHALL HAVE NO CLAIM AGAINST THE TPP TRUST AND NO RIGHT TO
ANY DISTRIBUTION FROM THE TPP TRUST.

§ 8.       USE OF TPP ABATEMENT DISTRIBUTIONS.

TPP Authorized Recipients are required to use all net funds distributed to them from the TPP
Trust solely and exclusively for TPP Authorized Abatement Purposes which consist of (i)
Approved MAT Expenses and Approved Uses/Programs 12 and (ii) the payment of attorneys’ fees
and costs; provided, that a TPP Authorized Recipient that makes the certification required under
Sections 8 and 9 regarding minimum spending requirements will be deemed to have used the
funds received as a TPP Abatement Distribution for TPP Authorized Abatement Purposes;
provided, further that such certification may be subject to audit by the TPP Trust.

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       See Appendices C and D hereto.

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A TPP Authorized Recipient that receives a TPP Abatement Distribution from the TPP Trust
must certify, pursuant to Section 9, that it has spent on an enterprise-wide basis (including
parents, subsidiaries, charitable organizations, and affiliate companies), an aggregate amount
equal to or exceeding its TPP Abatement Distribution for TPP Authorized Abatement Purposes,
and that it has complied with this Section, during the Distribution Period. 13 A TPP Authorized
Recipient that submitted an aggregate Proof of Claim on behalf of ASO customers may distribute
amounts received to ASO customers provided the TPP Authorized Recipient will certify,
pursuant to Section 9, that it has spent on an enterprise-wide basis (including parents,
subsidiaries, charitable organizations, affiliate companies and ASO customers), an aggregate
amount equal to or exceeding its TPP Abatement Distribution for TPP Authorized Abatement
Purposes, and that it has complied with this Section, during the Distribution Period. An ASO
customer included in an aggregate Proof of Claim will not be subject to independent certification
or usage requirements relating to the ASO’s share of the TPP Abatement Distribution.

The TPP Trust shall, in accordance with the Plan, the Confirmation Order and the applicable
Abatement Trust Documents, make TPP Abatement Distributions to TPP Authorized Recipients
exclusively for Authorized Abatement Purposes. Decisions made by the TPP Trust concerning
Abatement Distributions will consider the need to ensure that underserved urban and rural areas,
as well as minority communities, receive equitable access to the funds.

         (a)      Approved MAT Expenses and Approved Uses/Programs

TPP Authorized Abatement Purposes include Approved MAT Expenses and Approved
Uses/Programs.

Approved MAT Expenses shall include all or part of the costs paid by TPP Authorized
Recipients for Allowed MAT Therapy as defined in Appendix C attached hereto.

Approved Uses/Programs focus on providing treatment of Opioid Use Disorder (“OUD”) and/or
any Substance Use Disorder or Mental Health (“SUD/MH”) and are defined in Appendix D
attached hereto.14

         (b)      Requirements for Self-Funded Health Plans

In each Distribution Period a TPP Authorized Recipient that qualifies as a Self-Funded Health
Plan: i) must have spent an aggregate amount at least equal to, or exceeding, its TPP Abatement
Distribution for TPP Authorized Abatement Purposes as described in both Appendices C and D
hereto; and ii) must have spent an aggregate amount at least equal to, or exceeding, 50% of the
Self-Funded Health Plan’s TPP Abatement Distribution on Approved Uses/Programs as
described in Appendix D hereto. This provision does not apply to the extent a Self-Funded
Health Plan is an ASO included in an aggregate Proof of Claim.

         (c)      Requirements for all TPPs other than Self-Funded Health Plans
13
     The Distribution Period is defined as the twelve (12) month period following each annual distribution date.
14
     As used herein, words like “expand,” “fund,” “provide” or the like shall not indicate a preference for new or
     existing programs.


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In each Distribution Period, a TPP Authorized Recipient (including a TPP Authorized Recipient
that filed an aggregate Proof of Claim on behalf of ASOs), other than a Self-Funded Health Plan
that independently filed a Proof of Claim: i) must have spent on an enterprise-wide basis
(including parents, subsidiaries, charitable organizations, affiliate companies and ASO
customers), an aggregate amount at least equal to, or exceeding, its TPP Abatement Distribution
for TPP Authorized Abatement Purposes as described in both Appendices C and D hereto; and ii)
must have spent on an enterprise-wide basis (including parents, subsidiaries, charitable
organizations, affiliate companies and ASO customers), an aggregate amount at least equal to, or
exceeding, 50% of the TPP Authorized Recipient’s TPP Abatement Distribution on Approved
Uses/Programs as described in Appendix D hereto.

§ 9.   REPORTING BY TPP AUTHORIZED RECIPIENTS.

Within ninety (90) days after the end of a Distribution Period, each TPP Authorized Recipient
that received a TPP Abatement Distribution, other than an ASO included in an aggregate Proof
of Claim, must submit to the TPP Trust a certification regarding its satisfaction of the minimum
spending requirements on TPP Authorized Abatement Purposes or that it was unable to meet the
minimum spending requirements and must carryover a portion of its TPP Abatement Distribution.

If a TPP Authorized Recipient that received a TPP Abatement Distribution is unable to meet or
has not met the minimum spending requirements set forth in Section 8 above during the
Distribution Period, those allocated but unused funds can carry over to the subsequent periods
and will continue to carry forward each year until the TPP Authorized Recipient meets the
relevant spending requirements for TPP Authorized Abatement Purposes. Additional annual
certification(s) must be submitted until the TPP Authorized Recipient meets the relevant
spending requirements. A TPP Authorized Recipient shall not be subject to a penalty for failing
to meet the minimum spending requirements with respect to its TPP Abatement Distribution
during a given Distribution Period.

The TPP Trust shall have the right to audit a claimant to determine whether the TPP Authorized
Recipient’s expenditures for TPP Authorized Abatement Purposes have met the requirements set
forth in the TPP Trust Documents.

Each TPP Authorized Recipient, other than an ASO included in an aggregate Proof of Claim, if
and when requested by the Trustee, shall provide supporting documentation, in a mutually
agreed upon format, demonstrating that the TPP Authorized Recipient’s expenditures for TPP
Authorized Abatement Purposes have met the requirements of the TPP Trust Documents. All
Proofs of Claim, TPP Abatement Claim Forms and certifications filed or submitted by TPP
Claimants are subject to audit by the Trustee, at the Trustee’s discretion. If the Trustee finds a
material misstatement in a TPP Claimant’s Proof of Claim, TPP Abatement Claim Form or
certification, the Trustee may allow that TPP Claimant up to 30 days to resubmit its Proof of
Claim, TPP Abatement Claim Form or certification with supporting documentation or revisions.
Failure of the TPP Claimant to timely correct its misstatement in a manner acceptable to the
Trustee may result in forfeiture of all or part of the TPP Claimant’s qualification as a TPP
Authorized Recipient or right to receive TPP Abatement Distributions.




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The Trustee shall have the power to take any and all actions that in the judgment of the Trustee
are necessary or proper to fulfill the purposes of TPP Trust. The TPP Trust retains the right to
seek return by legal means of any expenditures which fail to comply with the requirements of
this TPP TDP.

§ 10.   ADDITIONAL REPORTING BY THE TPP TRUST.

The TPP Trust shall file an annual report on its website after each year that the TPP Trust is in
existence, summarizing the distributions made from the TPP Trust and detailing the status of any
TPP Authorized Recipient audits, and any recommendations made by the Trustee relating to such
audits.




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                           APPENDICES AND EXHIBITS

APPENDIX A: TPP Abatement Claim Form

APPENDIX B: Maximum Eligible Amount Calculation Methodology

APPENDIX C: Approved MAT Expenses

APPENDIX D: Approved Uses/Programs


EXHIBIT 1: LRP Agreement




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                       APPENDIX A: TPP Abatement Claim Form

[To be filed on or prior to the Plan Supplement deadline]




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           APPENDIX B: Maximum Eligible Amount Calculation Methodology

TPP Claimants shall use the following methodology for calculating the Maximum Eligible
Amount distributable to them:

For the period of January 1, 2008 through December 31, 2019, provide the following:

   1. The number of subscribers or dependents covered under the TPP Claimant’s plan during
      some or all of the period from January 1, 2008 through December 31, 2019 (each, a
      “Unique Member”) who were prescribed one or more of the drugs identified on the NDC
      List.

   2. The number of unique prescriptions paid, all or in part, by your plan for the drugs
      identified on the NDC List.

   3. The total final dollars paid by your plan for the prescriptions for the drugs identified in 2
      above.

   4. The number of Unique Members identified in 1 above who were diagnosed with an
      Opioid Use Disorder, using one or more of the codes on the OUD ICD 10 List.

   5. For the Unique Members identified in 4 above, the total dollar amount of medical claims
      with the ICD, CPT, or HCPS codes on the OUD Medical Claims Codes List, paid for
      those Unique Members.

The NDC List, OUD ICD 10 List, and OUD Medical Claims Codes List will be attached to and
included with the Third-Party Payor Abatement Claim Form.




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                                 APPENDIX C: Approved MAT Expenses

Approved MAT Expenses. All or part of the expenses incurred by TPP Authorized Recipients for
Allowed MAT Therapy, defined as claims paid for the following therapies or under the
following ICD/CPT/HCPS codes:

1.         Medication Assisted Treatment (MAT): Assigned ICD-10 code F11.20 (convert to ICD-
           9 304.00, 304.01, and 304.02) for opioid dependence.
2.         Visit type: Adult Wellness Visit (AWV) or acute visit for Opioid Use
           Disorder/Dependence Comprehensive evaluation of new patient or established patient for
           suitableness for buprenorphine treatment.
3.         New Patient: code 99205, 99201
4.         Established Patient: code 99211-99215
5.         Visit type: MAT medication induction.
6.         Established Patient E/M: 99211–99215
7.         Patient Consult: 99241-45(*)15
8.         Telephonic: 99241 can only be used as telephonic prescriber-to-prescriber consultation
           regarding a patient. Patient cannot be present.
9.         Prolonged visits codes (99354, 99355) (*)
10.        30-74 minutes: 99354(*)
11.        75-104 minutes: 99355(*)
12.        105+ minutes: 99354+99355x2(*)
13.        Visit type: MAT medication/maintenance. Acute visit for OUD/opioid dependence.
14.        Established Patient: 99212-15
15.        SBIRT substance abuse and structured screening and brief intervention services: 99408
           (can be offered and billed for naloxone education.)
16.        CPT/Prof      HCPC/FAC
17.        99214 – E/M office visit/G0480 – UDT definitive
18.        99213 – E/M office visit/H0015 - IOP
19.        99285 – E/M ER visit/H2035 – drug treatment program per hour
20.        99215 – E/M office visit/G0481 – UDT definitive
21.        80307 – UDT presumptive/H0010 – acute/subacute detox
22.        99232 – E/M inpatient visit/H2036 - drug treatment program per diem
23.        99233 – E/M inpatient visit/G0463 – outpatient clinic visit


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      Codes followed by an asterisk (*) have been identified as frequently subject to abuse and are being reviewed.


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24.    99223 – E/M inpatient visit/H0011 - acute/subacute detox
25.    99284 – E/M ER visit/H0007 outpatient crisis intervention
26.    99204 – E/M office visit/G0482 – UDT definitive
27.    99231 – E/M inpatient visit/G0483 – UDT definitive
28.    99205 – E/M office visit/H0001 – alcohol and/or drug treatment assessment
29.    99220 – E/M observation/H0020 – alcohol and/or drug treatment – methadone
       administration
30.    99443 – E/M telephone service/H0050 – alcohol and/or drug treatment, brief
       intervention
31.    99283 – E/M ER visit/G0396 - alcohol and/or substance abuse structured assessment and
       brief intervention (15 to 30 mins)
32.    99212 – E/M office visit/G0397 - alcohol and/or substance abuse structured assessment
       and brief intervention (more than 30 mins)
33.    96372 - Therapeutic, prophylactic, or diagnostic injection (specify material injected);
       subcutaneous or intramuscular
34.    J2315 - Injection, naltrexone, depot form, 1 mg
35.    3E023GC - Introduction of other therapeutic substance into muscle, percutaneous
       approach
36.    96372 - Therapeutic, prophylactic, or diagnostic injection (specify material injected);
       subcutaneous or intramuscular (same as Vivitrol)
37.    Q9991 – Injection, buprenorphine extended-release (Sublocade), less than or equal to
       100 mg
38.    Q9992 – Injection, buprenorphine extended-release (Sublocade), greater than 100 mg
39.    G2067 Medication assisted treatment, methadone; weekly bundle including dispensing
       and/or administration, substance use counseling, individual and group therapy, and
       toxicology testing, if performed (provision of the services by a Medicare-enrolled Opioid
       Treatment Program)
40.    G2068 Medication assisted treatment, buprenorphine (oral); weekly bundle including
       dispensing and/or administration, substance use counseling, individual and group
       therapy, and toxicology testing if performed (provision of the services by a Medicare-
       enrolled Opioid Treatment Program)
41.    G2069 – Medication assisted treatment, buprenorphine (injectable); weekly bundle
       including dispensing and/ or administration, substance use counseling, individual and
       group therapy, and toxicology testing if performed (provision of the services by a
       Medicare-enrolled Opioid Treatment Program)
42.    G2070 Medication assisted treatment, buprenorphine (implant insertion); weekly bundle
       including dispensing and/or administration, substance use counseling, individual and
       group therapy, and toxicology testing if performed (provision of the services by a


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       Medicare-enrolled Opioid Treatment Program)
43.    G2071 Medication assisted treatment, buprenorphine (implant removal); weekly bundle
       including dispensing and/or administration, substance use counseling, individual and
       group therapy, and toxicology testing if performed (provision of the services by a
       Medicare enrolled Opioid Treatment Program)
44.    G2072 Medication assisted treatment, buprenorphine (implant insertion and removal);
       weekly bundle including dispensing and/or administration, substance use counseling,
       individual and group therapy, and toxicology testing if performed (provision of the
       services by a Medicare enrolled Opioid Treatment Program)
45.    G2073 Medication assisted treatment, naltrexone; weekly bundle including dispensing
       and/or administration, substance use counseling, individual and group therapy, and
       toxicology testing if performed (provision of the services by a Medicare-enrolled Opioid
       Treatment Program)
46.    G2074 – Medication assisted treatment, weekly bundle not including the drug, including
       substance use counseling, individual and group therapy, and toxicology (provision of the
       services by a Medicare-enrolled opioid treatment program)
47.    G2075 Medication assisted treatment, medication not otherwise specified; weekly bundle
       including dispensing and/or administration, substance use counseling, individual and
       group therapy, and toxicology testing, if performed (provision of the services by a
       Medicare-enrolled opioid treatment program)
48.    G2076 Intake activities, including initial medical examination that is a complete, fully
       documented physical evaluation and initial assessment by a program physician or a
       primary care physician, or an authorized health care professional under the supervision
       of a program physician qualified personnel that includes preparation of a treatment plan
       that includes the patient’s short-term goals and the tasks the patient must perform to
       complete the short-term goals; the patient’s requirements for education, vocational
       rehabilitation, and employment; and the medical, psycho- social, economic, legal, or
       other supportive services that a patient needs, conducted by qualified personnel
       (provision of the services by a Medicare-enrolled opioid treatment program)
49.    G2077 Periodic assessment; assessing periodically by qualified personnel to determine
       the most appropriate combination of services and treatment (provision of the services by
       a Medicare-enrolled opioid treatment program)
50.    G2078 Take home supply of methadone; up to 7 additional day supply (provision of the
       services by a Medicare-enrolled opioid treatment program)
51.    G2079 Take home supply of buprenorphine (oral); up to 7 additional day supply
       (provision of the services by a Medicare-enrolled opioid treatment program)
52.    G2080 Each additional 30 minutes of counseling in a week of medication assisted
       treatment, (provision of the services by a Medicare-enrolled opioid treatment program)
53.    G2086 –Office-based treatment for opioid use disorder, including development of the
       treatment plan, care coordination, individual therapy and group therapy and counseling;
       at least 70 minutes in the first calendar month


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54.    G2087 – Office-based treatment for opioid use disorder, including care coordination,
       individual therapy and group therapy and counseling; at least 60 minutes in a subsequent
       calendar month
55.    G0516 – Insertion of non-biodegradable drug delivery implants, 4 or more (services for
       subdermal rod implant)
56.    G0517 – Removal of non-biodegradable drug delivery implants, 4 or more (services for
       subdermal implants)
57.    G0518 – Removal with reinsertion, non-biodegradable drug delivery implants, 4 or more
       (services for subdermal implants)
58.    G2215 – Take home supply of nasal naxolone (provision of the services by a Medicare
       enrolled opioid treatment program)
59.    G2216 – Take home supply of injectable naxolone (provision of the services by a
       Medicare enrolled opioid treatment program)
60.    11981 – Insertion of single non-biodegradable implant
61.    11982 – Removal of single non-biodegradable implant
62.    11983 – Removal and re-insertion of single nonbiodegradable implant
63.    17999 – unlisted   procedure, skin, mucous mem
64.    S9475 –Ambulatory setting substance abuse treatment or detoxification services
65.    H0020 ALCOHL &OR RX SRVC; METHADONE ADMIN &OR SERVICE
66.    H0033 ORAL MEDICATION ADMIN DIRECT OBSERVATION
67.    J3490 - Buprenorphine extended-release injection, for subcutaneous use (Sublocade)
68.    J0570 – Buprenorphine implant, 74.2 mg; Physician office and Outpatient
69.    J0571 BUPRENORPHINE ORAL 1 MG
70.    J0572 BUPRENORPHINE/NALOXONE ORAL </=TO 3 MG BPN
71.    J0573 BUPRENORPHNE/NALOXONE ORAL >3 MG BUT </=6 MG BPN
72.    J0574 BUPRENORPHINE/NLX ORAL >6 MG BUT </=TO 10 MG BPN
73.    J0575 BUPRENORPHINE/NALOXONE ORAL >10 MG BUPRENORPHINE
74.    J1230 Methadone
75.    J2315 INJECTION NALTREXONE DEPOT FORM 1 MG
76.    S0109 METHADONE ORAL 5MG
77.    Rev Code 900 + H0020 (methadone)
78.    Rev Code 900 + H0001 or H0004 or H0005 or H0006
79.    Bunavail (buprenorphine with naloxone) Buccal Film; Buprenorphine with naloxone
       Sublingual Tablet/Film; Cassipa (buprenorphine with naloxone) Sublingual Film;
       Suboxone (buprenorphine with naloxone) Sublingual Film; Probuphine (buprenorphine);
       Subutex (buprenorphine); Sublocade (buprenorphine extended-release) injection;

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       Zubsolv (buprenorphine with naloxone) Sublingual Tablet; Vivitrol (naltrexone for
       extended-release); Methadone
80.    65200010100760       BUPRENORPHIN SUB 2MG
81.    65200010100760       BUPRENORPHINE 2 MG TABLET SL
82.    65200010100760       SUBUTEX SUB 2MG
83.    65200010100780       BUPRENORPHIN SUB 8MG
84.    65200010100780       BUPRENORPHINE 8 MG TABLET SL
85.    65200010100780       SUBUTEX SUB 8MG
86.    65200010102320       PROBUPHINE IMP KIT 74.2
87.    65200010200710       ZUBSOLV SUB 0.7-0.18
88.    65200010200715       ZUBSOLV SUB 1.4-0.36
89.    65200010200720       BUPREN/NALOX SUB 2-0.5MG
90.    65200010200720       BUPRENORPHN-NALOXN 2-0.5 MG SL
91.    65200010200720       SUBOXONE SUB 2-0.5MG
92.    65200010200720       SUBOXONE SUB 2MG
93.    65200010200725       ZUBSOLV 2.9-0.71 MG TABLET SL
94.    65200010200732       ZUBSOLV SUB 5.7-1.4
95.    65200010200740       BUPREN/NALOX SUB 8-2MG
96.    65200010200740       BUPRENORPHIN-NALOXON 8-2 MG SL
97.    65200010200740       SUBOXONE SUB 8-2MG
98.    65200010200740       SUBOXONE SUB 8MG
99.    65200010200745       ZUBSOLV SUB 8.6-2.1
100.   65200010200760       ZUBSOLV 11.4-2.9 MG TABLET SL
101.   65200010208220       BUPREN/NALOX MIS 2-0.5MG
102.   65200010208220       SUBOXONE MIS 2-0.5MG
103.   65200010208230       BUPREN/NALOX MIS 4-1MG
104.   65200010208230       SUBOXONE MIS 4-1MG
105.   65200010208240       BUPREN/NALOX MIS 8-2MG
106.   65200010208240       SUBOXONE MIS 8-2MG
107.   65200010208250       BUPREN/NALOX MIS 12-3MG
108.   65200010208250       SUBOXONE MIS 12-3MG
109.   65200010208260       BUNAVAIL MIS 2.1-0.3
110.   65200010208270       BUNAVAIL MIS 4.2-0.7

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111.   65200010208280        BUNAVAIL MIS 6.3-1MG
112.   93400030001920        VIVITROL INJ 380MG
113.   93400030100305        DEPADE TAB 50MG
114.   93400030100305        NALTREXONE TAB 50MG
115.   93400030100305        REVIA TAB 50MG
116.   93409902502320        NALTREXONE IMP
117.   6520001000E520        SUBLOCADE INJ 100/0.5
118.   6520001000E530        SUBLOCADE INJ 300/1.5
119.   F11.1                 Opioid abuse
120.   F11.10                Opioid abuse, uncomplicated
121.   F11.11                Opioid abuse, in remission
122.   F11.12                Opioid abuse with intoxication
123.   F11.120               Opioid abuse with intoxication, uncomplicated
124.   F11.121               Opioid abuse with intoxication delirium
125.   F11.122               Opioid abuse with intoxication with perceptual disturbance
126.   F11.129               Opioid abuse with intoxication, unspecified
127.   F11.13                Opioid abuse with withdrawal
128.   F11.14                Opioid abuse with opioid-induced mood disorder
129.   F11.15                Opioid abuse with opioid-induced psychotic disorder
130.   F11.150               Opioid abuse with opioid-induced psychotic disorder with
                             delusions
131.   F11.151               Opioid abuse with opioid-induced psychotic disorder with
                             hallucinations
132.   F11.159               Opioid abuse        with   opioid-induced     psychotic   disorder,
                             unspecified
133.   F11.18                Opioid abuse with other opioid-induced disorder
134.   F11.181               Opioid abuse with opioid-induced sexual dysfunction
135.   F11.182               Opioid abuse with opioid-induced sleep disorder
136.   F11.188               Opioid abuse with other opioid-induced disorder
137.   F11.19                Opioid abuse with unspecified opioid-induced disorder
138.   T40.0X1               Poisoning by opium, accidental (unintentional)
139.   T40.0X1A              Poisoning by opium, accidental (unintentional), initial encounter
140.   T40.0X1D              Poisoning by opium, accidental (unintentional), subsequent


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                            encounter
141.   T40.0X1S             Poisoning by opium, accidental (unintentional), sequela
142.   T40.0X2              Poisoning by opium, intentional self-harm
143.   T40.0X2A             Poisoning by opium, intentional self-harm, initial encounter
144.   T40.0X2D             Poisoning by opium, intentional self-harm, subsequent encounter
145.   T40.0X2S             Poisoning by opium, intentional self-harm, sequela
146.   T40.0X3              Poisoning by opium, assault
147.   T40.0X3A             Poisoning by opium, assault, initial encounter
148.   T40.0X3D             Poisoning by opium, assault, subsequent encounter
149.   T40.0X3S             Poisoning by opium, assault, sequela
150.   T40.0X4              Poisoning by opium, undetermined
151.   T40.0X4A             Poisoning by opium, undetermined, initial encounter
152.   T40.0X4D             Poisoning by opium, undetermined, subsequent encounter
153.   T40.0X4S             Poisoning by opium, undetermined, sequela
154.   T40.1                Poisoning by and adverse effect of heroin
155.   T40.1X               Poisoning by and adverse effect of heroin
156.   T40.1X1              Poisoning by heroin, accidental (unintentional)
157.   T40.1X1A             Poisoning by heroin, accidental (unintentional), initial encounter
158.   T40.1X1D             Poisoning by heroin, accidental (unintentional), subsequent
                            encounter
159.   T40.1X1S             Poisoning by heroin, accidental (unintentional), sequela
160.   T40.1X2              Poisoning by heroin, intentional self-harm
161.   T40.1X2A             Poisoning by heroin, intentional self-harm, initial encounter
162.   T40.1X2D             Poisoning by heroin, intentional self-harm, subsequent encounter
163.   T40.1X2S             Poisoning by heroin, intentional self-harm, sequela
164.   T40.1X3              Poisoning by heroin, assault
165.   T40.1X3A             Poisoning by heroin, assault, initial encounter
166.   T40.1X3D             Poisoning by heroin, assault, subsequent encounter
167.   T40.1X3S             Poisoning by heroin, assault, sequela
168.   T40.1X4              Poisoning by heroin, undetermined
169.   T40.1X4A             Poisoning by heroin, undetermined, initial encounter
170.   T40.1X4D             Poisoning by heroin, undetermined, subsequent encounter
171.   T40.1X4S             Poisoning by heroin, undetermined, sequela

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172.   T40.1X5             Adverse effect of heroin
173.   T40.1X5A            Adverse effect of heroin, initial encounter
174.   T40.1X5D            Adverse effect of heroin, subsequent encounter
175.   T40.1X5S            Adverse effect of heroin, sequela
176.   T40.1X6             Underdosing of heroin
177.   T40.1X6A            Underdosing of heroin, initial encounter
178.   T40.1X6D            Underdosing of heroin, subsequent encounter
179.   T40.1X6S            Underdosing of heroin, sequela
180.   T40.2X1             Poisoning by other opioids, accidental (unintentional)
181.   T40.2X1A            Poisoning by other opioids, accidental (unintentional), initial
                           encounter
182.   T40.2X1D            Poisoning by other         opioids,   accidental    (unintentional),
                           subsequent encounter
183.   T40.2X1S            Poisoning by other opioids, accidental (unintentional), sequela
184.   T40.2X2             Poisoning by other opioids, intentional self-harm
185.   T40.2X2A            Poisoning by other opioids, intentional self-harm, initial
                           encounter
186.   T40.2X2D            Poisoning by other opioids, intentional self-harm, subsequent
                           encounter
187.   T40.2X2S            Poisoning by other opioids, intentional self-harm, sequela
188.   T40.2X3             Poisoning by other opioids, assault
189.   T40.2X3A            Poisoning by other opioids, assault, initial encounter
190.   T40.2X3D            Poisoning by other opioids, assault, subsequent encounter
191.   T40.2X3S            Poisoning by other opioids, assault, sequela
192.   T40.2X4             Poisoning by other opioids, undetermined
193.   T40.2X4A            Poisoning by other opioids, undetermined, initial encounter
194.   T40.2X4D            Poisoning by other opioids, undetermined, subsequent encounter
195.   T40.2X4S            Poisoning by other opioids, undetermined, sequela
196.   T40.3X1             Poisoning by methadone, accidental (unintentional)
197.   T40.3X1A            Poisoning by methadone, accidental (unintentional), initial
                           encounter
198.   T40.3X1D            Poisoning by methadone, accidental (unintentional), subsequent
                           encounter
199.   T40.3X1S            Poisoning by methadone, accidental (unintentional), sequela


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200.   T40.3X2               Poisoning by methadone, intentional self-harm
201.   T40.3X2A              Poisoning by methadone, intentional self-harm, initial encounter
202.   T40.3X2D              Poisoning by methadone, intentional self-harm, subsequent
                             encounter
203.   T40.3X2S              Poisoning by methadone, intentional self-harm, sequela
204.   T40.3X3               Poisoning by methadone, assault
205.   T40.3X3A              Poisoning by methadone, assault, initial encounter
206.   T40.3X3D              Poisoning by methadone, assault, subsequent encounter
207.   T40.3X3S              Poisoning by methadone, assault, sequela
208.   T40.3X4               Poisoning by methadone, undetermined
209.   T40.3X4A              Poisoning by methadone, undetermined, initial encounter
210.   T40.3X4D              Poisoning by methadone, undetermined, subsequent encounter
211.   T40.3X4S              Poisoning by methadone, undetermined, sequela
212.   T40.4                 Poisoning by, adverse effect of and underdosing of other
                             synthetic narcotics
213.   T40.41                Poisoning by, adverse effect of and underdosing of fentanylor
                             fentanyl analogs
214.   T40.411               Poisoning by       fentanyl   or   fentanyl   analogs,   accidental
                             (unintentional)
215.   T40.411A              Poisoning by fentanyl or fentanyl             analogs,   accidental
                             (unintentional), initial encounter
216.   T40.411D              Poisoning by fentanyl or fentanyl             analogs,   accidental
                             (unintentional), subsequent encounter
217.   T40.411S              Poisoning by fentanyl         or   fentanyl   analogs,   accidental
                             (unintentional), sequela
218.   T40.412               Poisoning by fentanyl or fentanyl analogs, intentional self-harm
219.   T40.412A              Poisoning by fentanyl or fentanyl analogs, intentional self-harm,
                             initial encounter
220.   T40.412D              Poisoning by fentanyl or fentanyl analogs, intentional self-harm,
                             subsequent encounter
221.   T40.412S              Poisoning by fentanyl or fentanyl analogs, intentional self-harm,
                             sequela
222.   T40.413               Poisoning by fentanyl or fentanyl analogs, assault
223.   T40.413A              Poisoning by fentanyl or fentanyl analogs, assault, initial
                             encounter
224.   T40.413D              Poisoning by fentanyl or fentanyl analogs, assault, subsequent

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                             encounter
225.   T40.413S              Poisoning by fentanyl or fentanyl analogs, assault, sequela
226.   T40.414               Poisoning by fentanyl or fentanyl analogs, undetermined
227.   T40.414A              Poisoning by fentanyl or fentanyl analogs, undetermined, initial
                             encounter
228.   T40.414D              Poisoning by fentanyl or fentanyl analogs, undetermined,
                             subsequent encounter
229.   T40.414S              Poisoning by fentanyl or fentanyl analogs, undetermined, sequela
230.   T40.415               Adverse effect of fentanyl or fentanyl analogs
231.   T40.415A              Adverse effect of fentanyl or fentanyl analogs, initial encounter
232.   T40.415D              Adverse effect of fentanyl or fentanyl analogs, subsequent
                             encounter
233.   T40.415S              Adverse effect of fentanyl or fentanyl analogs, sequela
234.   T40.416               Underdosing of fentanyl or fentanyl analogs
235.   T40.416A              Underdosing of fentanyl or fentanyl analogs, initial encounter
236.   T40.416D              Underdosing of fentanyl or fentanyl analogs, subsequent
                             encounter
237.   T40.416S              Underdosing of fentanyl or fentanyl analogs, sequela
238.   T40.42                Poisoning by, adverse effect of and underdosing of tramadol
239.   T40.421               Poisoning by tramadol, accidental (unintentional)
240.   T40.421A              Poisoning by tramadol, accidental (unintentional), initial
                             encounter
241.   T40.421D              Poisoning by tramadol, accidental (unintentional), subsequent
                             encounter
242.   T40.421S              Poisoning by tramadol, accidental (unintentional), sequela
243.   T40.422               Poisoning by tramadol, intentional self-harm
244.   T40.422A              Poisoning by tramadol, intentional self-harm, initial encounter
245.   T40.422D              Poisoning by tramadol, intentional self-harm, subsequent
                             encounter
246.   T40.422S              Poisoning by tramadol, intentional self-harm, sequela
247.   T40.423               Poisoning by tramadol, assault
248.   T40.423A              Poisoning by tramadol, assault, initial encounter
249.   T40.423D              Poisoning by tramadol, assault, subsequent encounter
250.   T40.423S              Poisoning by tramadol, assault, sequela



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251.   T40.424               Poisoning by tramadol, undetermined
252.   T40.424A              Poisoning by tramadol, undetermined, initial encounter
253.   T40.424D              Poisoning by tramadol, undetermined, subsequent encounter
254.   T40.424S              Poisoning by tramadol, undetermined, sequela
255.   T40.425               Adverse effect of tramadol
256.   T40.425A              Adverse effect of tramadol, initial encounter
257.   T40.425D              Adverse effect of tramadol, subsequent encounter
258.   T40.425S              Adverse effect of tramadol, sequela
259.   T40.426               Underdosing of tramadol
260.   T40.426A              Underdosing of tramadol, initial encounter
261.   T40.426D              Underdosing of tramadol, subsequent encounter
262.   T40.426S              Underdosing of tramadol, sequela
263.   T40.49                Poisoning by, adverse effect of and underdosing of other
                             synthetic narcotics
264.   T40.491               Poisoning by other synthetic narcotics, accidental (unintentional)
265.   T40.491A              Poisoning     by      other   synthetic    narcotics,      accidental
                             (unintentional), initial encounter
266.   T40.491D              Poisoning     by     other   synthetic     narcotics,      accidental
                             (unintentional), subsequent encounter
267.   T40.491S              Poisoning     by     other    synthetic    narcotics,      accidental
                             (unintentional), sequela
268.   T40.492               Poisoning by other synthetic narcotics, intentional self-harm
269.   T40.492A              Poisoning by other synthetic narcotics, intentional self-harm,
                             initial encounter
270.   T40.492D              Poisoning by other synthetic narcotics, intentional self-harm,
                             subsequent encounter
271.   T40.492S              Poisoning by other synthetic narcotics, intentional self-harm,
                             sequela
272.   T40.493               Poisoning by other synthetic narcotics, assault
273.   T40.493A              Poisoning by other synthetic narcotics, assault, initial encounter
274.   T40.493D              Poisoning by other synthetic narcotics, assault, subsequent
                             encounter
275.   T40.493S              Poisoning by other synthetic narcotics, assault, sequela
276.   T40.494               Poisoning by other synthetic narcotics, undetermined
277.   T40.494A              Poisoning by other synthetic narcotics, undetermined, initial


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                             encounter
278.   T40.494D              Poisoning by other           synthetic     narcotics,    undetermined,
                             subsequent encounter
279.   T40.494S              Poisoning by other synthetic narcotics, undetermined, sequela
280.   T40.495               Adverse effect of other synthetic narcotics
281.   T40.495A              Adverse effect of other synthetic narcotics, initial encounter
282.   T40.495D              Adverse effect of other synthetic narcotics, subsequent encounter
283.   T40.495S              Adverse effect of other synthetic narcotics, sequela
284.   T40.496               Underdosing of other synthetic narcotics
285.   T40.496A              Underdosing of other synthetic narcotics, initial encounter
286.   T40.496D              Underdosing of other synthetic narcotics, subsequent encounter
287.   T40.496S              Underdosing of other synthetic narcotics, sequela
288.   T40.4X                Poisoning by, adverse effect of and underdosing of other
                             synthetic narcotics
289.   T40.4X1               Poisoning by other synthetic narcotics, accidental (unintentional)
290.   T40.4X1A              Poisoning     by      other   synthetic       narcotics,    accidental
                             (unintentional), initial encounter
291.   T40.4X1D              Poisoning     by     other   synthetic        narcotics,    accidental
                             (unintentional), subsequent encounter
292.   T40.4X1S              Poisoning     by     other     synthetic      narcotics,    accidental
                             (unintentional), sequela
293.   T40.4X2               Poisoning by other synthetic narcotics, intentional self-harm
294.   T40.4X2A              Poisoning by other synthetic narcotics, intentional self-harm,
                             initial encounter
295.   T40.4X2D              Poisoning by other synthetic narcotics, intentional self-harm,
                             subsequent encounter
296.   T40.4X2S              Poisoning by other synthetic narcotics, intentional self-harm,
                             sequela
297.   T40.4X3               Poisoning by other synthetic narcotics, assault
298.   T40.4X3A              Poisoning by other synthetic narcotics, assault, initial encounter
299.   T40.4X3D              Poisoning by other synthetic narcotics, assault, subsequent
                             encounter
300.   T40.4X3S              Poisoning by other synthetic narcotics, assault, sequela
301.   T40.4X4               Poisoning by other synthetic narcotics, undetermined
302.   T40.4X4A              Poisoning by other synthetic narcotics, undetermined, initial


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                             encounter
303.   T40.4X4D              Poisoning by other         synthetic   narcotics,    undetermined,
                             subsequent encounter
304.   T40.4X4S              Poisoning by other synthetic narcotics, undetermined, sequela
305.   T40.4X5               Adverse effect of other synthetic narcotics
306.   T40.4X5A              Adverse effect of other synthetic narcotics, initial encounter
307.   T40.4X5D              Adverse effect of other synthetic narcotics, subsequent encounter
308.   T40.4X5S              Adverse effect of other synthetic narcotics, sequela
309.   T40.4X6               Underdosing of other synthetic narcotics
310.   T40.4X6A              Underdosing of other synthetic narcotics, initial encounter
311.   T40.4X6D              Underdosing of other synthetic narcotics, subsequent encounter
312.   T40.4X6S              Underdosing of other synthetic narcotics, sequela
313.   T40.601               Poisoning by unspecified narcotics, accidental (unintentional)
314.   T40.601A              Poisoning by unspecified narcotics, accidental (unintentional),
                             initial encounter
315.   T40.601D              Poisoning by unspecified narcotics, accidental (unintentional),
                             subsequent encounter
316.   T40.601S              Poisoning by unspecified narcotics, accidental (unintentional),
                             sequela
317.   T40.602               Poisoning by unspecified narcotics, intentional self-harm
318.   T40.602A              Poisoning by unspecified narcotics, intentional self-harm, initial
                             encounter
319.   T40.602D              Poisoning by unspecified narcotics, intentional self-harm,
                             subsequent encounter
320.   T40.602S              Poisoning by unspecified narcotics, intentional self-harm,
                             sequela
321.   T40.603               Poisoning by unspecified narcotics, assault
322.   T40.603A              Poisoning by unspecified narcotics, assault, initial encounter
323.   T40.603D              Poisoning    by    unspecified   narcotics,   assault,   subsequent
                             encounter
324.   T40.603S              Poisoning by unspecified narcotics, assault, sequela
325.   T40.604               Poisoning by unspecified narcotics, undetermined
326.   T40.604A              Poisoning by unspecified narcotics, undetermined, initial
                             encounter
327.   T40.604D              Poisoning by unspecified narcotics, undetermined, subsequent


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                             encounter
328.   T40.604S              Poisoning by unspecified narcotics, undetermined, sequela
329.   T40.691               Poisoning by other narcotics, accidental (unintentional)
330.   T40.691A              Poisoning by other narcotics, accidental (unintentional), initial
                             encounter
331.   T40.691D              Poisoning by other        narcotics,    accidental   (unintentional),
                             subsequent encounter
332.   T40.691S              Poisoning by other narcotics, accidental (unintentional), sequela
333.   T40.692               Poisoning by other narcotics, intentional self-harm
334.   T40.692A              Poisoning by other narcotics, intentional self-harm, initial
                             encounter
335.   T40.692D              Poisoning by other narcotics, intentional self-harm, subsequent
                             encounter
336.   T40.692S              Poisoning by other narcotics, intentional self-harm, sequela
337.   T40.693               Poisoning by other narcotics, assault
338.   T40.693A              Poisoning by other narcotics, assault, initial encounter
339.   T40.693D              Poisoning by other narcotics, assault, subsequent encounter
340.   T40.693S              Poisoning by other narcotics, assault, sequela
341.   T40.694               Poisoning by other narcotics, undetermined
342.   T40.694A              Poisoning by other narcotics, undetermined, initial encounter
343.   T40.694D              Poisoning   by    other   narcotics,    undetermined,      subsequent
                             encounter
344.   T40.694S              Poisoning by other narcotics, undetermined, sequela
345.   F11.20                Opioid Dependence uncomplicated
346.   F11.21                Opioid Dependence in remission
347.   F11.22                Opioid dependence with intoxication
348.   F11.220               Opioid Dependence uncomplicated
349.   F11.221               Opioid Dependence delirium
350.   F11.222               Opioid dependence w intoxication with perceptual disturbance
351.   F11.229               Opioid Dependence unspecified
352.   F11.23                Opioid Dependence with withdrawal
353.   F11.24                Opioid Dependence with opioid-induced mood disorder
354.   F11.25                Opioid Dependence with opioid-induced psychotic disorder
355.   F11.250               Opioid Dependence with delusions


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356.   F11.251               Opioid Dependence with hallucinations
357.   F11.259               Opioid Dependence unspecified
358.   F11.28                Opioid Dependence with other opioid-induced disorder
359.   F11.281               Opioid Dependence with opioid-induced sexual dysfunction
360.   F11.282               Opioid Dependence with opioid-induced sleep disorder
361.   F11.288               Opioid Dependence with other opioid-induced disorder




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                               APPENDIX D: Approved Uses/Programs

Approved Uses/Programs. Approved Uses/Programs are those that satisfy the following criteria
(the “Approved Uses/Programs Criteria”): they (a) focus on providing treatment of Opioid Use
Disorder (“OUD”) and/or any Substance Use Disorder or Mental Health (“SUD/MH”)
conditions, and/or grants to organizations focused on providing treatment of OUD and/or any
SUD/MH conditions, (b) employ evidence-based or evidence-informed strategies, and (c) do not
include reimbursements to health care providers or payments to covered persons under the plan
of a TPP Authorized Recipient (or ASO, if applicable). Approved Uses/Programs follow: 16

     1) Support programs that increase the availability or quality of treatment for OUD and/or
        any SUD/MH conditions or are designed to prevent OUD, including, but not limited to:
         a)    Expand telehealth networks and availability to increase access to treatment for OUD
               and/or any SUD/MH conditions, including MAT, as well as counseling, psychiatric
               support, and other treatment and recovery support services.
         b)    Support mobile, community-based crisis intervention services, including outpatient
               hospitals, community health centers, mental health centers and other clinics
               delivering mobile crisis intervention by qualified professionals and service
               providers, such as peer recovery coaches, for persons with OUD and/or any
               SUD/MH conditions and for persons who have experienced an opioid overdose. All
               supported services should make medications for opioid use disorder available
               through the mobile interventions.
         c)    Train health care personnel to identify and treat trauma of individuals with OUD
               and/or SUD (e.g., violence, sexual assault, human trafficking, or adverse childhood
               experiences) and family members (e.g., surviving family members after an overdose
               or overdose fatality), including training of health care personnel supporting
               residential treatment, partial hospitalization, and intensive outpatient services.
         d)    Provide funding and training for clinicians to obtain a waiver under the federal Drug
               Addiction Treatment Act of 2000 (“DATA 2000”) to prescribe MAT for OUD, and
               provide technical assistance and professional support to clinicians who have
               obtained a DATA 2000 waiver.
         e)    Support academic-led training on MAT for health care providers, students, or other
               supporting professionals, such as peer recovery coaches or recovery outreach
               specialists, including tele-mentoring to assist community-based providers in rural or
               underserved areas.
         f)    Support stigma reduction efforts regarding treatment and support for persons with
               OUD, including reducing the stigma on effective treatment and peer recovery and
               support specialists. These efforts should be based on research evidence of what
               works for stigma reduction and include an evaluation of efforts.


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     As used herein, words like “expand,” “fund,” “provide” or the like shall not indicate a preference for new or
     existing programs.


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      g)    Support programs offering physical health and behavioral health services for
            members with OUD and/or any SUD/MH conditions, including but not limited to
            care management.
      h)    Support utilization management programs designed to prevent OUD.
      i)    Fund programs providing locations for safe and free disposal of opioids and other
            controlled substances.
      j)    Fund programs tailored to support patient adherence to MAT treatment.
      k)    Support educational programs on correct coding for OUD.
      l)    Fund programs to develop predictive modeling for earlier identification of OUD and
            SUD.
      m) Support hospitals to deliver provision of MAT to patients.

   2) Support programs that decrease the cost to the patient of treatment for OUD and/or any
      SUD/MH conditions.
      a)    Waive co-payments and other non-covered (or unreimbursed) patient costs for
            treatment for opioid use disorder with buprenorphine and methadone.
      b)    Provide or support transportation to treatment or recovery programs or services for
            persons with OUD and/or any SUD/MH conditions.
      c)    Provide community support services, including social and legal services, to assist in
            the living conditions of persons with OUD and/or any SUD/MH conditions.
      d)    Provide employment training or educational services for persons in treatment for or
            recovery from OUD and/or any SUD/MH conditions.

   3) Grants to organizations whose mission is to provide, expand access to and/or improve the
      delivery of treatment for OUD and/or any SUD/MH conditions through evidence-based
      or evidence-informed strategies.
      Examples include:

           Liberation Programs Inc. (CT)
           Boston Medical Center (Grayken Center) (MA)
           Institutes for Behavioral Resources - Reach Health Services (MD)
           Montefiore Medical Center (opioid treatment programs) (NY)
           Pennsylvania Psychiatric Institute: Advancement in Recovery (PA)
           Evergreen Treatment Services (WA)
           Shatterproof
           The Alliance for Addiction Payment Reform
           National Council for Behavioral Health


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          Faces and Voices of Recovery
          National Alliance for Recovery Residences
          Supportive Housing
          National Association for Mental Illness
          Mental Health of America

The Trustee can add to the list of Approved Uses/Programs in this Appendix D programs that
satisfy the Approved Uses/Programs Criteria; provided that the Trustee provides each State
Attorney General at least forty-five (45) days advance written notice that both identifies the
program or programs to be added to this Appendix D and explains how the program or programs
to be added satisfy the Approved Uses/Programs Criteria.




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                            EXHIBIT 1: LRP Agreement




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                                     Exhibit E-1

                     Redline of TPP Trust Distribution Procedures
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                              TPP TRUST DISTRIBUTION PROCEDURES 1

§ 1.       APPLICABILITY.


Pursuant to the plan of reorganization of Purdue Pharma L.P. and its Debtor affiliates
(the “Plan”)2 and the Master TDP, the following claims (“Third-Party Payor Channeled Claims”)
shall be channeled to and liability therefor shall be assumed by the TPP Trust as of the Effective
Date: (i) all Third-Party Payor Claims, which include all Claims against the Debtors held by
Third-Party Payors that are not Domestic Governmental Entities (“TPP Claimants”),3 and (ii) all
Released Claims and Shareholder Released Claims held by Third-Party Payors that are not
Domestic Governmental Entities. Third-Party Payor Channeled Claims shall be administered,
liquidated and discharged pursuant to the TPP Trust Documents, and satisfied solely from funds
held by the TPP Trust as and to the extent provided in these distribution procedures (this “TPP
TDP”). This TPP TDP sets forth the manner in which the TPP Trust shall make Abatement
Distributions to TPP Claimants that satisfy the eligibility criteria for Authorized Recipients set
forth herein, including the timely filing of a TPP Abatement Claim Form, as defined in Section 4
herein (such Abatement Distributions, “TPP Abatement Distributions”). Third-Party Payor
Channeled Claims shall be fully discharged pursuant to this TPP TDP. All Distributions in
respect of Third-Party Payor Channeled Claims shall be exclusively in the form of TPP
Abatement Distributions and may be used exclusively for the Authorized Abatement Purposes
set forth herein.

§ 2.       RECEIPT AND USE OF FUNDS BY THE TPP TRUST.


The Plan contemplates that the TPP Trust will receive a total of $365 million over time, with an
initial payment of $1 million to the TPP Trust on the Effective Date (the “Initial TPP Trust
Distribution”) and three subsequent payments to the TPP Trust from the Master Disbursement
Trust in the following amounts: (i) $121 million on July 31, 2022, (ii) $121 million on July 31,
2023 and (iii) $122 million on July 31, 2024.4 The funds paid to the TPP Trust shall be used for
1
       These procedures are qualified by the terms of the Plan. TPP Claimants are strongly advised to review the Plan
       as well as all of the TPP Trust Documents, the Debtors’ Disclosure Statement and the LRP Agreement for
       additional information on the terms of the Plan and the treatment of Third-Party Payor Channeled Claims.
       Although the LRP Agreement is a PI Trust Document, it has been attached to this TPP TDP as Exhibit 1 purely
       for ease of reference for TPP Claimants and potential TPP Authorized Recipients.
2
       Terms used but not defined herein shall have the meaning ascribed to them in the Plan.
3
       For the avoidance of doubt, “Third-Party Payor Claims” include any Claims against any Debtor that are held by
       Third-Party Payors (including any Claims based on the subrogation rights of the Holder thereof that are not
       Other Subordinated Claims) that are not Domestic Governmental Entities; provided that Claims in respect of
       self-funded government plans that were and are asserted through private Third-Party Payors shall be included in
       this definition of “Third-Party Payor Claims.” For the avoidance of doubt, claims of Third-Party Payors against
       Holders of PI Claims or Distributions payable to Holders of PI Claims are not claims against any Debtor and
       therefore are not included in this definition of “Third-Party Payor Claims.” The claims of Third-Party Payors
       against Holders of PI Claims and Distributions payable to Holders of PI Claims are addressed in the LRP
       Agreement, as noted in Section 2 hereof and in Exhibit 1. See supra n.1.
4
       In the event that any payment date is on a date that is not a Business Day, then the making of such payment may
       be completed on the next succeeding Business Day, but shall be deemed to have been completed as of the
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the administration (including the payment of expenses) of the TPP Trust, and to make the TPP
Abatement Distributions to TPP Claimants that qualify as TPP Authorized Recipients (as
defined below), subject to the assessments payable to the Common Benefit Escrow (and, later,
the Common Benefit Fund) of 5% of each TPP Abatement Distribution pursuant to Section 5.8
of the Plan.

TPP Authorized Recipients are required to use all funds distributed to them from the TPP Trust
solely and exclusively for (i) the Authorized Abatement Purposes set forth herein in Section 8
and Appendices C and D or (ii) the payment of attorneys’ fees and costs of TPP Authorized
Recipients (including counsel to the Third-Party Payor Group) (collectively, the “TPP
Authorized Abatement Purposes”); provided, that a TPP Authorized Recipient that makes the
certification required under Sections 8 and 9 regarding minimum spending requirements will be
deemed to have used the funds received as a TPP Abatement Distribution for TPP Authorized
Abatement Purposes; provided, further that such certification may be subject to audit by the TPP
Trust.

CLAIMS THAT THIRD-PARTY PAYORS MAY HAVE AGAINST DISTRIBUTIONS
PAYABLE TO HOLDERS OF PI CLAIMS (SUCH AS REIMBURSEMENT AND LIEN
CLAIMS) ARE NOT BEING ADMINISTERED BY THE TPP TRUST AND ARE NOT
SUBJECT TO THE PROCEDURES SET FORTH HEREIN. THIRD-PARTY PAYORS MAY
ELECT TO RESOLVE SUCH CLAIMS THROUGH THE LIEN RESOLUTION
PROCEDURES UNDER THE LRP AGREEMENT, WHICH SHALL BE ATTACHED AS
EXHIBIT [•] TO THE PI TRUST AGREEMENT (AND IS ATTACHED HEREIN AS
EXHIBIT 1 FOR EASE OF REFERENCE), AND WHICH SHALL BE FILED WITH THE
PLAN SUPPLEMENT. THE PLAN SUPPLEMENT (INCLUDING THE LRP AGREEMENT)
MAY        BE      OBTAINED       FREE      OF       CHARGE      AT
HTTPS://RESTRUCTURING.PRIMECLERK.COM/PURDUEPHARMA. DISTRIBUTIONS
TO PARTICIPATING THIRD-PARTY PAYORS UNDER THE LRP AGREEMENT WILL BE
MADE BY THE PI TRUSTEE FROM FUNDS HELD BY THE PI TRUST.

§ 3.       ADMINISTRATION BY TRUSTEE.


The trustee of the TPP Trust (the “Trustee”) will be selected in accordance with the Plan in
advance of the Effective Date by the Third-Party Payor Group with the consent of the Debtors
(which consent shall not be unreasonably withheld, delayed, or denied.). 5


The Trustee shall have the power and authority to perform all functions on behalf of the TPP
Trust, and shall undertake all administrative responsibilities of the TPP Trust (whether directly
or through professionals and agents engaged by the TPP Trust, including a claims administrator)
as are provided in the Plan and the TPP Trust Documents. 6 The Trustee shall be responsible for
       be completed on the next succeeding Business Day, but shall be deemed to have been completed as of the
       required date.
5
       The TPP Trust Agreement will be filed on or prior to the Plan Supplement Deadline.
6
       The TPP Trust Agreement shall provide that the Trustee shall have the authority to, in his/her discretion, consult
       with and retain attorneys, financial advisors, accountants, or other professionals and employees, including any

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all decisions and duties with respect to the TPP Trust, as more fully set forth in the TPP Trust
Agreement.7

The Trustee shall have the exclusive authority to determine the eligibility of TPP Claimants to be
TPP Authorized Recipients and the amount of TPP Abatement Distributions to be made by the
TPP Trust. In order to qualify as a TPP Authorized Recipient and be eligible to receive a TPP
Abatement Distribution, TPP Claimants must comply with the terms, provisions and procedures
set forth herein, including the TPP Abatement Claim Deadline (defined below) and the timely
submission of all forms required pursuant hereto (which shall be in addition to, and not in
substitution of, Proofs of Claim filed in the Chapter 11 Cases). The Trustee may investigate any
Third-Party Payor Channeled Claim, and may request information from any TPP Claimant to
ensure compliance with the terms set forth in this TPP TDP, the other TPP Trust Documents and
the Plan.

Pursuant to section 1123(b)(3)(B) of the Bankruptcy Code and applicable state corporate law, the
Trust shall be and is appointed as the successor-in-interest to, and the representative of, the
Debtors and their Estates for the retention, enforcement, settlement or adjustment of the Third-
Party Payor Channeled Claims.

In accordance with Section 5.11(b) and (c) of the Plan, the Trustee shall receive copies of all
Proofs of Claims for the Third-Party Payor Claims on the Effective Date, and shall be entitled to
reasonably request and receive from NewCo such additional information and documents as
reasonably necessary for the administration of the TPP Trust, which may include those medical,
prescription or business records of the Debtors related to the Third-Party Payor Channeled
Claims, which records shall be transferred from the Debtors to NewCo on the Effective Date.

§ 4.       ELIGIBILITY FOR TPP ABATEMENT DISTRIBUTIONS.

To qualify as a TPP Authorized Recipient to receive TPP Abatement Distributions from the TPP
Trust, each TPP Claimant must:

           a. Have timely filed a Proof of Claim in the Debtors’ Chapter 11 Cases (that is, on or
              before July 30, 2020) and checked the box identifying itself as a Third-Party Payor;
           b. Timely submit an additional, completed form (the “TPP Abatement Claim Form,”
              available at Appendix A) to the TPP Trust by the TPP Abatement Claim Deadline,
              which shall be no later than the first Business Day that is sixty (60) days after the



       with and retain attorneys, financial advisors, accountants, or other professionals and employees, including any
       third-party claims administrators or claims and noticing agent, as the Trustee deems appropriate in the
       reasonable exercise of his/her discretion, and who the Trustee reasonably determines to have qualifications
       necessary to assist the Trustee in the proper administration of the TPP Trust. The Trustee may pay the
       reasonable fees, costs and expenses of such persons (including to him/herself and his/her firm) out of the assets
       of the TPP TrustinTrust in the ordinary course of business, pursuant to the terms of the TPP Trust Agreement.
7
       The TPP Trust Agreement shall provide for the compensation of the Trustee. The Trustee shall not be required
       to post any bond or other form of surety or security unless otherwise ordered by the Bankruptcy Court.


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                  Effective Date of the Plan8 (the “TPP Abatement Claim Deadline”) in accordance
                  with the instructions provided with the TPP Abatement Claim Form; and
            c. Have provided in connection with such TPP Abatement Claim Form, by or before the
               TPP Abatement Claim Deadline, a calculation of its Purdue-Related Opioid Spend (as
               defined in Appendix B), utilizing the Maximum Eligible Amount Calculation
               Methodology.89

Any TPP Claimant who meets all of the above criteria (a)-(c) (each such TPP Claimant, a “TPP
Authorized Recipient”) shall qualify for TPP Abatement Distributions, subject to the limitations
otherwise set forth herein.

FOR AVOIDANCE OF DOUBT, FOR A TPP CLAIMANT TO QUALIFY AS A TPP
AUTHORIZED RECIPIENT AND BE ELIGIBLE TO RECEIVE A TPP ABATEMENT
DISTRIBUTION, SUCH TPP CLAIMANT MUST HAVE TIMELY FILED A PROOF OF
CLAIM IDENTIFYING ITSELF AS A THIRD-PARTY PAYOR BY OR BEFORE THE
GENERAL BAR DATE AND MUST TIMELY SUBMIT A TPP ABATEMENT CLAIM
FORM BY OR BEFORE THE TPP ABATEMENT CLAIM DEADLINE (THAT IS, THE
FIRST BUSINESS DAY THAT IS SIXTY (60) DAYS AFTER THE EFFECTIVE DATE OF
THE PLAN, AS SET FORTH BELOW), USING THE MAXIMUM ELIGIBLE AMOUNT
CALCULATION METHODOLOGY.

            (a)       Initial Proof of Claim

All TPP Claimants were required, in order to preserve their claims against the Debtors, to file
Proofs of Claim by the General Bar Date (that is, July 30, 2020) established by the Bankruptcy
Court. More than 467,108 such Proofs of Claim were filed. Many, though not all, were filed
using estimated or unliquidated amounts.

Any TPP Claimant that did not timely file a Proof of Claim and check the box on the claim form
identifying itself as a Third-Party Payor is barred from asserting or seeking to enforce its Third-
Party Payor Claim, pursuant to the Bar Date Order, and shall not be a TPP Authorized Recipient
or eligible to receive a TPP Abatement Distribution from the TPP Trust.

            (b)       TPP Abatement Claim Deadline

All TPP Claimants that timely filed a Proof of Claim on or before July 30, 2020 shall be required
to submit a TPP Abatement Claim Form by the TPP Abatement Claim Deadline. Any TPP
Claimant that does not submit a TPP Abatement Claim Form shall not qualify as a TPP
Authorized Recipient, and any TPP Claimant that submits a TPP Abatement Claim Form after
the TPP Abatement Claim Deadline shall not qualify as a TPP Authorized Recipient, and shall



8
     In the event that the deadline (i.e., the sixtieth day after the Effective Date) falls on a date that is not a Business
        Day, then the deadline shall be the next succeeding Business Day,
89
       The Maximum Eligible Amount Calculation Methodology is attached as Appendix B.


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have no right to any distribution from the TPP Trust. No TPP Abatement Claim Form shall be
accepted after the TPP Abatement Claim Deadline.

The TPP Abatement Claim Form requires all TPP Claimants to use the Maximum Eligible
Amount Calculation Methodology to determine the amount of their Purdue-Related Opioid
Spend, which shall determine the maximum amount they are eligible to receive as a TPP
Abatement Distribution. However, the actual amount of the TPP Abatement Distribution to a
TPP Authorized Recipient will depend on the total dollar amounts of (i) the TPP Abatement
Distribution to all TPP Authorized Recipients and (ii) the Purdue-Related Opioid Spend of all
TPP Authorized Recipients.

The TPP Abatement Claim Form (including instructions for the required calculations and the
deadlines and for the submission of such TPP Abatement Claim Form on the website to be
maintained by the TPP Trust) will be delivereddistributed by the TPP Trustee (or an agent
thereof) to each TPP Claimant that timely filed a Proof of Claim promptly after the Effective
Date and in no laterevent more than [__________]three business days after the Effective Date
(such notice, the “TPP Abatement Distribution Claim Form Notice”). The TPP Abatement Claim
Form will make it clear that after the TPP Abatement Claim Forms are reviewed by the Trustee,
the TPP website will be the sole form of notice of the TPP Trust’s determination of the TPP
Abatement Distribution amount each TPP Authorized Recipient is to receive. The deadline for
the posting of such determinations on the website is described in Section 5(a) herein.

As set forth in the instructions attached to the TPP Abatement Claim Form, for those claims
that are being submitted on a consolidated basis for multiple TPP Claimants, the filer shall
provide aggregate information in Part 3 of the TPP Abatement Claim Form, and attach a chart
identifying the TPP Claimants included in the consolidated claim, the last five digits of each
TPP Claimant’s federal tax identification number (“FEIN”) or other unique identifier
acceptable to and approved by the Trustee, and the dollar amount of that TPP Claimant’s
claim, as calculated pursuant to the instructions.

A TPP Claimant (or its attorney) must deliver, as part of the TPP Abatement Claim Form, a
certification signed by the TPP Claimant or its attorney attesting to the accuracy and truthfulness
of the TPP Claimant’s submission. Such certification must include an attestation that the TPP
Claimant utilized the Maximum Eligible Amount Calculation Methodology to determine the
Purdue-Related Opioid Spend and that no data required for claims processing and valuation, and
no records or information that would reasonably be relevant to the valuation of the claim, have
been misrepresented or omitted.

In order to qualify as a TPP Authorized Recipient, a TPP Claimant must also submit to the
Trustee on its TPP Abatement Claim Form a written attestation that all funds received by such
TPP Claimant as TPP Abatement Distributions will be used exclusively for TPP Authorized
Abatement Purposes.

A TPP CLAIMANT THAT FILED AN INITIAL PROOF OF CLAIM MUST TIMELY
SUBMIT A TPP ABATEMENT CLAIM FORM IN ORDER TO QUALIFY AS A TPP
AUTHORIZED RECIPIENT AND TO BE ELIGIBLE FOR TPP ABATEMENT
DISTRIBUTIONS FROM THE TPP TRUST. TPP ABATEMENT DISTRIBUTIONS FROM


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THE TPP TRUST SHALL BE THE SOLE SOURCE OF RECOVERY IN RESPECT OF
THIRD-PARTY PAYOR CHANNELED CLAIMS, AND NO TPP CLAIMANT SHALL HAVE
ANY OTHER OR FURTHER RECOURSE TO THE DEBTORS OR THEIR ESTATES, THE
TPP TRUST OR ANY OTHER RELEASED PARTY OR SHAREHOLDER RELEASED
PARTY IN RESPECT OF ITS THIRD-PARTY PAYOR CHANNELED CLAIMS.

           (c)      Use of Maximum Eligible Amount Calculation Methodology to Determine
                    Purdue-Related Opioid Spend

In addition to the requirements set forth above, each TPP Claimant must use the Maximum
Eligible Amount Calculation Methodology to identify its Purdue-Related Opioid Spend on a TPP
Abatement Claim Form in order to qualify as a TPP Authorized Recipient and to be eligible to
receive a TPP Abatement Distribution hereunder. On the TPP Abatement Claim Form, each TPP
Claimant must set forth, inter alia, the total amount of its Purdue-Related Opioid Spend,
certifying that it used the Maximum Eligible Amount Calculation Methodology, as set forth on
Appendix B attached hereto, to calculate its Maximum Eligible Amount (as defined below).

TPP Claimants shall not be required to submit the data underlying the amount of their Purdue-
Related Opioid Spend with the TPP Abatement Claim Form but shall promptly provide
supporting documentation and data, if and when requested by the Trustee, sufficient to enable
confirmation of the amounts.

§ 5.       DETERMINATION OF TPP ABATEMENT DISTRIBUTIONS.

           (a)      Claims Review and Reconciliation

The Trustee shall review the timely submitted TPP Abatement Claim Forms.


As part of this review and aggregation process, the Trustee shall identify and eliminate
duplicative claims, if any, submitted by more than one TPP Authorized Recipient (e.g., by a Self-
Funded Health Plan910 independently and as an ASO1011 encompassed by a TPP Authorized
Recipient filing an aggregate Proof of Claim) to ensure a TPP Authorized Recipient does not
receive multiple TPP Abatement Distributions in connection with the same Purdue-Related
Opioid Spend.

No later than 270 days after the TPP Abatement Claim Deadline, the Trustee shall cause the
website [www._________.com] to be updated to reflect the TPP Trust’s determination of the
maximum amounts eligible to be distributed to TPP Authorized Recipients (with respect to each

910
       The term Self-Funded Health Plan (“SFHP”) means a health or disability benefits plan provided by an
       employer, association, union, or other such entity (the “entity”) to its employees, members, or other such
       beneficiaries entitled to receive benefits under the plan, using the entity’s own funds, whereby the entity
       assumes most of the financial risk relating to health insurance. A SFHP may secure stop-loss coverage from an
       insurer only to cover unexpectedly large or catastrophic claims.
1011
       Self-Funded Health Plans for which a Third-Party Payor performs administrative services only are referred to
       herein as Administrative Services Only customers or “ASO” or “ASO customers.”


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TPP Authorized Recipient, its “Maximum Eligible Amount”) and initial percentage of total TPP
Abatement Distributions represented by such Maximum Eligible Amount (with respect to each
TPP Authorized Recipient, its “Initial Allocation Percentage”). This will require that the TPP
Trust match the TPP Abatement Claim Forms to the Proofs of Claim that were timely filed as
Third-Party Payor Claims in connection with the General Bar Date, review the TPP Abatement
Claim Forms and any supporting documentation and data, make determinations about the
amount and validity of the Maximum Eligible Amounts submitted by TPP Authorized
Recipients, and eliminate any duplicative TPP Abatement Claim Forms that request TPP
Abatement Distributions for the same Purdue-Related Opioid Spend.

Each TPP Authorized Recipient’s Initial Allocation Percentage will be calculated by dividing (i)
the final dollar amount of such TPP Authorized Recipient’s Maximum Eligible Amount by (ii)
the total dollar amount of all TPP Authorized Recipients’ Maximum Eligible Amounts plus the
disputed, unresolved Third-Party Payor Channeled Claims for which funds must be reserved (see
below).

Within five business days of updating the website to reflect the TPP Trust’s determination of the
maximum amounts eligible to be distributed to TPP Authorized Recipients, the Trustee will, via
email, notify each TPP Claimant who has submitted a TPP Abatement Claim Form that the
website has been updated.

       (b)     Challenges to Determinations by the TPP Trust

TPP Authorized Recipients will have thirty (30) days from the date that the Trustee emails notice
of the updating of the TPP Trust website as set forth in Section 5(a) hereof, to submit a letter or
letters to the TPP Trust by submitting such letter or letters on the TPP Trust website challenging
the TPP Trust’s determination regarding its Maximum Eligible Amount or Initial Allocation
Percentages and/or the Maximum Eligible Amounts or Initial Allocation Percentages of any
other TPP Authorized Recipient (the “Challenge Deadline”). A separate letter must be submitted
for each challenged Maximum Eligible Amounts and/or Initial Allocation Percentages.

A TPP Authorized Recipient may challenge the Maximum Eligible Amounts and/or Initial
Allocation Percentages of as many other TPP Authorized Recipients as it wishes, though each
challenge must be made separately by one TPP Authorized Recipient against a single other TPP
Authorized Recipient, made on a good faith basis, and accompanied by a detailed letter
identifying the basis or bases for the challenge. A TPP Claimant that did not timely file a Proof
of Claim and does not timely submit a TPP Abatement Claim Form shall not have the right to
challenge the amount of any other TPP Authorized Recipient’s Maximum Eligible Amounts
and/or Initial Allocation Percentages.

The TPP Trust will have up to forty-five (45) days after the Challenge Deadline to resolve
challenges (the “Resolution Deadline”). If a Claim has been timely challenged and no agreement
can be reached between the TPP Trust and the TPP Authorized Recipient or TPP Authorized
Recipients (i.e., the TPP Authorized Recipient challenging the determination of the TPP Trust,
and in the event that the challenge relates to the Maximum Eligible Amount and/or Initial
Allocation Percentage of a different TPP Authorized Recipient, that TPP Authorized Recipient),
the TPP Authorized Recipient that brought the challenge has the right to file a motion with


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respect to such challenge with the Bankruptcy Court, within thirty (30) days from the Resolution
Deadline.

If there is a timely challenge, the amount of the challenged Maximum Eligible Amount and/or
Initial Allocation Percentage shall be determined by negotiated resolution if possible, or, in the
absence of agreement, (i) the TPP Trust’s determination of the Maximum Eligible Amount
and/or Initial Allocation Percentage will control, if no motion is timely filed with the Bankruptcy
Court, and (ii) the amount of the Maximum Eligible Amount and/or Initial Allocation Percentage
will be determined by the Bankruptcy Court, if a motion is timely filed.

If appropriate due to a successful challenge, the Trustee shall modify one or more amounts of
Maximum Eligible Amounts and/or Initial Allocation Percentages accordingly.

Challenges that do not result in a change to the amount of any Maximum Eligible Amount and/or
Initial Allocation Percentages shall be deemed unsuccessful and the challenging TPP Authorized
Recipient shall be charged for all fees and expenses associated with adjudicating the failed
challenge, including all time spent by the Trustee and associated TPP Trust professionals; such
fees and expenses shall be subtracted from the challenging TPP Authorized Recipient’s TPP
Abatement Distribution payment.

If no challenge is timely received, the TPP Trust’s determination shall become a final
determination as to the amount of that Maximum Eligible Amount and/or Initial Allocation
Percentage.

Promptly following the Challenge Deadline, the Trustee shall cause the website
[www._________.com] to be updated to reflect the final determination of each TPP Authorized
Recipient’s Maximum Eligible Amount and/or Initial Allocation Percentage, which shall become
such TPP Authorized Recipient’s “Final Allocation Percentage.” The website shall also reflect
which, if any, Third-Party Payor Channeled Claims continue to be subject to dispute.

§ 6.   TPP ABATEMENT DISTRIBUTIONS BY TPP TRUST.

There will be three annual distributions by the TPP Trust, and the TPP Trust will provide a
distribution report on the TPP Trust website in advance of each of the distributions.

The first distribution report will be due on the February 15, 2023 (or, if February 15, 2023 is not
a Business Day, the next Business Day), provided that February 15, 2023 is at least fifteen (15)
months after the Effective Date. If it is not, the first distribution report will be due on the date
that is fifteen (15) months after the Effective Date. The second and third distribution reports will
be due one year and two years, respectively, after the date of the filing of the first distribution
report.

Distributions to TPP Authorized Recipients will begin thirty (30) days after the filing of
each distribution report, with the date on which that distribution begins being a
“distribution date.”

The maximum amount each TPP Authorized Recipient shall be allowed to receive from a
distribution shall be equal to the total gross distributable amount for all TPP Authorized

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Recipients eligible to receive TPP Abatement Distributions, multiplied by each TPP Authorized
Recipient’s Final Allocation Percentage, all subject to any amounts reserved on account of
disputed Third-Party Payor Channeled Claims, consistent with Section 7. The existence of a
Final Allocation Percentage for a particular TPP Authorized Recipient does not entitle that TPP
Authorized Recipient to receive any funds, however, unless it has also complied with the terms
of the TPP Trust and the funding of delineated opioid abatement initiatives therein.

At the option of the Trustee, any Cash payment may be made by a check or wire transfer or as
otherwise required or provided in the TPP Trust Agreement.

The Trustee shall not be required to make any TPP Abatement Distributions of Cash in an
amount less than $100, or such lower amount as determined by the Trustee in accordance with
the TPP Trust Agreement to any TPP Authorized Recipient; provided, however, that if any TPP
Abatement Distribution is not made pursuant to this Section, such TPP Abatement Distribution
shall be added to any subsequent TPP Abatement Distribution to be made to such TPP
Authorized Recipient. The Trustee shall not be required to make any final distribution of Cash in
an amount less than $100 to any TPP Authorized Recipient. If the amount of any final TPP
Abatement Distribution to any TPP Authorized Recipient would be $100 or less, then such
distribution shall be made available for distribution to all TPP Authorized Recipients receiving
final distributions of at least $100.

In the event that following all distributions and upon completion of the TPP Trust’s tasks, the
TPP Trust is left with de minimis funds, the Trustee may make a donation of such de minimis
funds to an IRS accredited charity.

Pursuant to Section 5.8(c) of the Plan, 5% of each TPP Abatement Distribution made by the TPP
Trust will be paid to the Common Benefit Escrow and then, upon its establishment, directly to
the Common Benefit Fund, on a periodic schedule. To the extent a Holder of a Third-Party Payor
Channeled Claim has retained, or is a member of a group of Holders that has retained, separate
counsel through an individual contingency fee arrangement, the amount payable from such
Holder’s TPP Abatement Distributions under this Section 6 shall be deducted from any
contingency fees and/or costs, in accordance with the Common Benefit Fund, owed to such
separate counsel. If the order establishing the Common Benefit Fund provides for the
reimbursement of attorneys’ costs, a portion of the Common Benefit Fund assessment (up to 2%
of the applicable TPP Abatement Distributions) may be credited to the reimbursement of such
counsel’s actual costs, with the remainder of such assessment credited against and reducing such
counsel’s contingency fees.

Assessments to the Common Benefit Escrow (and, later, the Common Benefit Fund) of 5% of
each TPP Abatement Distribution shall be paid pursuant to Section 5.8 of the Plan.

§ 7.   TREATMENT OF DISPUTED THIRD-PARTY PAYOR CHANNELED CLAIMS.

If thirty (30) days prior to the due date of a distribution report, a Maximum Eligible Amount
and/or Initial Allocation Percentage remains disputed, funds shall be reserved on account of that
Maximum Eligible Amount and/or Initial Allocation Percentage. Once the Trustee or the
Bankruptcy Court, as applicable, makes a determination as to the amount of the TPP Authorized


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Recipient’s Maximum Eligible Amount and/or Initial Allocation Percentage, that TPP
Authorized Recipient may be entitled to a “catch-up” payment in connection with the next
distribution report and distribution date, consistent with the determination.

THE TPP TRUST SHALL NOT BE REQUIRED TO RESERVE FUNDS FOR A
DISPUTED CLAIM UNLESS A TPP CLAIMANT TIMELY SATISFIED THE
REQUIREMENTS OF SECTIONS 3 AND 5, INCLUDING BUT NOT LIMITED TO
HAVING FILED (I) A PROOF OF CLAIM BY OR BEFORE THE GENERAL BAR
DATE AND (II) A TPP ABATEMENT CLAIM FORM, UTILIZING THE MAXIMUM
ELIGIBLE AMOUNT CALCULATION METHODOLOGY, BY OR BEFORE THE TPP
ABATEMENT CLAIM DEADLINE. A TPP CLAIMANT THAT FAILED TO TIMELY
FILE A PROOF OF CLAIM OR TIMELY SUBMIT A TPP ABATEMENT CLAIM
FORM SHALL HAVE NO CLAIM AGAINST THE TPP TRUST AND NO RIGHT TO
ANY DISTRIBUTION FROM THE TPP TRUST.

§ 8.       USE OF TPP ABATEMENT DISTRIBUTIONS.


TPP Authorized Recipients are required to use all net funds distributed to them from the TPP
Trust solely and exclusively for TPP Authorized Abatement Purposes which consist of (i)
Approved MAT Expenses and Approved Uses/Programs 1112 and (ii) the payment of attorneys’
fees and costs; provided, that a TPP Authorized Recipient that makes the certification required
under Sections 8 and 9 regarding minimum spending requirements will be deemed to have used
the funds received as a TPP Abatement Distribution for TPP Authorized Abatement Purposes;
provided, further that such certification may be subject to audit by the TPP Trust.


A TPP Authorized Recipient that receives a TPP Abatement Distribution from the TPP Trust
must certify, pursuant to Section 9, that it has spent on an enterprise-wide basis (including
parents, subsidiaries, charitable organizations, and affiliate companies), an aggregate amount
equal to or exceeding its TPP Abatement Distribution for TPP Authorized Abatement Purposes,
and that it has complied with this Section, during the Distribution Period. 1213 A TPP Authorized
Recipient that submitted an aggregate Proof of Claim on behalf of ASO customers may distribute
amounts received to ASO customers provided the TPP Authorized Recipient will certify,
pursuant to Section 9, that it has spent on an enterprise-wide basis (including parents,
subsidiaries, charitable organizations, affiliate companies and ASO customers), an aggregate
amount equal to or exceeding its TPP Abatement Distribution for TPP Authorized Abatement
Purposes, and that it has complied with this Section, during the Distribution Period. An ASO
customer included in an aggregate Proof of Claim will not be subject to independent certification
or usage requirements relating to the ASO’s share of the TPP Abatement Distribution.

The TPP Trust shall, in accordance with the Plan, the Confirmation Order and the applicable
Abatement Trust Documents, make TPP Abatement Distributions to TPP Authorized Recipients

1112
       See Appendices C and D hereto.
1213
       The Distribution Period is defined as the twelve (12) month period following each annual distribution date.


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exclusively for Authorized Abatement Purposes. Decisions made by the TPP Trust concerning
Abatement Distributions will consider the need to ensure that underserved urban and rural areas,
as well as minority communities, receive equitable access to the funds.

           (a)      Approved MAT Expenses and Approved Uses/Programs

TPP Authorized Abatement Purposes include Approved MAT Expenses and Approved
Uses/Programs.

Approved MAT Expenses shall include all or part of the costs paid by TPP Authorized
Recipients for Allowed MAT Therapy as defined in Appendix C attached hereto.


Approved Uses/Programs focus on providing treatment of Opioid Use Disorder (“OUD”) and/or
any Substance Use Disorder or Mental Health (“SUD/MH”) and are defined in Appendix D
attached hereto.1314

           (b)      Requirements for Self-Funded Health Plans

In each Distribution Period a TPP Authorized Recipient that qualifies as a Self-Funded Health
Plan: i) must have spent an aggregate amount at least equal to, or exceeding, its TPP Abatement
Distribution for TPP Authorized Abatement Purposes as described in both Appendices C and D
hereto; and ii) must have spent an aggregate amount at least equal to, or exceeding, 50% of the
Self-Funded Health Plan’s TPP Abatement Distribution on Approved Uses/Programs as
described in Appendix D hereto. This provision does not apply to the extent a Self-Funded
Health Plan is an ASO included in an aggregate Proof of Claim.

           (c)      Requirements for all TPPs other than Self-Funded Health Plans

In each Distribution Period, a TPP Authorized Recipient (including a TPP Authorized Recipient
that filed an aggregate Proof of Claim on behalf of ASOs), other than a Self-Funded Health Plan
that independently filed a Proof of Claim: i) must have spent on an enterprise-wide basis
(including parents, subsidiaries, charitable organizations, affiliate companies and ASO
customers), an aggregate amount at least equal to, or exceeding, its TPP Abatement Distribution
for TPP Authorized Abatement Purposes as described in both Appendices C and D hereto; and
ii) must have spent on an enterprise-wide basis (including parents, subsidiaries, charitable
organizations, affiliate companies and ASO customers), an aggregate amount at least equal to, or
exceeding, 50% of the TPP Authorized Recipient’s TPP Abatement Distribution on Approved
Uses/Programs as described in Appendix D hereto.

§ 9.       REPORTING BY TPP AUTHORIZED RECIPIENTS.

Within ninety (90) days after the end of a Distribution Period, each TPP Authorized Recipient
that received a TPP Abatement Distribution, other than an ASO included in an aggregate Proof

1314
       As used herein, words like “expand,” “fund,” “provide” or the like shall not indicate a preference for new or
       existing programs.


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of Claim, must submit to the TPP Trust a certification regarding its satisfaction of the minimum
spending requirements on TPP Authorized Abatement Purposes or that it was unable to meet the
minimum spending requirements and must carryover a portion of its TPP Abatement
Distribution.

If a TPP Authorized Recipient that received a TPP Abatement Distribution is unable to meet or
has not met the minimum spending requirements set forth in Section 8 above during the
Distribution Period, those allocated but unused funds can carry over to the subsequent periods
and will continue to carry forward each year until the TPP Authorized Recipient meets the
relevant spending requirements for TPP Authorized Abatement Purposes. Additional annual
certification(s) must be submitted until the TPP Authorized Recipient meets the relevant
spending requirements. A TPP Authorized Recipient shall not be subject to a penalty for failing
to meet the minimum spending requirements with respect to its TPP Abatement Distribution
during a given Distribution Period.

The TPP Trust shall have the right to audit a claimant to determine whether the TPP Authorized
Recipient’s expenditures for TPP Authorized Abatement Purposes have met the requirements set
forth in the TPP Trust Documents.

Each TPP Authorized Recipient, other than an ASO included in an aggregate Proof of Claim, if
and when requested by the Trustee, shall provide supporting documentation, in a mutually agreed
upon format, demonstrating that the TPP Authorized Recipient’s expenditures for TPP
Authorized Abatement Purposes have met the requirements of the TPP Trust Documents. All
Proofs of Claim, TPP Abatement Claim Forms and certifications filed or submitted by TPP
Claimants are subject to audit by the TPP Trustee, at the Trustee’s discretion. If the TPP Trustee
finds a material misstatement in a TPP Claimant’s Proof of Claim, TPP Abatement Claim Form
or certification, the TPP Trustee may allow that TPP Claimant up to 30 days to resubmit its
Proof of Claim, TPP Abatement Claim Form or certification with supporting documentation or
revisions. Failure of the TPP Claimant to timely correct its misstatement in a manner acceptable
to the Trustee may result in forfeiture of all or part of the TPP Claimant’s qualification as a TPP
Authorized Recipient or right to receive TPP Abatement Distributions.

The Trustee shall have the power to take any and all actions that in the judgment of the Trustee
are necessary or proper to fulfill the purposes of TPP Trust. The TPP Trust retains the right to
seek return by legal means of any expenditures which fail to comply with the requirements of
this TPP TDP.

§ 10.   ADDITIONAL REPORTING BY THE TPP TRUST.

The TPP Trust shall file an annual report on its website after each year that the TPP Trust is in
existence, summarizing the distributions made from the TPP Trust and detailing the status of any
TPP Authorized Recipient audits, and any recommendations made by the Trustee relating to such
audits.




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                                       Exhibit G

                 National Opioid Abatement Trust Distribution Procedures
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       NATIONAL OPIOID ABATEMENT TRUST DISTRIBUTION PROCEDURES 1


          Issue                                                      Description

1. APPLICABILITY                These terms shall apply to the allocation of value received by NOAT under
   OF AGREEMENT                 the plan of reorganization (the “Chapter 11 Plan” or the “Plan”)2 in the
                                Chapter 11 Cases of Purdue Pharma L.P. and its affiliates (collectively,
                                “Purdue”) pending in the U.S. Bankruptcy Court for the Southern District
                                of New York (the “Bankruptcy Court”) in respect of the Public Creditor
                                Trust Distributions (including the Initial Public Creditor Trust Distribution
                                and all amounts distributed in respect of the TopCo Interests and the MDT
                                Interests), which shall be distributed among (i) the states, territories and the
                                District of Columbia (each a “State” as defined in the Plan), and (ii) each
                                county, city, town, parish, village, and municipality that is a Domestic
                                Governmental Entity or other holder of a Non-Federal Domestic
                                Governmental Claim that is otherwise not a “State” as defined in the Plan
                                (collectively, the “Local Governments”), whose Claims in Class 4 (Non-
                                Federal Domestic Governmental Claims), along with all other Non-Federal
                                Domestic Governmental Channeled Claims, are channeled to the National
                                Opioid Abatement Trust (“NOAT”) under the Plan and the Master TDP.
                                To the extent not explicitly reflected in the Chapter 11 Plan, the terms set
                                forth herein will be deemed incorporated into the Chapter 11 Plan, the trust




 1
   Oklahoma local governments set forth in Schedule D (the “Oklahoma Local Governments”) will receive the
 equivalent of the Regional Apportionment portion of the allocation for Oklahoma less the $12.5 million designated
 for the Oklahoma political subdivisions in the State of Oklahoma’s pre-petition settlement with the Debtors and the
 Sacklers (the “Purdue Oklahoma Political Subdivision Fund”). The release requirement contained in the State of
 Oklahoma settlement with the Debtors and the Sacklers for a political subdivision to participate in the Purdue
 Oklahoma Political Subdivision Fund, as defined in that agreement, shall be waived by the Debtors and any other
 party to that agreement as part of the documentation related to their Plan of Reorganization such that Oklahoma Local
 Governments may participate in both the Purdue Oklahoma Political Subdivision Fund and receive distributions from
 the National Opioid Abatement Trust. Debtors and the Sacklers also waive any requirement in the State of Oklahoma
 pre-petition settlement that funds not distributed by the Purdue Oklahoma Political Subdivision Fund within a certain
 amount of time will revert to the Foundation or the National Center for Addiction Studies and Treatment created by
 the State of Oklahoma’s pre-petition settlement, and acknowledges that the entire Purdue Oklahoma Political
 Subdivision Fund shall be distributed to Oklahoma political subdivisions. Each of the Oklahoma Local Governments
 will be treated as a Qualifying Block Grantee, as that term is utilized in these National Opioid Abatement Trust
 Distribution Procedures, regardless of their population or other qualifications. Distributions from NOAT to Oklahoma
 Local Governments shall be in accordance with the ratios set forth in Exhibit C of the allocation to Oklahoma. The
 Oklahoma Local Governments shall either hire an administrator for the funds from NOAT or receive the funds directly
 from NOAT. Funds distributed to Oklahoma Local Governments shall only be used for Approved Uses, as that term
 is defined in these National Opioid Abatement Trust Distribution Procedures, and Oklahoma Local Governments shall
 be required to publish and submit documentation of the use of funds to an administrator for the purpose of reporting
 to NOAT as is required for Qualified Block Grantee under these National Opioid Abatement Trust Distribution
 Procedures. The administrator may be reasonably compensated to perform its administrative function, but not to
 exceed 5% of the money distributed to Oklahoma Local Governments by NOAT.
 2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Chapter 11
 Plan or NOAT Agreement, as applicable.


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           Issue                                                          Description

                                  agreement for the National Opioid Abatement Trust (the “NOAT
                                  Agreement”) and the NOAT Documents, as applicable.

                                  These terms set forth the manner in which NOAT shall make Abatement
                                  Distributions to States and Local Governments (such entities, “Authorized
                                  Recipients”), which may be used exclusively on the parameters set forth
                                  herein.3

2. PURPOSE                        Virtually all creditors and the Court itself in the Purdue Chapter 11 Cases
                                  recognize the need for and value in developing a comprehensive abatement
                                  strategy to address the opioid crisis as the most effective use of the funds
                                  that can be derived from the Purdue estate (including without limitation
                                  insurance proceeds and, if included in the Chapter 11 Plan, payments by
                                  third parties seeking releases). Because of the unique impact the crisis has
                                  had throughout all regions of the United States, and as repeatedly
                                  recognized by the Bankruptcy Court, distribution of a substantial portion
                                  of the estates should occur through an established governmental structure,
                                  with the use of such funds strictly limited to abatement purposes as
                                  provided herein.4 This approach recognizes that funding abatement efforts
                                  – which would benefit most creditors and the public by reducing future
                                  effects of the crisis through treatment and other programs – is a much more
                                  efficient use of limited funds than dividing thin slices among all creditors
                                  with no obligation to use it to abate the opioid crisis. Because maximizing
                                  abatement of the opioid crisis requires coordination of efforts by all levels
                                  of government, particularly when the abatement needs far exceed the
                                  available funds, this structure requires a collaborative process between
                                  each State and its Local Governments.


 3
   Subject to the approved settlement between the United States Department of Justice and the Debtors, resolution of
 States’ and Local Governments’ claims under this model presumes reaching satisfactory agreement regarding all
 claims asserted by the federal government in the Chapter 11 Cases.
 4
   See, e.g., Hrg. Tr at 149:22-150:5 (Oct. 11, 2019) (“I would hope that those public health steps, once the difficult
 allocation issues that the parties have addressed here, can be largely left up to the states and municipalities so that they
 can use their own unique knowledge about their own citizens and how to address them. It may be that some states
 think it’s more of a law enforcement issue, i.e. interdicting illegal opioids at this point. Others may think education is
 more important. Others may think treatment is more important.”); id. At 175:24-176:6 (“I also think, and again, I
 didn’t say this lightly, that my hope in the allocation process is that there would be an understanding between the
 states and the municipalities and localities throughout the whole process that[,] subject to general guidelines on how
 the money should be used, specific ways to use it would be left up to the states and the municipalities, with guidance
 from the states primarily.”); Hr’g Tr. At 165:3-165:14 (Nov. 19, 2019) (“I continue to believe that the states play a
 major role in [the allocation] process. The role I’m envisioning for them is not one where they say we get everything.
 I think that should be clear and I think it is clear to them. But, rather, where they act – in the best principles of
 federalism, for their state, the coordinator for the victims in their state.”); Hr’g Tr. at 75:19-76:1 (Jan. 24, 2020) (“Even
 if there ultimately is an allocation here – and there’s not a deal now, obviously, at this point on a plan. But if there is
 an allocation that leaves a substantial amount of the Debtors’ value to the states and territories, one of the primary
 benefits of a bankruptcy case is that the plan can lock in, perhaps only in general ways, but perhaps more in specific
 ways, how the states use that money . . . .”).

                                                              2
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          Issue                                                       Description

                                These distribution procedures (these “National Opioid Abatement Trust
                                Distribution Procedures”) are intended to establish the mechanisms for
                                the distribution and allocation of funds distributed by NOAT to the States
                                and Local Governments. All funds described in the foregoing sentence are
                                referred to herein as “NOAT Funds.” 100% of the NOAT Funds
                                distributed under the Chapter 11 Plan (and not otherwise dedicated to the
                                attorneys’ fee fund set forth in Section 4 herein) shall be used to abate the
                                opioid crisis in accordance with the terms hereof. Specifically, (i) no less
                                than ninety five percent (95%) of the NOAT Funds distributed under the
                                Chapter 11 Plan shall be used for abatement of the opioid crisis by funding
                                opioid or substance use disorder-related projects or programs that fall
                                within the list of uses in Schedule B (the “Approved Opioid Abatement
                                Uses”); (ii) priority should be given to the core abatement strategies (“Core
                                Strategies”) as identified on Schedule A; and (iii) no more than five
                                percent (5%) of the NOAT Funds may be used to fund expenses incurred
                                in administering the distributions for the Approved Opioid Abatement
                                Uses, including the process of selecting programs to receive distributions
                                of NOAT Funds for implementing those programs and in connection with
                                the Government Participation Mechanism 5 (“Approved Administrative
                                Expenses”) and together with the Approved Opioid Abatement Uses and
                                Core Strategies, “Approved Uses”.

                                NOAT shall, in accordance with the Plan, the Confirmation Order and the
                                NOAT Documents, distribute NOAT Funds to States and Local
                                Governments exclusively for Approved Uses. Decisions concerning
                                NOAT Funds made by NOAT will consider the need to ensure that
                                underserved urban and rural areas, as well as minority communities,
                                receive equitable access to the funds.

                                Notwithstanding anything in these National Opioid Abatement Trust
                                Distribution Procedures that might imply to the contrary, projects or
                                programs that constitute Approved Opioid Abatement Uses may be
                                provided by States, State agencies, Local Governments, Local Government
                                agencies or nongovernmental parties and funded from NOAT Funds.

3. DISBURSEMENT                 The Chapter 11 Plan shall provide for the establishment of NOAT and the
   OF FUNDS                     appointment of NOAT Trustees.6 The NOAT Trustees shall distribute the


 5
  Capitalized terms not defined where first used shall have the meanings later ascribed to them in these National Opioid
 Abatement Trust Distribution Procedures.
 6
   Pursuant to the Plan, the NOAT Trustees shall be selected by the Governmental Consent Parties, in consultation
 with the Debtors and pursuant to a selection process reasonably acceptable to the Debtors; provided that the DOJ
 shall have the right, in its discretion, to observe such selection process. The NOAT Agreement shall provide that: (i)
 the Trustees shall receive compensation from NOAT for their services as Trustees; (ii) the amounts paid to the
 Trustees for compensation and expenses shall be disclosed in the Annual Report; (iii) the Trustees shall not be


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              Issue                                                    Description

                                   NOAT Funds consistent with the allocation attached as Schedule C and
                                   in accordance with the NOAT Agreement.

4. ATTORNEYS’ FEES Pursuant to Section 5.8 of the Plan, Public Creditor Trust Distributions
   AND COSTS FUND will be subject to assessments to fund (i) the Local Government and Tribe
                   Costs and Expenses Fund, which shall be used to pay qualifying costs and
                   expenses (including attorneys’ fees) of Holders of Non-Federal
                   Governmental Claims (other than States) and Tribe Claims (including ad
                   hoc groups of any of the foregoing) and (ii) the State Costs and Expenses
                   Fund, which shall be used to pay qualifying costs and expenses (including
                   attorneys’ fees) of States (including ad hoc groups thereof).

5. DIVISION OF NOAT NOAT Funds shall be allocated among the States, the District of
   FUNDS            Columbia, and Territories in the percentages set forth on Schedule C.

                                   A. Except as set forth below in Section 5(B) for the District of Columbia
                                      and Territories, each State’s Schedule C share shall then be allocated
                                      within the State in accordance with the following:

                                       1. Default Allocation Mechanism (excluding Territories and DC
                                          addressed below). The NOAT Funds allocable to a State that is
                                          not party to a Statewide Abatement Agreement as defined in
                                          Section 5(A)(2) below (each a “Non-SAA State”) shall be
                                          allocated as between the State and its Local Governments to be used
                                          only for Approved Uses, in accordance with this Section 5(A)(1)
                                          (the “Default Allocation Mechanism”).

                                            i. Regions. Except as provided in the final sentence of this
                                               paragraph, each Non-SAA State shall be divided into
                                               “Regions” as follows: (a) each Qualifying Block Grantee (as
                                               defined below) shall constitute a Region; and (b) the balance of
                                               the State shall be divided into Regions (such Regions to be
                                               designated by the State agency with primary responsibility
                                               (referred to herein as a “lead agency”)7 for opioid use disorder


  required to post any bond or other form of surety or security unless otherwise ordered by the Bankruptcy Court; (iv)
  the Trustees shall have the power to appoint such officers and retain such employees, consultants, advisors,
  independent contractors, experts, and agents and engage in such legal, financial, accounting, investment, auditing,
  and alternative dispute resolution services and activities as NOAT requires, and delegate to such persons such
  powers and authorities as the fiduciary duties of the Trustees permit and as the Trustees, in their discretion, deem
  advisable or necessary in order to carry out the terms of this Trust Agreement; and (v) the Trustees shall have the
  power to pay reasonable compensation and expenses to any such employees, consultants, advisors, independent
  contractors, experts, and agents for legal, financial, accounting, investment, auditing, and alternative dispute
  resolution services and activities.
  7
      A list of lead agencies will be made available on the NOAT website.


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         Issue                                                     Description

                                            services employing, to the maximum extent practical, existing
                                            regions established in that State for opioid use disorder
                                            treatment or similar public health purposes); such non-
                                            Qualifying Block Grantee Regions are referred to herein as
                                            “Standard Regions”. The Non-SAA States which have
                                            populations under four (4) million and do not have existing
                                            regions described in the foregoing clause (b) shall not be
                                            required to establish Regions;8 such a State that does not
                                            establish Regions but which does contain one or more
                                            Qualifying Block Grantees shall be deemed to consist of one
                                            Region for each Qualifying Block Grantee and one Standard
                                            Region for the balance of the State.

                                       ii. Regional Apportionment. NOAT Funds shall be allocated to
                                           each Non-SAA State as (a) a Regional Apportionment or (b)
                                           a Non-Regional Apportionment based on the amount of
                                           NOAT Funds dispersed under a confirmed Chapter 11 Plan as
                                           follows:

                                            A. First $1 billion – 70% Regional Apportionment /30% Non-
                                               Regional Apportionment

                                            B. $1-$2.5 billion – 64% Regional Apportionment /36% Non-
                                               Regional Apportionment

                                            C. $2.5-$3.5 billion – 60% Regional Apportionment /40%
                                               Non-Regional Apportionment

                                            D. Above $3.5 billion – 50% Regional Apportionment /50%
                                               Non-Regional Apportionment

                                       iii. Qualifying      Block      Grantee.        A “Qualifying       Local
                                            Government” means a county or parish (or in the cases of
                                            States that do not have counties or parishes that function as
                                            political subdivisions, a city), that (a) either (i) has a population
                                            of 400,000 or more or (ii) in the case of California has a
                                            population of 750,000 or more and (b) has funded or otherwise
                                            manages an established, health care and/or treatment
                                            infrastructure (e.g., health department or similar agency) to
                                            evaluate, award, manage and administer a Local Government



8
 To the extent they are not parties to a Statewide Abatement Agreement, the following States will qualify as a Non-
SAA State that does not have to establish Regions: Connecticut, Delaware, Hawai’i, Iowa, Maine, Nevada, New
Hampshire, New Mexico, Rhode Island, Vermont.


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                                            Block Grant.9 A Qualifying Local Government that is eligible
                                            and wishes to receive NOAT Funds through Local
                                            Government Block Grants shall elect to receive funds in such
                                            manner no later than (90) ninety days following the Agreement
                                            Date. A Qualifying Local Government that elects to receive
                                            NOAT Funds through Local Government Block Grants is
                                            referred to herein as a Qualifying Block Grantee.

                                       iv. Proportionate Shares of Regional Apportionment. As used
                                           herein, the “Proportionate Share” of each Region in each
                                           Non-SAA State shall be (a) for States in which counties or
                                           parishes function as Local Governments, the aggregate shares
                                           of the counties or parishes located in such Region under the
                                           applicable allocation model employed in connection with the
                                           Purdue Chapter 11 Cases (the “Allocation Model”),10 divided
                                           by the aggregate shares for all counties or parishes in the State
                                           under that Allocation Model; and (b) for all other States, the
                                           aggregate shares of the cities and towns in that Region under
                                           that Allocation Model’s intra-county allocation formula,
                                           divided by the aggregate shares for all cities and towns in the
                                           State under that Allocation Model.

                                       v. Expenditure or Disbursement of Regional Apportionment.
                                          Subject to Section 6(2)(i) below regarding Approved
                                          Administrative Expenses, all Regional Apportionments
                                          shall be disbursed or expended in the form of Local
                                          Government Block Grants or otherwise for Approved
                                          Opioid Abatement Uses in the Standard Regions of each
                                          Non-SAA State.

                                       vi. Qualifying Block Grantees. Each Qualifying Block Grantee
                                           shall receive its Regional Apportionment as a block grant
                                           (a “Local Government Block Grant”).

                                           Local Government Block Grants shall be used only for
                                           Approved Opioid Abatement Uses by the Qualifying Block

9
  As noted in footnote 11, the population for each State shall refer to published U. S. Census Bureau population
estimates as of [July 1, 2019], released March 2020, and shall remain unchanged during the term of this agreement.
These estimates can currently be found at https://www.census.gov/data/datasets/time-series/demo/popest/2010s-
counties-total.html.
10
   The Allocation Model shall be the allocation model available at www.opioidnegotiationclass.info implemented in
In re: National Prescription Opiates Litigation, MDL No. 2804 (N.D. Ohio) (the “Negotiation Class Allocation
Model”), provided, however, that notwithstanding the foregoing, a State and its Local Governments may instead agree
to utilize the model developed by Christopher J. Ruhm, Professor of Public Policy and Economics at the University
of Virginia (the “Ruhm Allocation Model”), available at ________.



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       Issue                                        Description

                               Grantee or for grants to organizations within its jurisdiction for
                               Approved Opioid Abatement Uses and for Approved
                               Administrative       Expenses       in     accordance        with
                               Section 5(A)(1)(ix) below. Where a municipality located
                               wholly within a Qualifying Block Grantee would
                               independently qualify as a block grant recipient
                               (an “Independently       Qualifying     Municipality”),        the
                               Qualifying Block Grantee and Independently Qualifying
                               Municipality must make a substantial and good faith effort to
                               reach agreement on use of NOAT Funds as between the
                               qualifying jurisdictions. If the Independently Qualifying
                               Municipality and the Qualifying Block Grantee cannot reach
                               such an agreement on or before the Effective Date of the
                               Chapter 11 Plan, the Qualifying Block Grantee will receive
                               the Local Government Block Grant for its full Proportionate
                               Share and commit programming expenditures to the benefit of
                               the Independently Qualifying Municipality in general
                               proportion to Proportionate Shares (determined as provided
                               in Section 5(A)(2)(iv) above) of the municipalities within the
                               Qualifying Block Grantee. Notwithstanding the allocation of
                               the Proportionate Share of each Regional Apportionment to
                               the Qualifying Block Grantee, a Qualifying Block Grantee
                               may choose to contribute a portion of its Proportionate Share
                               towards a statewide program.
                            vii. Standard Regions.         The portions of each Regional
                                 Apportionment not disbursed in the form of Local
                                 Government Block Grants shall be expended throughout the
                                 Standard Regions of each Non-SAA State in accordance with
                                 95%-105% of the respective Proportionate Shares of such
                                 Standard Regions. Such expenditures will be in a manner that
                                 will best address opioid abatement within the State as
                                 determined by the State with the input, advice and
                                 recommendations of the Government Participation
                                 Mechanism described in Section 6 below. This regional
                                 spending requirement may be met by delivering Approved
                                 Opioid Abatement Use services or programs to a Standard
                                 Region or its residents. Delivery of such services or programs
                                 can be accomplished directly or indirectly through many
                                 different infrastructures and approaches, including without
                                 limitation the following:

                                A. State agencies, including local offices;

                                B. Local governments, including local government health
                                   departments;


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                                 C. State public hospital or health systems;

                                 D. Health care delivery districts;

                                 E. Contracting with abatement service providers, including
                                    nonprofit and commercial entities; or

                                 F. Awarding grants to local programs.

                             viii. Expenditure or Disbursement of NOAT Funds Other
                                  Than Regional Apportionment. All NOAT Funds allocable
                                  to a Non-SAA State that are not included in the State’s
                                  Regional Apportionment shall be expended only on
                                  Approved Uses. The expenditure of such funds shall be at the
                                  direction of the State’s lead agency (or other point of contact
                                  designated by the State) and may be expended on a statewide
                                  and/or localized manner, including in the manners described
                                  herein. Qualifying Block Grantees will be eligible to
                                  participate in or receive the benefits of any such expenditures
                                  on the same basis as other Regions.

                             ix. Approved Administrative Expenses. States may use up to
                                 five percent (5%) of their Non-Regional Apportionments plus
                                 five percent (5%) of the Regional Apportionment not used to
                                 fund Local Government Block Grants, for Approved
                                 Administrative Expenses. Qualifying Block Grantees may
                                 use up to five percent (5%) of their Local Government Block
                                 Grants to fund their Approved Administrative Expenses.

                          2. Statewide Abatement Agreement. Each State and its Local
                             Governments will have until fourteen (14) days after the Effective
                             Date of the Chapter 11 Plan (the “Agreement Date”) to file with
                             the Bankruptcy Court an agreed-upon allocation or method for
                             allocating the NOAT Funds for that State dedicated only to
                             Approved Uses (each a “Statewide Abatement Agreement” or
                             “SAA”). Any State and its Local Governments that have reached
                             agreement before the Agreement Date of the Chapter 11 Plan that
                             satisfies the metric for approval as described in the immediately
                             following paragraph shall file a notice with the Bankruptcy Court
                             that it has adopted a binding SAA and either include the SAA with
                             its filing or indicate where the SAA is publicly available; no SAA
                             shall become effective without such filing. Any dispute regarding
                             allocation within a State that has adopted a Statewide Abatement
                             Agreement will be resolved as provided by that Statewide
                             Abatement Agreement; provided that no Statewide Abatement
                             Agreement may remove or otherwise limit the reporting
                             requirements set forth in any of the NOAT Documents, including

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                                        without limitation in the NOAT Agreement and Sections 5(A)(3)
                                        and 7 hereof.

                                       A Statewide Abatement Agreement shall be agreed when it has
                                       been approved by the State and either (a) representatives11 of its
                                       Local Governments whose aggregate Population Percentages,
                                       determined as set forth below, total more than sixty percent (60%),
                                       or (b) representatives of its Local Governments whose aggregate
                                       Population Percentages total more than fifty percent (50%)
                                       provided that these Local Governments also represent fifteen
                                       percent (15%) or more of the State’s counties or parishes (or, in the
                                       case of States whose counties and parishes that do not function as
                                       Local Governments, fifteen percent (15%) of or more of the State’s
                                       incorporated cities or towns), by number. 12

                                       Population Percentages shall be determined as follows:

                                       For States with counties or parishes that function as Local
                                       Governments,13 the Population Percentage of each county or parish
                                       shall be deemed to be equal to (a) (1) 200% of the population of
                                       such county or parish, minus (2) the aggregate population of all
                                       Primary Incorporated Municipalities located in such county or
                                       parish, divided by (b) 200% of the State’s population. A “Primary
                                       Incorporated Municipality” means a city, town, village or other
                                       municipality incorporated under applicable state law with a
                                       population of at least 25,000 that is not located within another
                                       incorporated municipality. The Population Percentage of each
                                       primary incorporated municipality shall be equal to its population
                                       (including the population of any incorporated or unincorporated
                                       municipality located therein) divided by 200% of the State’s
                                       population; provided that the Population Percentage of a primary
                                       incorporated municipality that is not located within a county shall
                                       be equal to 200% of its population (including the population of any
                                       incorporated or unincorporated municipality located therein)
                                       divided by 200% of the State’s population. For all States that do
                                       not have counties or parishes that function as Local Governments,


11
  An authorized “representative” of local, or even State, government can differ in these National Opioid Abatement
Trust Distribution Procedures depending on the context.
12
   All references to population in these National Opioid Abatement Trust Distribution Procedures shall refer to
published U. S. Census Bureau population estimates as of [July 1, 2019], released March 2020, and shall remain
unchanged during the term of this agreement. These estimates can currently be found at
https://www.census.gov/data/datasets/time-series/demo/popest/2010s-counties-total.html.
13
 Certain states do not have counties or parishes that function as Local Governments, including: Alaska, Connecticut,
Massachusetts, Rhode Island, and Vermont. All other States have counties or parishes that function as Local
Governments.

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                              the Population Percentage of each incorporated municipality
                              (including any incorporated or unincorporated municipality located
                              therein), shall be equal to its population divided by the State’s
                              population.

                              The Statewide Abatement Agreement will become effective
                              within fourteen (14) days of filing, unless otherwise ordered by the
                              Bankruptcy Court.

                              A State and its Local Governments may revise, supplement, or
                              refine a Statewide Abatement Agreement by filing an amended
                              Statewide Abatement Agreement that has been approved by the
                              State and sufficient Local Governments to satisfy the approval
                              standards set forth above with the Bankruptcy Court, which shall
                              become effective within fourteen (14) days of filing, unless
                              otherwise ordered by the Bankruptcy Court.

                           3. Records. The States shall maintain records of abatement
                              expenditures and their required reporting, as set forth in further
                              detail in Section 7, will include data on regional expenditures so it
                              can be verified that the Regional Distribution mechanism
                              guarantees are being met. Qualifying Block Grantees shall
                              maintain records of abatement expenditures and shall provide those
                              records periodically to their State for inclusion in their State’s
                              required periodic reporting.

                       B. Allocation for Territories and the District of Columbia Only. The
                          allocation of NOAT Funds within a Territory or the District of
                          Columbia will be determined by its local legislative body within one
                          year of the Effective Date, unless that legislative body is not in session,
                          in which case, the allocation of NOAT Funds shall be distributed
                          pursuant to the direction of the Territory’s or District of Columbia’s
                          executive, in consultation – to the extent applicable – with its
                          Government Participation Mechanism.

6. GOVERNMENT          In each Non-SAA State, as defined in Section 5(A)(1) above, there shall
   PARTICIPATION       be a process, preferably pre-existing, whereby the State shall allocate funds
   MECHANISM           under the Regional Distribution mechanism only after meaningfully
                       consulting with its respective Local Governments. Each such State shall
                       identify its mechanism (whether be it a council, board, committee,
                       commission, taskforce, or other efficient and transparent structure) for
                       consulting with its respective Local Governments (the “Government
                       Participation Mechanism” or “GPM”) in a notice filed with the
                       Bankruptcy Court identifying what GPM has been formed and describing
                       the participation of its Local Governments in connection therewith. States
                       may combine these notices into one or more notices for filing with the

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                      Bankruptcy Court. These notices are reviewable by the Bankruptcy Court
                      upon the motion of any Local Government in that State asserting that no
                      GPM has been formed.

                      Government Participation Mechanisms shall conform to the following:

                      1. Composition. For each State,

                          1. the State, on the one hand, and State’s Local Governments, on the
                             other hand, shall have equal representation on a GPM;

                          2. Local Government representation on a GPM shall be weighted in
                             favor of the Standard Regions but can include representation from
                             the State’s Qualifying Block Grantees;

                          3. the GPM will be chaired by a non-voting chairperson appointed by
                             the State;

                          4. Groups formed by the States’ executive or legislature may be used
                             as a GPM, provided that the group has equal representation by the
                             State and the State’s Local Governments.

                      A GPM should have appointees such that as a group they possess
                      experience, expertise and education with respect to one or more of the
                      following: public health, substance abuse, healthcare equity and other
                      related topics as is necessary to assure the effective functioning of the
                      GPM.

                      2. Consensus. Members of the GPMs should attempt to reach consensus
                         with respect to GPM Recommendations and other actions of the
                         GPM. Consensus is defined in this process as a general agreement
                         achieved by the members that reflects, from as many members as
                         possible, their active support, support with reservations, or willingness
                         to abide by the decision of the other members. Consensus does not
                         require unanimity or other set threshold and may include objectors. In
                         all events, however, actions of a GPM shall be effective if supported
                         by at least a majority of its members. GPM Recommendations and
                         other actions shall note the existence and summarize the substance of
                         objections where requested by the objector(s).

                      3. Proceedings. Each GPM shall hold no fewer than four (4) public
                         meetings annually, to be publicized and located in a manner reasonably
                         designed to facilitate attendance by residents throughout the State.
                         Each GPM shall function in a manner consistent with its State’s open
                         meeting, open government or similar laws, and with the Americans



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                          with Disabilities Act. GPM members shall be subject to State conflict
                          of interest and similar ethics in government laws.

                      4. Consultation and Discretion. The GPM shall be a mechanism by
                         which the State consults with community stakeholders, including Local
                         Governments (including those not a part of the GPM), state and local
                         public health officials and public health advocates, in connection with
                         opioid abatement priorities and expenditure decisions for the use of
                         NOAT Funds on Approved Opioid Abatement Uses.

                          The GPM is authorized to identify and recommend that non-
                          Qualifying Local Government(s) (individually or in combination)
                          should be considered for a block grant to be funded from an applicable
                          Regional Apportionment. “Non-Qualifying Local Government(s)”
                          individually or in combination are Local Governments that are not
                          Qualifying Local Governments but they fund or otherwise manage an
                          established, health care and/or treatment infrastructure (e.g., health
                          department or similar agency) to evaluate, award, manage and
                          administer a block grant for programs constituting Approved Uses.

                      5. Recommendations. A GPM shall make recommendations regarding
                         specific opioid abatement priorities and expenditures for the use of
                         NOAT Funds on Approved Opioid Abatement Uses to the State or
                         the agency designated by a State for this purpose (“GPM
                         Recommendations”). In carrying out its obligations to provide GPM
                         Recommendations, a GPM may consider local, state and federal
                         initiatives and activities related to education, prevention, treatment and
                         services for individuals and families experiencing and affected by
                         opioid use disorder; recommend priorities to address the State’s opioid
                         epidemic, which recommendations may be Statewide or specific to
                         Regions; recommend Statewide or Regional funding with respect to
                         specific programs or initiatives; recommend measurable outcomes to
                         determine the effectiveness of funds expended for Approved Opioid
                         Abatement Uses; and monitor the level of Approved Administrative
                         Expenses expended from NOAT Funds.

                          The goal is for a process that produces GPM Recommendations that
                          are recognized as being an efficient, evidence-based approach to
                          abatement that addresses the State’s greatest needs while also including
                          programs reflecting particularized needs in local communities. It is
                          anticipated that such a process, particularly given the active
                          participation of state representatives, will inform and assist the state in
                          making decisions about the spending of the NOAT Funds. To the
                          extent a State chooses not to follow a GPM Recommendation, it will
                          make publicly available within fourteen (14) days after the decision is



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                             made a written explanation of the reasons for its decision, and allow
                             seven (7) days for the GPM to respond.

                          6. Non-SAA States Review. In Non-SAA States, Local Governments and
                             States may object to any apportionment, allocation, use or expenditure
                             of NOAT Funds (an “Allocation”) solely on the basis that: the
                             Allocation at issue (i) is inconsistent with the provisions of Section 6(1)
                             hereof with respect to the levels of Regional Apportionments and
                             Non-Regional Apportionments, (ii) is inconsistent with the
                             provisions of Section 6(1) hereof with respect to the amounts of Local
                             Government Block Grants or Regional Apportionment
                             expenditures, (iii) is not for an Approved Use or (iv) violates the
                             limitations set forth herein with respect to Approved Administrative
                             Expenses. The objector shall have the right to bring that objection to
                             either (a) a state court with jurisdiction within the applicable State
                             (“State Court”) or (b) the Bankruptcy Court if the Purdue Chapter 11
                             Cases have not been closed (each an “Objection”). If an Objection is
                             filed within fourteen (14) days of approval of an Allocation, then no
                             funds shall be distributed on account of the aspect of the Allocation
                             that is the subject of the Objection until the Objection is resolved or
                             decided by the Bankruptcy Court or State Court, as applicable. There
                             shall be no other basis for bringing an Objection to the approval of an
                             Allocation.

7. COMPLIANCE,    1. At least annually, each State shall publish on its lead agency’s website
   REPORTING,        and/or on its Attorney General’s website and deliver to NOAT, a report
   AUDIT AND         detailing for the preceding time period, respectively (i) the amount of
   ACCOUNTABILITY    NOAT Funds received, (ii) the allocation awards approved (indicating
                     the recipient, the amount of the allocation, the program to be funded
                     and disbursement terms), and (iii) the amounts disbursed on approved
                     allocations, to Qualifying Local Governments for Local
                     Government Block Grants and Approved Administrative
                     Expenses.

                          2. At least annually, each Qualifying Block Grantee which has elected
                             to take a Local Government Block Grant shall publish on its lead
                             agency’s or Local Government’s website, and deliver to NOAT, a
                             report detailing for the preceding time period, respectively (i) the
                             amount of Local Government Block Grants received, (ii) the
                             allocation awards approved (indicating the recipient, the amount of the
                             grant, the program to be funded and disbursement terms), and (iii) the
                             amounts disbursed on approved allocations.

                          3. As applicable, each State or Local Government shall impose reporting
                             requirements on each recipient to ensure that NOAT Funds are only


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                           being used for Approved Uses, in accordance with the terms of the
                           allocation.

                      4. NOAT shall prepare an annual report (an “Annual Report”) that shall
                         be audited by independent auditors as provided in the NOAT
                         Agreement, which audited Annual Report shall be filed annually with
                         the Bankruptcy Court, and the States and Qualifying Block Grantees
                         shall provide NOAT with any information reasonably required
                         regarding the expenditure and disbursement of NOAT Funds to satisfy
                         the requirements of such an audited Annual Report of NOAT.

                      5.    (a) A state court with jurisdiction within the applicable State (“State
                           Court”) or (b) the Bankruptcy Court if the Purdue Chapter 11 Cases
                           have not been closed shall have jurisdiction to enforce the terms of
                           these National Opioid Abatement Trust Distribution Procedures, and
                           as applicable, a Statewide Abatement Agreement or default
                           mechanism; provided that nothing herein is intended to expand the
                           scope of the Bankruptcy Court’s post-confirmation jurisdiction. For
                           the avoidance of doubt, the Bankruptcy Court shall have continuing
                           jurisdiction over NOAT, provided, however, the courts of the State of
                           Delaware, including any federal court located therein, shall also have
                           jurisdiction over NOAT, provided further, that the foregoing shall not
                           preclude State Court jurisdiction in any State with respect to any
                           matter arising under the National Opioid Abatement Trust Distribution
                           Procedures involving that State and one or more of its political
                           subdivisions or agencies.

                      6. The NOAT Trustees shall have the power to take any and all actions
                         that in the judgment of the Trustees are necessary or proper to fulfill
                         the purposes of NOAT, including the requirement that 100% of the
                         NOAT Funds distributed under the Chapter 11 Plan (and not otherwise
                         dedicated to the attorneys’ fee fund set forth in Section 4 herein) shall
                         be used to abate the opioid crisis in accordance with the terms hereof.




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                                                Schedule A
                                               Core Strategies

States and Qualifying Block Grantees shall choose from among the abatement strategies listed in
Schedule B. However, priority shall be given to the following core abatement strategies (“Core
Strategies”).1

A.      NALOXONE OR OTHER FDA-APPROVED DRUG TO REVERSE OPIOID
        OVERDOSES

        1.       Expand training for first responders, schools, community support groups and
                 families; and

        2.       Increase distribution to individuals who are uninsured or whose insurance does not
                 cover the needed service.

B.      MEDICATION-ASSISTED TREATMENT                               (“MAT”)        DISTRIBUTION             AND
        OTHER OPIOID-RELATED TREATMENT

        1.       Increase distribution of MAT to individuals who are uninsured or whose insurance
                 does not cover the needed service;

        2.       Provide education to school-based and youth-focused programs that discourage or
                 prevent misuse;

        3.       Provide MAT education and awareness training to healthcare providers, EMTs, law
                 enforcement, and other first responders; and

        4.       Treatment and Recovery Support Services such as residential and inpatient
                 treatment, intensive outpatient treatment, outpatient therapy or counseling, and
                 recovery housing that allow or integrate medication and with other support services.

C.      PREGNANT & POSTPARTUM WOMEN

        1.       Expand Screening, Brief Intervention, and Referral to Treatment (“SBIRT”)
                 services to non-Medicaid eligible or uninsured pregnant women;

        2.       Expand comprehensive evidence-based treatment and recovery services, including
                 MAT, for women with co-occurring Opioid Use Disorder (“OUD”) and other
                 Substance Use Disorder (“SUD”)/Mental Health disorders for uninsured
                 individuals for up to 12 months postpartum; and

        3.       Provide comprehensive wrap-around services to individuals with Opioid Use
                 Disorder (OUD) including housing, transportation, job placement/training, and
                 childcare.


1
 As used in this Schedule A, words like “expand,” “fund,” “provide” or the like shall not indicate a preference for
new or existing programs. Priorities will be established through the mechanisms described in the National Opioid
Abatement Trust Distribution Procedures.

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D.    EXPANDING TREATMENT FOR NEONATAL ABSTINENCE SYNDROME

      1.       Expand comprehensive evidence-based and recovery support for NAS babies;

      2.       Expand services for better continuum of care with infant-need dyad; and

      3.       Expand long-term treatment and services for medical monitoring of NAS babies
               and their families.

E.    EXPANSION OF WARM HAND-OFF PROGRAMS AND RECOVERY SERVICES

      1.       Expand services such as navigators and on-call teams to begin MAT in hospital
               emergency departments;

      2.       Expand warm hand-off services to transition to recovery services;

      3.       Broaden scope of recovery services to include co-occurring SUD or mental health
               conditions;

      4.       Provide comprehensive wrap-around services to individuals in recovery including
               housing, transportation, job placement/training, and childcare; and

      5.       Hire additional social workers or other behavioral health workers to facilitate
               expansions above.

F.    TREATMENT FOR INCARCERATED POPULATION

      1.       Provide evidence-based treatment and recovery support including MAT for persons
               with OUD and co-occurring SUD/MH disorders within and transitioning out of the
               criminal justice system; and

      2.       Increase funding for jails to provide treatment to inmates with OUD.

G.    PREVENTION PROGRAMS

      1.       Funding for media campaigns to prevent opioid use (similar to the FDA’s “Real
               Cost” campaign to prevent youth from misusing tobacco);

      2.       Funding for evidence-based prevention programs in schools.;

      3.       Funding for medical provider education and outreach regarding best prescribing
               practices for opioids consistent with the 2016 CDC guidelines, including providers
               at hospitals (academic detailing);

      4.       Funding for community drug disposal programs; and

      5.       Funding and training for first responders to participate in pre-arrest diversion
               programs, post-overdose response teams, or similar strategies that connect at-risk
               individuals to behavioral health services and supports.



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H.    EXPANDING SYRINGE SERVICE PROGRAMS

      1.       Provide comprehensive syringe services programs with more wrap-around services
               including linkage to OUD treatment, access to sterile syringes and linkage to care
               and treatment of infectious diseases.

I.    EVIDENCE-BASED DATA COLLECTION AND RESEARCH ANALYZING THE
      EFFECTIVENESS OF THE ABATEMENT STRATEGIES WITHIN THE STATE.




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                                                Schedule B
                                               Approved Uses

Support treatment of Opioid Use Disorder (OUD) and any co-occurring Substance Use Disorder
or Mental Health (SUD/MH) conditions through evidence-based or evidence-informed programs
or strategies that may include, but are not limited to, the following:

                                        PART ONE: TREATMENT


A.      TREAT OPIOID USE DISORDER (OUD)

        Support treatment of Opioid Use Disorder (OUD) and any co-occurring Substance Use
        Disorder or Mental Health (SUD/MH) conditions through evidence-based or evidence-
        informed programs or strategies that may include, but are not limited to, the following 1:

        1.       Expand availability of treatment for OUD and any co-occurring SUD/MH
                 conditions, including all forms of Medication-Assisted Treatment (MAT) approved
                 by the U.S. Food and Drug Administration.

        2.       Support and reimburse evidence-based services that adhere to the American Society
                 of Addiction Medicine (ASAM) continuum of care for OUD and any co-occurring
                 SUD/MH conditions

        3.       Expand telehealth to increase access to treatment for OUD and any co-occurring
                 SUD/MH conditions, including MAT, as well as counseling, psychiatric support,
                 and other treatment and recovery support services.

        4.       Improve oversight of Opioid Treatment Programs (OTPs) to assure evidence-based
                 or evidence-informed practices such as adequate methadone dosing and low
                 threshold approaches to treatment.

        5.       Support mobile intervention, treatment, and recovery services, offered by qualified
                 professionals and service providers, such as peer recovery coaches, for persons with
                 OUD and any co-occurring SUD/MH conditions and for persons who have
                 experienced an opioid overdose.

        6.       Treatment of trauma for individuals with OUD (e.g., violence, sexual assault,
                 human trafficking, or adverse childhood experiences) and family members (e.g.,
                 surviving family members after an overdose or overdose fatality), and training of
                 health care personnel to identify and address such trauma.

        7.       Support evidence-based withdrawal management services for people with OUD
                 and any co-occurring mental health conditions.



1
 As used in this Schedule B, words like “expand,” “fund,” “provide” or the like shall not indicate a preference for
new or existing programs. Priorities will be established through the mechanisms described in the National Opioid
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      8.       Training on MAT for health care providers, first responders, students, or other
               supporting professionals, such as peer recovery coaches or recovery outreach
               specialists, including telementoring to assist community-based providers in rural or
               underserved areas.

      9.       Support workforce development for addiction professionals who work with persons
               with OUD and any co-occurring SUD/MH conditions.

      10.      Fellowships for addiction medicine specialists for direct patient care, instructors,
               and clinical research for treatments.

      11.      Scholarships and supports for behavioral health practitioners or workers involved
               in addressing OUD and any co-occurring SUD or mental health conditions,
               including but not limited to training, scholarships, fellowships, loan repayment
               programs, or other incentives for providers to work in rural or underserved areas.

      12.      Provide funding and training for clinicians to obtain a waiver under the federal Drug
               Addiction Treatment Act of 2000 (DATA 2000) to prescribe MAT for OUD, and
               provide technical assistance and professional support to clinicians who have
               obtained a DATA 2000 waiver.

      13.      Dissemination of web-based training curricula, such as the American Academy of
               Addiction Psychiatry’s Provider Clinical Support Service-Opioids web-based
               training curriculum and motivational interviewing.

      14.      Development and dissemination of new curricula, such as the American Academy
               of Addiction Psychiatry’s Provider Clinical Support Service for Medication-
               Assisted Treatment.

B.    SUPPORT PEOPLE IN TREATMENT AND RECOVERY

      Support people in recovery from OUD and any co-occurring SUD/MH conditions through
      evidence-based or evidence-informed programs or strategies that may include, but are not
      limited to, the following:

      1.       Provide comprehensive wrap-around services to individuals with OUD and any co-
               occurring SUD/MH conditions, including housing, transportation, education, job
               placement, job training, or childcare.

      2.       Provide the full continuum of care of treatment and recovery services for OUD and
               any co-occurring SUD/MH conditions, including supportive housing, peer support
               services and counseling, community navigators, case management, and
               connections to community-based services.

      3.       Provide counseling, peer-support, recovery case management and residential
               treatment with access to medications for those who need it to persons with OUD
               and any co-occurring SUD/MH conditions.

      4.       Provide access to housing for people with OUD and any co-occurring SUD/MH
               conditions, including supportive housing, recovery housing, housing assistance

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               programs, training for housing providers, or recovery housing programs that allow
               or integrate FDA-approved mediation with other support services.

      5.       Provide community support services, including social and legal services, to assist
               in deinstitutionalizing persons with OUD and any co-occurring SUD/MH
               conditions.

      6.       Support or expand peer-recovery centers, which may include support groups, social
               events, computer access, or other services for persons with OUD and any co-
               occurring SUD/MH conditions.

      7.       Provide or support transportation to treatment or recovery programs or services for
               persons with OUD and any co-occurring SUD/MH conditions.

      8.       Provide employment training or educational services for persons in treatment for
               or recovery from OUD and any co-occurring SUD/MH conditions.

      9.       Identify successful recovery programs such as physician, pilot, and college
               recovery programs, and provide support and technical assistance to increase the
               number and capacity of high-quality programs to help those in recovery.

      10.      Engage non-profits, faith-based communities, and community coalitions to support
               people in treatment and recovery and to support family members in their efforts to
               support the person with OUD in the family.

      11.      Training and development of procedures for government staff to appropriately
               interact and provide social and other services to individuals with or in recovery
               from OUD, including reducing stigma.

      12.      Support stigma reduction efforts regarding treatment and support for persons with
               OUD, including reducing the stigma on effective treatment.

      13.      Create or support culturally appropriate services and programs for persons with
               OUD and any co-occurring SUD/MH conditions, including new Americans.

      14.      Create and/or support recovery high schools.

      15.      Hire or train behavioral health workers to provide or expand any of the services or
               supports listed above.

C.    CONNECT PEOPLE WHO NEED HELP TO THE HELP THEY NEED
      (CONNECTIONS TO CARE)

      Provide connections to care for people who have – or at risk of developing – OUD and any
      co-occurring SUD/MH conditions through evidence-based or evidence-informed programs
      or strategies that may include, but are not limited to, the following:

      1.       Ensure that health care providers are screening for OUD and other risk factors and
               know how to appropriately counsel and treat (or refer if necessary) a patient for
               OUD treatment.

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      2.       Fund Screening, Brief Intervention and Referral to Treatment (SBIRT) programs
               to reduce the transition from use to disorders, including SBIRT services to pregnant
               women who are uninsured or not eligible for Medicaid.

      3.       Provide training and long-term implementation of SBIRT in key systems (health,
               schools, colleges, criminal justice, and probation), with a focus on youth and young
               adults when transition from misuse to opioid disorder is common.

      4.       Purchase automated versions of SBIRT and support ongoing costs of the
               technology.

      5.       Expand services such as navigators and on-call teams to begin MAT in hospital
               emergency departments.

      6.       Training for emergency room personnel treating opioid overdose patients on post-
               discharge planning, including community referrals for MAT, recovery case
               management or support services.

      7.       Support hospital programs that transition persons with OUD and any co-occurring
               SUD/MH conditions, or persons who have experienced an opioid overdose, into
               clinically appropriate follow-up care through a bridge clinic or similar approach.

      8.       Support crisis stabilization centers that serve as an alternative to hospital emergency
               departments for persons with OUD and any co-occurring SUD/MH conditions or
               persons that have experienced an opioid overdose.

      9.       Support the work of Emergency Medical Systems, including peer support
               specialists, to connect individuals to treatment or other appropriate services
               following an opioid overdose or other opioid-related adverse event.

      10.      Provide funding for peer support specialists or recovery coaches in emergency
               departments, detox facilities, recovery centers, recovery housing, or similar
               settings; offer services, supports, or connections to care to persons with OUD and
               any co-occurring SUD/MH conditions or to persons who have experienced an
               opioid overdose.

      11.      Expand warm hand-off services to transition to recovery services.

      12.      Create or support school-based contacts that parents can engage with to seek
               immediate treatment services for their child; and support prevention, intervention,
               treatment, and recovery programs focused on young people.

      13.      Develop and support best practices on addressing OUD in the workplace.

      14.      Support assistance programs for health care providers with OUD.

      15.      Engage non-profits and the faith community as a system to support outreach for
               treatment.



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      16.      Support centralized call centers that provide information and connections to
               appropriate services and supports for persons with OUD and any co-occurring
               SUD/MH conditions.

D.    ADDRESS THE NEEDS OF CRIMINAL-JUSTICE-INVOLVED PERSONS

      Address the needs of persons with OUD and any co-occurring SUD/MH conditions who
      are involved in, are at risk of becoming involved in, or are transitioning out of the criminal
      justice system through evidence-based or evidence-informed programs or strategies that
      may include, but are not limited to, the following:

      1.       Support pre-arrest or pre-arraignment diversion and deflection strategies for
               persons with OUD and any co-occurring SUD/MH conditions, including
               established strategies such as:

               1.     Self-referral strategies such as the Angel Programs or the Police Assisted
                      Addiction Recovery Initiative (PAARI);

               2.     Active outreach strategies such as the Drug Abuse Response Team (DART)
                      model;

               3.     “Naloxone Plus” strategies, which work to ensure that individuals who have
                      received naloxone to reverse the effects of an overdose are then linked to
                      treatment programs or other appropriate services;

               4.     Officer prevention strategies, such as the Law Enforcement Assisted
                      Diversion (LEAD) model;

               5.     Officer intervention strategies such as the Leon County, Florida Adult Civil
                      Citation Network or the Chicago Westside Narcotics Diversion to
                      Treatment Initiative; or

               6.     Co-responder and/or alternative responder models to address OUD-related
                      911 calls with greater SUD expertise.

      2.       Support pre-trial services that connect individuals with OUD and any co-occurring
               SUD/MH conditions to evidence-informed treatment, including MAT, and related
               services.

      3.       Support treatment and recovery courts that provide evidence-based options for
               persons with OUD and any co-occurring SUD/MH conditions.

      4.       Provide evidence-informed treatment, including MAT, recovery support, harm
               reduction, or other appropriate services to individuals with OUD and any co-
               occurring SUD/MH conditions who are incarcerated in jail or prison.

      5.       Provide evidence-informed treatment, including MAT, recovery support, harm
               reduction, or other appropriate services to individuals with OUD and any co-
               occurring SUD/MH conditions who are leaving jail or prison have recently left jail


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               or prison, are on probation or parole, are under community corrections supervision,
               or are in re-entry programs or facilities.

      6.       Support critical time interventions (CTI), particularly for individuals living with
               dual-diagnosis OUD/serious mental illness, and services for individuals who face
               immediate risks and service needs and risks upon release from correctional settings.

      7.       Provide training on best practices for addressing the needs of criminal-justice-
               involved persons with OUD and any co-occurring SUD/MH conditions to law
               enforcement, correctional, or judicial personnel or to providers of treatment,
               recovery, harm reduction, case management, or other services offered in connection
               with any of the strategies described in this section.

E.    ADDRESS THE NEEDS OF PREGNANT OR PARENTING WOMEN AND THEIR
      FAMILIES, INCLUDING BABIES WITH NEONATAL ABSTINENCE
      SYNDROME

      Address the needs of pregnant or parenting women with OUD and any co-occurring
      SUD/MH conditions, and the needs of their families, including babies with neonatal
      abstinence syndrome (NAS), through evidence-based or evidence-informed programs or
      strategies that may include, but are not limited to, the following:

      1.       Support evidence-based or evidence-informed treatment, including MAT, recovery
               services and supports, and prevention services for pregnant women – or women
               who could become pregnant – who have OUD and any co-occurring SUD/MH
               conditions, and other measures to educate and provide support to families affected
               by Neonatal Abstinence Syndrome.

      2.       Expand comprehensive evidence-based treatment and recovery services, including
               MAT, for uninsured women with OUD and any co-occurring SUD/MH conditions
               for up to 12 months postpartum.

      3.       Training for obstetricians or other healthcare personnel that work with pregnant
               women and their families regarding treatment of OUD and any co-occurring
               SUD/MH conditions.

      4.       Expand comprehensive evidence-based treatment and recovery support for NAS
               babies; expand services for better continuum of care with infant-need dyad; expand
               long-term treatment and services for medical monitoring of NAS babies and their
               families.

      5.       Provide training to health care providers who work with pregnant or parenting
               women on best practices for compliance with federal requirements that children
               born with Neonatal Abstinence Syndrome get referred to appropriate services and
               receive a plan of safe care.

      6.       Child and family supports for parenting women with OUD and any co-occurring
               SUD/MH conditions.



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      7.       Enhanced family supports and child care services for parents with OUD and any
               co-occurring SUD/MH conditions.

      8.       Provide enhanced support for children and family members suffering trauma as a
               result of addiction in the family; and offer trauma-informed behavioral health
               treatment for adverse childhood events.

      9.       Offer home-based wrap-around services to persons with OUD and any co-occurring
               SUD/MH conditions, including but not limited to parent skills training.

      10.      Support for Children’s Services – Fund additional positions and services, including
               supportive housing and other residential services, relating to children being
               removed from the home and/or placed in foster care due to custodial opioid use.

                                  PART TWO: PREVENTION


F.    PREVENT    OVER-PRESCRIBING     AND   ENSURE                             APPROPRIATE
      PRESCRIBING AND DISPENSING OF OPIOIDS

      Support efforts to prevent over-prescribing and ensure appropriate prescribing and
      dispensing of opioids through evidence-based or evidence-informed programs or strategies
      that may include, but are not limited to, the following:

      1.       Fund medical provider education and outreach regarding best prescribing practices
               for opioids consistent with the Guidelines for Prescribing Opioids for Chronic Pain
               from the U.S. Centers for Disease Control and Prevention, including providers at
               hospitals (academic detailing).

      2.       Training for health care providers regarding safe and responsible opioid
               prescribing, dosing, and tapering patients off opioids.

      3.       Continuing Medical Education (CME) on appropriate prescribing of opioids.

      4.       Support for non-opioid pain treatment alternatives, including training providers to
               offer or refer to multi-modal, evidence-informed treatment of pain.

      5.       Support enhancements or improvements to Prescription Drug Monitoring Programs
               (PDMPs), including but not limited to improvements that:

               1.     Increase the number of prescribers using PDMPs;

               2.     Improve point-of-care decision-making by increasing the quantity, quality,
                      or format of data available to prescribers using PDMPs, by improving the
                      interface that prescribers use to access PDMP data, or both; or

               3.     Enable states to use PDMP data in support of surveillance or intervention
                      strategies, including MAT referrals and follow-up for individuals identified
                      within PDMP data as likely to experience OUD in a manner that complies
                      with all relevant privacy and security laws and rules.

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      6.       Ensuring PDMPs incorporate available overdose/naloxone deployment data,
               including the United States Department of Transportation’s Emergency Medical
               Technician overdose database in a manner that complies with all relevant privacy
               and security laws and rules.

      7.       Increase electronic prescribing to prevent diversion or forgery.

      8.       Educate Dispensers on appropriate opioid dispensing.

G.    PREVENT MISUSE OF OPIOIDS

      Support efforts to discourage or prevent misuse of opioids through evidence-based or
      evidence-informed programs or strategies that may include, but are not limited to, the
      following:

      1.       Fund media campaigns to prevent opioid misuse.

      2.       Corrective advertising or affirmative public education campaigns based on
               evidence.

      3.       Public education relating to drug disposal.

      4.       Drug take-back disposal or destruction programs.

      5.       Fund community anti-drug coalitions that engage in drug prevention efforts.

      6.       Support community coalitions in implementing evidence-informed prevention,
               such as reduced social access and physical access, stigma reduction – including
               staffing, educational campaigns, support for people in treatment or recovery, or
               training of coalitions in evidence-informed implementation, including the Strategic
               Prevention Framework developed by the U.S. Substance Abuse and Mental Health
               Services Administration (SAMHSA).

      7.       Engage non-profits and faith-based communities as systems to support prevention.

      8.       Fund evidence-based prevention programs in schools or evidence-informed school
               and community education programs and campaigns for students, families, school
               employees, school athletic programs, parent-teacher and student associations, and
               others.

      9.       School-based or youth-focused programs or strategies that have demonstrated
               effectiveness in preventing drug misuse and seem likely to be effective in
               preventing the uptake and use of opioids.

      10.      Create of support community-based education or intervention services for families,
               youth, and adolescents at risk for OUD and any co-occurring SUD/MH conditions.

      11.      Support evidence-informed programs or curricula to address mental health needs
               of young people who may be at risk of misusing opioids or other drugs, including
               emotional modulation and resilience skills.

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      12.      Support greater access to mental health services and supports for young people,
               including services and supports provided by school nurses, behavioral health
               workers or other school staff, to address mental health needs in young people that
               (when not properly addressed) increase the risk of opioid or another drug misuse.

H.    PREVENT OVERDOSE DEATHS AND OTHER HARMS (HARM REDUCTION)

      Support efforts to prevent or reduce overdose deaths or other opioid-related harms through
      evidence-based or evidence-informed programs or strategies that may include, but are not
      limited to, the following:

      1.       Increase availability and distribution of naloxone and other drugs that treat
               overdoses for first responders, overdose patients, individuals with OUD and their
               friends and family members, schools, community navigators and outreach workers,
               persons being released from jail or prison, or other members of the general public.

      2.       Public health entities providing free naloxone to anyone in the community.

      3.       Training and education regarding naloxone and other drugs that treat overdoses for
               first responders, overdose patients, patients taking opioids, families, schools,
               community support groups, and other members of the general public.

      4.       Enable school nurses and other school staff to respond to opioid overdoses, and
               provide them with naloxone, training, and support.

      5.       Expand, improve, or develop data tracking software and applications for
               overdoses/naloxone revivals.

      6.       Public education relating to emergency responses to overdoses.

      7.       Public education relating to immunity and Good Samaritan laws.

      8.       Educate first responders regarding the existence and operation of immunity and
               Good Samaritan laws.

      9.       Syringe service programs and other evidence-informed programs to reduce harms
               associated with intravenous drug use, including supplies, staffing, space, peer
               support services, referrals to treatment, fentanyl checking, connections to care, and
               the full range of harm reduction and treatment services provided by these programs.

      10.      Expand access to testing and treatment for infectious diseases such as HIV and
               Hepatitis C resulting from intravenous opioid use.

      11.      Support mobile units that offer or provide referrals to harm reduction services,
               treatment, recovery supports, health care, or other appropriate services to persons
               that use opioids or persons with OUD and any co-occurring SUD/MH conditions.

      12.      Provide training in harm reduction strategies to health care providers, students, peer
               recovery coaches, recovery outreach specialists, or other professionals that provide


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               care to persons who use opioids or persons with OUD and any co-occurring
               SUD/MH conditions.

      13.      Support screening for fentanyl in routine clinical toxicology testing.

                             PART THREE: OTHER STRATEGIES

I.    I. FIRST RESPONDERS

      In addition to items in section C, D and H relating to first responders, support the following:

      1.       Educate law enforcement or other first responders regarding appropriate practices
               and precautions when dealing with fentanyl or other drugs.

      2.       Provision of wellness and support services for first responders and others who
               experience secondary trauma associated with opioid-related emergency events.

J.    LEADERSHIP, PLANNING AND COORDINATION

      Support efforts to provide leadership, planning, coordination, facilitations, training and
      technical assistance to abate the opioid epidemic through activities, programs, or strategies
      that may include, but are not limited to, the following:

      1.       Statewide, regional, local or community regional planning to identify root causes
               of addiction and overdose, goals for reducing harms related to the opioid epidemic,
               and areas and populations with the greatest needs for treatment intervention
               services, and to support training and technical assistance and other strategies to
               abate the opioid epidemic described in this opioid abatement strategy list.

      2.       A dashboard to (a) share reports, recommendations, or plans to spend opioid
               settlement funds; (b) to show how opioid settlement funds have been spent; (c) to
               report program or strategy outcomes; or (d) to track, share or visualize key opioid-
               or health-related indicators and supports as identified through collaborative
               statewide, regional, local or community processes.

      3.       Invest in infrastructure or staffing at government or not-for-profit agencies to
               support collaborative, cross-system coordination with the purpose of preventing
               overprescribing, opioid misuse, or opioid overdoses, treating those with OUD and
               any co-occurring SUD/MH conditions, supporting them in treatment or recovery,
               connecting them to care, or implementing other strategies to abate the opioid
               epidemic described in this opioid abatement strategy list.

      4.       Provide resources to staff government oversight and management of opioid
               abatement programs.

K.    TRAINING

      In addition to the training referred to throughout this document, support training to abate
      the opioid epidemic through activities, programs, or strategies that may include, but are not
      limited to, the following:

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      1.       Provide funding for staff training or networking programs and services to improve
               the capability of government, community, and not-for-profit entities to abate the
               opioid crisis.

      2.       Support infrastructure and staffing for collaborative cross-system coordination to
               prevent opioid misuse, prevent overdoses, and treat those with OUD and any co-
               occurring SUD/MH conditions, or implement other strategies to abate the opioid
               epidemic described in this opioid abatement strategy list (e.g., health care, primary
               care, pharmacies, PDMPs, etc.).

L.    RESEARCH

      Support opioid abatement research that may include, but is not limited to, the following:

               1.     Monitoring, surveillance, data collection and evaluation of programs and
                      strategies described in this opioid abatement strategy list.

               2.     Research non-opioid treatment of chronic pain.

               3.     Research on improved service delivery for modalities such as SBIRT that
                      demonstrate promising but mixed results in populations vulnerable to
                      opioid use disorders.

               4.     Research on novel harm reduction and prevention efforts such as the
                      provision of fentanyl test strips.

               5.     Research on innovative supply-side enforcement efforts such as improved
                      detection of mail-based delivery of synthetic opioids.

               6.     Expanded research on swift/certain/fair models to reduce and deter opioid
                      misuse within criminal justice populations that build upon promising
                      approaches used to address other substances (e.g. Hawaii HOPE and Dakota
                      24/7).

               7.     Epidemiological surveillance of OUD-related behaviors in critical
                      populations including individuals entering the criminal justice system,
                      including but not limited to approaches modeled on the Arrestee Drug
                      Abuse Monitoring (ADAM) system.

               8.     Qualitative and quantitative research regarding public health risks and harm
                      reduction opportunities within illicit drug markets, including surveys of
                      market participants who sell or distribute illicit opioids.

               9.     Geospatial analysis of access barriers to MAT and their association with
                      treatment engagement and treatment outcomes.




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                                         Schedule C
                                State Allocation Percentages

                      State                      Final Percentage Division of Funds

                     Alabama                              1.6579015983%
                      Alaska                              0.2681241169%
                American Samoa*                           0.0175102976%
                      Arizona                             2.3755949882%
                     Arkansas                             0.9779907816%
                    California                            9.9213830698%
                     Colorado                             1.6616291219%
                   Connecticut                            1.3490069542%
                     Delaware                             0.5061239962%
               District of Columbia                       0.2129072934%
                      Florida                             7.0259134409%
                      Georgia                             2.7882080114%
                      Guam*                               0.0518835714%
                      Hawaii                              0.3476670198%
                       Idaho                              0.5364838684%
                      Illinois                            3.3263363702%
                      Indiana                             2.2168933059%
                        Iowa                              0.7639415424%
                      Kansas                              0.8114241462%
                     Kentucky                             1.5963344879%
                     Louisiana                            1.5326855153%
                       Maine                              0.5725492304%
                     Maryland                             2.1106090494%
                  Massachusetts                           2.3035761083%
                     Michigan                             3.4020234989%
                    Minnesota                             1.2972597706%
                    Mississippi                           0.8994318052%
                     Missouri                             2.0056475170%
                     Montana                              0.3517745904%
               N. Mariana Islands*                        0.0191942445%
                     Nebraska                             0.4335719578%
                      Nevada                              1.2651495115%
                 New Hampshire                            0.6419355371%
                   New Jersey                             2.7551354545%
                   New Mexico                             0.8749406830%
                    New York                              5.3903813405%
                 North Carolina                           3.2502525994%
                  North Dakota                            0.1910712849%
                        Ohio                              4.3567051408%
                    Oklahoma                              0.6073894708%
                      Oregon                              1.4405383452%
                  Pennsylvania                            4.5882419559%
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                   Puerto Rico**                                  0.7324076274%
                    Rhode Island                                  0.5040770915%
                   South Carolina                                 1.5989037696%
                    South Dakota                                  0.2231552882%
                     Tennessee                                    2.6881474977%
                       Texas                                      6.2932157196%
                        Utah                                      1.2039654451%
                      Vermont                                     0.2945952769%
                   Virgin Islands*                                0.0348486384%
                      Virginia                                    2.2801150757%
                     Washington                                   2.3189040182%
                   West Virginia                                  1.1614558107%
                     Wisconsin                                    1.7582560561%
                     Wyoming                                      0.2046300910%
      * Allocations for American Samoa, Guam, N. Mariana Islands, and Virgin Islands are 100% based on
        population because of lack of available information for the other metrics.
      ** Allocations for Puerto Rico are 25% based on MMEs and 75% based on population because of lack of
        available information for the other metrics.

       The metrics noted above are calculated as follows:

                       A.      Amount of Prescription Opioids Sold as Measured by MME

        The MME metric reflects the intensity of prescription opioid sales by state over a nine-year
period from 2006 to 2014. This measure accounts for the flow of prescription opioids from
manufacturers to distributors to pharmacies. The MME metric uses sales data for 12 categories of
prescription opioids and was collected in a standardized manner by the Drug Enforcement
Administration (DEA) in its Automation of Reports and Consolidated Orders System (ARCOS)
database. As part of the National Prescription Opiate Litigation Multi-District Litigation, Case No.
1:17-MD-2804 (N.D. Ohio) (Opioid MDL), the DEA agreed to produce the nine years of data
from 2006-2014, which encompassed the peak years of opioid sales in most states. The ARCOS
data is standardized by converting data from varying products and prescription strengths into
uniform MME totals to accurately reflect higher doses and stronger drugs in the data.

                       B.      Pain Reliever Use Disorder

        This metric consists of the number of people in each state with pain reliever use disorder,
as identified by the annual National Survey on Drug Use and Health conducted by the federal
Substance Abuse and Mental Health Services Administration (SAMHSA). The SAMHSA survey
is widely used by federal and other agencies. This metric included all three prior years in which
pain reliever use disorder was broken down by state, 2015-2017, and included both people
receiving treatment and those who are not.

                       C.      Overdose Deaths

       The overdose death metric includes two measures: (1) overdose deaths caused by opioids
and (2) overdose deaths caused by all drugs. The overdose death figures used for the metric are
from the years 2007-2017, with data drawn from a database compiled by the Centers for Disease
Control and Prevention (“CDC”). The CDC database does not adjust for local reporting problems

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that differ from state to state and over time. To mitigate this data collection issue, figures for all
drug overdose deaths, which captures some unidentified opioid overdoses as well as overdoses
unrelated to opioids.

                          D.       Population

        Population is measured by the 2018 U.S. Census estimate.

                          E.       Negotiation Class Metrics

        The Opioid MDL Plaintiffs’ proposed “negotiation class” metrics weighting factor consists
of the Negotiating Class Allocation Model (defined below) applied at the state level.

                 ii.      Intrastate Allocation of NOAT Abatement Funds

        Each State and its Local Governments will have until (14) fourteen days after the Effective
Date of the Plan (the “Agreement Date”) to file with the Bankruptcy Court an agreed-upon
allocation or method for allocating the NOAT Funds for that State dedicated only to Approved
Uses (each a “Statewide Abatement Agreement” or “SAA”). Any State and its Local
Governments that have reached agreement before the Effective Date of the Plan that satisfies the
metric for approval as described in the immediately following paragraph shall file a notice with
the Bankruptcy Court that it has adopted a binding SAA and either include the SAA with its filing
or indicate where the SAA is publicly available for the SAA to be effective for the Purdue
Bankruptcy. Any dispute regarding allocation within a State will be resolved as provided by the
Statewide Abatement Agreement; provided that no Statewide Abatement Agreement may remove
or otherwise limit the reporting requirements set forth in any of the NOAT Documents, including
without limitation in the NOAT Agreement.

        A Statewide Abatement Agreement shall be agreed when it has been approved by the
State and either (a) representatives of its Local Governments whose aggregate Population
Percentages, determined as set forth below, total more than sixty percent (60%), or (b)
representatives of its Local Governments whose aggregate Population Percentages total more
than fifty percent (50%) provided that these Local Governments also represent 15% or more of
the State’s counties or parishes (or, in the case of States whose counties and parishes that do not
function as Local Governments, 15% of or more of the State’s incorporated cities or towns), by
number.

        Population Percentages shall be determined as follows: For States with counties or
parishes that function as Local Governments,1 the Population Percentage of each county or parish
shall be deemed to be equal to (a) (1) 200% of the population of such county or parish, minus (2)
the aggregate population of all Primary Incorporated Municipalities located in such county or
parish, divided by (b) 200% of the State’s population. A “Primary Incorporated Municipality”
means a city, town, village or other municipality incorporated under applicable state law with a

1
 Certain states do not have counties or parishes that function as Local Governments, including: Alaska, Connecticut,
Massachusetts, Rhode Island, and Vermont. All other States have counties or parishes that function as Local
Governments.

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population of at least 25,000 that is not located within another incorporated municipality. The
Population Percentage of each primary incorporated municipality shall be equal to its population
(including the population of any incorporated or unincorporated municipality located therein)
divided by 200% of the State’s population; provided that the Population Percentage of a primary
incorporated municipality that is not located within a county shall be equal to 200% of its
population (including the population of any incorporated or unincorporated municipality located
therein) divided by 200% of the State’s population. For all States that do not have counties or
parishes that function as Local Governments, the Population Percentage of each incorporated
municipality (including any incorporated or unincorporated municipality located therein), shall
be equal to its population divided by the State’s population.

         The Statewide Abatement Agreement will become effective within fourteen (14) days of
filing, unless otherwise ordered by the Bankruptcy Court.

         A State and its Local Governments may revise, supplement, or refine a Statewide
Abatement Agreement by filing an amended Statewide Abatement Agreement that has been
approved by the State and sufficient Local Governments to satisfy the approval standards set forth
above with the Bankruptcy Court, which shall become effective within fourteen (14) days of
filing, unless otherwise ordered by the Bankruptcy Court

        Under the Plan, NOAT Funds allocated to each Non-SAA State are allocated between a
“Regional Apportionment” and a “Non-Regional Apportionment.” The Proportionate Share
of the Regional Apportionment for each Region in a Non-SAA State is determined by reference
to the aggregate shares of counties (as used herein, the term county includes parishes), and cities
or towns in the cases of a Non-SAA States in which counties do not function as Local
Governments, in the Region either (i) under the allocation model available at
www.opioidnegotiationclass.info that was developed as part of the establishment of a negotiation
class procedure implemented in In re: National Prescription Opiates Litigation, MDL No. 2804
(N.D. Ohio) (the “Negotiating Class Allocation Model”), or (ii) the model developed by
Christopher J. Ruhm, Professor of Public Policy and Economics at the University of Virginia (the
“Ruhm Allocation Model”), attached hereto as Exhibit 1, (collectively with the Negotiating
Class Allocation Model, the “Allocation Models.”).

               a.      The Negotiating Class Allocation Model

        The Negotiating Class Allocation Model employs a three-factor analysis to allocate
potential opioids settlement proceeds among counties. The three factors are:

                       A.     Opioid Use Disorder (“OUD”). Under this factor, each county is
                              assigned a percentage derived by dividing the number of people in
                              the county with OUD by the total number of people nationwide
                              with OUD. The Model uses data reported in the National Survey
                              on Drug Use and Health (“NSDUH”) for 2017. The data is
                              accessible at https://bit.ly/2HqF554.

                       B.     Overdose Deaths. This factor assigns to each county a percentage
                              of the nation’s opioid overdose deaths. The percentage is based on

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                              Multiple Causes of Death (“MCOD”) data reported by the
                              National Center for Health Statistics (“NCHS”), the Centers for
                              Disease Control (“CDC”) and the Department of Health and
                              Human Services (“DHHS”). The data so reported is adjusted
                              using a standard, accepted method (the “Ruhm Adjustment”)
                              designed to address the well-established under-reporting of deaths
                              by opioids overdose.

                      C.      Amount of Opioids. This factor assigns to each county a
                              percentage of the national opioids shipments during 2006-2016
                              (expressed as morphine molecule equivalents, or MMEs) that
                              produced a negative outcome. This percentage is based on data
                              reported by the U.S. Drug Enforcement Agency (“DEA”) in its
                              ARCOS (Automation of Reports and Consolidated Orders System)
                              database. Each county’s share of national shipments is multiplied
                              by the higher of two ratios: (1) the ratio of the percentage of
                              people in the county with OUD to the percentage of people
                              nationwide with OUD; or (2) the ratio of the percentage of people
                              in the county who died of an opioids overdose between 2006-2016
                              to the national percentages of opioids overdose deaths during that
                              time.

       The Negotiating Class Allocation Model gives equal weight to each of these factors.
Thus, a hypothetical county with an OUD percentage of .3%, and overdose deaths percentage of
.2% and an amounts of opioids percentage of .16% would receive an overall allocation of .22%.

        Where a county and its cities and towns are unable to reach agreement regarding the
sharing of the county’s overall allocation, the Negotiating Class Allocation Model provides for
such sharing based on how the county and its cities and towns have historically split funding for
opioids abatement. This historical analysis employs data reported by the U.S. Census Bureau on
local government spending by certain functions. The Negotiating Class Allocation Model assigns
to each incorporated city and town a portion of the county’s overall allocation based on this
historical data.

               b.     The Ruhm Allocation Model

       The Ruhm Allocation Model employs a three-factor analysis to allocate potential opioids
settlement proceeds among counties. The three factors are:

                      A.      Number of Persons with Opioid Use Disorder (“OUD”). NSDUH
                              data from 2007-2016 is used to estimate the number of persons in
                              the state with OUD. The county share of OUD cases was assumed
                              to be the same as its share of opioid-involved overdose deaths,
                              calculated as described in (B) below.

                      B.      Opioid-Related Overdose Deaths. This factor assigns to each
                              county a percentage of the nation’s opioid overdose deaths. The
                              percentage is based on MCOD data reported by the NCHS, CDC
                              and DHHS. The data so reported is adjusted using the Ruhm
                                               33
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                              Adjustment designed to address the well-established under-
                              reporting of deaths by opioids overdose.

                       C.     Opioid Shipments. This factor assigns to each county a percentage
                              of the national opioids shipments during 2006-2016 (expressed as
                              morphine molecule equivalents, or MMEs) that produced a
                              negative outcome. This percentage is based on data reported by
                              the DEA in its ARCOS. No additional adjustments are used.

         Under the Plan, the Allocation Models’ shares of each county in a Region are aggregated.
Those aggregate Allocation Model shares are then divided by the total Allocation Model shares
for all Regions in the State to determine the subject Region’s Proportionate Share. For Non-SAA
States in which counties do not function as Local Governments, the Allocation Model shares for
each city and town in a Region are aggregated, and the aggregate is divided by the total Allocation
Model shares for all cities and towns in the State to determine the Region’s Proportionate Share.

        On September 30, 2020, the Bankruptcy Court entered the Order Expanding Scope of
Mediation [D.I. 1756] (the “Supplemental Mediation Order”), which authorized the Mediators
to continue the Mediation to resolve certain open issues referenced in the Mediators’ Report, as
well as to mediate the estate causes of action and any potential claims or causes of action held by
any of the Non-Federal Public Claimants against, or that otherwise may become the subject of
releases for, members of the Sackler Families in Phase 2 of Mediation.




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                                          Exhibit G-1

               Redline of National Opioid Abatement Trust Distribution Procedures
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       NATIONAL OPIOID ABATEMENT TRUST DISTRIBUTION PROCEDURES 1


          Issue                                                     Description

1. APPLICABILITY                These terms shall apply to the allocation of value received by NOAT
   OF AGREEMENT                 under the plan of reorganization (the “Chapter 11 Plan” or the “Plan”)2
                                in the Chapter 11 Cases of Purdue Pharma L.P. and its affiliates
                                (collectively, “Purdue”) pending in the U.S. Bankruptcy Court for the
                                Southern District of New York (the “Bankruptcy Court”) in respect of
                                the Public Creditor Trust Distributions (including the Initial Public
                                Creditor Trust Distribution and all amounts distributed in respect of the
                                TopCo Interests and the MDT Interests), which shall be distributed
                                among (i) the states, territories and the District of Columbia (each a
                                “State” as defined in the Plan), and (ii) each county, city, town, parish,
                                village, and municipality that is a Domestic Governmental Entity or other
                                holder of a Non-Federal Domestic Governmental Claim that is otherwise
                                not a “State” as defined in the Plan (collectively, the “Local
                                Governments”), whose Claims in Class 4 (Non-Federal Domestic
                                Governmental Claims), along with all other Non-Federal Domestic
                                Governmental Channeled Claims, are channeled to the National Opioid
                                Abatement Trust (“NOAT”) under the Plan and the Master TDP. To the
                                extent not explicitly reflected in the Chapter 11 Plan, the terms set forth
                                herein will be deemed incorporated into the Chapter 11 Plan, the trust
                                agreement for the National Opioid Abatement Trust (the “NOAT


 1
   Oklahoma local governments set forth in Schedule D (the “Oklahoma Local Governments”) will receive the
 equivalent of the Regional Apportionment portion of the allocation for Oklahoma less the $12.5 million designated
 for the Oklahoma political subdivisions in the State of Oklahoma’s pre-petition settlement with the Debtors and the
 Sacklers (the “Purdue Oklahoma Political Subdivision Fund”). The release requirement contained in the State of
 Oklahoma settlement with the Debtors and the Sacklers for a political subdivision to participate in the Purdue
 Oklahoma Political Subdivision Fund, as defined in that agreement, shall be waived by the Debtors and any other
 party to that agreement as part of the documentation related to their Plan of Reorganization such that Oklahoma
 Local Governments may participate in both the Purdue Oklahoma Political Subdivision Fund and receive
 distributions from the National Opioid Abatement Trust. Debtors and the Sacklers also waive any requirement in the
 State of Oklahoma pre-petition settlement that funds not distributed by the Purdue Oklahoma Political Subdivision
 Fund within a certain amount of time will revert to the Foundation or the National Center for Addiction Studies and
 Treatment created by the State of Oklahoma’s pre-petition settlement, and acknowledges that the entire Purdue
 Oklahoma Political Subdivision Fund shall be distributed to Oklahoma political subdivisions. Each of the Oklahoma
 Local Governments will be treated as a Qualifying Block Grantee, as that term is utilized in these National Opioid
 Abatement Trust Distribution Procedures, regardless of their population or other qualifications. Distributions from
 NOAT to Oklahoma Local Governments shall be in accordance with the ratios set forth in Exhibit C of the
 allocation to Oklahoma. The Oklahoma Local Governments shall either hire an administrator for the funds from
 NOAT or receive the funds directly from NOAT. Funds distributed to Oklahoma Local Governments shall only be
 used for Approved Uses, as that term is defined in these National Opioid Abatement Trust Distribution Procedures,
 and Oklahoma Local Governments shall be required to publish and submit documentation of the use of funds to an
 administrator for the purpose of reporting to NOAT as is required for Qualified Block Grantee under these National
 Opioid Abatement Trust Distribution Procedures. The administrator may be reasonably compensated to perform its
 administrative function, but not to exceed 5% of the money distributed to Oklahoma Local Governments by NOAT.
 2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Chapter 11
 Plan or NOAT Agreement, as applicable.

                                                         1
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                                  Agreement”) and the NOAT Documents, as applicable.

                                  These terms set forth the manner in which NOAT shall make Abatement
                                  Distributions to States and Local Governments (such entities,
                                  “Authorized Recipients”), which may be used exclusively on the
                                  parameters set forth herein.3

2. PURPOSE                        Virtually all creditors and the Court itself in the Purdue Chapter 11 Cases
                                  recognize the need for and value in developing a comprehensive
                                  abatement strategy to address the opioid crisis as the most effective use of
                                  the funds that can be derived from the Purdue estate (including without
                                  limitation insurance proceeds and, if included in the Chapter 11 Plan,
                                  payments by third parties seeking releases). Because of the unique
                                  impact the crisis has had throughout all regions of the United States, and
                                  as repeatedly recognized by the Bankruptcy Court, distribution of a
                                  substantial portion of the estates should occur through an established
                                  governmental structure, with the use of such funds strictly limited to
                                  abatement purposes as provided herein.4 This approach recognizes that
                                  funding abatement efforts – which would benefit most creditors and the
                                  public by reducing future effects of the crisis through treatment and other
                                  programs – is a much more efficient use of limited funds than dividing
                                  thin slices among all creditors with no obligation to use it to abate the
                                  opioid crisis. Because maximizing abatement of the opioid crisis requires
                                  coordination of efforts by all levels of government, particularly when the
                                  abatement needs far exceed the available funds, this structure requires a
                                  collaborative process between each State and its Local Governments.

                                  These distribution procedures (these “National Opioid Abatement

 3
   Subject to the approved settlement between the United States Department of Justice and the Debtors, resolution of
 States’ and Local Governments’ claims under this model presumes reaching satisfactory agreement regarding all
 claims asserted by the federal government in the Chapter 11 Cases.
 4
   See, e.g., Hrg. Tr at 149:22-150:5 (Oct. 11, 2019) (“I would hope that those public health steps, once the difficult
 allocation issues that the parties have addressed here, can be largely left up to the states and municipalities so that
 they can use their own unique knowledge about their own citizens and how to address them. It may be that some
 states think it’s more of a law enforcement issue, i.e. interdicting illegal opioids at this point. Others may think
 education is more important. Others may think treatment is more important.”); id. At 175:24-176:6 (“I also think,
 and again, I didn’t say this lightly, that my hope in the allocation process is that there would be an understanding
 between the states and the municipalities and localities throughout the whole process that[,] subject to general
 guidelines on how the money should be used, specific ways to use it would be left up to the states and the
 municipalities, with guidance from the states primarily.”); Hr’g Tr. At 165:3-165:14 (Nov. 19, 2019) (“I continue to
 believe that the states play a major role in [the allocation] process. The role I’m envisioning for them is not one
 where they say we get everything. I think that should be clear and I think it is clear to them. But, rather, where they
 act – in the best principles of federalism, for their state, the coordinator for the victims in their state.”); Hr’g Tr. at
 75:19-76:1 (Jan. 24, 2020) (“Even if there ultimately is an allocation here – and there’s not a deal now, obviously, at
 this point on a plan. But if there is an allocation that leaves a substantial amount of the Debtors’ value to the states
 and territories, one of the primary benefits of a bankruptcy case is that the plan can lock in, perhaps only in general
 ways, but perhaps more in specific ways, how the states use that money . . . .”).

                                                             2
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                                Trust Distribution Procedures”) are intended to establish the
                                mechanisms for the distribution and allocation of funds distributed by
                                NOAT to the States and Local Governments. All funds described in the
                                foregoing sentence are referred to herein as “NOAT Funds.” 100% of the
                                NOAT Funds distributed under the Chapter 11 Plan (and not otherwise
                                dedicated to the attorneys’ fee fund set forth in Section 4 herein) shall be
                                used to abate the opioid crisis in accordance with the terms hereof.
                                Specifically, (i) no less than ninety five percent (95%) of the NOAT
                                Funds distributed under the Chapter 11 Plan shall be used for abatement
                                of the opioid crisis by funding opioid or substance use disorder-related
                                projects or programs that fall within the list of uses in Schedule B (the
                                “Approved Opioid Abatement Uses”); (ii) priority should be given to
                                the core abatement strategies (“Core Strategies”) as identified on
                                Schedule A; and (iii) no more than five percent (5%) of the NOAT
                                Funds may be used to fund expenses incurred in administering the
                                distributions for the Approved Opioid Abatement Uses, including the
                                process of selecting programs to receive distributions of NOAT Funds
                                for implementing those programs and in connection with the Government
                                Participation Mechanism5 (“Approved Administrative Expenses”) and
                                together with the other AuthorizedApproved Opioid Abatement Purposes
                                set forth in (i)Uses and (ii)Core Strategies, “Approved Uses”.

                                NOAT shall, in accordance with the Plan, the Confirmation Order and the
                                NOAT Documents, distribute NOAT Funds to States and Local
                                Governments exclusively for Approved Uses. Decisions concerning
                                NOAT Funds made by NOAT will consider the need to ensure that
                                underserved urban and rural areas, as well as minority communities,
                                receive equitable access to the funds.

                                Notwithstanding anything in these National Opioid Abatement Trust
                                Distribution Procedures that might imply to the contrary, projects or
                                programs that constitute Approved Opioid Abatement Uses may be
                                provided by States, State agencies, Local Governments, Local
                                Government agencies or nongovernmental parties and funded from
                                NOAT Funds.

3. DISBURSEMENT                 The Chapter 11 Plan shall provide for the establishment of NOAT and the
   OF FUNDS                     appointment of NOAT Trustees.6 The NOAT Trustees shall distribute


 5
  Capitalized terms not defined where first used shall have the meanings later ascribed to them in these National
 Opioid Abatement Trust Distribution Procedures.
 6
   Pursuant to the Plan, the NOAT Trustees shall be selected by the Governmental Consent Parties, in consultation
 with the Debtors and pursuant to a selection process reasonably acceptable to the Debtors; provided that the DOJ
 shall have the right, in its discretion, to observe such selection process. The NOAT Agreement shall provide that: (i)
 the Trustees shall receive compensation from NOAT for their services as Trustees; (ii) the amounts paid to the
 Trustees for compensation and expenses shall be disclosed in the Annual Report; (iii) the Trustees shall not be
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                                 the NOAT Funds consistent with the allocation attached as Schedule C
                                 and in accordance with the NOAT Agreement.

4. ATTORNEYS’ FEES A. Pursuant to Section 5.8 of the Plan, Public Creditor Trust Distributions
   AND COSTS FUND      will be subject to assessments to fund (i) the Local Government and
                       Tribe Costs and Expenses Fund, which shall be used to pay
                       qualifying costs and expenses (including attorneys’ fees) of Holders
                       of Non-Federal Governmental Claims (other than States) and Tribe
                       Claims (including ad hoc groups of any of the foregoing) and (ii) the
                       State Costs and Expenses Fund, which shall be used to pay
                       qualifying costs and expenses (including attorneys’ fees) of States
                       (including ad hoc groups thereof).Local Government and Tribe
                       Attorneys’ Fees and Costs. On the Effective Date, the Local
                       Government and Tribe Attorney Fee Fund shall be established for
                       the payment of attorneys’ fees and costs of Holders of Non-Federal
                       Domestic Governmental Channeled Claims (other than States) and
                       Holders of Tribe Channeled Claims (including any ad hoc group
                       consisting of any of the foregoing), other than fees and costs paid
                       pursuant to the MSGE Group Reimbursement Order. The Local
                       Government and Tribe Attorney Fee Fund shall be funded in an
                       aggregate amount not to exceed $275 million from 5.5% of each
                       Public Creditor Trust Distribution. Payments from the Local
                       Government and Tribe Attorney Fee Fund and/or the Common
                       Benefit Fund shall be the exclusive means of payment from the
                       Debtors’ Estates for fees and costs of any attorney of a Holder of a
                       Non-Federal Domestic Governmental Channeled Claim (other than a
                       State) or a Holder of a Tribe Channeled Claim (or any ad hoc group
                       consisting of any of the foregoing), other than fees and costs paid
                       pursuant to the MSGE Group Reimbursement Order, the AHC
                       Reimbursement Agreement Assumption Order or in accordance with
                       the Common Benefit Fund. All requests for payment of attorneys’
                       fees or costs inconsistent with this Section 4(A), whether under
                       section 503 of the Bankruptcy Code or otherwise, by any Holder of a
                       Non-Federal Domestic Governmental Channeled Claim (other than a
                       State) or Holder of a Tribe Channeled Claim (or any ad hoc group



  required to post any bond or other form of surety or security unless otherwise ordered by the Bankruptcy Court; (iv)
  the Trustees shall have the power to appoint such officers and retain such employees, consultants, advisors,
  independent contractors, experts, and agents and engage in such legal, financial, accounting, investment, auditing,
  and alternative dispute resolution services and activities as NOAT requires, and delegate to such persons such
  powers and authorities as the fiduciary duties of the Trustees permit and as the Trustees, in their discretion, deem
  advisable or necessary in order to carry out the terms of this Trust Agreement; and (v) the Trustees shall have the
  power to pay reasonable compensation and expenses to any such employees, consultants, advisors, independent
  contractors, experts, and agents for legal, financial, accounting, investment, auditing, and alternative dispute
  resolution services and activities.


                                                           4
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                                         consisting of any of the foregoing) or any attorney therefor are
                                         hereby waived, and any such request shall be Disallowed in full.

                                   B. State Attorneys’ Fees and Costs. On the Effective Date, the State
                                   Attorney Fee Fund shall be established for the payment of attorneys’ fees
                                   and costs of the States (including any ad hoc group thereof), other than
                                   fees and costs paid pursuant to the AHC Reimbursement Agreement
                                   Assumption Order. The State Attorneys Fee Fund shall be funded in an
                                   aggregate amount not to exceed $225 million from 4.5% of each Public
                                   Creditor Trust Distribution. Payments from the State Attorney Fee Fund
                                   and/or the Common Benefit Fund shall be the exclusive means of
                                   payment from the Debtors’ Estates for fees and costs of any attorney of a
                                   State (or any ad hoc group thereof), other than fees and costs paid
                                   pursuant to the AHC Reimbursement Agreement Assumption Order or in
                                   accordance with the Common Benefit Fund. All requests for payment of
                                   attorneys’ fees or costs inconsistent with this Section 4(B), whether under
                                   section 503 of the Bankruptcy Code or otherwise, by any State (or any ad
                                   hoc group thereof) or any attorney therefor are hereby waived, and any
                                   such request shall be Disallowed in full.

5. DIVISION OF NOAT NOAT Funds shall be allocated among the States, the District of
   FUNDS            Columbia, and Territories in the percentages set forth on Schedule C.

                                   A. Except as set forth below in Section 5(B) for the District of
                                      Columbia and Territories, each State’s Schedule C share shall then
                                      be allocated within the State in accordance with the following:

                                       1. Default Allocation Mechanism (excluding Territories and DC
                                          addressed below). The NOAT Funds allocable to a State that is
                                          not party to a Statewide Abatement Agreement as defined in
                                          Section 5(A)(2) below (each a “Non-SAA State”) shall be
                                          allocated as between the State and its Local Governments to be
                                          used only for Approved Uses, in accordance with this Section
                                          5(A)(1) (the “Default Allocation Mechanism”).

                                            i. Regions. Except as provided in the final sentence of this
                                               paragraph, each Non-SAA State shall be divided into
                                               “Regions” as follows: (a) each Qualifying Block Grantee
                                               (as defined below) shall constitute a Region; and (b) the
                                               balance of the State shall be divided into Regions (such
                                               Regions to be designated by the State agency with primary
                                               responsibility (referred to herein as a “lead agency”)7 for
                                               opioid use disorder services employing, to the maximum


  7
      A list of lead agencies will be made available on the NOAT website.

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                                            extent practical, existing regions established in that State for
                                            opioid use disorder treatment or similar public health
                                            purposes); such non-Qualifying Block Grantee Regions are
                                            referred to herein as “Standard Regions”. The Non-SAA
                                            States which have populations under four (4) million and do
                                            not have existing regions described in the foregoing clause (b)
                                            shall not be required to establish Regions;8 such a State that
                                            does not establish Regions but which does contain one or
                                            more Qualifying Block Grantees shall be deemed to consist
                                            of one Region for each Qualifying Block Grantee and one
                                            Standard Region for the balance of the State.

                                       ii. Regional Apportionment. NOAT Funds shall be allocated
                                           to each Non-SAA State as (a) a Regional Apportionment or
                                           (b) a Non-Regional Apportionment based on the amount of
                                           NOAT Funds dispersed under a confirmed Chapter 11 Plan
                                           as follows:

                                            A. First $1 billion – 70% Regional Apportionment /30%
                                               Non-Regional Apportionment

                                            B. $1-$2.5 billion – 64% Regional Apportionment /36%
                                               Non-Regional Apportionment

                                            C. $2.5-$3.5 billion – 60% Regional Apportionment /40%
                                               Non-Regional Apportionment

                                            D. Above $3.5 billion – 50% Regional Apportionment /50%
                                               Non-Regional Apportionment

                                       iii. Qualifying Block Grantee. A “Qualifying Local
                                            Government” means a county or parish (or in the cases of
                                            States that do not have counties or parishes that function as
                                            political subdivisions, a city), that (a) either (i) has a
                                            population of 400,000 or more or (ii) in the case of California
                                            has a population of 750,000 or more and (b) has funded or
                                            otherwise manages an established, health care and/or
                                            treatment infrastructure (e.g., health department or similar
                                            agency) to evaluate, award, manage and administer a Local
                                            Government Block Grant.9 A Qualifying Local Government
8
 To the extent they are not parties to a Statewide Abatement Agreement, the following States will qualify as a Non-
SAA State that does not have to establish Regions: Connecticut, Delaware, Hawai’i, Iowa, Maine, Nevada, New
Hampshire, New Mexico, Rhode Island, Vermont.
9
  As noted in footnote 11, the population for each State shall refer to published U. S. Census Bureau population
estimates as of [July 1, 2019], released March 2020, and shall remain unchanged during the term of this agreement.
These estimates can currently be found at https://www.census.gov/data/datasets/time-series/demo/popest/2010s-
counties-total.html.

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                                           that is eligible and wishes to receive NOAT Funds through
                                           Local Government Block Grants shall elect to receive funds in
                                           such manner no later than (90) ninety days following the
                                           Agreement Date. A Qualifying Local Government that
                                           elects to receive NOAT Funds through Local Government
                                           Block Grants is referred to herein as a Qualifying Block
                                           Grantee.

                                      iv. Proportionate Shares of Regional Apportionment. As used
                                          herein, the “Proportionate Share” of each Region in each
                                          Non-SAA State shall be (a) for States in which counties or
                                          parishes function as Local Governments, the aggregate shares
                                          of the counties or parishes located in such Region under the
                                          applicable allocation model employed in connection with the
                                          Purdue Chapter 11 Cases (the “Allocation Model”),10 divided
                                          by the aggregate shares for all counties or parishes in the State
                                          under that Allocation Model; and (b) for all other States, the
                                          aggregate shares of the cities and towns in that Region under
                                          that Allocation Model’s intra-county allocation formula,
                                          divided by the aggregate shares for all cities and towns in the
                                          State under that Allocation Model.

                                      v. Expenditure or Disbursement of Regional Apportionment.
                                         Subject to Section 6(2)(i) below regarding Approved
                                         Administrative Expenses, all Regional Apportionments
                                         shall be disbursed or expended in the form of Local
                                         Government Block Grants or otherwise for Approved
                                         Opioid Abatement Uses in the Standard Regions of each
                                         Non-SAA State.

                                      vi. Qualifying Block Grantees.         Each Qualifying Block
                                          Grantee shall receive its Regional Apportionment as a block
                                          grant (a “Local Government Block Grant”).

                                           Local Government Block Grants shall be used only for
                                           Approved Opioid Abatement Uses by the Qualifying Block
                                           Grantee or for grants to organizations within its jurisdiction
                                           for Approved Opioid Abatement Uses and for Approved
                                           Administrative     Expenses       in    accordance        with


10
  The Allocation Model shall be the allocation model available at www.opioidnegotiationclass.info implemented in
In re: National Prescription Opiates Litigation, MDL No. 2804 (N.D. Ohio) (the “Negotiation Class Allocation
Model”), provided, however, that notwithstanding the foregoing, a State and its Local Governments may instead
agree to utilize the model developed by Christopher J. Ruhm, Professor of Public Policy and Economics at the
University of Virginia (the “Ruhm Allocation Model”), available at ________.



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                               Section 5(A)(1)(ix) below. Where a municipality located
                               wholly within a Qualifying Block Grantee would
                               independently qualify as a block grant recipient
                               (an “Independently Qualifying         Municipality”), the
                               Qualifying Block Grantee and Independently Qualifying
                               Municipality must make a substantial and good faith effort to
                               reach agreement on use of NOAT Funds as between the
                               qualifying jurisdictions. If the Independently Qualifying
                               Municipality and the Qualifying Block Grantee cannot
                               reach such an agreement on or before the Effective Date of the
                               Chapter 11 Plan, the Qualifying Block Grantee will receive
                               the Local Government Block Grant for its full
                               Proportionate Share and commit programming expenditures
                               to the benefit of the Independently Qualifying Municipality
                               in general proportion to Proportionate Shares (determined as
                               provided in Section 5(A)(2)(iv) above) of the municipalities
                               within the Qualifying Block Grantee. Notwithstanding the
                               allocation of the Proportionate Share of each Regional
                               Apportionment to the Qualifying Block Grantee, a
                               Qualifying Block Grantee may choose to contribute a portion
                               of its Proportionate Share towards a statewide program.
                            vii. Standard Regions.         The portions of each Regional
                                 Apportionment not disbursed in the form of Local
                                 Government Block Grants shall be expended throughout the
                                 Standard Regions of each Non-SAA State in accordance
                                 with 95%-105% of the respective Proportionate Shares of
                                 such Standard Regions. Such expenditures will be in a
                                 manner that will best address opioid abatement within the
                                 State as determined by the State with the input, advice and
                                 recommendations of the Government Participation
                                 Mechanism described in Section 6 below. This regional
                                 spending requirement may be met by delivering Approved
                                 Opioid Abatement Use services or programs to a Standard
                                 Region or its residents. Delivery of such services or programs
                                 can be accomplished directly or indirectly through many
                                 different infrastructures and approaches, including without
                                 limitation the following:

                                A. State agencies, including local offices;

                                B. Local governments, including local government health
                                   departments;

                                C. State public hospital or health systems;



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                                 D. Health care delivery districts;

                                 E. Contracting with abatement service providers, including
                                    nonprofit and commercial entities; or

                                 F. Awarding grants to local programs.

                             viii. Expenditure or Disbursement of NOAT Funds Other
                                  Than Regional Apportionment. All NOAT Funds allocable
                                  to a Non-SAA State that are not included in the State’s
                                  Regional Apportionment shall be expended only on
                                  Approved Uses. The expenditure of such funds shall be at
                                  the direction of the State’s lead agency (or other point of
                                  contact designated by the State) and may be expended on a
                                  statewide and/or localized manner, including in the manners
                                  described herein. Qualifying Block Grantees will be eligible
                                  to participate in or receive the benefits of any such
                                  expenditures on the same basis as other Regions.

                             ix. Approved Administrative Expenses. States may use up to
                                 five percent (5%) of their Non-Regional Apportionments
                                 plus five percent (5%) of the Regional Apportionment not
                                 used to fund Local Government Block Grants, for
                                 Approved Administrative Expenses. Qualifying Block
                                 Grantees may use up to five percent (5%) of their Local
                                 Government Block Grants to fund their Approved
                                 Administrative Expenses.

                          2. Statewide Abatement Agreement. Each State and its Local
                             Governments will have until fourteen (14) days after the Effective
                             Date of the Chapter 11 Plan (the “Agreement Date”) to file with
                             the Bankruptcy Court an agreed-upon allocation or method for
                             allocating the NOAT Funds for that State dedicated only to
                             Approved Uses (each a “Statewide Abatement Agreement” or
                             “SAA”). Any State and its Local Governments that have reached
                             agreement before the Agreement Date of the Chapter 11 Plan that
                             satisfies the metric for approval as described in the immediately
                             following paragraph shall file a notice with the Bankruptcy Court
                             that it has adopted a binding SAA and either include the SAA
                             with its filing or indicate where the SAA is publicly available; no
                             SAA shall become effective without such filing. Any dispute
                             regarding allocation within a State that has adopted a Statewide
                             Abatement Agreement will be resolved as provided by that
                             Statewide Abatement Agreement; provided that no Statewide
                             Abatement Agreement may remove or otherwise limit the
                             reporting requirements set forth in any of the NOAT Documents,
                             including without limitation in the NOAT Agreement and
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                                       Sections 5(A)(3) and 7 hereof.

                                       A Statewide Abatement Agreement shall be agreed when it has
                                       been approved by the State and either (a) representatives 11 of its
                                       Local Governments whose aggregate Population Percentages,
                                       determined as set forth below, total more than sixty percent
                                       (60%), or (b) representatives of its Local Governments whose
                                       aggregate Population Percentages total more than fifty percent
                                       (50%) provided that these Local Governments also represent
                                       fifteen percent (15%) or more of the State’s counties or parishes
                                       (or, in the case of States whose counties and parishes that do not
                                       function as Local Governments, fifteen percent (15%) of or more
                                       of the State’s incorporated cities or towns), by number. 12

                                       Population Percentages shall be determined as follows:

                                       For States with counties or parishes that function as Local
                                       Governments,13 the Population Percentage of each county or
                                       parish shall be deemed to be equal to (a) (1) 200% of the
                                       population of such county or parish, minus (2) the aggregate
                                       population of all Primary Incorporated Municipalities located in
                                       such county or parish, divided by (b) 200% of the State’s
                                       population. A “Primary Incorporated Municipality” means a
                                       city, town, village or other municipality incorporated under
                                       applicable state law with a population of at least 25,000 that is not
                                       located within another incorporated municipality. The Population
                                       Percentage of each primary incorporated municipality shall be
                                       equal to its population (including the population of any
                                       incorporated or unincorporated municipality located therein)
                                       divided by 200% of the State’s population; provided that the
                                       Population Percentage of a primary incorporated municipality that
                                       is not located within a county shall be equal to 200% of its
                                       population (including the population of any incorporated or
                                       unincorporated municipality located therein) divided by 200% of
                                       the State’s population. For all States that do not have counties or
                                       parishes that function as Local Governments, the Population


11
  An authorized “representative” of local, or even State, government can differ in these National Opioid Abatement
Trust Distribution Procedures depending on the context.
12
   All references to population in these National Opioid Abatement Trust Distribution Procedures shall refer to
published U. S. Census Bureau population estimates as of [July 1, 2019], released March 2020, and shall remain
unchanged during the term of this agreement. These estimates can currently be found at
https://www.census.gov/data/datasets/time-series/demo/popest/2010s-counties-total.html.
13
   Certain states do not have counties or parishes that function as Local Governments, including:
Alaska, Connecticut, Massachusetts, Rhode Island, and Vermont. All other States have counties or parishes that
function as Local Governments.

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                              Percentage of each incorporated municipality (including any
                              incorporated or unincorporated municipality located therein), shall
                              be equal to its population divided by the State’s population.

                              The Statewide Abatement Agreement will become effective
                              within fourteen (14) days of filing, unless otherwise ordered by
                              the Bankruptcy Court.

                              A State and its Local Governments may revise, supplement, or
                              refine a Statewide Abatement Agreement by filing an amended
                              Statewide Abatement Agreement that has been approved by the
                              State and sufficient Local Governments to satisfy the approval
                              standards set forth above with the Bankruptcy Court, which shall
                              become effective within fourteen (14) days of filing, unless
                              otherwise ordered by the Bankruptcy Court.

                           3. Records. The States shall maintain records of abatement
                              expenditures and their required reporting, as set forth in further
                              detail in Section 7, will include data on regional expenditures so it
                              can be verified that the Regional Distribution mechanism
                              guarantees are being met. Qualifying Block Grantees shall
                              maintain records of abatement expenditures and shall provide
                              those records periodically to their State for inclusion in their
                              State’s required periodic reporting.

                       B. Allocation for Territories and the District of Columbia Only. The
                          allocation of NOAT Funds within a Territory or the District of
                          Columbia will be determined by its local legislative body within one
                          year of the Effective Date, unless that legislative body is not in
                          session, in which case, the allocation of NOAT Funds shall be
                          distributed pursuant to the direction of the Territory’s or District of
                          Columbia’s executive, in consultation – to the extent applicable –
                          with its Government Participation Mechanism.

6. GOVERNMENT          In each Non-SAA State, as defined in Section 5(A)(1) above, there shall
   PARTICIPATION       be a process, preferably pre-existing, whereby the State shall allocate
   MECHANISM           funds under the Regional Distribution mechanism only after
                       meaningfully consulting with its respective Local Governments. Each
                       such State shall identify its mechanism (whether be it a council, board,
                       committee, commission, taskforce, or other efficient and transparent
                       structure) for consulting with its respective Local Governments (the
                       “Government Participation Mechanism” or “GPM”) in a notice filed
                       with the Bankruptcy Court identifying what GPM has been formed and
                       describing the participation of its Local Governments in connection
                       therewith. States may combine these notices into one or more notices for
                       filing with the Bankruptcy Court. These notices are reviewable by the

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       Issue                                        Description

                      Bankruptcy Court upon the motion of any Local Government in that State
                      asserting that no GPM has been formed.

                      Government Participation Mechanisms shall conform to the following:

                      1. Composition. For each State,

                          1. the State, on the one hand, and State’s Local Governments, on the
                             other hand, shall have equal representation on a GPM;

                          2. Local Government representation on a GPM shall be weighted in
                             favor of the Standard Regions but can include representation
                             from the State’s Qualifying Block Grantees;

                          3. the GPM will be chaired by a non-voting chairperson appointed
                             by the State;

                          4. Groups formed by the States’ executive or legislature may be used
                             as a GPM, provided that the group has equal representation by the
                             State and the State’s Local Governments.

                      A GPM should have appointees such that as a group they possess
                      experience, expertise and education with respect to one or more of the
                      following: public health, substance abuse, healthcare equity and other
                      related topics as is necessary to assure the effective functioning of the
                      GPM.

                      2. Consensus. Members of the GPMs should attempt to reach
                         consensus with respect to GPM Recommendations and other actions
                         of the GPM. Consensus is defined in this process as a general
                         agreement achieved by the members that reflects, from as many
                         members as possible, their active support, support with reservations,
                         or willingness to abide by the decision of the other members.
                         Consensus does not require unanimity or other set threshold and may
                         include objectors. In all events, however, actions of a GPM shall be
                         effective if supported by at least a majority of its members. GPM
                         Recommendations and other actions shall note the existence and
                         summarize the substance of objections where requested by the
                         objector(s).

                      3. Proceedings. Each GPM shall hold no fewer than four (4) public
                         meetings annually, to be publicized and located in a manner
                         reasonably designed to facilitate attendance by residents throughout
                         the State. Each GPM shall function in a manner consistent with its
                         State’s open meeting, open government or similar laws, and with the
                         Americans with Disabilities Act. GPM members shall be subject to


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                          State conflict of interest and similar ethics in government laws.

                      4. Consultation and Discretion. The GPM shall be a mechanism by
                         which the State consults with community stakeholders, including
                         Local Governments (including those not a part of the GPM), state and
                         local public health officials and public health advocates, in
                         connection with opioid abatement priorities and expenditure decisions
                         for the use of NOAT Funds on Approved Opioid Abatement Uses.

                          The GPM is authorized to identify and recommend that non-
                          Qualifying Local Government(s) (individually or in combination)
                          should be considered for a block grant to be funded from an
                          applicable Regional Apportionment. “Non-Qualifying Local
                          Government(s)” individually or in combination are Local
                          Governments that are not Qualifying Local Governments but they
                          fund or otherwise manage an established, health care and/or treatment
                          infrastructure (e.g., health department or similar agency) to evaluate,
                          award, manage and administer a block grant for programs constituting
                          Approved Uses.

                      5. Recommendations. A GPM shall make recommendations regarding
                         specific opioid abatement priorities and expenditures for the use of
                         NOAT Funds on Approved Opioid Abatement Uses to the State or
                         the agency designated by a State for this purpose (“GPM
                         Recommendations”). In carrying out its obligations to provide GPM
                         Recommendations, a GPM may consider local, state and federal
                         initiatives and activities related to education, prevention, treatment
                         and services for individuals and families experiencing and affected by
                         opioid use disorder; recommend priorities to address the State’s
                         opioid epidemic, which recommendations may be Statewide or
                         specific to Regions; recommend Statewide or Regional funding with
                         respect to specific programs or initiatives; recommend measurable
                         outcomes to determine the effectiveness of funds expended for
                         Approved Opioid Abatement Uses; and monitor the level of
                         Approved Administrative Expenses expended from NOAT Funds.

                          The goal is for a process that produces GPM Recommendations that
                          are recognized as being an efficient, evidence-based approach to
                          abatement that addresses the State’s greatest needs while also
                          including programs reflecting particularized needs in local
                          communities. It is anticipated that such a process, particularly given
                          the active participation of state representatives, will inform and assist
                          the state in making decisions about the spending of the NOAT
                          Funds. To the extent a State chooses not to follow a GPM
                          Recommendation, it will make publicly available within fourteen
                          (14) days after the decision is made a written explanation of the

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                            reasons for its decision, and allow seven (7) days for the GPM to
                            respond.

                         6. Non-SAA States Review. In Non-SAA States, Local Governments
                            and States may object to any apportionment, allocation, use or
                            expenditure of NOAT Funds (an “Allocation”) solely on the basis
                            that: the Allocation at issue (i) is inconsistent with the provisions of
                            Section 6(1) hereof with respect to the levels of Regional
                            Apportionments and Non-Regional Apportionments, (ii) is
                            inconsistent with the provisions of Section 6(1) hereof with respect to
                            the amounts of Local Government Block Grants or Regional
                            Apportionment expenditures, (iii) is not for an Approved Use or (iv)
                            violates the limitations set forth herein with respect to Approved
                            Administrative Expenses. The objector shall have the right to bring
                            that objection to either (a) a state court with jurisdiction within the
                            applicable State (“State Court”) or (b) the Bankruptcy Court if the
                            Purdue Chapter 11 Cases have not been closed (each an
                            “Objection”). If an Objection is filed within fourteen (14) days of
                            approval of an Allocation, then no funds shall be distributed on
                            account of the aspect of the Allocation that is the subject of the
                            Objection until the Objection is resolved or decided by the
                            Bankruptcy Court or State Court, as applicable. There shall be no
                            other basis for bringing an Objection to the approval of an
                            Allocation.

7. COMPLIANCE,    1. At least annually, each State shall publish on its lead agency’s
   REPORTING,        website and/or on its Attorney General’s website and deliver to
   AUDIT AND         NOAT, a report detailing for the preceding time period, respectively
   ACCOUNTABILITY    (i) the amount of NOAT Funds received, (ii) the allocation awards
                     approved (indicating the recipient, the amount of the allocation, the
                     program to be funded and disbursement terms), and (iii) the amounts
                     disbursed on approved allocations, to Qualifying Local
                     Governments for Local Government Block Grants and Approved
                     Administrative Expenses.

                         2. At least annually, each Qualifying Block Grantee which has elected
                            to take a Local Government Block Grant shall publish on its lead
                            agency’s or Local Government’s website, and deliver to NOAT, a
                            report detailing for the preceding time period, respectively (i) the
                            amount of Local Government Block Grants received, (ii) the
                            allocation awards approved (indicating the recipient, the amount of
                            the grant, the program to be funded and disbursement terms), and (iii)
                            the amounts disbursed on approved allocations.

                         3. As applicable, each State or Local Government shall impose
                            reporting requirements on each recipient to ensure that NOAT Funds

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                           are only being used for Approved Uses, in accordance with the terms
                           of the allocation.

                      4. NOAT shall prepare an annual report (an “Annual Report”) that
                         shall be audited by independent auditors as provided in the NOAT
                         Agreement, which audited Annual Report shall be filed annually
                         with the Bankruptcy Court, and the States and Qualifying Block
                         Grantees shall provide NOAT with any information reasonably
                         required regarding the expenditure and disbursement of NOAT
                         Funds to satisfy the requirements of such an audited Annual Report
                         of NOAT.

                      5.    (a) A state court with jurisdiction within the applicable State (“State
                           Court”) or (b) the Bankruptcy Court if the Purdue Chapter 11 Cases
                           have not been closed shall have jurisdiction to enforce the terms of
                           these National Opioid Abatement Trust Distribution Procedures, and
                           as applicable, a Statewide Abatement Agreement or default
                           mechanism; provided that nothing herein is intended to expand the
                           scope of the Bankruptcy Court’s post-confirmation jurisdiction. For
                           the avoidance of doubt, the Bankruptcy Court shall have continuing
                           jurisdiction over NOAT, provided, however, the courts of the State of
                           Delaware, including any federal court located therein, shall also have
                           jurisdiction over NOAT, provided further, that the foregoing shall not
                           preclude State Court jurisdiction in any State with respect to any
                           matter arising under the National Opioid Abatement Trust
                           Distribution Procedures involving that State and one or more of its
                           political subdivisions or agencies.

                      6. The NOAT Trustees shall have the power to take any and all actions
                         that in the judgment of the Trustees are necessary or proper to fulfill
                         the purposes of NOAT, including the requirement that 100% of the
                         NOAT Funds distributed under the Chapter 11 Plan (and not
                         otherwise dedicated to the attorneys’ fee fund set forth in Section 4
                         herein) shall be used to abate the opioid crisis in accordance with the
                         terms hereof.




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                                      Exhibit H

                          Tribe Trust Distribution Procedures
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                                          PURDUE PHARMA L.P.

                          TRIBE TRUST DISTRIBUTION PROCEDURES 1

          Issue                                                     Description

1. APPLICABILITY                These terms shall apply to the allocation of value received by the Tribe
   OF AGREEMENT                 Trust (including both the Tribal Abatement Fund Trust (“TAFT”) and
                                Tribal Abatement Fund II, LLC (“TAF2”)) under the plan of
                                reorganization (the “Chapter 11 Plan” or the “Plan”) in the Chapter 11
                                Cases of Purdue Pharma L.P. and its affiliates (collectively, “Purdue”)
                                pending in the U.S. Bankruptcy Court for the Southern District of New
                                York (the “Bankruptcy Court”) with respect to each federally recognized
                                Native American, Native Alaskan or American Indian Tribe or other tribal
                                organization (each a “Tribe” as defined in the Plan), whose Claims in Class
                                5 (Tribe Claims) are channeled to the Tribe Trust under the Plan.

                                Pursuant to the Plan and the Master TDP, the following claims (the “Tribe
                                Channeled Claims”) shall be channeled to and liability shall be assumed
                                by TAFT as of the Effective Date: (i) all Tribe Claims, which include any
                                Claim against any Debtor that is held by a Tribe (including any Claim
                                based on the subrogation rights of a Tribe that is not otherwise an Other
                                Subordinated Claim), and that is not a Priority Tax Claim, and (ii) any
                                Released Claim or Shareholder Released Claim that is held by a Tribe. The
                                distributions made pursuant to these distribution procedures (these “Tribe
                                Trust Distribution Procedures”) and the Restructuring Steps
                                Memorandum are the exclusive distributions that will be made on account
                                of the Tribe Channeled Claims; Holders of Tribe Channeled Claims will
                                have no further or other recourse against the Tribe Trust on account of the
                                Tribe Channeled Claims other than what is provided for under these Tribe
                                Trust Distribution Procedures.

                                To the extent not explicitly reflected in the Chapter 11 Plan, the terms set
                                forth herein will be deemed incorporated into the Chapter 11 Plan, or the
                                trust agreement for the Tribe Trust (the “Tribe Trust Agreement”), as
                                applicable.

                                These terms set forth the manner in which the Tribe Trust shall make
                                Abatement Distributions to the Tribes, which may be used exclusively on
                                the parameters set forth herein; provided that nothing herein shall apply to
                                the Abatement Distributions pursuant to the Restructuring Steps
                                Memorandum.

2. PURPOSE                      These Tribe Trust Distribution Procedures are intended to establish the
                                mechanisms for the distribution and allocation of funds distributed by the
                                Tribe Trust to the Tribes. All such funds described in the foregoing

 1
  Terms not otherwise defined herein shall have the meaning ascribed in the Chapter 11 Plan or in the Tribe Trust
 Agreement.
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                      sentence are referred to herein as “Abatement Funds” and shall be used
                      to abate the opioid crisis in accordance with the terms hereof, with
                      recognition of the culturally appropriate activities, practices, teachings or
                      ceremonies that may, in the judgment of a Tribe or a tribal health
                      organization, be aimed at or supportive of remediation and abatement of
                      the opioid crisis within a tribal community.

                      Specifically, (i) no less than ninety five percent (95%) of the Abatement
                      Funds distributed under the Tribe Trust Agreement shall be used for
                      abatement of the opioid crisis by funding opioid or substance use disorder
                      related projects or programs that fall within the scope of Schedules B and
                      D (the “Approved Tribal Opioid Abatement Uses”); and (ii) no more
                      than five percent (5%) of the Abatement Funds may be used to fund
                      expenses incurred in administering the distributions for the Approved
                      Tribal Opioid Abatement Uses, including the process of selecting programs
                      to receive Abatement Funds for implementing those programs (“Approved
                      Administrative Expenses,” and, together with the Approved Opioid
                      Abatement Uses and Core Strategies, “Approved Uses”).

                      For the avoidance of doubt, Schedule D is a non-exhaustive, illustrative
                      list of culturally appropriate activities, practices, teachings or ceremonies
                      that may, in the judgment of a Tribe, be aimed at or supportive of
                      remediation and abatement of the opioid crisis within a tribal community.

                      The Tribe Trust shall, in accordance with the Plan, the Confirmation
                      Order and the Tribe Trust Documents, distribute Abatement Funds to
                      Tribes for Approved Uses. Decisions concerning Abatement Funds made
                      by the Tribe Trust will consider the need to ensure that underserved urban
                      and rural areas, as well as minority communities, receive equitable access
                      to the funds.

                      Notwithstanding anything in these Tribe Trust Distribution Procedures that
                      might imply to the contrary, projects or programs that constitute Approved
                      Tribal Opioid Abatement Uses may be provided by Tribes, tribal health
                      organizations, tribal agencies or subdivisions or nongovernmental parties
                      and funded from Abatement Funds.




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           Issue                                                       Description

3. DISBURSEMENT                  The Chapter 11 Plan shall provide for the establishment of the Tribe Trust
   OF ABATEMENT                  and the appointment of Tribe Trustees. 2 The Tribe Trustees shall distribute
   DISTRIBUTIONS                 the Abatement Funds consistent with the Tribal Allocation Percentages set
                                 forth on Schedule C and the Tribal Allocation Matrix set forth on
                                 Schedule E.

4. ATTORNEYS’ FEES Pursuant to Section 5.8 of the Plan, Public Creditor Trust Distributions
   AND COSTS FUND will be subject to assessments to fund (i) the Local Government and Tribe
                   Costs and Expenses Fund, which shall be used to pay qualifying costs and
                   expenses (including attorneys’ fees) of Holders of Non-Federal
                   Governmental Claims (other than States) and Tribe Claims (including ad
                   hoc groups of any of the foregoing) and (ii) the State Costs and Expenses
                   Fund, which shall be used to pay qualifying costs and expenses (including
                   attorneys’ fees) of States (including ad hoc groups thereof).

5. TRIBAL                        1. The allocation of distributions among Tribes will be consistent with the
   ABATEMENT                        Tribal Allocation Percentages set forth on Schedule C, which will be
   FUNDING                          included as part of the Tribe Trust Documents.

                                 2. The Tribes will use the tribal allocation of Abatement Funds for
                                    programs on the approved list of abatement strategies (see Schedule B)
                                    and also for culturally appropriate activities, practices, teachings or
                                    ceremonies that are, in the judgment of a tribe or tribal health
                                    organization, aimed at or supportive of remediation and abatement of
                                    the opioid crisis within a tribal community. A list of representative
                                    examples of such culturally appropriate abatement strategies, practices,
                                    and programs is attached hereto as Schedule D (the “Tribal
                                    Abatement Strategies”). The separate allocation of abatement funding
                                    and illustrative list of Tribal Abatement Strategies recognizes that
                                    American Indian and Alaska Native Tribes and the communities they
                                    serve possess unique cultural histories, practices, wisdom, and needs
                                    that are highly relevant to the health and well-being of American Indian
                                    and Alaska Native people and that may play an important role in both



  2
    Pursuant to the Plan, the Tribe Trustees shall be selected by the Native American Tribe Group with the consent of
  the Debtors. The Tribe Trust Agreement shall provide that: (i) the Trustees shall receive compensation from TAFT
  for their services as Trustees; (ii) the amounts paid to the Trustees for compensation and expenses shall be disclosed
  in the Annual Report; (iii) The Trustees shall not be required to post any bond or other form of surety or security
  unless otherwise ordered by the Bankruptcy Court; (iv) the Trustees shall have the power to appoint such officers
  and retain such employees, consultants, advisors, independent contractors, experts, and agents and engage in such
  legal, financial, accounting, investment, auditing, and alternative dispute resolution services and activities as TAFT
  requires, and delegate to such persons such powers and authorities as the fiduciary duties of the Trustees permit and
  as the Trustees, in their discretion, deem advisable or necessary in order to carry out the terms of this Trust
  Agreement; and (v) the Trustees shall have the power to pay reasonable compensation and expenses to any such
  employees, consultants, advisors, independent contractors, experts, and agents for legal, financial, accounting,
  investment, auditing, and alternative dispute resolution services and activities.
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                            individual and public health efforts and responses in Native
                            communities.

                         3. The Tribes agree that Abatement Funds distributed under the Chapter
                            11 Plan shall be used to abate the opioid crisis in accordance with the
                            terms of these Tribe Trust Distribution Procedures.




6. COMPLIANCE,    1. The Tribe Trustees shall impose appropriate reporting requirements on
   REPORTING,        the Tribes (identified on Schedule C as “Reporting Tribes”) to ensure
   AUDIT AND         that Abatement Funds are used only for Approved Uses. The Tribe
   ACCOUNTABILITY    Trustees may authorize modified reporting requirements for Tribes with
                     allocations below a certain level.

                         2. The Tribe Trust shall prepare an annual report (an “Annual Report”)
                            that shall be audited by independent auditors as provided in the Tribe
                            Trust Agreement, which audited Annual Report shall be filed annually
                            with the Bankruptcy Court.

                         3. The Bankruptcy Court shall have continuing jurisdiction over the Tribe
                            Trust, provided however, the courts of the State of Delaware, including
                            any federal court located therein, shall also have jurisdiction over the
                            Tribe Trust.

                         4. The Tribe Trustees shall have the power to take any and all actions that
                            in the judgment of the Tribe Trustees are necessary or proper to fulfill
                            the purposes of Tribe Trust. The Tribe Trust retains the right to seek
                            return by legal means of any expenditures which fail to comply with the
                            requirements of these Tribe Trust Distribution Procedures.




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                                    Schedule A

                               (Intentionally Omitted)




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                                                  Schedule B
                                                 Approved Uses

Support treatment of Opioid Use Disorder (OUD) and any co-occurring Substance Use Disorder
or Mental Health (SUD/MH) conditions through evidence-based or evidence-informed programs
or strategies that may include, but are not limited to, the following:

                                         PART ONE: TREATMENT


A.       TREAT OPIOID USE DISORDER (OUD)

         Support treatment of Opioid Use Disorder (OUD) and any co-occurring Substance Use
         Disorder or Mental Health (SUD/MH) conditions through evidence-based or evidence-
         informed programs or strategies that may include, but are not limited to, the following 1:

         1.       Expand availability of treatment for OUD and any co-occurring SUD/MH
                  conditions, including all forms of Medication-Assisted Treatment (MAT) approved
                  by the U.S. Food and Drug Administration.

         2.       Support and reimburse evidence-based services that adhere to the American Society
                  of Addiction Medicine (ASAM) continuum of care for OUD and any co-occurring
                  SUD/MH conditions

         3.       Expand telehealth to increase access to treatment for OUD and any co-occurring
                  SUD/MH conditions, including MAT, as well as counseling, psychiatric support,
                  and other treatment and recovery support services.

         4.       Improve oversight of Opioid Treatment Programs (OTPs) to assure evidence-based
                  or evidence-informed practices such as adequate methadone dosing and low
                  threshold approaches to treatment.

         5.       Support mobile intervention, treatment, and recovery services, offered by qualified
                  professionals and service providers, such as peer recovery coaches, for persons with
                  OUD and any co-occurring SUD/MH conditions and for persons who have
                  experienced an opioid overdose.

         6.       Treatment of trauma for individuals with OUD (e.g., violence, sexual assault,
                  human trafficking, or adverse childhood experiences) and family members (e.g.,
                  surviving family members after an overdose or overdose fatality), and training of
                  health care personnel to identify and address such trauma.

         7.       Support evidence-based withdrawal management services for people with OUD
                  and any co-occurring mental health conditions.



1
 As used in this Schedule B, words like “expand,” “fund,” “provide” or the like shall not indicate a preference for
new or existing programs. Priorities will be established through the mechanisms described in the Public Creditor Trust
Distribution Procedures.

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      8.       Training on MAT for health care providers, first responders, students, or other
               supporting professionals, such as peer recovery coaches or recovery outreach
               specialists, including telementoring to assist community-based providers in rural or
               underserved areas.

      9.       Support workforce development for addiction professionals who work with persons
               with OUD and any co-occurring SUD/MH conditions.

      10.      Fellowships for addiction medicine specialists for direct patient care, instructors,
               and clinical research for treatments.

      11.      Scholarships and supports for behavioral health practitioners or workers involved
               in addressing OUD and any co-occurring SUD or mental health conditions,
               including but not limited to training, scholarships, fellowships, loan repayment
               programs, or other incentives for providers to work in rural or underserved areas.

      12.      Provide funding and training for clinicians to obtain a waiver under the federal Drug
               Addiction Treatment Act of 2000 (DATA 2000) to prescribe MAT for OUD, and
               provide technical assistance and professional support to clinicians who have
               obtained a DATA 2000 waiver.

      13.      Dissemination of web-based training curricula, such as the American Academy of
               Addiction Psychiatry’s Provider Clinical Support Service-Opioids web-based
               training curriculum and motivational interviewing.

      14.      Development and dissemination of new curricula, such as the American Academy
               of Addiction Psychiatry’s Provider Clinical Support Service for Medication-
               Assisted Treatment.

B.    SUPPORT PEOPLE IN TREATMENT AND RECOVERY

      Support people in recovery from OUD and any co-occurring SUD/MH conditions through
      evidence-based or evidence-informed programs or strategies that may include, but are not
      limited to, the following:

      1.       Provide comprehensive wrap-around services to individuals with OUD and any co-
               occurring SUD/MH conditions, including housing, transportation, education, job
               placement, job training, or childcare.

      2.       Provide the full continuum of care of treatment and recovery services for OUD and
               any co-occurring SUD/MH conditions, including supportive housing, peer support
               services and counseling, community navigators, case management, and
               connections to community-based services.

      3.       Provide counseling, peer-support, recovery case management and residential
               treatment with access to medications for those who need it to persons with OUD
               and any co-occurring SUD/MH conditions.

      4.       Provide access to housing for people with OUD and any co-occurring SUD/MH
               conditions, including supportive housing, recovery housing, housing assistance

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               programs, training for housing providers, or recovery housing programs that allow
               or integrate FDA-approved mediation with other support services.

      5.       Provide community support services, including social and legal services, to assist
               in deinstitutionalizing persons with OUD and any co-occurring SUD/MH
               conditions.

      6.       Support or expand peer-recovery centers, which may include support groups, social
               events, computer access, or other services for persons with OUD and any co-
               occurring SUD/MH conditions.

      7.       Provide or support transportation to treatment or recovery programs or services for
               persons with OUD and any co-occurring SUD/MH conditions.

      8.       Provide employment training or educational services for persons in treatment for
               or recovery from OUD and any co-occurring SUD/MH conditions.

      9.       Identify successful recovery programs such as physician, pilot, and college
               recovery programs, and provide support and technical assistance to increase the
               number and capacity of high-quality programs to help those in recovery.

      10.      Engage non-profits, faith-based communities, and community coalitions to support
               people in treatment and recovery and to support family members in their efforts to
               support the person with OUD in the family.

      11.      Training and development of procedures for government staff to appropriately
               interact and provide social and other services to individuals with or in recovery
               from OUD, including reducing stigma.

      12.      Support stigma reduction efforts regarding treatment and support for persons with
               OUD, including reducing the stigma on effective treatment.

      13.      Create or support culturally appropriate services and programs for persons with
               OUD and any co-occurring SUD/MH conditions, including new Americans.

      14.      Create and/or support recovery high schools.

      15.      Hire or train behavioral health workers to provide or expand any of the services or
               supports listed above.

C.    CONNECT PEOPLE WHO NEED HELP TO THE HELP THEY NEED
      (CONNECTIONS TO CARE)

      Provide connections to care for people who have – or at risk of developing – OUD and any
      co-occurring SUD/MH conditions through evidence-based or evidence-informed programs
      or strategies that may include, but are not limited to, the following:

      1.       Ensure that health care providers are screening for OUD and other risk factors and
               know how to appropriately counsel and treat (or refer if necessary) a patient for
               OUD treatment.

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      2.       Fund Screening, Brief Intervention and Referral to Treatment (SBIRT) programs
               to reduce the transition from use to disorders, including SBIRT services to pregnant
               women who are uninsured or not eligible for Medicaid.

      3.       Provide training and long-term implementation of SBIRT in key systems (health,
               schools, colleges, criminal justice, and probation), with a focus on youth and young
               adults when transition from misuse to opioid disorder is common.

      4.       Purchase automated versions of SBIRT and support ongoing costs of the
               technology.

      5.       Expand services such as navigators and on-call teams to begin MAT in hospital
               emergency departments.

      6.       Training for emergency room personnel treating opioid overdose patients on post-
               discharge planning, including community referrals for MAT, recovery case
               management or support services.

      7.       Support hospital programs that transition persons with OUD and any co-occurring
               SUD/MH conditions, or persons who have experienced an opioid overdose, into
               clinically appropriate follow-up care through a bridge clinic or similar approach.

      8.       Support crisis stabilization centers that serve as an alternative to hospital emergency
               departments for persons with OUD and any co-occurring SUD/MH conditions or
               persons that have experienced an opioid overdose.

      9.       Support the work of Emergency Medical Systems, including peer support
               specialists, to connect individuals to treatment or other appropriate services
               following an opioid overdose or other opioid-related adverse event.

      10.      Provide funding for peer support specialists or recovery coaches in emergency
               departments, detox facilities, recovery centers, recovery housing, or similar
               settings; offer services, supports, or connections to care to persons with OUD and
               any co-occurring SUD/MH conditions or to persons who have experienced an
               opioid overdose.

      11.      Expand warm hand-off services to transition to recovery services.

      12.      Create or support school-based contacts that parents can engage with to seek
               immediate treatment services for their child; and support prevention, intervention,
               treatment, and recovery programs focused on young people.

      13.      Develop and support best practices on addressing OUD in the workplace.

      14.      Support assistance programs for health care providers with OUD.

      15.      Engage non-profits and the faith community as a system to support outreach for
               treatment.



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      16.      Support centralized call centers that provide information and connections to
               appropriate services and supports for persons with OUD and any co-occurring
               SUD/MH conditions.

D.    ADDRESS THE NEEDS OF CRIMINAL-JUSTICE-INVOLVED PERSONS

      Address the needs of persons with OUD and any co-occurring SUD/MH conditions who
      are involved in, are at risk of becoming involved in, or are transitioning out of the criminal
      justice system through evidence-based or evidence-informed programs or strategies that
      may include, but are not limited to, the following:

      1.       Support pre-arrest or pre-arraignment diversion and deflection strategies for
               persons with OUD and any co-occurring SUD/MH conditions, including
               established strategies such as:

               1.     Self-referral strategies such as the Angel Programs or the Police Assisted
                      Addiction Recovery Initiative (PAARI);

               2.     Active outreach strategies such as the Drug Abuse Response Team (DART)
                      model;

               3.     “Naloxone Plus” strategies, which work to ensure that individuals who have
                      received naloxone to reverse the effects of an overdose are then linked to
                      treatment programs or other appropriate services;

               4.     Officer prevention strategies, such as the Law Enforcement Assisted
                      Diversion (LEAD) model;

               5.     Officer intervention strategies such as the Leon County, Florida Adult Civil
                      Citation Network or the Chicago Westside Narcotics Diversion to
                      Treatment Initiative; or

               6.     Co-responder and/or alternative responder models to address OUD-related
                      911 calls with greater SUD expertise.

      2.       Support pre-trial services that connect individuals with OUD and any co-occurring
               SUD/MH conditions to evidence-informed treatment, including MAT, and related
               services.

      3.       Support treatment and recovery courts that provide evidence-based options for
               persons with OUD and any co-occurring SUD/MH conditions.

      4.       Provide evidence-informed treatment, including MAT, recovery support, harm
               reduction, or other appropriate services to individuals with OUD and any co-
               occurring SUD/MH conditions who are incarcerated in jail or prison.

      5.       Provide evidence-informed treatment, including MAT, recovery support, harm
               reduction, or other appropriate services to individuals with OUD and any co-
               occurring SUD/MH conditions who are leaving jail or prison have recently left jail


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               or prison, are on probation or parole, are under community corrections supervision,
               or are in re-entry programs or facilities.

      6.       Support critical time interventions (CTI), particularly for individuals living with
               dual-diagnosis OUD/serious mental illness, and services for individuals who face
               immediate risks and service needs and risks upon release from correctional settings.

      7.       Provide training on best practices for addressing the needs of criminal-justice-
               involved persons with OUD and any co-occurring SUD/MH conditions to law
               enforcement, correctional, or judicial personnel or to providers of treatment,
               recovery, harm reduction, case management, or other services offered in connection
               with any of the strategies described in this section.

E.    ADDRESS THE NEEDS OF PREGNANT OR PARENTING WOMEN AND THEIR
      FAMILIES, INCLUDING BABIES WITH NEONATAL ABSTINENCE
      SYNDROME

      Address the needs of pregnant or parenting women with OUD and any co-occurring
      SUD/MH conditions, and the needs of their families, including babies with neonatal
      abstinence syndrome (NAS), through evidence-based or evidence-informed programs or
      strategies that may include, but are not limited to, the following:

      1.       Support evidence-based or evidence-informed treatment, including MAT, recovery
               services and supports, and prevention services for pregnant women – or women
               who could become pregnant – who have OUD and any co-occurring SUD/MH
               conditions, and other measures to educate and provide support to families affected
               by Neonatal Abstinence Syndrome.

      2.       Expand comprehensive evidence-based treatment and recovery services, including
               MAT, for uninsured women with OUD and any co-occurring SUD/MH conditions
               for up to 12 months postpartum.

      3.       Training for obstetricians or other healthcare personnel that work with pregnant
               women and their families regarding treatment of OUD and any co-occurring
               SUD/MH conditions.

      4.       Expand comprehensive evidence-based treatment and recovery support for NAS
               babies; expand services for better continuum of care with infant-need dyad; expand
               long-term treatment and services for medical monitoring of NAS babies and their
               families.

      5.       Provide training to health care providers who work with pregnant or parenting
               women on best practices for compliance with federal requirements that children
               born with Neonatal Abstinence Syndrome get referred to appropriate services and
               receive a plan of safe care.

      6.       Child and family supports for parenting women with OUD and any co-occurring
               SUD/MH conditions.



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      7.       Enhanced family supports and child care services for parents with OUD and any
               co-occurring SUD/MH conditions.

      8.       Provide enhanced support for children and family members suffering trauma as a
               result of addiction in the family; and offer trauma-informed behavioral health
               treatment for adverse childhood events.

      9.       Offer home-based wrap-around services to persons with OUD and any co-occurring
               SUD/MH conditions, including but not limited to parent skills training.

      10.      Support for Children’s Services – Fund additional positions and services, including
               supportive housing and other residential services, relating to children being
               removed from the home and/or placed in foster care due to custodial opioid use.

                                  PART TWO: PREVENTION


F.    PREVENT    OVER-PRESCRIBING     AND   ENSURE                             APPROPRIATE
      PRESCRIBING AND DISPENSING OF OPIOIDS

      Support efforts to prevent over-prescribing and ensure appropriate prescribing and
      dispensing of opioids through evidence-based or evidence-informed programs or strategies
      that may include, but are not limited to, the following:

      1.       Fund medical provider education and outreach regarding best prescribing practices
               for opioids consistent with the Guidelines for Prescribing Opioids for Chronic Pain
               from the U.S. Centers for Disease Control and Prevention, including providers at
               hospitals (academic detailing).

      2.       Training for health care providers regarding safe and responsible opioid
               prescribing, dosing, and tapering patients off opioids.

      3.       Continuing Medical Education (CME) on appropriate prescribing of opioids.

      4.       Support for non-opioid pain treatment alternatives, including training providers to
               offer or refer to multi-modal, evidence-informed treatment of pain.

      5.       Support enhancements or improvements to Prescription Drug Monitoring Programs
               (PDMPs), including but not limited to improvements that:

               1.     Increase the number of prescribers using PDMPs;

               2.     Improve point-of-care decision-making by increasing the quantity, quality,
                      or format of data available to prescribers using PDMPs, by improving the
                      interface that prescribers use to access PDMP data, or both; or

               3.     Enable states to use PDMP data in support of surveillance or intervention
                      strategies, including MAT referrals and follow-up for individuals identified
                      within PDMP data as likely to experience OUD in a manner that complies
                      with all relevant privacy and security laws and rules.

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      6.       Ensuring PDMPs incorporate available overdose/naloxone deployment data,
               including the United States Department of Transportation’s Emergency Medical
               Technician overdose database in a manner that complies with all relevant privacy
               and security laws and rules.

      7.       Increase electronic prescribing to prevent diversion or forgery.

      8.       Educate Dispensers on appropriate opioid dispensing.

G.    PREVENT MISUSE OF OPIOIDS

      Support efforts to discourage or prevent misuse of opioids through evidence-based or
      evidence-informed programs or strategies that may include, but are not limited to, the
      following:

      1.       Fund media campaigns to prevent opioid misuse.

      2.       Corrective advertising or affirmative public education campaigns based on
               evidence.

      3.       Public education relating to drug disposal.

      4.       Drug take-back disposal or destruction programs.

      5.       Fund community anti-drug coalitions that engage in drug prevention efforts.

      6.       Support community coalitions in implementing evidence-informed prevention,
               such as reduced social access and physical access, stigma reduction – including
               staffing, educational campaigns, support for people in treatment or recovery, or
               training of coalitions in evidence-informed implementation, including the Strategic
               Prevention Framework developed by the U.S. Substance Abuse and Mental Health
               Services Administration (SAMHSA).

      7.       Engage non-profits and faith-based communities as systems to support prevention.

      8.       Fund evidence-based prevention programs in schools or evidence-informed school
               and community education programs and campaigns for students, families, school
               employees, school athletic programs, parent-teacher and student associations, and
               others.

      9.       School-based or youth-focused programs or strategies that have demonstrated
               effectiveness in preventing drug misuse and seem likely to be effective in
               preventing the uptake and use of opioids.

      10.      Create of support community-based education or intervention services for families,
               youth, and adolescents at risk for OUD and any co-occurring SUD/MH conditions.

      11.      Support evidence-informed programs or curricula to address mental health needs
               of young people who may be at risk of misusing opioids or other drugs, including
               emotional modulation and resilience skills.

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      12.      Support greater access to mental health services and supports for young people,
               including services and supports provided by school nurses, behavioral health
               workers or other school staff, to address mental health needs in young people that
               (when not properly addressed) increase the risk of opioid or another drug misuse.

H.    PREVENT OVERDOSE DEATHS AND OTHER HARMS (HARM REDUCTION)

      Support efforts to prevent or reduce overdose deaths or other opioid-related harms through
      evidence-based or evidence-informed programs or strategies that may include, but are not
      limited to, the following:

      1.       Increase availability and distribution of naloxone and other drugs that treat
               overdoses for first responders, overdose patients, individuals with OUD and their
               friends and family members, schools, community navigators and outreach workers,
               persons being released from jail or prison, or other members of the general public.

      2.       Public health entities providing free naloxone to anyone in the community.

      3.       Training and education regarding naloxone and other drugs that treat overdoses for
               first responders, overdose patients, patients taking opioids, families, schools,
               community support groups, and other members of the general public.

      4.       Enable school nurses and other school staff to respond to opioid overdoses, and
               provide them with naloxone, training, and support.

      5.       Expand, improve, or develop data tracking software and applications for
               overdoses/naloxone revivals.

      6.       Public education relating to emergency responses to overdoses.

      7.       Public education relating to immunity and Good Samaritan laws.

      8.       Educate first responders regarding the existence and operation of immunity and
               Good Samaritan laws.

      9.       Syringe service programs and other evidence-informed programs to reduce harms
               associated with intravenous drug use, including supplies, staffing, space, peer
               support services, referrals to treatment, fentanyl checking, connections to care, and
               the full range of harm reduction and treatment services provided by these programs.

      10.      Expand access to testing and treatment for infectious diseases such as HIV and
               Hepatitis C resulting from intravenous opioid use.

      11.      Support mobile units that offer or provide referrals to harm reduction services,
               treatment, recovery supports, health care, or other appropriate services to persons
               that use opioids or persons with OUD and any co-occurring SUD/MH conditions.

      12.      Provide training in harm reduction strategies to health care providers, students, peer
               recovery coaches, recovery outreach specialists, or other professionals that provide


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               care to persons who use opioids or persons with OUD and any co-occurring
               SUD/MH conditions.

      13.      Support screening for fentanyl in routine clinical toxicology testing.

                             PART THREE: OTHER STRATEGIES

I.    I. FIRST RESPONDERS

      In addition to items in section C, D and H relating to first responders, support the following:

      1.       Educate law enforcement or other first responders regarding appropriate practices
               and precautions when dealing with fentanyl or other drugs.

      2.       Provision of wellness and support services for first responders and others who
               experience secondary trauma associated with opioid-related emergency events.

J.    LEADERSHIP, PLANNING AND COORDINATION

      Support efforts to provide leadership, planning, coordination, facilitations, training and
      technical assistance to abate the opioid epidemic through activities, programs, or strategies
      that may include, but are not limited to, the following:

      1.       Statewide, regional, local or community regional planning to identify root causes
               of addiction and overdose, goals for reducing harms related to the opioid epidemic,
               and areas and populations with the greatest needs for treatment intervention
               services, and to support training and technical assistance and other strategies to
               abate the opioid epidemic described in this opioid abatement strategy list.

      2.       A dashboard to (a) share reports, recommendations, or plans to spend opioid
               settlement funds; (b) to show how opioid settlement funds have been spent; (c) to
               report program or strategy outcomes; or (d) to track, share or visualize key opioid-
               or health-related indicators and supports as identified through collaborative
               statewide, regional, local or community processes.

      3.       Invest in infrastructure or staffing at government or not-for-profit agencies to
               support collaborative, cross-system coordination with the purpose of preventing
               overprescribing, opioid misuse, or opioid overdoses, treating those with OUD and
               any co-occurring SUD/MH conditions, supporting them in treatment or recovery,
               connecting them to care, or implementing other strategies to abate the opioid
               epidemic described in this opioid abatement strategy list.

      4.       Provide resources to staff government oversight and management of opioid
               abatement programs.

K.    TRAINING

      In addition to the training referred to throughout this document, support training to abate
      the opioid epidemic through activities, programs, or strategies that may include, but are not
      limited to, the following:

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      1.       Provide funding for staff training or networking programs and services to improve
               the capability of government, community, and not-for-profit entities to abate the
               opioid crisis.

      2.       Support infrastructure and staffing for collaborative cross-system coordination to
               prevent opioid misuse, prevent overdoses, and treat those with OUD and any co-
               occurring SUD/MH conditions, or implement other strategies to abate the opioid
               epidemic described in this opioid abatement strategy list (e.g., health care, primary
               care, pharmacies, PDMPs, etc.).

L.    RESEARCH

      Support opioid abatement research that may include, but is not limited to, the following:

               1.     Monitoring, surveillance, data collection and evaluation of programs and
                      strategies described in this opioid abatement strategy list.

               2.     Research non-opioid treatment of chronic pain.

               3.     Research on improved service delivery for modalities such as SBIRT that
                      demonstrate promising but mixed results in populations vulnerable to
                      opioid use disorders.

               4.     Research on novel harm reduction and prevention efforts such as the
                      provision of fentanyl test strips.

               5.     Research on innovative supply-side enforcement efforts such as improved
                      detection of mail-based delivery of synthetic opioids.

               6.     Expanded research on swift/certain/fair models to reduce and deter opioid
                      misuse within criminal justice populations that build upon promising
                      approaches used to address other substances (e.g. Hawaii HOPE and Dakota
                      24/7).

               7.     Epidemiological surveillance of OUD-related behaviors in critical
                      populations including individuals entering the criminal justice system,
                      including but not limited to approaches modeled on the Arrestee Drug
                      Abuse Monitoring (ADAM) system.

               8.     Qualitative and quantitative research regarding public health risks and harm
                      reduction opportunities within illicit drug markets, including surveys of
                      market participants who sell or distribute illicit opioids.

               9.     Geospatial analysis of access barriers to MAT and their association with
                      treatment engagement and treatment outcomes.




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                                       Schedule C
         Tribal Allocation Percentages, Tribe Beneficiaries and Reporting Tribes



                                         [TBD]




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                                           Schedule D
                                   Tribal Abatement Strategies

The following is a non-exhaustive, illustrative list of culturally appropriate activities, practices,
teachings or ceremonies that may, in the judgment of the Tribes, be aimed at or supportive of
remediation and abatement of the opioid crisis within a tribal community.

Each of the 574 federally recognized Tribes in the United States has its own cultures, histories
and traditions. Each Tribe is best suited to determine the most effective abatement strategies for
the specific community it serves. The following list provides select examples of tribal abatement
strategies and is not intended to limit the remediation and abatement activities for which any
Tribe or tribal organization may utilize its share of Abatement Funds.

1.     Traditional Activities Associated with Cultural Identity and Healing

Tribal cultural activities can help address historical and intergenerational trauma and feelings of
cultural loss that may be underlying root causes and/or contributing factors to addiction. These
can include, for example:

       •       Utilization of traditional healers and spiritual and traditional approaches to
               healing;
       •       Sweat lodges, sacred pipe ceremonies, smudging and other ceremonies;
       •       Talking circles;
       •       Cultural activities such as basket weaving, pottery making, drum making, canoe
               building, etc., depending on the Tribe;
       •       Cultural and linguistic immersion programs.

These traditional activities may be combined with other treatment or included in integrated
treatment models, as discussed below.

       Example: Drum-Assisted Recovery Therapy for Native Americans (DARTNA) is
       supported by research. Drums are a sacred instrument in many American Indian and
       Alaska Native cultures and are often associated with ceremonies and healing. In addition
       to providing a sense of cultural connection, drumming may have physical and
       psychological effects that make it a promising focus for treatment.

       Example: Some Tribes have utilized seasonal cultural immersion camps in lieu of or in
       combination with residential treatment for substance use disorder. Participants practice
       traditional lifeways, including hunting, fishing, living in traditional dwellings and cultural
       and/or spiritual practices during the course of treatment.

2.     Culturally Competent Integrated Treatment Models

       Example: The Swinomish Tribe designed and developed a unique treatment program
       called Didgʷálič that integrates evidence-based chemical dependency treatment with
       holistic, culturally competent care to successfully deal with the effects of opioid use
       disorder (OUD). Didgʷálič provides a full array of medical and social services, utilizing a
       model of care that centers on and incorporates the Tribe’s culture and values. The Tribal

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       government and individual Tribal members provide cultural leadership and advice on the
       use of Native language and practices in the program.

       Example: The Tulalip Tribe operates the Healing Lodge, a culturally sensitive transitional
       home facility for tribal members who are seeking to recover from addiction. In addition
       to a clean and sober living environment, the facility provides transportation to and from
       Chemical Dependency/ Mental Wellness groups and individual counseling sessions,
       sober support groups and cultural activities such as sweats, powwow and family nights.
       The program also connects residents with educational activities such as life skills
       trainings, budgeting, post generational trauma and Red Road to Wellbriety, a recovery
       and wellness program similar in some ways to the 12 Steps of AA but designed
       especially for Native American and following the teachings of the Medicine Wheel.

3.     Culturally Grounded Community Prevention

Culturally competent prevention programs, tailored to each tribal community, can play an
important role in stopping and reversing the spread of the opioid epidemic.

       Example: The Healing of the Canoe is a collaborative project between the Suquamish
       Tribe, the Port Gamble S’Klallam Tribe and the University of Washington Alcohol and
       Drug Abuse Institute (ADAI). It has led to the development and dissemination of the
       Culturally Grounded Life Skills for Youth curriculum, an evidence-based, strengths-
       based life skills curriculum for Native youth that uses elements of a Tribe’s culture to
       help prevent substance abuse and connect its youth to their tribal community and culture.
       It teaches Native youth the skills they need to navigate their life’s journey without being
       pulled off course by alcohol or drugs, using tribal values, traditions and culture both as a
       compass to guide them and an anchor to ground them. By reversing the historical trauma
       of forced assimilation, this approach attacks the root cause of so much substance abuse
       among tribal youth.

       Example: The Association of Village Council Presidents has responded to the opioid
       crisis through the Healthy Families Program, which promotes and supports whole health
       through the sharing, teaching, and practice of traditional values through Elluarluteng
       Illakutellriit - a framework illustrating the Yup’ik life cycle of traditional practices,
       values and beliefs from Yup’ik Elders. This framework functions alongside western and
       medical practices to help individuals overcome their addictions permanently.

4.     Peacekeeping and Wellness Courts

Many Tribes have had success treating opioid offenders using traditional healing practices and
alternative institutions, sometimes called wellness courts or peacekeeping courts.

       Example: The Yurok Tribal Court, in coordination with the California State courts in
       Humboldt and Del Norte Counties, operates its Family Wellness Courts (FWC) for
       Yurok families suffering from opioid abuse problems. The FWC seeks to develop judicial
       practices that are consistent with Yurok tribal values and needs, combining the resources
       and expertise of both systems. It focuses on reintegrating tribal members into the culture
       and life of the Yurok community and helping them establish a drug-free lifestyle.

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5.     Community Workforce Development and Training

Cultural competency training as well as community workforce development can be a critical tool
for addressing gaps in services, especially in rural and remote tribal communities, where it can
be extremely difficult to recruit and retain qualified health care professionals.

       Example: In Alaska, the Community Health Aide Program (CHAP) has increased access
       to medical treatment to more than 170 rural Alaskan villages utilizing a workforce
       development model geared toward Native people. Under CHAP, individuals selected by
       their communities are provided with training as community health aides and practitioners
       to work in rural villages under the supervision of, and in collaboration with, higher level
       medical professionals, often aided by telemedicine technology. As part of CHAP,
       behavioral health aides (BHAs) are trained as counselors, educators and advocates to help
       address mental health and addiction issues.

       Example: Part of the Swinomish Tribe’s Didgʷálič treatment model, discussed above, is
       training for Tribal members with a goal of building a new generation of clinically trained
       and culturally competent Native counselors and providers, Yup’ik Elders. This
       framework functions alongside western and medical practices to help individuals
       overcome their addictions permanently.




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                                           Schedule E
                                    Tribal Allocation Matrix

         The Tribal Nation’s allocation matrix is built around six data points: MMEs (morphine
milligram equivalents) imputed to each Tribe; drug and prescription opioid overdose rates
imputed to each Tribe; Indian Health Service (IHS) user population for each Tribe; citizenship
population for each Tribe; relative poverty rates imputed to each Tribe; and relative cost of living
imputed to each Tribe. Data are “imputed” to a Tribe by estimation based on population when
the data is only available on a county or statewide basis. In the case of MMEs and drug overdose
rates, the imputation of the data to a tribal population is multiplied by a “disproportionate
impact” adjustment reflecting the higher incidence of opioid use disorder and prescription opioid
overdose deaths in tribal communities.

        Two computations are undertaken for all Tribes, and then combined together. 85% of a
Tribe’s matrix share is calculated by considering its imputed MME rate (50%), overdose rates
(40%), and poverty rate (10%) as applied to its IHS user population. 15% of a Tribe’s matrix
share is calculated by considering the same three elements, similarly weighted, as applied to the
Tribe’s citizenship data. Once these two matrix results are combined, the resulting share is
further adjusted by each Tribe’s relative cost of living. COLA adjustments are done on a regional
basis and are weighted at 10%, resulting in modest adjustments ranging from 1.3% down to 2.4%
up.

       The matrix allocates a single amount to all Alaska Tribes and inter-tribal organizations.
Alaska Tribes and tribal organization are currently engaged in a process for suballocating the
Alaska share of the matrix among the Alaska Tribes and tribal organizations. When this work is
complete, the suballocations will replace the “Alaska” allocation in the matrix.

         The matrix allocates individual amounts to each California Tribe, although four
intertribal health care providers in California have also separately filed litigation. Each such
intertribal provider is currently engaged in discussions with its respective Tribes. When those
discussions are complete, allocations to the intertribal organizations may be added to the matrix
with offsetting reductions to the shares currently assigned to their member Tribes.

        All data used in the matrix are fixed except for tribal citizenship data and certain
instances where the IHS user population number is imputed for certain tribes based on tribal
citizenship data. For instance, some IHS service units contain multiple tribes. Unless the IHS or
Tribes have itemized user counts by Tribe in these cases, the IHS service unit count was prorated
among service unit Tribes in proportion to Tribal citizenship counts. Tribal citizenship data is
subject to further verification and will be adjusted in the matrix, as necessary, once the
verification process is completed. (This does not apply to total Alaska data, which is drawn from
the U.S. Census.)




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                                     Exhibit H-1

                     Redline of Tribe Trust Distribution Procedures
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                                          PURDUE PHARMA L.P.

                          TRIBE TRUST DISTRIBUTION PROCEDURES1

          Issue                                                     Description

1. APPLICABILITY                These terms shall apply to the allocation of value received by the Tribe
   OF AGREEMENT                 Trust (including both the Tribal Abatement Fund Trust (“TAFT”) and
                                Tribal Abatement Fund II, LLC (“TAF2”)) under the plan of
                                reorganization (the “Chapter 11 Plan” or the “Plan”) in the Chapter 11
                                Cases of Purdue Pharma L.P. and its affiliates (collectively, “Purdue”)
                                pending in the U.S. Bankruptcy Court for the Southern District of New
                                York (the “Bankruptcy Court”) with respect to each federally
                                recognized Native American, Native Alaskan or American Indian Tribe
                                or other tribal organization (each a “Tribe” as defined in the Plan), whose
                                Claims in Class 5 (Tribe Claims) are channeled to the Tribe Trust under
                                the Plan.

                                Pursuant to the Plan and the Master TDP, the following claims (the
                                “Tribe Channeled Claims”) shall be channeled to and liability shall be
                                assumed by TAFT as of the Effective Date: (i) all Tribe Claims, which
                                include any Claim against any Debtor that is held by a Tribe (including
                                any Claim based on the subrogation rights of a Tribe that is not otherwise
                                an Other Subordinated Claim), and that is not a Priority Tax Claim, and
                                (ii) any Released Claim or Shareholder Released Claim that is held by a
                                Tribe. The distributions made pursuant to these distribution procedures
                                (these “Tribe Trust Distribution Procedures”) and the Restructuring
                                Steps Memorandum are the exclusive distributions that will be made on
                                account of the Tribe Channeled Claims; Holders of Tribe Channeled
                                Claims will have no further or other recourse against the Tribe Trust on
                                account of the Tribe Channeled Claims other than what is provided for
                                under these Tribe Trust Distribution Procedures.

                                To the extent not explicitly reflected in the Chapter 11 Plan, the terms set
                                forth herein will be deemed incorporated into the Chapter 11 Plan, or the
                                trust agreement for the Tribe Trust (the “Tribe Trust Agreement”), as
                                applicable.

                                These terms set forth the manner in which the Tribe Trust shall make
                                Abatement Distributions to the Tribes, which may be used exclusively on
                                the parameters set forth herein; provided that nothing herein shall apply
                                to the Abatement Distributions pursuant to the Restructuring Steps
                                Memorandum.

2. PURPOSE                      These Tribe Trust Distribution Procedures are intended to establish the


 1
  Terms not otherwise defined herein shall have the meaning ascribed in the Chapter 11 Plan or in the Tribe Trust
 Agreement.
                                                         1
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          Issue                                                       Description

                                mechanisms for the distribution and allocation of funds distributed by the
                                Tribe Trust to the Tribes. All such funds described in the foregoing
                                sentence are referred to herein as “Abatement Funds” and shall be used
                                to abate the opioid crisis in accordance with the terms hereof, with
                                recognition of the culturally appropriate activities, practices, teachings or
                                ceremonies that may, in the judgment of a Tribe or a tribal health
                                organization, be aimed at or supportive of remediation and abatement of
                                the opioid crisis within a tribal community.

                                Specifically, (i) no less than ninety five percent (95%) of the Abatement
                                Funds distributed under the Tribe Trust Agreement shall be used for
                                abatement of the opioid crisis by funding opioid or substance use disorder
                                related projects or programs that fall within the scope of Schedules B and
                                D (the “Approved Tribal Opioid Abatement Uses”); and (ii) no more
                                than five percent (5%) of the Abatement Funds may be used to fund
                                expenses incurred in administering the distributions for the Approved
                                Tribal Opioid Abatement Uses, including the process of selecting
                                programs to receive Abatement Funds for implementing those programs
                                (“Approved Administrative Expenses,” and, together with the
                                Approved Tribal Opioid Abatement Uses and Core Strategies,
                                “Approved Uses”).

                                For the avoidance of doubt, Schedule D is a non-exhaustive, illustrative
                                list of culturally appropriate activities, practices, teachings or ceremonies
                                that may, in the judgment of a Tribe, be aimed at or supportive of
                                remediation and abatement of the opioid crisis within a tribal community.

                                The Tribe Trust shall, in accordance with the Plan, the Confirmation
                                Order and the Tribe Trust Documents, distribute Abatement Funds to
                                Tribes for Approved Uses. Decisions concerning Abatement Funds made
                                by the Tribe Trust will consider the need to ensure that underserved urban
                                and rural areas, as well as minority communities, receive equitable access
                                to the funds.

                                Notwithstanding anything in these Tribe Trust Distribution Procedures
                                that might imply to the contrary, projects or programs that constitute
                                Approved Tribal Opioid Abatement Uses may be provided by Tribes,
                                tribal health organizations, tribal agencies or subdivisions or
                                nongovernmental parties and funded from Abatement Funds.

3. DISBURSEMENT                 The Chapter 11 Plan shall provide for the establishment of the Tribe
   OF ABATEMENT                 Trust and the appointment of Tribe Trustees.2 The Tribe Trustees shall
   DISTRIBUTIONS

 2
   Pursuant to the Plan, the Tribe Trustees shall be selected by the Native American Tribe Group with the consent of
 the Debtors. The Tribe Trust Agreement shall provide that: (i) the Trustees shall receive compensation from TAFT
 for their services as Trustees; (ii) the amounts paid to the Trustees for compensation and expenses shall be disclosed
                                                          2
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           Issue                                                        Description

                                  distribute the Abatement Funds consistent with the Tribal Allocation
                                  Percentages set forth on Schedule C and the Tribal Allocation Matrix set
                                  forth on Schedule E.

4. ATTORNEYS’ FEES On the Effective Date,Pursuant to Section 5.8 of the Plan, Public Creditor
   AND COSTS FUND Trust Distributions will be subject to assessments to fund (i) the Local
                   Government and Tribe Attorney Fee Fund shall be established for the
                   payment ofCosts and Expenses Fund, which shall be used to pay
                   qualifying costs and expenses (including attorneys’ fees and costs) of
                   Holders of Non-Federal Domestic Governmental Channeled Claims
                   (other than States) and Holders of Tribe Channeled Claims (including any
                   ad hoc group consistinggroups of any of the foregoing), other than fees
                   and costs paid pursuant to the MSGE Group Reimbursement Order. The
                   Local Government and Tribe Attorney Fee Fund shall be funded in an
                   aggregate amount not to exceed $275 million from 5.5% of each Public
                   Creditor Trust Distribution. Payments from the Local Government and
                   Tribe Attorney Fee Fund and/or the Common Benefit Fund shall be the
                   exclusive means of payment from the Debtors’ Estates for fees and costs
                   of any attorney of a Holder of a Non-Federal Domestic Governmental
                   Channeled Claim (other than a State) or a Holder of a Tribe Channeled
                   Claim (or any ad hoc group consisting of any of the foregoing), other than
                   fees and costs paid pursuant to the MSGE Group Reimbursement Order,
                   the AHC Reimbursement Agreement Assumption Order or in accordance
                   with the Common Benefit Fund. All requests for payment of attorneys’
                   fees or costs inconsistent with this Section 4, whether under section 503
                   of the Bankruptcy Code or otherwise, by any Holder of a Non-Federal
                   Domestic Governmental Channeled Claim (other than a State) or Holder




  in the Annual Report; (iii) The Trustees shall not be required to post any bond or other form of surety or security
  unless otherwise ordered by the Bankruptcy Court; (iv) the Trustees shall have the power to appoint such officers
  and retain such employees, consultants, advisors, independent contractors, experts, and agents and engage in such
  legal, financial, accounting, investment, auditing, and alternative dispute resolution services and activities as TAFT
  requires, and delegate to such persons such powers and authorities as the fiduciary duties of the Trustees permit and
  as the Trustees, in their discretion, deem advisable or necessary in order to carry out the terms of this Trust
  Agreement; and (v) the Trustees shall have the power to pay reasonable compensation and expenses to any such
  employees, consultants, advisors, independent contractors, experts, and agents for legal, financial, accounting,
  investment, auditing, and alternative dispute resolution services and activities.
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         Issue                                           Description

                         of a Tribe Channeled Claim (or any ad hoc group consisting of any of the
                         foregoing) or any attorney therefor are hereby waived, and any such
                         request shall be Disallowed in full and (ii) the State Costs and Expenses
                         Fund, which shall be used to pay qualifying costs and expenses (including
                         attorneys’ fees) of States (including ad hoc groups thereof).

5. TRIBAL                1. The allocation of distributions among Tribes will be consistent with
   ABATEMENT                the Tribal Allocation Percentages set forth on Schedule C, which will
   FUNDING                  be included as part of the Tribe Trust Documents.

                         2. The Tribes will use the tribal allocation of Abatement Funds for
                            programs on the approved list of abatement strategies (see Schedule
                            B) and also for culturally appropriate activities, practices, teachings or
                            ceremonies that are, in the judgment of a tribe or tribal health
                            organization, aimed at or supportive of remediation and abatement of
                            the opioid crisis within a tribal community. A list of representative
                            examples of such culturally appropriate abatement strategies,
                            practices, and programs is attached hereto as Schedule D (the “Tribal
                            Abatement Strategies”). The separate allocation of abatement
                            funding and illustrative list of Tribal Abatement Strategies recognizes
                            that American Indian and Alaska Native Tribes and the communities
                            they serve possess unique cultural histories, practices, wisdom, and
                            needs that are highly relevant to the health and well-being of
                            American Indian and Alaska Native people and that may play an
                            important role in both individual and public health efforts and
                            responses in Native communities.

                         3. The Tribes agree that Abatement Funds distributed under the Chapter
                            11 Plan shall be used to abate the opioid crisis in accordance with the
                            terms of these Tribe Trust Distribution Procedures.

6. COMPLIANCE,    1. The Tribe Trustees shall impose appropriate reporting requirements on
   REPORTING,        the Tribes (identified on Schedule C as “Reporting Tribes”) to
   AUDIT AND         ensure that Abatement Funds are used only for Approved Uses. The
   ACCOUNTABILITY    Tribe Trustees may authorize modified reporting requirements for
                     Tribes with allocations below a certain level.

                         2. The Tribe Trust shall prepare an annual report (an “Annual Report”)
                            that shall be audited by independent auditors as provided in the Tribe
                            Trust Agreement, which audited Annual Report shall be filed annually
                            with the Bankruptcy Court.

                         3. The Bankruptcy Court shall have continuing jurisdiction over the
                            Tribe Trust, provided however, the courts of the State of Delaware,
                            including any federal court located therein, shall also have jurisdiction


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       Issue                                         Description

                          over the Tribe Trust.

                      4. The Tribe Trustees shall have the power to take any and all actions
                         that in the judgment of the Tribe Trustees are necessary or proper to
                         fulfill the purposes of Tribe Trust. The Tribe Trust retains the right to
                         seek return by legal means of any expenditures which fail to comply
                         with the requirements of these Tribe Trust Distribution Procedures.




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                                     Exhibit I

                      Non-NAS PI Trust Distribution Procedures
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                      INDIVIDUAL PURDUE PHARMA L.P.
    PI TRUST DISTRIBUTION PROCEDURE FOR NON-NAS PI CHANNELED CLAIMS

§ 1.     APPLICABILITY AND SUBMISSION INSTRUCTIONS.

This trust distribution procedure for Non-NAS PI Channeled Claims (as defined below) (the
“Non-NAS PI TDP”) sets forth the manner in which Non-NAS PI Channeled Claims may
become eligible for payments from, and shall be fully discharged by, the PI Trust. 1 Distributions
in respect of Non-NAS PI Channeled Claims shall be exclusively in the form of Distributions
from the PI Trust Non-NAS Fund to Holders of Non-NAS PI Channeled Claims on the terms set
forth herein.

Pursuant to the Plan and the Master TDP, the following claims (the “Non-NAS PI Channeled
Claims”) will be channeled to, and liability therefore shall be assumed by, the PI Trust as of the
Effective Date of the Plan: (i) all Non-NAS PI Claims, which are claims against any Debtor for
alleged opioid-related personal injury or other similar opioid-related claims or Causes of Action
against any Debtor, and that arose prior to the Petition Date, and that are not (A) NAS PI Claims,
Third-Party Payor Claims, NAS Monitoring Claims or Hospital Claims, or (B) held by a
Domestic Governmental Entity, and (ii) all Released Claims or Shareholder Released Claims that
are claims for alleged opioid-related personal injury or that are similar opioid-related claims or
Causes of Action, and that arose prior to the Petition Date, and that are not (A) NAS PI
Channeled Claims, Third-Party Payor Channeled Claims, NAS Monitoring Channeled Claims or
Hospital Channeled Claims, or (B) held by a Domestic Governmental Entity. Non-NAS PI
Channeled Claims shall be administered, liquidated and discharged pursuant to this Non-NAS PI
TDP, and satisfied solely from the PI Trust Non-NAS Fund. Holders of Non-NAS PI Channeled
Claims are referred to herein as “Non-NAS PI Claimants.” 2

Non-NAS PI Channeled Claims liquidated under this Non-NAS PI TDP shall be (i) Allowed or
Disallowed (such Non-NAS PI Channeled Claims so Allowed, “Allowed Non-NAS PI
Channeled Claims”) and, for Allowed Non-NAS PI Channeled Claims, (ii) liquidated to
determine the gross amounts receivable thereon (an “Award”), in each case pursuant to the terms
of this Non-NAS PI TDP.

An Award for a Non-NAS PI Channeled Claim liquidated hereunder will be a gross number
before deduction of the following “PI Trust Deductions and Holdbacks”: (A) a pro rata share of
the operating expenses of the PI Trust; (B) amounts held back under the Lien Resolution
Program (the “LRP Agreement”) to settle liens held by private insurance companies against that
Award, if any; (C) amounts prepaid to the United States under the United States-PI Claimant
Medical Expense Claim Settlement to settle liens of the federal healthcare programs like

1
     Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Fifth
     Amended Joint Chapter 11 Plan of Reorganization of Purdue Pharma L.P. and its Affiliated Debtors [ECF
     No. 2967] (the “Plan”) (the “Chapter 11 Cases”) in the United States Bankruptcy Court for the Southern District
     of New York (the “Bankruptcy Court”).
2
     “Non-NAS PI Claimant” includes each person holding a Non-NAS PI Channeled Claim arising from his/her
     own opioid use, and each person holding a Non-NAS PI Channeled Claim arising from the opioid use of a
     decedent (such deceased person, a “Decedent”).
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Medicare, Tricare, VA, or Medicaid against that Award, if any; (D) a pro rata share of
the compensation, costs and fees of professionals that represented or advised the Ad Hoc Group
of Individual Victims and the NAS Committee in connection with the Chapter 11 Cases, subject
to Section 5.8(g) of the Plan; and (E) the common benefit assessment required under Section
5.8(c) of the Plan, and the fees and costs of the Non-NAS PI Claimant’s individual attorney(s) in
the Chapter 11 Cases, if any, reduced by the common benefit assessment in accordance with
Section 5.8(c) of the Plan.3 In addition to the deductions and holdbacks described above, your
award may be subject to claims by certain state or tribal healthcare programs that are not part of
the LRP Agreement.

The order of payments to be made hereunder by the PI Trust is set forth in § 6. No amounts shall
be paid on account of a Non-NAS PI Channeled Claim unless such Claim has been Allowed.

This Non-NAS PI TDP sets forth what evidence and forms you must submit in order to be
eligible to receive an Award. Forms may be completed online at the PI Trust’s website,
www._______.com, or by mailing back the completed forms to the PI Trust at the below address.
Evidence in support of your Non-NAS PI Claim should be submitted to [___]. 4




3
    If you have an individual attorney, then your attorney, rather than the PI Trust, will be responsible for deducting
    his/her fees and expenses from your Award.
4
    Submission instructions to be added after solicitation.


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               ELECTION TO LIQUIDATE NON-NAS PI CLAIM IN THE
             TORT SYSTEM RATHER THAN UNDER THIS NON-NAS PI TDP

A Non-NAS PI Claimant who (i) timely filed a Proof of Claim in the Chapter 11 Cases
prior to the General Bar Date asserting his/her Non-NAS PI Claim against one or more
Debtors and (ii) elects expressly, by timely submission of the Non-NAS PI Claim Form
attached hereto as Exhibit A, to liquidate his/her Non-NAS PI Claim in the tort system
rather than pursuant to the streamlined procedures set forth in §§ 6-9 of this Non-NAS PI
TDP (each, a “Non-NAS Opt-Out Claimant” and, collectively, the “Non-NAS Opt-Out
Claimants”), may assert and liquidate such Non-NAS PI Claim in the tort system at his/her
own expense, as set forth in more detail in Exhibit B, and shall forfeit all rights to liquidate
such Non-NAS PI Claim (and any associated Non-NAS PI Channeled Claims regarding the
same injuries that are the same subject of his/her Non-NAS PI Claim) under the
streamlined procedures set forth in §§ 6-9 of this Non-NAS PI TDP, as well as the right to
expedited appeal set forth in Exhibit C hereto. The right to litigate in the tort system is
available only with respect to Claims that meet the definition of “PI Claim” set forth in the
Plan.

OPTING OUT REQUIRES YOU TO TAKE THE AFFIRMATIVE ACTION OF
CHECKING THE “OPT OUT” BOX ON THE NON-NAS PI CLAIM FORM AND
TIMELY SUBMITTING YOUR NON-NAS PI CLAIM FORM TO THE PI TRUST.
FAILURE TO TIMELY SUBMIT THE NON-NAS PI CLAIM FORM SHALL
CONSTITUTE CONSENT TO HAVE YOUR NON-NAS PI CHANNELED CLAIMS
LIQUIDATED PURSUANT TO THE PROVISIONS OF THIS NON-NAS PI TDP.


§ 2.   ALLOCATION OF FUNDS; CLAIMS ADMINISTRATOR.

       (a)     Allocations of Funds to the PI Trust and Further Allocation to the PI Trust NAS
               Fund and the PI Trust Non-NAS Fund.

Under the Plan, the PI Trust will receive a gross amount of between $700 million and $750
million (minus amounts distributed directly to the United States under the United States-PI
Claimant Medical Expense Claim Settlement), in the form of an initial installment of $300
million on the Effective Date of the Plan and subsequent installments, in each case subject to the
United States-PI Claimant Medical Expense Claim Settlement. The PI Trust shall establish a
fund to pay NAS PI Channeled Claims (the “PI Trust NAS Fund”); and a fund to pay Non-NAS
PI Channeled Claims (the “PI Trust Non-NAS Fund”), and shall allocate each distribution it
receives under the Plan as follows: (i) 6.43% to the PI Trust NAS Fund, up to an aggregate
maximum of $45 million, and (ii) the remainder to the PI Trust Non-NAS Fund, in each case
subject to applicable PI Trust Deductions and Holdbacks.

       (b)     Claims Administrator.

               (i)    The PI Trust shall be established in accordance with § 5.7 of the Plan to (1)
                      assume all liability for the PI Channeled Claims, (2) hold the MDT PI
                      Claim and collect the Initial PI Trust Distribution and payments due under

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                          the MDT PI Claim in accordance with the Private Entity Settlements and
                          the PI Trust Documents, (3) administer, process, resolve and liquidate PI
                          Channeled Claims, (4) make Distributions on account of Allowed PI
                          Channeled Claims in accordance with the PI Trust Documents (including
                          this Non-NAS PI TDP), (5) fund the TPP LRP Escrow Account and make
                          payments therefrom to LRP Participating TPPs, in each case, in
                          accordance with and subject to the terms of the LRP Agreement and (6)
                          carry out such other matters as are set forth in the PI Trust Documents. 5
                          The trustee of the PI Trust (the “Trustee”), Edgar Gentle III, of Gentle,
                          Turner, Sexton & Harbison, LLC, will serve as claims administrator (the
                          “Claims Administrator”) to carry out the duties of the Trustee as set forth
                          in the Plan and PI Trust Documents.6

                 (ii)     The Trustee and the Claims Administrator 7 shall determine, pursuant to
                          the requirements set forth herein, the Allowance or Disallowance and
                          valuation of all Non-NAS PI Channeled Claims liquidated under §§ 6-9 of
                          this PI TDP, regardless of the type of Award sought. Distributions
                          hereunder are determined only with consideration to a Non-NAS PI Claim
                          held against the Debtors, and not to any associated Non-NAS PI
                          Channeled Claim against a non-Debtor party. However, any Distribution
                          to a Non-NAS PI Claimant on account of his/her Non-NAS PI Claim is
                          deemed to be a distribution in satisfaction of all Non-NAS PI Channeled
                          Claims held by such Non-NAS PI Claimant with respect to the injuries
                          that are the subject of his/her Non-NAS PI Claim. The Claims
                          Administrator may investigate any such claim, and may request
                          information from any Non-NAS PI Claimant to ensure compliance with
                          the terms outlined in this document. For Non-NAS PI Claimants who
                          execute the required HIPAA forms attached hereto as Exhibit D, the
5
    The PI Trust Agreement shall provide that the Trustee shall have the power to appoint such officers and hire
    such employees and engage such legal, financial, accounting, investment, auditing, forecasting, and other
    consultants, advisors, and agents as the business of the PI Trust requires, and delegate to such persons such
    powers and authorities as the fiduciary duties of the Trustee permit and as the Trustee, in his discretion, deems
    advisable or necessary in order to carry out the terms of the PI Trust Agreement, the PI TDP, and the LRP
    Agreement, and pay reasonable compensation to those employees, legal, financial, accounting, investment,
    auditing, forecasting, and other consultants, advisors, and agents.
6
    The PI Trust Agreement shall provide that the Trustee shall receive a retainer from the PI Trust for his service
    as a Trustee in the amount of $150,000 per annum, paid annually. Hourly time shall first be billed and applied
    to the annual retainer. Hourly time in excess of the annual retainer shall be paid by the PI Trust. For all time
    expended as Trustee, including attending meetings, preparing for such meetings, and working on authorized
    special projects, the Trustee shall receive the sum of $400 per hour. For all non-working travel time in
    connection with PI Trust business, the Trustee shall receive the sum of $200 per hour. The Trustee shall record
    all hourly time to be charged to the PI Trust. The hourly compensation payable to the Trustee hereunder shall be
    reviewed every year by the Trustee and, after consultation with the members of the PI Trust’s oversight
    committee, appropriately adjusted by the Trustee for changes in the cost of living. The Trustee shall not be
    required to post any bond or other form of surety or security unless otherwise ordered by the Bankruptcy Court.
7
    As the same individual is serving as both Trustee and Claims Administrator, reference to actions by each
    reference Mr. Gentle acting in such respective capacity.


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                             Claims Administrator also has the power to directly obtain such Non-NAS
                             PI Claimant’s medical records.

§ 3.       INITIAL NON-NAS PI CHANNELED CLAIM ALLOWANCE.

For a Non-NAS PI Channeled Claim that is being liquidated pursuant to the streamlined
procedures set forth in §§ 6-9 of this Non-NAS PI TDP to be Allowed, the applicable Non-NAS
PI Claimant must, with respect to that Non-NAS PI Channeled Claim:

           (a)      Hold such Non-NAS PI Channeled Claim against one or more Debtors;

           (b)      Demonstrate usage of a qualifying prescribed opioid listed in Exhibit E hereto (a
                    “Qualifying Opioid”)

                    (i)      Non-NAS PI Claimants who used only (or, as applicable, where the
                             Decedent used only) a non-prescribed (diverted) version of a Qualifying
                             Opioid (OxyContin, MS Contin, Dilaudid, Hysingla ER, Butrans, DHC
                             Plus, MSIR, OxyFast, OxyIR, Palladone, or Ryzolt) are not eligible for an
                             Easy Payment, Base Payment or Level Award (each as defined below)
                             unless that Non-NAS PI Claimant or Decedent (as applicable) was a minor
                             when s/he initiated usage of a non-prescribed, branded version of a
                             Qualifying Opioid;

           (c)      Have already timely8 filed an individual personal injury Proof of Claim against
                    one or more Debtors in the Chapter 11 Cases asserting his/her Non-NAS PI Claim
                    against one or more Debtors;

           (d)      Complete, sign and submit the Non-NAS PI Claim Form attached hereto as
                    Exhibit A, checking at least one injury box9 by the date that is 90 days10 after the
                    Non-NAS PI Claim Form is disseminated11 to Non-NAS PI Claimants; 12


8
     If the Proof of Claim was filed after the Bar Date but before April 23, 2021, the Claims Administrator shall
     consider the Non-NAS PI Channeled Claim without penalty. If the Proof of Claim was filed on April 23, 2021
     or after, the Non-NAS PI Channeled Claim asserted by such Proof of Claim shall be Disallowed unless (i) the
     Claims Administrator determines, which determination shall be on a case-by-case basis, that good cause exists
     to treat the late-filed Non-NAS PI Channeled Claim as if it were timely filed, or (ii) the Bankruptcy Court so
     orders otherwise.
9
     In the event a Non-NAS PI Claimant does not check any injury box from use of opioids on his/her Non-NAS PI
     Claim Form, his/her Non-NAS PI Channeled Claim shall be Disallowed. The Non-NAS PI Claim Form shall
     include clear language notifying a Non-NAS PI Claimant that if he or she fails to check any injury box from use
     of opioids, s/he will receive no recovery on his/her Non-NAS PI Channeled Claim.
10
       Subject to extension in the discretion of the Claims Administrator.
11
       Within 60 days after Effective Date, the Non-NAS PI Claim Form will be made available to Non-NAS PI
       Claimants electronically and, if a Non-NAS PI Claimant is a pro se claimant, also mailed to such Non-NAS PI
       Claimant in physical copy. When disseminated, the Non-NAS PI Claim Form will clearly state the absolute
       deadline (e.g., “January 30, 2022”) by which the Non-NAS PI Claim Form must be returned.


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           (e)      Complete, sign and submit the two HIPAA consent forms attached hereto as
                    Exhibit D; and

           (f)      If the Non-NAS PI Channeled Claim concerns the injuries of a Decedent, then
                    also execute and submit the appropriate Heirship Declaration attached hereto as
                    Exhibit F.13

Any Non-NAS PI Claimant who satisfies all of the above requirements (a)-(f) with respect to a
given Non-NAS PI Channeled Claim shall have that Non-NAS PI Channeled Claim Allowed.

If a Non-NAS PI Claimant does not satisfy these requirements with respect to a Non-NAS
PI Channeled Claim that is being liquidated under §§ 6-9 of this Non-NAS PI TDP,
INCLUDING THE REQUIREMENT TO TIMELY SUBMIT HIS/HER NON-NAS PI
CLAIM FORM AND ANY NECESSARY ACCOMPANYING EVIDENCE, then such
Non-NAS PI Channeled Claim shall be Disallowed.

Regardless of whether you elect to “opt out” or to have your claim liquidated under this
Non-NAS PI TDP, you must complete the Non-NAS PI Claim Form as instructed by the
deadline, which is 90 days14 after the Non-NAS PI Claim Form is disseminated. Failure to
timely submit the Non-NAS PI Claim Form (and any required supporting evidence) will
result in your claim being disallowed. In other words, if you do nothing, you will not
receive any compensation from the PI Trust.

§ 4.       DETERMINING WHETHER A PRODUCT IS QUALIFYING.

One of the following is required to demonstrate a Qualifying Opioid as listed in Exhibit E:

           (a)      A Non-NAS PI Claimant who provides evidence of a prescription for brand name
                    OxyContin, MS Contin, Dilaudid, Hysingla ER, Butrans, DHC Plus, MSIR,
                    OxyFast, OxyIR, Palladone, or Ryzolt may rely on the name alone without the
                    necessity of a corresponding NDC number.

           (b)      In order for a Non-NAS PI Claimant to qualify based on the use of one of the
                    generic products listed in Exhibit E (e.g., oxycodone ER/CR, morphine sulfate ER,
                    hydromorphone), s/he must present either:

                    (i)      The corresponding NDC number, which is set forth in Exhibit E;15 or


12
       If the Non-NAS PI Claimant checks the box on the Non-NAS PI Claim Form indicating his/her election to
       liquidate his/her Non-NAS PI Claim in the tort system rather than under §§ 6-9 of this PI TDP, then such Non-
       NAS PI Claim will not be liquidated hereunder.
13
       Exhibit F contains two declaration forms. One applies if the Decedent named the Non-NAS PI Claimant as
       executor in his/her will; the other applies if the Decedent had no will.
14
       Subject to extensions which the PI Trust claims administrator may give in his discretion.
15
       Subject to additional NDC numbers after discovery from or other disclosure by Debtors.


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                    (ii)     A notation in the record that the product is manufactured or sold by
                             Rhodes or Purdue.

           (c)      A Non-NAS PI Claimant who used (or, as applicable, where the Decedent used) a
                    generic oxycodone prescription that does not contain evidence of § 4(a) or (b)
                    may only qualify if the prescription utilizes one of the following:

                    (i)      Oxycodone CR (or controlled release); or

                    (ii)     Oxycodone ER (or extended release).

§ 5.       TYPES OF EVIDENCE REQUIRED FOR QUALIFYING PRODUCTS.

All Non-NAS PI Claimants must demonstrate a prescription (which contains the name of the
Non-NAS PI Claimant or Decedent, as applicable) and a Qualifying Opioid by one of the
following pieces of evidence:

           (a)      Pharmacy prescription records;

           (b)      Prescription records, including without limitation:

                    (i)      A visit note in which the prescribing physician lists a prescription for one
                             of the Qualifying Opioids; or

                    (ii)     A signed prescription from a doctor for one of the Qualifying Opioids;

           (c)      A historical reference to one of the Qualifying Opioids, including but not limited
                    to:16

                    (i)      A reference in contemporaneous medical records to historical use of one
                             of the Qualifying Opioids;

                    (ii)     A reference in contemporaneous substance abuse/rehabilitation/mental
                             health records to historical use of one of the Qualifying Opioids;

                    (iii)    A reference in contemporaneous law enforcement records to historical use
                             of one of the Qualifying Opioids; or

                    (iv)     A reference in contemporaneous family law or other legal proceedings
                             records to historical use of one of the Qualifying Opioids;

           (d)      A photograph of the prescription bottle or packaging of one of the Qualifying
                    Opioids with the name of the Non-NAS PI Claimant or Decedent (as applicable)
                    as the patient listed the prescription label; or


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       The record must have been created prior to September 15, 2019 only if the historical reference is self-reported
       by the Non-NAS PI Claimant.


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         (e)      A certification supplied by a Debtor, any of its successors (including the PI Trust),
                  or a third party at a Debtor’s or one of its successors’ request, indicating that
                  customer loyalty programs, patient assistance programs (“PAPs”), copay
                  assistance programs, or any other data otherwise available to the certifying entity
                  reflects that the Non-NAS PI Claimant or Decedent (as applicable) had at least
                  one prescription for one of the Qualifying Opioids.

         (f)      With respect to Non-NAS PI Claimants whose Non-NAS PI Channeled Claim is
                  based on the Non-NAS PI Claimant’s or Decedent’s use of only diverted (i.e.,
                  without a lawful prescription) qualifying branded products as a minor pursuant to
                  § 3(b)(i) above and who cannot meet the evidentiary requirements of § 5(a)-(e)
                  above17 may qualify if the Non-NAS PI Claimant can demonstrate both of the
                  following:18

                  (i)       A declaration under penalty of perjury (a) from the Non-NAS PI Claimant,
                            or (b) in the case of a claim arising from a Decedent’s opioid use, from
                            any third party with knowledge of the Decedent’s opioid use, that the
                            Non-NAS PI Claimant or Decedent is known to have used diverted
                            OxyContin, MS Contin, Dilaudid, Hysingla ER, Butrans, DHC Plus,
                            MSIR, OxyFast, OxyIR, Palladone, or Ryzolt as a minor. The declaration
                            must also state how long the diverted OxyContin, MS Contin, Dilaudid,
                            Hysingla ER, Butrans, DHC Plus, MSIR, OxyFast, OxyIR, Palladone, or
                            Ryzolt was used for purposes of determining whether the Non-NAS PI
                            Channeled Claim would qualify for Tier 2 or Tier 3; and

                  (ii)      An additional declaration from a third party with personal knowledge of
                            the Non-NAS PI Claimant’s or Decedent’s use of opioids products stating
                            under penalty of perjury that the declarant has personal knowledge that the
                            Non-NAS PI Claimant or Decedent is known to have used diverted
                            OxyContin, MS Contin, Dilaudid, Hysingla ER, Butrans, DHC Plus,
                            MSIR, OxyFast, OxyIR, Palladone, or Ryzolt as a minor. The declaration
                            must claim how long the diverted OxyContin, MS Contin, Dilaudid,
                            Hysingla ER, Butrans, DHC Plus, MSIR, OxyFast, OxyIR, Palladone, or
                            Ryzolt was used for purposes of determining whether the Non-NAS PI
                            Channeled Claim would qualify for Tier 2 or Tier 3.

         (g)      In the event a Non-NAS PI Claimant holds a claim arising from a lawful
                  prescription of a qualifying product and cannot meet the evidentiary requirements
                  of § 5(a)-(e) above, s/he may only qualify if s/he demonstrates all of the following:



17
     Since by definition diversion cases do not have a prescription, a Non-NAS PI Claimant could otherwise meet
     the evidentiary requirements above only with a historical reference to the diverted use of a qualifying product as
     a minor. In the absence of that historical reference in the medical records, this affidavit requirement can be used
     under the conditions set forth in this subsection.
18
     Sample affidavits will be made available on the PI Trust website.


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               (i)     That the Non-NAS PI Claimant or his/her agents made a bona fide attempt
                       to retrieve all known prescribing physician medical charts, all known
                       pharmacy charts, all known rehabilitation charts, and all known insurance
                       explanation of benefits was made. An affidavit of no records (ANR),
                       certificate of no records (CNR), affidavit of destroyed records (ADR), or
                       certificate of destroyed records (CNR) must be provided as to all known
                       records listed above (and in the Non-NAS PI Claim Form). Alternatively,
                       if some medical records were produced in response to the Non-NAS PI
                       Claimant’s request but others were not, then evidence must be provided
                       that the Non-NAS PI Claimant requested all records but that only limited
                       records were produced by the facilities (with an explanation of how the
                       portion of records not provided by the custodian likely contains the
                       qualifying product and the basis for that assessment of probability); and

               (ii)    A declaration under penalty of perjury from the Non-NAS PI Claimant or,
                       in the case of a claim arising from the opioid use of a Decedent, from a
                       third party with knowledge of the Decedent’s opioid use, that the Non-
                       NAS PI Claimant or Decedent is known to have been prescribed and used
                       OxyContin, MS Contin, Dilaudid, Hysingla ER, Butrans, DHC Plus,
                       MSIR, OxyFast, OxyIR, Palladone, or Ryzolt. The declaration must also
                       state how long the prescribed OxyContin, MS Contin, Dilaudid, Hysingla
                       ER, Butrans, DHC Plus, MSIR, OxyFast, OxyIR, Palladone, or Ryzolt
                       was used for purposes of determining whether the Non-NAS PI Channeled
                       Claim would qualify for Tier 2 or Tier 3; and

               (iii)   A supporting declaration from a third party with personal knowledge of
                       the Non-NAS PI Claimant’s or Decedent’s use of opioids products stating
                       under penalty of perjury that the declarant has personal knowledge that the
                       Non-NAS PI Claimant or Decedent is known to have used OxyContin, MS
                       Contin, Dilaudid, Hysingla ER, Butrans, DHC Plus, MSIR, OxyFast,
                       OxyIR, Palladone, or Ryzolt. The declaration must also state how long the
                       prescribed OxyContin, MS Contin, Dilaudid, Hysingla ER, Butrans, DHC
                       Plus, MSIR, OxyFast, OxyIR, Palladone, or Ryzolt was used for purposes
                       of determining whether the Non-NAS PI Channeled Claim would qualify
                       for Tier 2 or Tier 3.

      (h)      The Claims Administrator shall have discretion, subject to the appeal process set
               forth in Exhibit C hereto, to determine whether the requirements in § 5(f)-(g)
               above have been met so as to provide sufficient indicia of reliability that the Non-
               NAS PI Claimant or Decedent was prescribed (or as a minor received diverted)
               and used OxyContin, MS Contin, Dilaudid, Hysingla ER, Butrans, DHC Plus,
               MSIR, OxyFast, OxyIR, Palladone, or Ryzolt.

      (i)      In no event may a Non-NAS PI Claimant whose evidence of qualifying product
               use is based solely on the declarations under § 5(f)-(g) qualify for Tier 1A or Tier
               1B. Whether the Non-NAS PI Claimant qualifies for Tier 2 or Tier 3 will be based
               on the length of use stated in the declaration.

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           (j)     Any Non-NAS PI Claimant who fails to meet the requirements of § 3, § 4 and
                   § 5(a)-(g) is not entitled to any payment, including Easy Payment, Base Payment,
                   or Level Award (each as defined below).

           (k)     The Claims Administrator has the discretion to request additional documentation
                   believed to be in the possession of the Non-NAS PI Claimant or his or her
                   authorized agent or lawyer. The Claims Administrator has the sole discretion,
                   subject to the appeal process set forth in Exhibit C hereto, to Disallow, or to
                   reduce or eliminate Awards on, claims being liquidated hereunder where he
                   concludes that there has been a pattern and practice to circumvent full or truthful
                   disclosure under this § 5.

§ 6.       ORDER OF PAYMENTS; EASY PAYMENT.

A Non-NAS PI Claimant may choose between receiving an “Easy Payment” or a “Base
Payment” and “Level Award,” as detailed below.

The PI Trust will make payments in the following order:

           (a)     Easy Payment (as defined below) of $3,500 per qualifying Non-NAS PI
                   Claimant19 to those Non-NAS PI Claimants who elect to receive an Easy Payment;
                   and

           (b)     Base Payments and Level Awards (each as defined below) to qualified Non-NAS
                   PI Claimants who did not elect to receive an Easy Payment.

Because monies are being received by the PI Trust in installments, payments of Awards other
than Easy Payments may be in installments. Additionally, payments of awards may be further
delayed into installment payments if a competent court so orders. Finally, distributions to minors
are to be held in trust until the minor becomes a legal adult (unless a competent court orders
otherwise). For all of these reasons, it may take years before you receive all of your Award.

A Non-NAS PI Claimant meeting the requirements of § 3 (Allowance) pursuant to the standards
set in § 4 (Determining What is a Qualifying Product) and § 5 (Evidence Required to
Demonstrate a Qualifying Product) may elect on his/her Non-NAS PI Claim Form to receive a
set payment (an “Easy Payment”) in lieu of other compensation. NOTE: if you select an Easy
Payment, you are NOT eligible to receive any additional funds for your Non-NAS PI
Channeled Claim. That means you cannot receive any of the Base Payments or Level Awards
below. If you select an Easy Payment and your Non-NAS PI Channeled Claim is determined to
be an Allowed Non-NAS PI Channeled Claim, you will be entitled to a gross payment of $3,500,
before deduction of any fees, costs or liens as described herein, within a reasonably short amount
of time after receipt of your claims package by the Claims Administrator, or as soon as all


19
       If a Non-NAS PI Claimant has multiple qualified PI Claims on account of personal injuries to more than one
       opioid user, then that Non-NAS PI Claimant may have distinct Non-NAS PI Claims, each of which may recover
       hereunder.


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applicable liens have been cleared. The Easy Payment is also expected to be free of many (but
not all) types of health care liens, including liens of Third-Party Payors.

§ 7.       ADDITIONAL AWARD DETERMINATION.

           (a)     Allowed Non-NAS PI Channeled Claims held by Non-NAS PI Claimants who do
                   not elect to receive an Easy Payment and who otherwise meet the Qualifying
                   Opioid requirement shall be categorized20 as follows:

                   (i)      Tier 1A:

                            A.      Base Payment:
                                       1. For Non-NAS PI Claimants who demonstrate that his/her
                                           or the Decedent’s addiction, dependence or substance abuse
                                           began while using one of the Qualifying Opioids.
                                       2. Other than submission of qualifying product records under
                                           § 3, § 4 and § 5(a)-(f), no additional documents are
                                           required for a Holder of an Allowed Non-NAS PI
                                           Channeled Claim to secure a Tier 1A Base Payment. The
                                           showing required for a Tier 1A Base Payment is a temporal
                                           relationship between use of a qualifying product and the
                                           onset of addiction, dependence or substance abuse within
                                           six months after use of a qualifying product. There is a
                                           presumption that proof of qualifying product usage under
                                           the methods above within 6 months before the onset of
                                           addiction, dependence or substance abuse (as set forth in
                                           the Non-NAS PI Claim Form) is sufficient.
                                          aa. However, notwithstanding evidence of a qualifying
                                                 product usage before the onset of addiction,
                                                 dependence or substance abuse noted in the Non-NAS
                                                 PI Claim Form, if the Non-NAS PI Claim Form,
                                                 pharmacy, medical or other records demonstrate any
                                                 of the below indicia of addiction, dependence or
                                                 substance abuse that precede the earliest use of a
                                                 qualifying product demonstrated by a Non-NAS PI
                                                 Claimant, the claim does not qualify for Tier 1A.
                                                 a. diagnosis of addiction, dependence or substance
                                                        abuse relating to opioid use made by any
                                                        medical professional;
                                                 b. treatment in a rehabilitation center for opioid use
                                                        disorder;
                                                 c. overdose, withdrawal, or detox from an opioid;

20
       Non-NAS PI Claimants who assert or allege Qualifying Opioid usage in their Non-NAS PI Claim Forms for
       which they cannot produce corresponding evidence will not recover on account of such alleged opioid usage.


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                                                d. consecutive use of opioids with MME of greater
                                                       than 90 mg/day for 6 months or more;
                                                e. use of illegal opioids; or
                                                f. use of medication-assisted treatment (“MAT”) like
                                                       methadone.
                          B.       Level Awards: In addition to Base Payments, Tier 1A Non-NAS PI
                                   Claimants meeting the criteria below qualify for the additional
                                   payment attendant to the highest Level they qualify for (but not
                                   multiple Levels).
                                      1. Level A:
                                          aa. For Non-NAS PI Claimants who demonstrate one or
                                                more of the following:
                                                a. Opioid Use Disorder (“OUD”); 21
                                                b. MAT usage >6 months. MAT drugs include
                                                       methadone, buprenorphine, Butrans, Suboxone,
                                                       Zubsolv, Methadose, and naltrexone; or
                                                c. Administration of Narcan, Evzio or Naloxone.
                                      2. Level B:
                                          aa. For Non-NAS PI Claimants who demonstrate death
                                                caused by an opioid (such as overdose or withdrawal).
                          C.       Additional Evidence for Level Awards:
                                      1. If making a claim for a Tier 1A Level Award based on
                                          OUD diagnosis, medical records, including rehabilitation
                                          records, primary care, hospital, billing or other records
                                          reflecting a diagnosis of OUD made by a medical or health
                                          professional. No affidavits may be used to meet this
                                          requirement. The records do not have to coincide in time
                                          with the provided qualifying product use.
                                      2. If making a claim for a Tier 1 A Level Award based on
                                          MAT or Narcan, Evzio or Naloxone use, pharmacy or other
                                          medical records reflecting use of MAT, Narcan, Evzio or
                                          Naloxone. The types of evidence that qualify to show MAT,
                                          Narcan, Evzio or Naloxone exposure are the same as those
                                          in § 5(a)-(d). No affidavits may be used to meet this
                                          requirement. The records do not have to coincide in time
                                          with the provided qualifying product use.
                                      3. If making a claim for a Tier 1A Level Award based on
                                          death, the death certificate of the Decedent as well as any
                                          toxicology reports or autopsy reports. The records do not
                                          have to coincide in time with the provided qualifying

21
     The diagnosis can be made by any medical professional, specifically including physicians, nurses, physician’s
     assistant, mental health counselor or therapist, or professional at a rehabilitation center.


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                                     product use. No affidavits may be used to meet this
                                     requirement.
                                  4. The Non-NAS PI Claimant may submit such additional
                                     information as the Non-NAS PI Claimant believes will
                                     assist the Claims Administrator’s determination of the
                                     appropriate amount of any Non-NAS PI Channeled Claim
                                     that has satisfied the initial claim validity requirements.

               (ii)    Tier 1B: Opioid-related death (overdose or withdrawal) while on
                       OxyContin (temporal relationship between date of death and usage of
                       OxyContin) qualify for Tier 1B Base Payment. Only branded OxyContin
                       would qualify under Tier 1B (i.e., no other Qualifying Opioids). There are
                       no Level Awards. If a Non-NAS PI Claimant is making a claim for a Tier
                       1B Award, the death certificate of the Decedent as well as any toxicology
                       reports or autopsy reports must be produced. The death must coincide in
                       time with the provided qualifying product use (i.e. the timing of usage,
                       including number of pills, falls within 5 days of the death). For example, if
                       the Decedent had a prescription 20 days before death and the number of
                       pills in that prescription was enough such that it can reasonably be
                       expected the Decedent was using it within 5 days of death, the case
                       qualifies. Conversely, if the Decedent had a prescription 45 days before
                       death and the number of pills in the prescription was such that it can
                       reasonably be expected that the Decedent would have run out of pills 15
                       days before death, the case does not qualify. The underlying addiction
                       does not need to have begun during qualifying product use; OxyContin
                       use at the time of death is sufficient.

               (iii)   Tier 2: Non-NAS PI Claimants must demonstrate use of a qualifying
                       product for more than 6 months; however, the usage does not have to be
                       consecutive.

                       A.     Base Payment: Other than for qualifying product records under § 3,
                              § 4 and § 5(a)-(g), no additional documents are required for a Tier
                              2 Base Payment. All Non-NAS PI Claimants that qualify for Tier 2
                              will receive a Base Payment.
                       B.     Level Awards: In addition to Base Payments, Tier 2 Non-NAS PI
                              Claimants meeting the criteria below qualify for the additional
                              payment attendant to the highest Level they qualify for (but not
                              multiple Levels).
                                  1. Level A:
                                      aa. For Non-NAS PI Claimants who demonstrate one or
                                            more of the following:
                                            a. Opioid Use Disorder (OUD);
                                            b. MAT >6 months days; or
                                            c. Administration of Narcan, Evzio or Naloxone.


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                                  2. Level B:
                                      aa. For Non-NAS PI Claimants who demonstrate death
                                            caused by an opioid.
                      C.       Additional Evidence for Level Awards:
                                  1. If making a claim for a Tier 2 Level Award based on OUD
                                      diagnosis, medical records, including rehabilitation records,
                                      primary care, hospital, billing or other records reflecting a
                                      diagnosis of OUD made by a medical or health professional.
                                      No affidavits may be used to meet this requirement. The
                                      records do not have to coincide in time with the provided
                                      qualifying product use.
                                  2. If making a claim for a for a Tier 2 Level Award based on
                                      MAT or Narcan, Evzio or Naloxone use, pharmacy or other
                                      medical records reflecting use of MAT, Narcan, Evzio or
                                      Naloxone. The types of evidence that qualify to show MAT,
                                      Narcan, Evzio or Naloxone exposure are the same as those
                                      in § 5(a)-(d). No affidavits may be used to meet this
                                      requirement. The records do not have to coincide in time
                                      with the provided qualifying product use.
                                  3. If making a claim for a Tier 2 Level Award based on death,
                                      the death certificate of the Decedent as well as any
                                      toxicology reports or autopsy reports. The records do not
                                      have to coincide in time with the provided qualifying
                                      product use. No affidavits may be used to meet this
                                      requirement.

               (iv)   Tier 3: Use of a qualifying product less than 6 months and otherwise not
                      meeting the criteria of Tier 1A, Tier 1B or Tier 2 are entitled to no
                      additional payments other than the Base Payment. Non-NAS PI Claimants
                      who elect to receive the Easy Payment cannot receive any additional
                      compensation, and no Tier applies to their Non-NAS PI Claim. However,
                      in the event a Non-NAS PI Claimant declines the Easy Payment and elects
                      to proceed but does not qualify for Tiers 1A, 1B, or 2, such Non-NAS PI
                      Claimant will receive the Tier 3 Base Payment and only the Tier 3 Base
                      Payment.

§ 8.   BASE PAYMENTS AND LEVEL AWARDS.

       (a)     Grid Origins.

The point values provided in this grid resulted from the work of counsel to the Ad Hoc Group of
Individual Victims, statistical sampling and modeling performed by financial analysts and
subject matter experts for the Ad Hoc Group of Individual Victims and the other holders of PI
Channeled Claims, and collaborative discussions with stakeholders. The estimated amount per
point is based on a sample, and will be updated periodically on the PI Trust’s website,
www._______.com.

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           (b)     Amount of Money Per Point.

Based on an initial sample, we estimate that the dollar award amount per point will be between
$0.80 and $1.20. The dollar amount ultimately awarded per point will be determined with
reference to the funds available in the PI Trust and the pool of claims remaining against the PI
Trust after the payment of Easy Payments.

                                Tier 1A               Tier 1B                Tier 2                Tier 3
                             Addiction from      Death on OxyContin    Purdue Opioids Use    No Addiction/ Death
                             Purdue Opioids                                ≥6 months            from Purdue
                                                                                             Opioids, and Purdue
                                                                                               Opioids Use <6
                                                                                                   months
 BASE PAYMENTS                 20,000 pts22           40,000 pts             6,000 pts              $3,500
 LEVELS (one of the
     below)23
             A                  10,000 pts               N/A                 3,000 pts               N/A

                           OUD Diagnosis, OR                           OUD Diagnosis, OR
                           MAT for >6 months                           MAT for >6 months
             B                20,000 pts                 N/A              20,000 pts                 N/A

                              Death from an                               Death from an
                                 Opioid                                      Opioid

§ 9.       ADDITIONAL CLAIM FACTORS AND VALUATION.

           (a)     To the extent practicable, only objective factors are to be scored, based upon the
                   axiom that in mass torts consistency is fairness.

           (b)     This grid is based in part on other scoring grids developed in comparable cases
                   and development of a scoring grid with unique customization according to the
                   claims and injuries encountered and reviewed in sampling individual PI Claims.

           (c)     Because of limited funds, economic damages are not compensable. This Non-
                   NAS PI TDP only compensates general pain and suffering. Nonetheless, all
                   personal injury damages from use of Qualifying Opioids are being channeled to
                   the PI Trust and released, including both economic and non-economic or general
                   damages.

           (d)     Only reported injuries are to be scored.



22
       Non-NAS PI Claimants who do not claim addiction, dependence or abuse of opioids are not entitled to receive
       Tier 1A Awards.
23
       If a Non-NAS PI Claimant does not qualify for additional Level Awards, he/she does not get additional money
       above the Base Payment. A Non-NAS PI Claimant can only qualify for one, but not multiple, Level Awards.


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        (e)    In no circumstance shall the Claims Administrator assign any claim value for any
               punitive damages, exemplary damages, statutory enhanced damages, or attorneys’
               fees or costs (including statutory attorneys’ fees and costs).

        (f)    Only Non-NAS PI Claims based on injuries or facts occurring prior to the filing
               of your Non-NAS PI Claim Form are eligible for recovery.

§ 10.   BAR FOR PRIOR SETTLED CASES.

A Non-NAS PI Claimant whose Non-NAS PI Channeled Claim was reduced prior to the Petition
Date to a settlement, judgment, or award against a Debtor shall be barred from receiving any
Award under this Non-NAS PI TDP (Easy Payment, Base Payment or Level Award) on account
of such Non-NAS PI Channeled Claim and shall not recover from the PI Trust on account of
such Non-NAS PI Channeled Claim; provided, however, that a prior settlement with respect to a
living person’s OUD claim does not bar a subsequent wrongful death claim arising out of that
settled OUD claim.

§ 11.   SPECIAL PROCEDURES IN RESPECT OF MINORS.

For Non-NAS PI Claimants who are minors under applicable law, the special procedures set
forth in Exhibit G hereto also apply and shall supplement the procedures set forth in this Non-
NAS PI TDP.

§ 12.   FAIRNESS AUDITS AND FRAUD PREVENTION.

The Claims Administrator will use appropriate technology and strategies to prevent paying
fraudulent claims while making the claims process as simple as possible. Reasonable steps will
be taken to mitigate fraud so as to ensure a fair and secure claims review and payment process,
while not falsely flagging legitimate PI Channeled Claims. Among the techniques will be
technology to prevent claims submitted by BOTS, unique Non-NAS PI Claimant identification
numbers, and strategic Non-NAS PI Claim Form fields. Periodic fairness audits will be
conducted on samples of Non-NAS PI Channeled Claims to ensure that they are being graded
and paid fairly.

§ 13.   CHARITY.

The PI Trust will establish a charitable trust to accept donations that can be used to address the
opioid addiction crisis by providing grant funding for recovery support services, addiction and
addiction family harm reduction-related activities, education, family support, community-based
advocacy efforts, and assistance to organizations providing services to individuals and caregivers
grappling with opioid-related problems of Non-NAS PI Claimants. The distribution of funding
provided by this charity may be streamlined through qualified not-for-profit organizations. The
charity will be funded only through donations; none of the funds received by the PI Trust under
the Plan will be diverted to fund this charity. Non-NAS PI Claimants may choose to allocate part
or all of their share of their recovery to this charity.




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§ 14.   APPEALS.

Each Non-NAS PI Claimant who has his/her Non-NAS PI Channeled Claims liquidated under
this Non-NAS PI TDP has an appeal right, which is described in Exhibit C. The decision of the
Appeals Master pursuant to Exhibit C is final and binding, and Non-NAS PI Claimants have no
further appeal rights beyond those set forth in Exhibit C.




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                                    EXHIBIT A

                        SAMPLE CLAIM FORM FOR
        THE INDIVIDUAL PURDUE PHARMA LP PI TRUST DISTRIBUTION
                   PROCEDURE FOR NON-NAS PI CLAIMS
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                          P U R D U E P H A R M A P I T D P
                            N O N - N A S C L A I M F O R M
                             I N S T R U C T I O N S P A G E

THIS IS A SAMPLE CLAIM FORM AND IS SUBJECT TO CHANGE. DO NOT COMPLETE THE
FORM AT THIS TIME. A BLANK COPY OF THE FINAL FORM WILL BE AVAILABLE ONLINE
AND BY MAIL FOR YOU TO COMPLETE AT THE APPROPRIATE TIME AFTER THE PURDUE
PLAN OF REORGANIZATION HAS BEEN APPROVED AND GONE EFFECTIVE.

      This Purdue Bankruptcy Claim Form (the “Claim Form”) must be completed by each Non-NAS PI
Claimant seeking to recover money from the Purdue Personal Injury Trust (The “PI Trust”) on its Non-NAS PI
Channeled Claims.1 IF YOU DO NOT TIMELY RETURN THIS CLAIM FORM AS INSTRUCTED, YOU
WILL BE DEEMED TO HAVE CONSENTED TO HAVE YOUR NON-NAS PI CHANNELED CLAIMS
LIQUIDATED UNDER THE NON-NAS PI TDP, AND YOUR CLAIMS WILL BE DISALLOWED UNDER
THE NON-NAS PI TDP FOR YOUR FAILURE TO TIMELY RESPOND.

        If you hold multiple Non-NAS PI Claims against the Debtors on account of injuries to more than one
opioid user, then fill out one Claim Form for each of those Non-NAS PI Claims. If you hold multiple Non-NAS
PI Claims on account of multiple injuries to the same opioid user, then fill out only one Claim Form. One Claim
Form submitted for a Non-NAS PI Claim shall be deemed to be a Claim Form in respect of that Non-NAS PI
Claim and also any Non-NAS PI Channeled Claims against a Released Person or Shareholder Released Person
that are associated with that Non-NAS PI Claim.

         Follow the instructions of each section carefully to ensure that your Claim Form is submitted
correctly. If any section does not pertain to your claim, leave it blank. Except as otherwise indicated, all words
shall be given their ordinary, dictionary meaning. Submitting this Claim Form does not guarantee that you will
receive payment from the PI Trust. Whether or not you receive payment depends on whether you make the
additional required submissions, as set forth in the Non-NAS PI TDP, and whether or not your claim meets the
eligibility requirements set forth in the Non-NAS PI TDP.

         This Claim Form allows you to choose to “opt out” of the streamlined, expedited Non-NAS PI TDP
liquidation process with respect to any Non-NAS PI Claim against one or more of the Debtors, and instead pursue
that Non-NAS PI Claim in the tort system by filing a lawsuit against the PI Trust at your own expense. You may
litigate in court only with respect to a Non-NAS PI Claim held against one or more Debtors, and may not litigate
other Non-NAS PI Channeled Claims. If you select the “opt out” option, you will not be eligible to receive the
Easy Payment or any “Base Payment” or “Level Award.” Furthermore, you will not be allowed to opt back in to
the Non-NAS PI TDP if your lawsuit is unsuccessful in the tort system. Any final judgment you obtain in the tort
system against the Non-NAS PI Trust will be subject to reduction pursuant to the “opt out” procedures set forth
in Exhibit B to the Non-NAS PI TDP. YOU MAY ONLY OPT OUT BY CHECKING THE “OPT OUT” BOX
AND TIMELY RETURNING THIS CLAIM FORM. FAILURE TO RESPOND DOES NOT CONSTITUTE
OPTING OUT.

      For those who do not “opt out,” this Claim Form requires you to choose between receiving an “Easy
Payment” of $3,500 or seeking a “Base Payment” and “Level Award.” If your Non-NAS PI Claim is eligible for

1
  Capitalized terms used but not defined herein have the meanings ascribed to them in the Non-NAS PI TDP or, if not defined therein,
then the meanings ascribed to them in the Chapter 11 Plan.
                                                                -1   -
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payment, then the “Easy Payment” choice will get you money faster, but may not pay as much as a “Base
Payment” or “Level Award” would ultimately pay.

       By submitting this Form and choosing to liquidate your Claim under the Non-NAS TDP, you are deemed
to consent to the Lien Resolution Program, under which certain health insurance companies, known as “Third-
Party Payors” or “TPPs,” have agreed to resolve their claims against you and/or your recoveries under the Non-
NAS PI TDP for reduced amounts or, in some cases, by waiving their claims altogether. The LRP Agreement is
attached as Exhibit [ ] to the [ ] Plan Supplement.

      Instructions for Submission: You may complete and submit this Claim Form either online, at [INSERT
URL], or by mailing back the completed Claim Form to [REDACTED IN THE NON-FINAL VERSION
EXHIBITED IN THE SOLICITATION PACKET]




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                      P U R D U E P H A R M A P I T D P
                        N O N - N A S C L A I M F O R M

PART ONE: PERSONAL INFORMATION OF NON-NAS PI CLAIMANT

What is the Claim Number assigned to your claim by Prime Clerk?              ______________________

Please only fill out one of the following sections (Section 1.A, 1.B, or 1.C).

Section 1.A: If you are filing a PI Claim arising from your own use of opioids, please fill out the
information below.

Claimant’s Name:                      _________________________________________________________

Date of Birth:                        _________________________________________________________

Claimant’s Address:                   _________________________________________________________

Claimant’s Social Security Number: _________________________________________________________

Section 1.B: If you are filing a PI Claim due to another’s death from use of opioids, please fill out the
information below.

Opioid User’s Name:                                              _______________________________________

Claimant Name Filing on behalf of the Opioid User:               _______________________________________

Date of Birth of Opioid User:                                    _______________________________________

Date of Death:                                                   _______________________________________

Cause of Death:                                                  _______________________________________

Opioid User’s Social Security Number:                            _______________________________________


PART TWO: “OPT OUT” OF THE NON-NAS PI TDP PROCEDURE

If you would like to forfeit all rights to have your Non-NAS PI Channeled Claims liquidated under the Non-
NAS PI TDP and instead to pursue your Non-NAS PI Claim by filing a lawsuit against the PI Trust in court at
your own expense, check the following box. If you “opt out,” you will not be eligible to receive an “Easy
Payment,” “Base Payment,” or “Level Award” from the PI Trust.

Mark the following box only if you elect to “opt out” of the Non-NAS PI TDP liquidation
process and instead pursue your Non-NAS PI Claim in civil court through the tort system
by filing a lawsuit in court at your own expense:

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PART THREE: EASY PAYMENT ELECTION (If you selected “Opt Out,” then skip this Part Three)

Section 3.A: You may elect to receive an “Easy Payment” in lieu of other compensation. If you elect to receive
an Easy Payment, you will receive a one-time payment of $3,500 within a reasonably short amount of time after
receipt of your Claims Package by the Claims Administrator and resolution of any healthcare liens. The Easy
Payment is expected to be free of many but not all types of health care liens. Even if you select the Easy
Payment option, you must comply with the requirements of the Non-NAS PI TDP. WARNING: If you elect to
receive an Easy Payment, you are not eligible to receive any additional Awards for your Non-NAS PI
Channeled Claims. On the other hand, declining the Easy Payment election and seeking a “Base
Payment” and “Level Award” may result in receiving payment at a later date and through installments.

Mark the following box only if you elect to receive the Easy Payment and waive all
additional Awards or compensation:


PART FOUR: PRESCRIBED MEDICATIONS (If you selected “Opt Out,” SKIP this Part Four)

Section 4.A: Identify any of the following Purdue brand opioids that the opioid user who is thesubject of
your Non-NAS PI Claim was prescribed. Include evidence of the prescriptions when submitting this Claim
Form.

                         Date of first prescription:             Date of last prescription

 OxyContin
 MSContin
 Dilaudid
 Butrans
 Hysingla
 DHC Plus
 MSIR
 OxyFast
 Oxy IR
 Palladone
 Ryzolt

 Rhodes
 Generic
 (name)
 __________
 __________




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Section 4.B: Identify any of the following Medication Assistance Treatment (MAT) drugs prescribed to the
opioid user who is the subject of your Non-NAS PI Claim. Include evidence of the prescriptions when
submitting this Claim Form.

                               Date of first prescription: Date of last prescription
 Buprenorphine:
 Butrans:
 Methadone:
 Suboxone
 Zubsoly:
 Naltrexone:

Section 4.C: Identify any of the following medications provided to the opioid user (whether you or another
person) during or after an opioid overdose. Include evidence of the prescriptions when submitting this Claim
Form.

                         Date administered:
 Narcan:
 Evzio:
 Naloxone:



PART SIX: OPIOID USER AND OPIOID CLAIMANT INJURIES (If you selected “Opt Out,” SKIP this
Part Six)

WARNING: IF YOU DO NOT CHECK ANY INJURIES ON THIS LIST, THEN YOUR NON-NAS PI
CHANNELED CLAIMS WILL BE DISALLOWED AND YOU WILL RECEIVE NO RECOVERY

Section 6.A:

Please mark all that are applicable to your claim.
               ADDICTION
               Date addiction began:
               Opioid that started the addiction:
               Diagnosis and Date of Opioid Use Disorder:

               WITHDRAWALS
               Date withdrawals occurred:

               OVERDOSE
               Date overdose occurred:


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                JAIL
                Date jail sentence began/ended:
                The charge:

                REHAB
                Dates of inpatient or outpatient rehabilitation:



   PART SEVEN: TIERING AND LEVEL DESIGNATION (If you selected “Opt Out” or Easy Payment,
   SKIP this Part Seven)

   Section 7.A: In this section, please circle the tier that applies to your Non-NAS PI Claim. IF MULTIPLE
   TIERS APPLY, CHECK THE FIRST ONE THAT APPLIES (for example, if 1B and 1A both apply, then
   check 1B, because that appears first in the list below). Please refer to the Non-NAS PI TDP for full
   definitions and qualifying criteria.

Highest    Tier 1B:

                     You can demonstrate opioid-related death (such as overdose or withdrawal) while on Oxycontin.

           Tier 1A:

                     You can demonstrate that addiction, dependence, or substance abuse began while using one of
                     the qualifying opioids.

           Tier 2:
                     You can demonstrate use of a qualifying product for more than 6 months (does not have to be
                     consecutive use).

           Tier 3:
Lowest               You can demonstrate use of a qualifying product for less than 6 months and otherwise do not
                     meet the criteria of any of the above tiers.

   Section 7.B: If you selected Tier 1A or Tier 2 above, please mark the level designation that applies to your
   Non-NAS PI Claim. IF BOTH LEVEL B AND LEVEL A APPLY TO YOU, CHOOSE LEVEL B. Please
   refer to the Non-NAS PI TDP for full definitions and qualifying criteria. (If you checked a Tier 1B or Tier
   3 Claim above, SKIP this section.)

                     Level B:

                     You can demonstrate death caused by an opioid (e.g., death caused by overdose or withdrawal).
 Highest
                     Level A:
  Lowest
                     You can demonstrate (1) a diagnosis of Opioid Use Disorder (OUD), (2) MAT usage of more
                     than 6 months, or (3) administration of Narcan, Evzio, or Naloxone.



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PART EIGHT: MEDICAL PROVIDER INFORMATION (If you selected “Opt Out” or Easy Payment,
SKIP this Part Eight)

Section 8.A: In this section, please identify information for the medical providers (prescribing doctors
and pharmacies) who prescribed opioids to the opioid user that is the subject of your Non-NAS PI Claim:

 Name of                    Address                 City       State Zip        Date Range     Date Range
 Prescriber/Pharmacy                                                            From           To




PART NINE: MEDICAL LIENS (If you selected “Opt Out,” SKIP this Part Nine)

Section 9.A: Did any insurance company pay for medical treatment for the opioid-related injuries that
gave rise to your Non-NAS PI Claim?

 Yes:
 No:

Section 9.B: In the last 20 years, was the opioid user who is the subject of your claim eligible for coverage
by any of the following, or did any of the following actually pay for his/her opioid-related health costs?
Respond by writing “Yes” or “No” next to each insurance provider name, and provide the requested
information as to each. If any insurance carrier who provided coverage to the opioid user is not
identified, please fill in that carrier’s information at the bottom of the chart.

    Type of       Yes/       Street Address          Phone           Policy          Policy      Dates of
   Insurance      No                                Number         Number (if        Holder      Coverage
                                                                      any)
 Medicare
 Medicaid
 Tricare
 VA
 Champus
 Private (Name
 Below):




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PART TEN: SIGNATURE (You must complete this Part Ten regardless of your elections above)

Section 10.A: Please sign this section when you have completed this Claim Form.

Non-NAS PI Claimant’s Name: ______________
Non-NAS PI Claimant’s E-mail: ______________
Non-NAS PI Claimant’s Phone Number: ______________


I am including the evidence requested above in my submission of this form:



I declare under penalty of perjury that the representations made on this Claim Form are true and correct to the
best of my knowledge.




                                                                  Non-NAS PI Claimant’s Signature




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                                                   EXHIBIT B

                 PROCEDURES FOR NON-NAS PI CLAIMANTS WHO OPT
                TO LIQUIDATE THEIR NON-NAS PI CLAIMS IN THE TORT
               SYSTEM RATHER THAN UNDER THE INDIVIDUAL PURDUE
               PHARMA LP NON-NAS TRUST DISTRIBUTION PROCEDURE


The following procedures shall apply in the case of a Non-NAS PI Claimant 1 who elects, subject
to the terms hereof, to liquidate his or her Non-NAS PI Claim by commencing a lawsuit in the tort
system after so timely indicating on his or her Non-NAS PI Claim Form. By so electing, such Non-
NAS PI Claimant forfeits any right to have his or her Non-NAS PI Claim liquidated under sections
6 through 9 (inclusive) of the Non-NAS PI TDP, and instead shall have the right to liquidate his
or her Non-NAS PI Claim exclusively in the tort system. Only claims that meet the definition of
“Non-NAS PI Claim” under the Plan may be litigated in the tort system. The adjudication of a
Non-NAS PI Claim in the tort system shall be deemed to be an adjudication of that Non-NAS PI
Claim and any associated Non-NAS PI Channeled Claims of the Non-NAS PI Claimant regarding
the same injuries that are the subject of his or her Non-NAS PI Claim. Any Distribution from the
PI Trust on a Final Judgment (as defined below) in respect of such Non-NAS PI Claim, if any,
shall be deemed to be a Distribution in satisfaction and conclusive resolution of such PI Claim and
such associated Non-NAS PI Channeled Claims.

§ 1.    SUITS IN THE TORT SYSTEM.

If a Non-NAS PI Claimant timely filed a proof of claim in the Chapter 11 Cases asserting his or
her Non-NAS PI Claim, then he or she may elect to liquidate such Non-NAS PI Claim in the tort
system rather than under the Non-NAS PI TDP by checking the box so indicating on his or her
Non-NAS PI Claim Form, which Non-NAS PI Claim Form must be filed by the date that is ninety
(90) days2 after the applicable Non-NAS PI Claim Form is disseminated to him/her. 3 If the Non-
NAS PI Claimant makes such election, then the Non-NAS PI Claimant may file a lawsuit regarding
only his or her Non-NAS PI Claim (and no other claims) against only the PI Trust (and including
no other parties as defendants) solely in the United States District Court for the Southern District
of New York (the “SDNY District Court”),4 unless such court orders pursuant to 28 USC



1
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Non-NAS PI
    TDP or, if not defined in the Non-NAS PI TDP, the meanings ascribed to such terms in the Plan.
2
    Within sixty (60) days after Effective Date, the Non-NAS PI Claim Form will be made available to Non-NAS PI
    Claimants electronically and, if the Non-NAS PI Claimant is a pro se claimant, also mailed to such Non-NAS PI
    Claimant in physical copy. When disseminated, each Non-NAS PI Claim Form will clearly state the absolute
    deadline (e.g., “January 30, 2022”) by which the Non-NAS PI Claim Form must be returned.
3
    The filing of a Non-NAS PI Claim Form indicating that a Non-NAS PI Claimant has elected to liquidate his or
    her Non-NAS PI Claim in the tort system shall have no effect on any federal or state statute of limitation or repose
    applicable to the claims asserted by such Non-NAS PI Claimant’s action.
4
    The Debtors shall seek an order from the SDNY District Court requiring that lawsuits filed by Holders of PI
    Claims who elect, subject to the terms hereof, to liquidate their PI Claims by commencing separate lawsuits in
    the tort system be filed and tried solely in the SDNY District Court pursuant to 28 U.S.C. § 157(b)(5).
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§ 157(b)(5) that such suit may be filed and tried in the United States District Court for the district
in which the Non-NAS PI Claim arose.

Any such lawsuit must be filed by the Non-NAS PI Claimant in an individual capacity and not as
a member or representative of a class, and no such lawsuit may be consolidated with the lawsuit
of any other plaintiff by, or on the motion of, any plaintiff.5 All defenses (including, with respect
to the PI Trust, all defenses which could have been asserted by the Debtors, except as otherwise
provided in the Plan) shall be available to both sides at trial. 6

Subject to the PI Trust’s receipt of a Non-NAS PI Claim Form so indicating that a Non-NAS PI
Claimant has elected to file a lawsuit as set forth above in the tort system, NewCo and the Plan
Administration Trust will establish and maintain, as necessary, a document reserve (the “PI
Document Reserve”) containing such materials as are necessary to such lawsuit as discovery
material. Any such Non-NAS PI Claimant will be provided access to the PI Document Reserve
subject to agreeing to (i) a protective order acceptable to the PI Trustee, the Plan Administration
Trustee, and NewCo, and (ii) to the extent that the materials deposited into the PI Document
Reserve by the PI Trust include any documents produced by the Shareholder Released Parties that
are not included in the Public Document Repository in accordance with the Plan and the
Shareholder Settlement Agreement (the “Shareholder Released Party Documents”), the Protective
Order, which shall exclusively govern the terms of disclosure of the Shareholder Released Party
Documents. Any such Non-NAS PI Claimant who propounds on the PI Trust, NewCo, the Plan
Administration Trustee, any other Creditor Trust, or any Debtor a request for additional document
or testimonial discovery must in such request (i) represent that such Non-NAS PI Claimant has
conducted a reasonable search of the PI Document Reserve and, if it has been established, the
Public Document Repository, and believes, based on such reasonable search, that the documents,
information, or testimony it seeks is not available in either the PI Document Reserve or the Public
Document Repository, and (ii) state and explain the basis for the Non-NAS PI Claimant’s good
faith belief that the additional discovery he or she seeks is relevant to such lawsuit. The PI Trust
shall not be liable for any costs incurred by parties other than the PI Trust in connection with third-
party discovery propounded by any party other than the PI Trust. 7

If a Non-NAS PI Claimant obtains a judgment on his or her Non-NAS PI Claim in the tort system
and such judgment becomes a final order (each, a “Final Judgment”), such Final Judgment shall
be deemed “Allowed” for purposes under the Plan and shall be payable by the PI Trust, subject to
the limitation on damages provision set forth below, as well as the Non-NAS Payment Percentage

5
    The trustee of the PI Trust (the “PI Trustee”) shall be empowered (i) to bring one or more consolidated actions
    against multiple Holders of PI Claims who elect, subject to the terms hereof, to liquidate their PI Claims by
    commencing separate lawsuits in the tort system and (ii) to seek to consolidate multiple lawsuits commenced by
    individual Holders of PI Claims who elect, subject to the terms hereof, to liquidate their PI Claims by commencing
    separate lawsuits in the tort system.
6
    Among other things, the PI Trust shall be empowered to assert that the claim that is the subject of a Non-NAS PI
    Claimant’s lawsuit is not a “Non-NAS PI Claim” within the meaning of the Plan.
7
    In order to minimize costs incurred by the PI Trust in connection with third-party discovery, the PI Trustee shall
    be empowered to seek to consolidate discovery propounded by Holders of PI Claims or the PI Trust in multiple
    lawsuits commenced by individual Holders of PI Claims who elect, subject to the terms hereof, to liquidate their
    PI Claims by commencing separate lawsuits in the tort system.


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and Non-NAS Maximum Value (each as defined below), as provided in Section 6 below,
deductions as set forth in Section 6 below, and the resolution of healthcare liens, as provided in
Section 7 below.

§ 2.   LIMITATION ON DAMAGES AND ATTORNEYS’ FEES.

Notwithstanding their availability in the tort system, no multiple, exemplary, statutory enhanced
and/or punitive damages (i.e., damages other than compensatory damages), and no interest,
attorneys’ fees or costs (including statutory attorneys’ fees and costs) shall be payable, with respect
to any Non-NAS PI Claim litigated against the PI Trust in the tort system.

§ 3.   NON-NAS MAXIMUM VALUE.

Payment on a Final Judgment for a Non-NAS Claim shall not exceed the dollar-equivalent of
120,000 points (the “Non-NAS Maximum Value”), which is three times the maximum point value
attributed under the liquidation provisions of the Non-NAS PI TDP to eligible claims for the most
severe injuries.Points will be converted to dollars consistent with the conversion set forth in section
8 of the Non-NAS PI TDP. As set forth in more detail in the Non-NAS PI TDP, the dollar amount
ultimately awarded per point will be determined with reference to the funds remaining in the PI
Trust and to the pool of claims remaining against the PI Trust. It will vary depending on how many
people choose to opt out their claims and how expensive it is for the PI Trust to defend those claims
in the tort system. It will also depend on the payment elections made by those who are liquidating
their claims under sections 6 through 9 (inclusive) of the Non-NAS PI TDP. At this time, it is
estimated that the dollar award amount per point will be between $0.80 and $1.20.

§ 4.   NON-NAS PAYMENT PERCENTAGE.

A Final Judgment on a Non-NAS Claim, minus any multiple, exemplary, statutory enhanced
and/or punitive damages (i.e., damages other than compensatory damages), interest, attorneys’ fees
or costs (including statutory attorneys’ fees and costs) that may have been awarded as part of such
Final Judgment, shall be subject to reduction by the same percentage that Non-NAS PI Claims
liquidated under the Non-NAS PI TDP are reduced prior to payment. In other words, a Non-NAS
PI Claimant who elects to liquidate his or her Non-NAS PI Claim in the tort system shall not be
entitled to receive more than his or her pro-rata share of the value available for distribution to all
Non-NAS PI Channeled Claims entitled to a recovery pursuant to the Non-NAS PI TDP. Based
upon the work of the Ad Hoc Group of Individual Victims, statistical sampling and modeling
performed by financial analysts and subject-matter experts for the Ad Hoc Group of Individual
Victims and other holders of PI Claims, review of judgments obtained in lawsuits, settlement
history, and collaborative discussions with stakeholders, the Base Payments and Level Awards
described in the Non-NAS PI TDP represent an estimated pro-rata percentage recovery by PI
Claimants holding Allowed PI Channeled Claims of approximately 2.0% (such pro-rata percentage
recovery as may be altered over time, the “Non-NAS Payment Percentage”). Accordingly, the
initial Payment Percentage is 2.0%.

No holder of a Non-NAS PI Claim who elects to liquidate his or her Non-NAS PI Claim in the tort
system shall receive a payment that exceeds the liquidated value of his or her Non-NAS PI Claim
multiplied by the Non-NAS Payment Percentage in effect at the time of payment (such value so


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reduced, the “Non-NAS Percentage-Reduced Claim”); provided, however, that if there is a
reduction in the Non-NAS Payment Percentage, the PI Trustee, in his or her sole discretion, may
cause the Non-NAS PI Trust to pay a Non-NAS PI Claim based on the Non-NAS Payment
Percentage that was in effect prior to the reduction if the judgment in respect of such Non-NAS PI
Claim became a Final Judgment prior to the date the PI Trustee proposes the new Non-NAS
Payment Percentage to the Oversight Committee and the processing of such Non-NAS PI Claim
was unreasonably delayed due to circumstances beyond the control of the Non-NAS PI Claimant
or the Claimant’s Counsel (as applicable).

§ 5.   ADJUSTMENT OF THE NON-NAS PAYMENT PERCENTAGE.

The Non-NAS Payment Percentage shall be subject to change if the PI Trustee (with the assistance
of the Claims Administrator), with the consent of the PI Trust’s oversight committee (the
“Oversight Committee”), determines that an adjustment is required. No less frequently than once
every three (3) years, commencing with the date that is three (3) years after the Effective Date of
the Plan, the PI Trustee (with the assistance of the Claims Administrator) shall reconsider the then-
applicable Non-NAS Payment Percentage to assure that it is based on accurate, current information
and may, after such reconsideration, change the Non-NAS Payment Percentage if necessary with
the consent of the Oversight Committee. The PI Trustee shall reconsider the then-applicable Non-
NAS Payment Percentage at shorter intervals if he or she deems such reconsideration to be
appropriate or if requested to do so by the Oversight Committee.

The PI Trustee shall base his or her determination of the Non-NAS Payment Percentage on current
estimates of the number, types, and values of Non-NAS PI Channeled Claims, the value of the
assets of the PI Trust Non-NAS Fund available for the payment of Non-NAS Allowed PI
Channeled Claims pursuant to the Non-NAS PI TDP and amounts due and estimated to become
due pursuant to the Non-NAS PI TDP in respect to Final Judgments obtained by Non-NAS PI
Claimants who elect to liquidate their Non-NAS PI Claims in the tort system, all anticipated
administrative and legal expenses, and any other material matters that are reasonably likely to
affect the sufficiency of funds to pay a comparable percentage of (i) full value to all Holders of
Allowed Non-NAS PI Channeled Claims and (ii) the Non-NAS Maximum Value to Non-NAS PI
Claimants who elect to liquidate their Non-NAS PI Claims in the tort system. When making these
determinations, the PI Trustee (with the assistance of the Claims Administrator) shall exercise
common sense and flexibly evaluate all relevant factors.

If a redetermination of the Non-NAS Payment Percentage has been proposed in writing to the
Oversight Committee by the PI Trustee, but such redetermination of the Non-NAS Payment
Percentage has not yet been adopted by the Oversight Committee, a Non-NAS PI Claimant that
has obtained a Final Judgment shall receive the lower of the then-current Non-NAS Payment
Percentage and the proposed Non-NAS Payment Percentage. However, if the proposed Non-NAS
Payment Percentage is the lower amount but is not subsequently adopted by the Oversight
Committee, the Non-NAS PI Claimant shall thereafter receive the difference between the lower
proposed amount and the higher current amount. Conversely, if the proposed Non-NAS Payment
Percentage is the higher amount and subsequent adopted, the Non-NAS PI Claimant who has
obtained a Final Judgment shall thereafter receive the difference between the current amount and
the higher adopted amount.


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At least thirty (30) days prior to proposing in writing to the Oversight Committee a change in the
Non-NAS Payment Percentage, the PI Trustee shall post to the PI Trust’s website a notice
indicating the PI Trustee is reconsidering the Non-NAS Payment Percentage.

If the PI Trustee (with the assistance of the Claims Administrator), with the consent of the
Oversight Committee, makes a determination to increase the Non-NAS Payment Percentage due
to a material change in estimates of the future assets and/or liabilities of the PI Trust Non-NAS
Fund, the Claims Administrator shall make supplemental payments to all Non-NAS PI Claimants
who obtained previously a Final Judgment and received payments based on a lower Non-NAS
Payment Percentage. The amount of any such supplemental payment shall be the liquidated value
of the Non-NAS PI Channeled Claim in question multiplied by the newly-adjusted Non-NAS
Payment Percentage, less all amounts paid previously to the Non-NAS PI Claimant with respect
of such Non-NAS PI Channeled Claim.

The PI Trust’s obligation to make a supplemental payment to a Non-NAS PI Claimant shall be
suspended in the event the payment in question would be less than $100.00, and the amount of the
suspended payment shall be added to the amount of any prior supplemental payment/payments
that was/were also suspended because it/they would have been less than $100.00. However, the PI
Trust’s obligation shall resume, and the PI Trust shall pay any such aggregate supplemental
payments due to the PI Claimant that obtained a Final Judgment at such time that the total exceeds
$100.00.

§ 6.     PAYMENT OF JUDGMENTS FOR MONEY DAMAGES.

A Non-NAS PI Claimant who obtains a Final Judgment shall be entitled to receive from the PI
Trust Non-NAS Fund in full and final satisfaction of that Final Judgment, a gross amount (subject
to deductions set forth next) equal to the lesser of (i) the Non-NAS Percentage-Reduced Claim
and (ii) the Non-NAS Maximum Value, in each case as in effect on the date of the pending
payment, as described next (the “Non-NAS Gross Amount”). A Non-NAS PI Claimant’s Non-
NAS Gross Amount shall be subject to the following deductions and holdbacks: (A) its pro rata
share of the operating expenses of the PI Trust; (B) amounts necessary to settle liens held by private
insurance companies against such amount, if any; (C) amounts prepaid to the United States under
the United States-PI Claimant Medical Expense Claim Settlement to settle liens of the federal
healthcare programs like Medicare, Tricare, VA, or Medicaid against such amount, if any; (D) its
pro rata share of the compensation, costs and fees of professionals that represented or advised the
Ad Hoc Group of Individual Victims and the NAS Committee in connection with the Chapter 11
Cases, subject to Section 5.8(g) of the Plan and the Trust Agreement, and (E) the common benefit
assessment required under Section 5.8(c) of the Plan, and the fees and costs of such Non-NAS PI
Claimant’s individual attorney(s) in the Chapter 11 Cases, if any, reduced by the common benefit
assessment in accordance with Section 5.8(c) of the Plan. 8 The resulting net amount shall be paid
to the Non-NAS PI Claimant in the form of an initial payment not to exceed $3,500.00 and five (5)
additional equal installments in years six (6) through ten (10) following the year of the initial




8
  Your individual attorney, rather than the PI Trust, will be responsible for deducting his/her fees and expenses from
the award.

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payment; subject, however, to the prior satisfaction of healthcare liens as set forth in Section 7
below. In no event shall interest be paid in respect of any judgment obtained in the tort system.

None of the Non-NAS Percentage-Reduced Claim, the Non-NAS Maximum Value, the Non-NAS
Gross Amount, the deductions therefrom, or the payment schedule is subject to any appeal or
reconsideration.

§ 7.    RESOLUTION OF HEALTH CARE LIENS.

The PI Trust shall not issue any payment in respect of a Final Judgment until the Claims
Administrator has received proof to his or her reasonable satisfaction that any private or
governmental health care liens or similar claims against such Final Judgment have been satisfied
or will be satisfied out of the recovery.

§ 8.    APPLICABILITY OF SPECIAL PROCEDURES FOR MINORS AND HEIRS.

The special procedures set forth in Exhibit G to the Non-NAS PI TDP shall apply to all Non-NAS
PI Claimants who are minors under applicable law and elect, subject to the terms hereof, to
liquidate their Non-NAS PI Claims by commencing a lawsuit in the tort system. Anyone seeking
a Distribution from the PI Trust in their capacity as an heir must execute and submit the applicable
Heirship Declaration attached to the Non-NAS PI TDP as Exhibit F. 9




9
    Exhibit F contains two declaration forms. One applies if the Decedent named the Non-NAS PI Claimant as
    executor in his/her will; the other applies if the Decedent had no will.


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                                                  EXHIBIT C

               PROCEDURE FOR DEFICIENCIES AND APPEALS FOR
    THE INDIVIDUAL PURDUE PHARMA LP PI TRUST DISTRIBUTION PROCEDURE
                         FOR NON-NAS PI CLAIMS

These procedures apply only to PI Channeled Claims liquidated under sections 6 through 9
(inclusive) of the PI Trust Distribution Procedure for Non-NAS Claims (the “Non-NAS PI
TDP”), and are not available for NAS PI Claims or for any PI Claims liquated in the tort system.

1.01      Curing Deficiencies. If the Claims Administrator1 determines that a claim submitted
          pursuant to the Non-NAS PI TDP is incomplete, (s)he will notify the PI Claimant and
          afford a 14-day period to cure any such deficiency. Such deficiencies include, but are
          not limited to, failure to sign the Claim Form (Exhibit A to the Non-NAS PI TDP),
          failure to complete the Claim Form, failure to execute a HIPAA authorization (Exhibit D
          to the Non-NAS PI TDP), or submission of a declaration that fails to meet the
          requirements of § 5 of the Non-NAS PI TDP. If the deficiency is timely cured to the
          satisfaction of the Claims Administrator, no deduction or penalty will be assessed to an
          otherwise qualifying Claim. If the deficiency is not timely cured, or not cured at all, the
          Claims Administrator, depending on the nature of the deficiency, has the authority to
          prevent the Non-NAS PI Claimant from receiving all or part of any award (s)he would
          otherwise be entitled to.

1.02      Appeals to the Claims Administrator. If a PI Claimant is dissatisfied with his/her
          award determination pursuant to the Non-NAS PI TDP or a determination by the Claims
          Administrator thereunder to limit or prohibit an award pursuant to the deficiency process
          described in Section 1.01 above, (s)he can appeal to the Claims Administrator within
          fourteen (14) days of receiving notice of such Claims Administrator determination by
          submitting a written document clearly marked as “Appeal to Claims Administrator.” In
          that document, the Non-NAS PI Claimant should identify the determination with which
          the Non-NAS PI Claimant disagrees and state the reasons for the disagreement. The
          Non-NAS PI Claimant may submit any additional documentation (s)he wishes to have
          considered. Only one appeal is permitted per Proof of Claim. The Claims
          Administrator shall conduct a de novo review and promptly issue a ruling in writing to
          the Non-NAS PI Claimant and/or his/her counsel, as applicable. In the event that the
          Claims Office determines that the records submitted in support of the Non-NAS PI
          Claimant’s claim are unreliable, the Notification of Status letter shall advise the
          Non-NAS PI Claimant of such determination and shall identify the particular records or
          statements that are deemed unreliable. The Claims Administrator shall not change the
          Non-NAS PI TDP allowance criteria. The Non-NAS PI Claimant shall have the right to
          appeal any such determination to the Appeals Master as set forth in Section 1.03 herein.

1.03      Appeals to Appeals Master. PI Claimants who disagree with the ruling of the Claims
1
    Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Non-NAS PI TDP.
                                                         1
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      Administrator may appeal to the Appeals Master within fourteen (14) days of notice of
      such ruling by submitting a written statement outlining the Non-NAS PI Claimant’s
      position and why he/she believes the Claims Administrator has erred. An appeal fee of
      $1,000 shall be assessed against the Non-NAS PI Claimant’s recovery from the PI Trust
      regardless of the outcome of the appeal. The Appeals Master shall review only the
      appeal record and claim file in deciding the appeal. The Appeals Master shall apply the
      guidelines and procedures established in the Non-NAS PI TDP, and the appeals process
      shall not result in any modification of substantive eligibility criteria. The Appeals
      Master shall issue a determination on the appeal in writing, which shall be served on the
      Non-NAS PI Claimant (and his/her counsel, where applicable) and the Claims
      Administrator. Decisions of the Appeals Master pursuant hereto are final and binding,
      and Non-NAS PI Claimants have no further appeal rights beyond those set forth herein.




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                                    EXHIBIT D

                       SAMPLE HIPAA FORMS FOR
        THE INDIVIDUAL PURDUE PHARMA LP PI TRUST DISTRIBUTION
                    PROCEDURE FOR NON-NAS CLAIMS
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   SAMPLE FORM – DO NOT COMPLETE. A FINAL VERSION WILL BE
    MADE AVAILABLE TO YOU AFTER THE CHAPTER 11 PLAN HAS
            BEEN CONFIRMED AND GONE EFFECTIVE
         AUTHORIZATION TO DISCLOSE HEALTH INFORMATION
  Claimant Name:                                 Date:

  Date of Birth:                                  SSN:

1. The following individuals or organizations are authorized to disclose my health records to
   the parties specified below in section #4: (Note: Please list the names of your medical
   care providers and your health insurance providers that may have records relevant
   to the resolution of your PI Claim. If you are unsure of the exact legal name of your
   medical providers and health insurance providers, you can leave this blank, and we
   will complete it for you with the understanding that you authorize all relevant




                                              e
   parties):




                                 pl
2. The type and amount of information to be used or disclosed as follows:

  The entire record, including but not limited to: any and all medical records, mental health
  records, psychological records, psychiatric records, problem lists, medication lists, lists of
                    m
  allergies, immunization records, history and physicals, discharge summaries, laboratory
  results, x-ray and imaging reports, medical images of any kind, video tapes, photographs,
  consultation reports, correspondence, itemized invoices and billing information, and
  information pertaining to Medicaid or Medicare eligibility and all payments made by those
Sa

  agencies, for the following dates: (Note: List the date range for which the medical
  providers and insurance companies above may have records relevant to the
  resolution of your PI Claim. If you are unsure of the exact dates, then leave this
  blank, and we will complete this section for you with the understanding that you
  authorize all relevant date ranges).

    Dates of Services: From:                             To:

3. I understand that the information in my health records may include information relating
   to sexually transmitted disease, acquired immunodeficiency syndrome (AIDS), or human
   immunodeficiency virus (HIV). It may also include information about behavioral or
   mental health services, as well as treatment for alcohol and drug abuse.

4. The health information may be disclosed to and used by the following individual and/or
   organization:
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                     MASSIVE: Medical & Subrogation Specialists
                               25657 Southfield Road
                                Southfield, MI 48075
                        (p) 833-466-2774 (f) 877-294-7893

5. I understand I have the right to revoke this authorization at any time. I understand if I
   revoke this authorization, I must do so in writing and present my written revocation to the
   health information management department. I understand the revocation will not apply to
   information that has already been released in response to this authorization. I understand
   the revocation will not apply to my insurance company when the law provides my insurer
   with the right to contest a claim under my policy. Unless otherwise revoked, this
   authorization will expire 10 years after the date that I sign it.

6. I understand that authorizing the disclosure of this health information is voluntary. I can
   refuse to sign this authorization and forego a recovery under the Purdue bankruptcy




                                             e
   personal injury trust distribution procedures. I understand that no organization may
   condition treatment, payment, enrollment, or eligibility for benefits on my signing of this
   authorization. I understand I may inspect or copy the information to be used or disclosed,


                                pl
   as provided in CFR 1634.524. I understand any disclosure of information carries with it
   the potential for an unauthorized re-disclosure and the information may not be protected
   by federal confidentiality rules or HIPAA. If I have questions about disclosure of my
   health information, I can contact the parties listed above in section #4.
                   m
  Patient or Legal Representative                                     Date
Sa

  Relationship to Patient (If signed by Legal Representative)
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   SAMPLE FORM – DO NOT COMPLETE. A FINAL VERSION WILL BE
    MADE AVAILABLE TO YOU AFTER THE CHAPTER 11 PLAN HAS
            BEEN CONFIRMED AND GONE EFFECTIVE
         AUTHORIZATION TO DISCLOSE HEALTH INFORMATION
  Claimant Name:                                 Date:

  Date of Birth:                                 SSN:

1. The following individuals or organizations are authorized to disclose my health records to
   the parties specified below in section #4: (Note: Please list the names of your medical
   care providers and your health insurance providers that may have records relevant
   to the resolution of your PI Claim. If you are unsure of the exact legal name of your
   medical providers and health insurance providers, you can leave this blank, and we
   will complete it for you with the understanding that you authorize all relevant




                                              e
   parties):




                                 pl
2. The type and amount of information to be used or disclosed as follows:

  The entire record, including but not limited to: any and all medical records, mental health
  records, psychological records, psychiatric records, problem lists, medication lists, lists of
                    m
  allergies, immunization records, history and physicals, discharge summaries, laboratory
  results, x-ray and imaging reports, medical images of any kind, video tapes, photographs,
  consultation reports, correspondence, itemized invoices and billing information, and
  information pertaining to Medicaid or Medicare eligibility and all payments made by those
Sa

  agencies, for the following dates: (Note: List the date range for which the medical
  providers and insurance companies above may have records relevant to the
  resolution of your PI Claim. If you are unsure of the exact dates, then leave this
  blank, and we will complete this section for you with the understanding that you
  authorize all relevant date ranges).

    Dates of Services: From:                             To:

3. I understand that the information in my health records may include information relating
   to sexually transmitted disease, acquired immunodeficiency syndrome (AIDS), or human
   immunodeficiency virus (HIV). It may also include information about behavioral or
   mental health services, as well as treatment for alcohol and drug abuse.

4. The health information may be disclosed to and used by the following individual and/or
   organization:
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                 GENTLE, TURNER, SEXTON & HARBISON, LLC
                     501 Riverchase Parkway East, Suite 100
                             Hoover, Alabama 35244
                       (p) 205-716-3000 (f) 205-716-2364

5. I understand I have the right to revoke this authorization at any time. I understand if I
   revoke this authorization, I must do so in writing and present my written revocation to the
   health information management department. I understand the revocation will not apply to
   information that has already been released in response to this authorization. I understand
   the revocation will not apply to my insurance company when the law provides my insurer
   with the right to contest a claim under my policy. Unless otherwise revoked, this
   authorization will expire 10 years after the date that I sign it.

6. I understand that authorizing the disclosure of this health information is voluntary. I can
   refuse to sign this authorization and forego a recovery under the Purdue bankruptcy




                                             e
   personal injury trust distribution procedures. I understand that no organization may
   condition treatment, payment, enrollment, or eligibility for benefits on my signing of this
   authorization. I understand I may inspect or copy the information to be used or disclosed,


                                pl
   as provided in CFR 1634.524. I understand any disclosure of information carries with it
   the potential for an unauthorized re-disclosure and the information may not be protected
   by federal confidentiality rules or HIPAA. If I have questions about disclosure of my
   health information, I can contact the parties listed above in section #4.
                   m
  Patient or Legal Representative                                     Date
Sa

  Relationship to Patient (If signed by Legal Representative)
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                                    EXHIBIT E

                     QUALIFYING OPIOIDS FOR
 THE INDIVIDUAL PURDUE PHARMA LP PI TRUST DISTRIBUTION PROCEDURE
                        FOR NON-NAS PI CLAIMS


      Drug Name                                   NDC Labeler and Drug Prefix
      OxyContin                                   59011-410-
      OxyContin                                   59011-415-
      OxyContin                                   59011-420-
      OxyContin                                   59011-430-
      OxyContin                                   59011-440-
      OxyContin                                   59011-460-
      OxyContin                                   59011-480-
      OxyContin                                   59011-0100-
      OxyContin                                   59011-0103-
      OxyContin                                   59011-0105-
      OxyContin                                   59011-0107-
      OxyContin                                   59011-0109-
      OxyContin                                   43063-0244-
      OxyContin                                   43063-0245-
      OxyContin                                   43063-0246-
      OxyContin                                   43063-0354-
      Butrans                                     59011-750-
      Butrans                                     59011-751-
      Butrans                                     59011-752-
      Butrans                                     59011-757-
      Butrans                                     59011-758-
      Hysingla ER                                 59011-271-
      Hysingla ER                                 59011-272-
      Hysingla ER                                 59011-273-
      Hysingla ER                                 59011-274-
      Hysingla ER                                 59011-275-
      Hysingla ER                                 59011-276-
      Hysingla ER                                 59011-277-
      MS Contin                                   42858-515-
      MS Contin                                   42858-631-
      MS Contin                                   42858-760-
      MS Contin                                   42858-799-
      MS Contin                                   42858-900-
      MS Contin                                   00034-0513-
      MS Contin                                   00034-0514-
      MS Contin                                   00034-0515-
      MS Contin                                   00034-0516-
      MS Contin                                   00034-0517-
      MS Contin                                   16590-884-
      Dilaudid                                    42858-122-
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      Dilaudid                                  42858-234-
      Dilaudid                                  42858-338-
      Dilaudid                                  42858-416-
      Dilaudid                                  76045-009-
      Dilaudid                                  76045-010-
      Dilaudid                                  0074-2414-
      Dilaudid                                  0074-2415-
      Dilaudid                                  0074-2416-
      Dilaudid                                  0074-2426-
      Dilaudid                                  0074-2451-
      Dilaudid                                  0074-2452-
      OxyIR                                     59011-0201-
      OxyFast                                   59011-0225-
      MSIR                                      00034-0518-
      MSIR                                      00034-0519-
      MSIR                                      00034-0521-
      MSIR                                      00034-0522-
      MSIR                                      00034-0523-
      Palladone                                 59011-0312-
      Palladone                                 59011-0313-
      Palladone                                 59011-0314-
      Palladone                                 59011-0315-
      Buprenorphine                             42858-353-
      Buprenorphine                             42858-493-
      Buprenorphine                             42858-501-
      Buprenorphine                             42858-502-
      Buprenorphine                             42858-586-
      Buprenorphine                             42858-750-
      Buprenorphine                             42858-839-
      Hydromorphone Hydrochloride               42858-301-
      Hydromorphone Hydrochloride               42858-302-
      Hydromorphone Hydrochloride               42858-303-
      Hydromorphone Hydrochloride               42858-304-
      Morphine Sulfate                          42858-801-
      Morphine Sulfate                          42858-802-
      Morphine Sulfate                          42858-803-
      Morphine Sulfate                          42858-804-
      Morphine Sulfate                          42858-805-
      Morphine Sulfate                          0904-6557-
      Morphine Sulfate                          0904-6558-
      Morphine Sulfate                          0904-6559-
      Morphine Sulfate                          35356-833-
      Morphine Sulfate                          35356-836-
      Morphine Sulfate                          35356-838-
      Morphine Sulfate                          42858-801-
      Morphine Sulfate                          42858-802-
      Morphine Sulfate                          42858-803-
      Morphine Sulfate                          42858-810-
      Morphine Sulfate                          42858-811-
                                       2
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      Morphine Sulfate                           42858-812-
      Morphine Sulfate                           61919-966-
      Morphine Sulfate                           67296-1561-
      Morphine Sulfate                           68084-157-
      Morphine Sulfate                           68084-158-
      Morphine Sulfate                           63304-400-
      Morphine Sulfate                           63304-401-
      Morphine Sulfate                           16590-966-
      Oxycodone Hydrochloride                    0406-0595-
      Oxycodone Hydrochloride                    0093-0031-
      Oxycodone Hydrochloride                    0093-0032-
      Oxycodone Hydrochloride                    0093-0033-
      Oxycodone Hydrochloride                    0093-5731-
      Oxycodone Hydrochloride                    0093-5732-
      Oxycodone Hydrochloride                    0093-5733-
      Oxycodone Hydrochloride                    0093-5734-
      Oxycodone Hydrochloride                    0115-1556-
      Oxycodone Hydrochloride                    0115-1557-
      Oxycodone Hydrochloride                    0115-1558-
      Oxycodone Hydrochloride                    0115-1559-
      Oxycodone Hydrochloride                    0115-1560-
      Oxycodone Hydrochloride                    0115-1561-
      Oxycodone Hydrochloride                    0115-1562-
      Oxycodone Hydrochloride                    0591-2693-
      Oxycodone Hydrochloride                    0591-2708-
      Oxycodone Hydrochloride                    0591-3503-
      Oxycodone Hydrochloride                    0781-5703-
      Oxycodone Hydrochloride                    0781-5726-
      Oxycodone Hydrochloride                    0781-5767-
      Oxycodone Hydrochloride                    0781-5785-
      Oxycodone Hydrochloride                    10702-801-
      Oxycodone Hydrochloride                    10702-803-
      Oxycodone Hydrochloride                    42858-001-
      Oxycodone Hydrochloride                    42858-002-
      Oxycodone Hydrochloride                    42858-003-
      Oxycodone Hydrochloride                    42858-004-
      Oxycodone Hydrochloride                    42858-005-
      Oxycodone Hydrochloride                    49884-136-
      Oxycodone Hydrochloride                    49884-137-
      Oxycodone Hydrochloride                    49884-138-
      Oxycodone Hydrochloride                    49884-197-
      Oxycodone Hydrochloride                    60505-3537-
      Oxycodone Hydrochloride                    60505-3538-
      Oxycodone Hydrochloride                    60505-3539-
      Oxycodone Hydrochloride                    60505-3540-
      Oxycodone Hydrochloride                    60951-0702-
      Oxycodone Hydrochloride                    60951-0703-
      Oxycodone Hydrochloride                    60951-0705-
      Oxycodone Hydrochloride                    60951-0710-
                                       3
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      Oxycodone Hydrochloride                      67296-1376-
      Oxycodone Hydrochloride                      67296-1560-
      Oxycodone Hydrochloride                      68774-0161-
      Oxycodone Hydrochloride                      68774-0162-
      Oxycodone Hydrochloride                      68774-0163-
      Oxycodone Hydrochloride                      68774-0164-
      Oxycodone Hydrochloride                      00093-0024-
      Oxycodone Hydrochloride                      00093-0031-
      Oxycodone Hydrochloride                      00093-0032-
      Oxycodone Hydrochloride                      00093-0033-
      Oxycodone Hydrochloride                      00115-1644-
      Oxycodone Hydrochloride                      00172-6354-
      Oxycodone Hydrochloride                      00172-6355-
      Oxycodone Hydrochloride                      00172-6356-
      Oxycodone Hydrochloride                      00172-6357-
      Oxycodone Hydrochloride                      00591-3501-
      Oxycodone Hydrochloride                      00591-3502-
      Oxycodone Hydrochloride                      00591-3503-
      Oxycodone Hydrochloride                      00591-3504-
      Oxycodone Hydrochloride                      52152-0408-
      Oxycodone Hydrochloride                      52152-0409-
      Oxycodone Hydrochloride                      52152-0410-
      Oxycodone Hydrochloride                      52152-0411-
      Hydrocodone Bitartrate/Acetaminophen         42858-040-
      Hydrocodone Bitartrate/Acetaminophen         42858-139-
      Hydrocodone Bitartrate/Acetaminophen         42858-201-
      Hydrocodone Bitartrate/Acetaminophen         42858-202-
      Hydrocodone Bitartrate/Acetaminophen         42858-203-
      Hydrocodone Bitartrate/Acetaminophen         42858-238-
      Oxycodone/Acetaminophen                      42858-102-
      Oxycodone/Acetaminophen                      42858-103-
      Oxycodone/Acetaminophen                      42858-104-




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                                    EXHIBIT F

                  SAMPLE HEIRSHIP DECLARATIONS FOR
        THE INDIVIDUAL PURDUE PHARMA LP PI TRUST DISTRIBUTION
                   PROCEDURE FOR NON-NAS PI CLAIMS
PRA

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               HEIRSHIP DECLARATION FOR PURDUE PI TDP
    THIS IS A SAMPLE DECLARATION FORM FOR PURPOSES OF SOLICITATION. DO NOT FILL OUT THIS FORM AT THIS
    TIME. ONCE THE PI PLAN HAS BEEN CONFIRMED AND GONE EFFECTIVE, THE FINAL COPY OF THIS FORM WILL BE
                  MADE AVAILABLE TO YOU FOR COMPLETION AND SUBMISSION TO THE PI TRUST. 1

                                                             SWORN DECLARATION:
        SD-1                            SIGNATORY IS EXECUTOR UNDER DECEDENT’S LAST WILL AND TESTAMENT
    You are required to complete this declaration if you hold a PI Claim2 (and thus are a “PI Claimant”) regarding the
    opioid-related death of another person (the “Decedent”), and you have not been appointed with the authority to act on
    behalf of the Decedent because no probate or estate proceeding has been commenced, but you have been named
    as executor or executrix (or comparable position under applicable state law) under the Last will and Testament of the
    Decedent.


                                            I.       DECEDENT INFORMATION




                                                                           E
                           First Name                                              M.I.       Last Name
    Name



    Social Security Number


    Residence/Legal Domicile
    Address at Time of Death
                                        |
                                        Street


                                        City




                                        II.
                                                 |
                                                     PL|   |-|   |   |-|   |




                                                     PI CLAIMANT INFORMATION
                                                                               |          |    |
                                                                                                    Date of
                                                                                                    Death


                                                                                                    State
                                                                                                                              /      /
                                                                                                                        (Month/Day/Year)




                                                                                                                   Zip Code
                             M
                           First Name                                              M.I.       Last Name
    Your Name
    Your Social Security
    Number                              |        |     |   |-|   |   |-|   |   |          |    |
    Prime Clerk POC Number
    assigned to your PI Claim
    SA

                           Street
    Your Address
                           City                                                                     State          Zip Code




    Your Relationship to Decedent
    Basis of Your Authority to Act for the
    Decedent




1Submission instructions shall be provided along with the final form after the Plan has been confirmed and gone effective.
2Capitalized terms used but not defined herein shall have the meanings ascribed to them in the [ ] Amended Chapter 11 Plan of
Purdue Pharma L.P. and its affiliated debtors (the “Plan”).
                                                                     1
PRA

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           HEIRSHIP DECLARATION FOR PURDUE PI TDP

                                                1. Last Will and Testament of
 List here and attach copies of all
                                                                                  , dated
 document(s) evidencing the basis for your
                                                                          .
 authority
                                                2.




                                                         E
                                    PL
                       M
 SA



                                                     2
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             HEIRSHIP DECLARATION FOR PURDUE PI TDP

                           III. HEIRS AND BENEFICIARIES OF DECEDENT
                           (ATTACH ADDITIONAL SHEETS FOR THE SECTION IF NEEDED)
 Use the space below to identify the name and address of all persons who may have a legal right to share in any
 settlement payment on behalf of the claim of the Decedent. Also state if and how you notified these persons of the
 settlement, or the reason they cannot be notified.
               Name                                                  Information
                                 Address
                                 Relationship to Decedent




                                                                E
 1.                                                  Yes. How Notified:
                                 Notified of
                                 Settlement?
                                                     No. Why Not:




 2.
                                 Address
                                         PL
                                 Relationship to Decedent


                                                     Yes. How Notified:
                                 Notified of
                          M
                                 Settlement?
                                                     No. Why Not:


                                 Address
 SA

                                 Relationship to Decedent


 3.                                                  Yes. How Notified:
                                 Notified of
                                 Settlement?
                                                     No. Why Not:




                                                           3
PRA

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        HEIRSHIP DECLARATION FOR PURDUE PI TDP

          Name                                           Information

                        Address
                        Relationship to Decedent


 4.                                       Yes. How Notified:
                        Notified of
                        Settlement?
                                          No. Why Not:




                                                    E
                        Address
                        Relationship to Decedent


 5.
                                PL
                        Notified of
                        Settlement?
                                          Yes. How Notified:



                                          No. Why Not:
                     M
 SA



                                               4
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             HEIRSHIP DECLARATION FOR PURDUE PI TDP
                                              IV. PI CLAIMANT CERTIFICATION

 This Sworn Declaration is an official document for submission to the PI Trust. By signing this Sworn Declaration, I certify
 and declare under penalty of perjury pursuant to 28 U.S.C. Section 1746 that:

 (a) I am seeking authority to act on behalf of the Decedent and his or her estate, heirs, and beneficiaries in connection
     with the PI TDP, including with respect to the submission of forms and supporting evidence and the receipt of payment
     for any such awards.

 (b) I will abide by all substantive laws of the Decedent’s last state of domicile concerning the compromise and distribution
     of any monetary award to the appropriate heirs or other beneficiaries and any other parties with any right to receive
     any portion of any payments.




                                                                   E
 (c) No one else has been appointed the personal representative, executor, administrator, or other position with the
     authority to act on behalf of the Decedent and his or her estate.

 (d) The copy of the Last Will and Testament provided by me is the Last Will and Testament of the Decedent.



                                           PL
 (e) No application or proceeding has been filed in state or other court to administer the estate of the Decedent or to
     appoint an executor or administrator because state law does not require it.

 (f) I will notify the Claims Administrator immediately if my authority to act is curtailed, surrendered, withdrawn, or
     terminated.
                           M
 SA



                                                              5
PRA

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             HEIRSHIP DECLARATION FOR PURDUE PI TDP

 (g) I am not aware of any objections to my appointment and service as the PI Claimant on behalf of the Decedent
     and his or her estate, heirs, and beneficiaries.

 (h) No person notified under Section III objects to my serving as the PI Claimant and taking such steps as required by
     the PI TDP to resolve all claims related to the Decedent’s prescription and/or use of Purdue opioids. The persons
     named in Section III are all of the persons who may have a legal right to share in any settlement payment issued in
     respect of the injuries of the Decedent.

 (i) I will comply with any and all provisions of the state law regarding the compromise and distribution of the proceeds of
     the settlement of a survival or wrongful death claim to the appropriate heirs or other beneficiaries and any other parties
     with any right to receive any portion of any payments.




                                                                    E
 (j) I will indemnify and hold harmless the PI Trust, the Claims Administrator, the Appeals Master, and the agents and
     representatives of any of the foregoing, from any and all claims, demands, or expenses of any kind arising out
     distributions from the PI trust on account of injuries of the Decedent.

 The information I have provided in this Declaration is true and correct. I understand that the Claims Administrator and


                                            PL
 Court will rely on this Declaration, and false statements or claims made in connection with this Declaration may result in
 fines, imprisonment, and/or any other remedy available by law.
                           M
                                      V.     PI CLAIMANT SIGNATURE

 Signature                                                                                   Date                /         /
 SA

                                                                                                              (Month/Day/Year)




                                                               6
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               HEIRSHIP DECLARATION FOR PURDUE PI TDP
    THIS IS A SAMPLE DECLARATION FORM FOR PURPOSES OF SOLICITATION. DO NOT FILL OUT THIS FORM AT THIS
    TIME. ONCE THE PI PLAN HAS BEEN CONFIRMED AND GONE EFFECTIVE, THE FINAL COPY OF THIS FORM WILL BE
                  MADE AVAILABLE TO YOU FOR COMPLETION AND SUBMISSION TO THE PI TRUST. 1


                                                             SWORN DECLARATION:
       SD-2
                                               DECEDENT DID NOT LEAVE A LAST WILL AND TESTAMENT
    You are required to complete this declaration if you hold a PI Claim2 (and thus are a “PI Claimant”) regarding the
    opioid-related death of another person (the “Decedent”), and you have not been appointed with the authority to act on
    behalf of the Decedent because the Decedent Claimant died without a Will and no probate or estate proceeding has
    been opened.


                                            I.       DECEDENT INFORMATION




                                                                           E
                           First Name                                              M.I.       Last Name
    Name




    Social Security Number


    Residence/Legal Domicile
    Address at Time of Death
                                        |
                                        Street


                                        City




                                        II.
                                                 |
                                                     PL|   |-|   |   |-|   |




                                                     PI CLAIMANT INFORMATION
                                                                               |          |    |
                                                                                                    Date of
                                                                                                    Death


                                                                                                    State
                                                                                                                              /      /
                                                                                                                        (Month/Day/Year)




                                                                                                                   Zip Code
                             M
                           First Name                                              M.I.       Last Name
    Your Name
    Your Social Security
    Number                              |        |     |   |-|   |   |-|   |   |          |    |
    Prime Clerk POC Number
    SA

    assigned to your PI Claim
                           Street
    Your Address
                           City                                                                     State          Zip Code




    Your Relationship to Decedent
    Basis of Your Authority to Act for the
    Decedent




1Submission instructions shall be provided along with the final form after the Plan has been confirmed and gone effective.
2Capitalized terms used but not defined herein shall have the meanings ascribed to them in the [ ] Amended Chapter 11 Plan of
Purdue Pharma L.P. and its affiliated debtors (the “Plan”).
                                                                     1
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          HEIRSHIP DECLARATION FOR PURDUE PI TDP

List here and attach copies of all           1. A copy of the intestate statute of the state or domicile of the
document(s) evidencing the basis for your        Deceased Claimant at the time of his or her death.
authority
                                             2.




                                                       E
                                   PL
                      M
SA



                                                  2
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            HEIRSHIP DECLARATION FOR PURDUE PI TDP

                          III. HEIRS AND BENEFICIARIES OF DECEDENT
                          (ATTACH ADDITIONAL SHEETS FOR THE SECTION IF NEEDED)
Use the space below to identify the name and address of all persons who may have a legal right to share in any
settlement payment on behalf of the claim of the Decedent. Also state if and how you notified these persons of the
settlement, or the reason they cannot be notified.
              Name                                                   Information
                                Address
                                Relationship to Decedent




                                                                E
1.                                                   Yes. How Notified:
                                Notified of
                                Settlement?
                                                     No. Why Not:




2.
                                Address  PL
                                Relationship to Decedent


                                                     Yes. How Notified:
                                Notified of
                         M
                                Settlement?
                                                     No. Why Not:


                                Address
SA

                                Relationship to Decedent


3.                                                   Yes. How Notified:
                                Notified of
                                Settlement?
                                                     No. Why Not:




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            HEIRSHIP DECLARATION FOR PURDUE PI TDP

               Name                                                     Information

                                 Address
                                 Relationship to Decedent


4.                                                    Yes. How Notified:
                                 Notified of
                                 Settlement?
                                                      No. Why Not:




                                                                  E
                                 Address
                                 Relationship to Decedent


5.
                                          PL
                                 Notified of
                                 Settlement?
                                                      Yes. How Notified:



                                                      No. Why Not:
                          M
                                  IV.    PI CLAIMANT CERTIFICATION

This Sworn Declaration is an official document for submission to the PI Trust. By signing this Sworn Declaration, I certify
and declare under penalty of perjury pursuant to 28 U.S.C. Section 1746 that:

(a) I am seeking authority to act on behalf of the Decedent and his or her estate, heirs, and beneficiaries in connection
SA

    with the PI TDP, including with respect to the submission of forms and supporting evidence and the receipt of payment
    for any such awards.

(b) I will abide by all substantive laws of the Decedent’s last state of domicile concerning the compromise and distribution
    of any monetary award to the appropriate heirs or other beneficiaries and any other parties with any right to receive
    any portion of any payments.

(c) No one else has been appointed the personal representative, executor, administrator, or other position with the
    authority to act on behalf of the Decedent and his or her estate.

(d) There is no known last will and testament of the Decedent and no application or proceeding has been filed in state or
    other court to administer the estate of the Decedent or to appoint an executor or administrator;

(e) I will notify the Claims Administrator immediately if my authority to act is curtailed, surrendered, withdrawn, or
    terminated.




                                                             4
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            HEIRSHIP DECLARATION FOR PURDUE PI TDP

(f) I am not aware of any objections to my appointment and service as the PI Claimant on behalf of the Decedent
    and his or her estate, heirs, and beneficiaries.

(g) No person notified under Section III objects to my serving as the PI Claimant and taking such steps as required by
    the PI TDP to resolve all claims related to the Decedent’s prescription and/or use of Purdue opioids. The persons
    named in Section III are all of the persons who may have a legal right to share in any settlement payment issued in
    respect of the injuries of the Decedent.

(h) I will comply with any and all provisions of the state law regarding the compromise and distribution of the proceeds of
    the settlement of a survival or wrongful death claim to the appropriate heirs or other beneficiaries and any other parties
    with any right to receive any portion of any payments.




                                                                   E
(i) I will indemnify and hold harmless the PI Trust, the Claims Administrator, the Appeals Master, and the agents and
    representatives of any of the foregoing, from any and all claims, demands, or expenses of any kind arising out of
    distributions from the PI trust on account of injuries of the Decedent.

The information I have provided in this Declaration is true and correct. I understand that the Claims Administrator and


                                           PL
Court will rely on this Declaration, and false statements or claims made in connection with this Declaration may result in
fines, imprisonment, and/or any other remedy available by law.
                          M
                                     V.     PI CLAIMANT SIGNATURE

Signature                                                                                   Date                /         /
SA

                                                                                                             (Month/Day/Year)




                                                              5
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                                                  EXHIBIT G

    DISTRIBUTIONS TO OR FOR THE BENEFIT OF MINOR CLAIMANTS FOR
 THE INDIVIDUAL PURDUE PHARMA LP PI TRUST DISTRIBUTION PROCEDURE1

         The following procedures apply to any PI Claimant who is a minor under applicable law

         (a “Minor Claimant”) for so long as the PI Claimant remains a minor under applicable law.

         These procedures apply regardless of whether the Minor Claimant holds a NAS PI Claim

         or a Non-NAS PI Claim, and regardless of whether the Minor Claimant’s Proxy (as defined

         below) elects to have that PI Claim liquidated under the PI TDP2 or to pursue it in the tort

         system.

    1. Actions by Proxy of Minor Claimant. A Minor Claimant’s custodial parent, his/her legal

         guardian under applicable law (a “Guardian”), or an adult providing custody and care to

         the minor (any of the foregoing acting on behalf of the Minor Claimant, the “Proxy”) is

         authorized to make submissions on behalf of the Minor Claimant under the PI TDP, subject

         to paragraph 2 below. The Proxy shall be responsible for submitting, on behalf of such

         Minor Claimant, all required forms under the PI TDP, including the Claim Form, as well

         as any evidence required by the PI Trust to support the Claim Form, and any other

         documentation required or requested pursuant to the PI TDP. The Proxy is authorized to

         take, on behalf of a Minor Claimant, all actions under the PI TDP that the Minor Claimant

         would be authorized to take if such Minor Claimant were an adult, other than receiving

         distributions from the PI Trust (unless so authorized by paragraph 5 below). These actions

         include, where permitted, making an opt-out or, if the Minor Claimant is a Non-NAS PI




1
  Capitalized terms used but not defined herein shall have the meanings ascribed to them in the PI Trust Distribution
Procedure (“PI TDP”).
2
  “PI TDP” refers to either the NAS PI TDP or the Non-NAS PI TDP, as applicable for any particular PI Claimant.
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      Claimant, making a payment election or requesting an appeal pursuant to Exhibit C to the

      Non-NAS PI TDP.

   2. Establishing Proxy of a Minor Claimant. Any purported Proxy making a submission to

      the PI Trust on behalf of a Minor Claimant shall include along with such submission

      documentation of his/her authority to act on behalf of the Minor Claimant, consisting of

      the following:

         a. If the purported Proxy is the Guardian of the Minor Claimant, then the court order

               appointing that Proxy as Guardian, or other documents reasonably acceptable to the

               Claims Administrator as sufficient under applicable law to evidence the

               guardianship.

         b. If the purported Proxy is the custodial parent of the Minor Claimant, then a sworn

               statement that such Proxy is the custodial parent of the Minor Claimant.

         c. If the purported Proxy is neither the Guardian nor custodial parent of the Minor

               Claimant, then a sworn statement by the purported Proxy that he/she is providing

               custody and care to the Minor Claimant, stating for how long he/she has been

               providing such care and custody, explaining his/her relationship to the Minor

               Claimant and the circumstances around the provision of care and custody, as well

               as a statement and/or records from one or more of the following in support of his/her

               sworn statement:

                          1. Minor Claimant’s school

                          2. Purported Proxy’s landlord or property manager

                          3. Minor Claimant’s health provider

                          4. Minor Claimant’s child care provider




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                         5. Purported Proxy’s placement agency

                         6. Governmental social services agency

                         7. Indian tribe officials

                         8. Purported Proxy’s Employer

      Whether the purported Proxy is a Guardian, custodial parent, or neither, the Claims

      Administrator may require additional corroborating evidence at his discretion, including

      in the event that instructions are received from more than one purported Proxy for the

      same Minor Claimant.

   3. Distributions to Minor Claimants.         When the PI Trust has determined the final

      distributable amount on a Minor Claimant’s claim, it will send notice of such final amount

      to the Minor Claimant’s Proxy and counsel (if known). Such notice will include a letter

      inviting the Proxy to discuss how the distributable amount was determined, and the Claims

      Administrator will take reasonable steps to ensure that the Proxy understands how such

      amount was determined. Any distributions owing to a Minor Claimant that are ready for

      issue by the PI Trust at a time when the Minor Claimant is still a minor under applicable

      law shall be (i) used to pay the individual attorneys’ fees of the Minor Claimant pursuant

      to paragraph (4) below and (ii) with respect to the remainder, paid into an interest-bearing

      sub-fund of the Trust (the “Minor Claimants Account”), held there for the sole benefit of

      the Minor Claimant, and invested in a U.S. governmental money-market fund until such

      funds are distributed pursuant to Section 5 below or until the Minor Claimant becomes an

      adult under applicable law (the “Adult Distribution Date”), at which time the amount then

      held in such account (including interest earned) shall be paid directly to such PI Claimant.

      Pending distributions for all Minor Claimants may be held in the same sub-fund.




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   4. Payments of attorneys’ fees.

      Within a reasonable period following receipt of Notice of the final distributable amount on

      Minor Claimant’s PI Channeled Claim, and using forms to be provided by the Claims

      Administrator, the Minor Claimant’s counsel shall submit to the PI Trust, with a copy to

      the Proxy, a request for payment of legal fees and expenses from the Minor’s recovery. It

      is the Minor Claimant’s attorney’s duty to comply with all ethical and legal rules respecting

      such legal fees and expenses, and the Claims Administrator is permitted to rely upon such

      representation in issuing payments in respect of such fees and expenses. Absent objection

      from the Proxy with respect to such asserted fees and expenses, the Claims Administrator

      shall remit payment to the Minor Claimant’s attorney in accordance with the latter’s

      request.

   5. Early Distributions. Funds held in the Minor Claimants Account for a Minor Claimant

      may be released prior to the Adult Distribution Date only pursuant to (a) an order of a U.S.

      court of general jurisdiction in the Minor Claimant’s state of residence, or (b) an order

      entered by the United States Bankruptcy Court for the Southern District of New York.




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                                      Exhibit I-1

                  Redline of Non-NAS PI Trust Distribution Procedures
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                      INDIVIDUAL PURDUE PHARMA L.P.
    PI TRUST DISTRIBUTION PROCEDURE FOR NON-NAS PI CHANNELED CLAIMS

§ 1.       APPLICABILITY AND SUBMISSION INSTRUCTIONS.


This trust distribution procedure for Non-NAS PI Channeled Claims (as defined below) (the
“Non-NAS PI TDP”) sets forth the manner in which Non-NAS PI Channeled Claims may
become eligible for payments from, and shall be fully discharged by, the PI Trust. 1 Distributions
in respect of Non-NAS PI Channeled Claims shall be exclusively in the form of Distributions
from the PI Trust Non-NAS Fund to Holders of Non-NAS PI Channeled Claims on the terms set
forth herein.


Pursuant to the Plan and the Master TDP, the following claims (the “Non-NAS PI Channeled
Claims”) will be channeled to, and liability therefore shall be assumed by, the PI Trust as of the
Effective Date of the Plan: (i) all Non-NAS PI Claims, which are claims against any Debtor for
alleged opioid-related personal injury or other similar opioid-related claims or Causes of Action
against any Debtor, and that arose prior to the Petition Date, and that are not (A) NAS PI Claims,
Third-Party Payor Claims, NAS Monitoring Claims, or Hospital Claims, or Claims(B) held by a
Domestic Governmental Entity, and (ii) all Released Claims or Shareholder Released Claims
that are claims for alleged opioid-related personal injury or that are similar opioid-related claims
or Causes of Action, and that arose prior to the Petition Date, and that are not (A) NAS PI
Channeled Claims, Third-Party Payor Channeled Claims, NAS Monitoring Channeled Claims, or
Hospital Channeled Claims, or (B) held by a Domestic Governmental Entity. Non-NAS PI
Channeled Claims shall be administered, liquidated and discharged pursuant to this Non-NAS PI
TDP, and satisfied solely from the PI Trust Non-NAS Fund. Holders of Non-NAS PI Channeled
Claims are referred to herein as “Non-NAS PI Claimants.”2

Non-NAS PI Channeled Claims liquidated under this Non-NAS PI TDP shall be (i) Allowed or
Disallowed (such Non-NAS PI Channeled Claims so Allowed, “Allowed Non-NAS PI
Channeled Claims”) and, for Allowed Non-NAS PI Channeled Claims, (ii) liquidated to
determine the gross amounts receivable thereon (an “Award”), in each case pursuant to the terms
of this Non-NAS PI TDP.


An awardAward for a Non-NAS PI Channeled Claim liquidated hereunder will be a gross
number before deduction of the following “PI Trust and individual attorney legal fees and
expenses, as well as lien Deductions and Holdbacks”: (A) a pro rata share of the operating

1
       Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the FourthFifth
       Amended Joint Chapter 11 Plan of Reorganization of Purdue Pharma L.P. and its Affiliated Debtors [ECF
       No. 29352967] (the “Plan”) (the “Chapter 11 Cases”) in the United States Bankruptcy Court for the Southern
       District of New York (the “Bankruptcy Court”).
2
       “Non-NAS PI Claimant” includes each person holding a Non-NAS PI Channeled Claim arising from his/her
       own opioid use, and each person holding a Non-NAS PI Channeled Claim arising from the opioid use of a
       decedent (such deceased person, a “Decedent”).
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expenses of the PI Trust; (B) amounts held back under the Lien Resolution Program Agreement
(the “LRP Agreement”), if any, and to settle liens held by private insurance companies against
that Award, if any; (C) amounts prepaid to the United States under the Plan to settle claims or
liens, if any, of certain federal government health insurance programs against you or your
Distribution on account of your Non-NAS PI Channeled Claims. United States-PI Claimant
Medical Expense Claim Settlement to settle liens of the federal healthcare programs like
Medicare, Tricare, VA, or Medicaid against that Award, if any; (D) a pro rata share of
the compensation, costs and fees of professionals that represented or advised the Ad Hoc Group
of Individual Victims and the NAS Committee in connection with the Chapter 11 Cases, subject
to Section 5.8(g) of the Plan; and (E) the common benefit assessment required under Section
5.8(c) of the Plan, and the fees and costs of the Non-NAS PI Claimant’s individual attorney(s) in
the Chapter 11 Cases, if any, reduced by the common benefit assessment in accordance with
Section 5.8(c) of the Plan.3 In addition to the deductions and holdbacks described above, your
award may be subject to claims by certain state or tribal healthcare programs that are not part of
the LRP Agreement.

The order of payments to be made hereunder by the PI Trust is set forth in § 6. No amounts shall
be paid on account of a Non-NAS PI Channeled Claim unless such Claim has been Allowed.


This Non-NAS PI TDP sets forth what evidence and forms you must submit in order to be
eligible to receive an Award. Forms may be completed online at the PI Trust’s website,
www._______.com, or by mailing back the completed forms to the PI Trust at the below address.
Evidence in support of your Non-NAS PI Claim should be submitted to [___]. 34




3
     If you have an individual attorney, then your attorney, rather than the PI Trust, will be responsible for deducting
     his/her fees and expenses from your Award.
34
     Submission instructions to be added after solicitation.


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               ELECTION TO LIQUIDATE NON-NAS PI CLAIM IN THE
             TORT SYSTEM RATHER THAN UNDER THIS NON-NAS PI TDP

A Non-NAS PI Claimant who (i) timely filed a Proof of Claim in the Chapter 11 Cases
prior to the General Bar Date asserting his/her Non-NAS PI Claim against one or more
Debtors and (ii) elects expressly, by timely submission of the Non-NAS PI Claim Form
attached hereto as Exhibit A, to liquidate his/her Non-NAS PI Claim in the tort system
rather than pursuant to the streamlined procedures set forth in §§ 6-9 of this Non-NAS PI
TDP (each, a “Non-NAS Opt-Out Claimant” and, collectively, the “Non-NAS Opt-Out
Claimants”), may assert and liquidate such Non-NAS PI Claim in the tort system at his/her
own expense, as set forth in more detail in Exhibit B, and shall forfeit all rights to liquidate
such Non-NAS PI Claim (and any associated Non-NAS PI Channeled Claims regarding the
same injuries that are the same subject of his/her Non-NAS PI Claim) under the
streamlined procedures set forth in §§ 6-9 of this Non-NAS PI TDP, as well as the right to
expedited appeal set forth in Exhibit C hereto. The right to litigate in the tort system is
available only with respect to Claims that meet the definition of “PI Claim” set forth in the
Plan.

OPTING OUT REQUIRES YOU TO TAKE THE AFFIRMATIVE ACTION OF
CHECKING THE “OPT OUT” BOX ON THE NON-NAS PI CLAIM FORM AND
TIMELY SUBMITTING YOUR NON-NAS PI CLAIM FORM TO THE PI TRUST.
FAILURE TO TIMELY SUBMIT THE NON-NAS PI CLAIM FORM SHALL
CONSTITUTE CONSENT TO HAVE YOUR NON-NAS PI CHANNELED CLAIMS
LIQUIDATED PURSUANT TO THE PROVISIONS OF THIS NON-NAS PI TDP.

§ 2.   ALLOCATION OF FUNDS; CLAIMS ADMINISTRATOR.

       (a)     Allocations of Funds to the PI Trust and Further Allocation to the PI Trust NAS
               Fund and the PI Trust Non-NAS Fund.

Under the Plan, the PI Trust will receive a gross amount of between $700 million and $750
million (minus amounts distributed directly to the United States under the United States-PI
Claimant Medical Expense Claim Settlement), in the form of an initial minimum installment of
$300 million on the Effective Date of the Plan and subsequent installments, in each case subject
to the United States-PI Claimant Medical Expense Claim Settlement. The PI Trust shall establish
the following: (i) a reserve for Creditor Trust Operating Expenses of the PI Trust; (ii) a fund to
pay NAS PI Channeled Claims (the “PI Trust NAS Fund”); and (iii) a fund to pay Non-NAS PI
Channeled Claims (the “PI Trust Non-NAS Fund”).

, and The PI Trust shall allocate each distribution it receives under the Plan as follows: (i) an
amount determined in the discretion of the PI Trustee to be a necessary to fund the Creditor Trust
Operating Expenses of the PI Trust; (ii) 6.43% of the remainder to the PI Trust NAS Fund, up to
an aggregate maximum of $45 million, and (iiiii) the remainder to the PI Trust Non-NAS Fund;
provided, however, that no more than $45 million in the aggregate shall be deposited to the PI
Trust NAS Fund, in each case subject to applicable PI Trust Deductions and Holdbacks.



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         (b)      Claims Administrator.


                  (i)      The PI Trust shall be established in accordance with § 5.7 of the Plan to
                           (1) assume all liability for the PI Channeled Claims, (2) hold the MDT PI
                           Claim and collect the Initial PI Trust Distribution and payments due under
                           the MDT PI Claim in accordance with the Private Entity Settlements and
                           the PI Trust Documents, (3) administer, process, resolve and liquidate PI
                           Channeled Claims, (4) make Distributions on account of Allowed PI
                           Channeled Claims in accordance with the PI Trust Documents (including
                           this Non-NAS PI TDP), (5) fund the TPP LRP Escrow Account and make
                           payments therefrom to LRP Participating TPPs, in each case, in
                           accordance with and subject to the terms of the LRP Agreement and (6)
                           carry out such other matters as are set forth in the PI Trust Documents. 45
                           The trustee of the PI Trust (the “Trustee”), Edgar Gentle III, of Gentle,
                           Turner, Sexton & Harbison, LLC, will serve as claims administrator (the
                           “Claims Administrator”) to carry out the duties of the Trustee as set forth
                           in the Plan and PI Trust Documents.56


                  (ii)     The Trustee and the Claims Administrator67 shall determine, pursuant to
                           the requirements set forth herein, the Allowance or Disallowance and
                           valuation of all Non-NAS PI Channeled Claims liquidated under §§ 6-9 of
                           this PI TDP, regardless of the type of Award sought. Distributions
                           hereunder are determined only with consideration to a Non-NAS PI Claim
                           held against the Debtors, and not to any associated Non-NAS PI
                           Channeled Claim against a non-Debtor party. However, any Distribution

45
     The PI Trust Agreement shall provide that the Trustee shall have the power to appoint such officers and hire
     such employees and engage such legal, financial, accounting, investment, auditing, forecasting, and other
     consultants, advisors, and agents as the business of the PI Trust requires, and delegate to such persons such
     powers and authorities as the fiduciary duties of the Trustee permit and as the Trustee, in his discretion, deems
     advisable or necessary in order to carry out the terms of thisthe PI Trust Agreement, the PI TDP, and the LRP
     Agreement, and pay reasonable compensation to those employees, legal, financial, accounting, investment,
     auditing, forecasting, and other consultants, advisors, and agents.
56
     The PI Trust Agreement shall provide that the Trustee shall receive a retainer from the PI Trust for his service
     as a Trustee in the amount of $150,000 per annum, paid annually. Hourly time shall first be billed and applied to
     the annual retainer. Hourly time in excess of the annual retainer shall be paid by the PI Trust. For all time
     expended as Trustee, including attending meetings, preparing for such meetings, and working on authorized
     special projects, the Trustee shall receive the sum of $400 per hour. For all non-working travel time in
     connection with PI Trust business, the Trustee shall receive the sum of $200 per hour. The Trustee shall record
     all hourly time to be charged to the PI Trust. The hourly compensation payable to the Trustee hereunder shall be
     reviewed every year by the Trustee and, after consultation with the members of the PI Trust’s oversight
     committee, appropriately adjusted by the Trustee for changes in the cost of living. The Trustee shall not be
     required to post any bond or other form of surety or security unless otherwise ordered by the Bankruptcy Court.
67
     As the same individual is serving as both Trustee and Claims Administrator, reference to actions by each
     reference Mr. Gentle acting in such respective capacity.


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                             to a Non-NAS PI Claimant on account of his/her Non-NAS PI Claim is
                             deemed to be a distribution in satisfaction of all Non-NAS PI Channeled
                             Claims held by such Non-NAS PI Claimant with respect to the injuries
                             that are the subject of his/her Non-NAS PI Claim. The Claims
                             Administrator may investigate any such claim, and may request
                             information from any Non-NAS PI Claimant to ensure compliance with
                             the terms outlined in this document. For Non-NAS PI Claimants who
                             execute the required HIPAA forms attached hereto as Exhibit D, the
                             Claims Administrator also has the power to directly obtain such Non-NAS
                             PI Claimant’s medical records.

§ 3.       INITIAL NON-NAS PI CHANNELED CLAIM ALLOWANCE.

For a Non-NAS PI Channeled Claim that is being liquidated pursuant to the streamlined
procedures set forth in §§ 6-9 of this Non-NAS PI TDP to be Allowed, the applicable Non-NAS
PI Claimant must, with respect to that Non-NAS PI Channeled Claim:

           (a)      Hold such Non-NAS PI Channeled Claim against one or more Debtors;

           (b)      Demonstrate usage of a qualifying prescribed opioid listed in Exhibit E hereto (a
                    “Qualifying Opioid”),

                    (i)      Non-NAS PI Claimants who used only (or, as applicable, where the
                             Decedent used only) a non-prescribed (diverted) version of a Qualifying
                             Opioid (OxyContin, MS Contin, Dilaudid, Hysingla ER, Butrans, DHC
                             Plus, MSIR, OxyFast, OxyIR, Palladone, or Ryzolt) are not eligible for an
                             Easy Payment, Base Payment or Level Award (each as defined below)
                             unless that Non-NAS PI Claimant or Decedent (as applicable) was a minor
                             when s/he initiated usage of a non-prescribed, branded version of a
                             Qualifying Opioid;


           (c)      Have already timely78 filed an individual personal injury Proof of Claim against
                    one or more Debtors in the Chapter 11 Cases asserting his/her Non-NAS PI Claim
                    against one or more Debtors;




78
       If the Proof of Claim was filed after the Bar Date but before April 23, 2021, the Claims Administrator shall
       consider the Non-NAS PI Channeled Claim without penalty. If the Proof of Claim was filed on April 23, 2021
       or after, the Non-NAS PI Channeled Claim asserted by such Proof of Claim shall be Disallowed unless (i) the
       Claims Administrator determines, which determination shall be on a case-by-case basis, that good cause exists
       to treat the late-filed Non-NAS PI Channeled Claim as if it were timely filed, or (ii) the Bankruptcy Court so
       orders otherwise.


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           (d)      Complete, sign and submit the Non-NAS PI Claim Form attached hereto as
                    Exhibit A, checking at least one injury box89 by the date that is 90 days910 after the
                    Non-NAS PI Claim Form is disseminated1011 to Non-NAS PI Claimants;1112

           (e)      Complete, sign and submit the two HIPAA consent forms attached hereto as
                    Exhibit D; and


           (f)      If the Non-NAS PI Channeled Claim concerns the injuries of a Decedent, then
                    also execute and submit the appropriate Heirship Declaration attached hereto as
                    Exhibit F.1213

Any Non-NAS PI Claimant who satisfies all of the above requirements (a)-(f) with respect to a
given Non-NAS PI Channeled Claim shall have that Non-NAS PI Channeled Claim Allowed.

If a Non-NAS PI Claimant does not satisfy these requirements with respect to a Non-NAS
PI Channeled Claim that is being liquidated under §§ 6-9 of this Non-NAS PI TDP,
INCLUDING THE REQUIREMENT TO TIMELY SUBMIT HIS/HER NON-NAS PI
CLAIM FORM AND ANY NECESSARY ACCOMPANYING EVIDENCE, then such
Non-NAS PI Channeled Claim shall be Disallowed.

Regardless of whether you elect to “opt out” or to have your claim liquidated under this
Non-NAS PI TDP, you must complete the Non-NAS PI Claim Form as instructed by the
deadline, which is 90 days14 after the Non-NAS PI Claim Form is disseminated. Failure to
timely submit the Non-NAS PI Claim Form (and any required supporting evidence) will
result in your claim being disallowed. In other words, if you do nothing, you will not
receive any compensation from the PI Trust.



89
       In the event a Non-NAS PI Claimant does not check any injury box from use of opioids on his/her Non-NAS PI
       Claim Form, his/her Non-NAS PI Channeled Claim shall be Disallowed. The Non-NAS PI Claim Form shall
       include clear language notifying a Non-NAS PI Claimant that if he or she fails to check any injury box from use
       of opioids, s/he will receive no recovery on his/her Non-NAS PI Channeled Claim.
910
       Subject to extension in the discretion of the Claims Administrator.
1011
       Within 60 days after Effective Date, the Non-NAS PI Claim Form will be made available to Non-NAS PI
       Claimants electronically and, if a Non-NAS PI Claimant is a pro se claimant, also mailed to such Non-NAS PI
       Claimant in physical copy. When disseminated, the Non-NAS PI Claim Form will clearly state the absolute
       deadline (e.g., “January 30, 2022”) by which the Non-NAS PI Claim Form must be returned.
1112
       If the Non-NAS PI Claimant checks the box on the Non-NAS PI Claim Form indicating his/her election to
       liquidate his/her Non-NAS PI Claim in the tort system rather than under §§ 6-9 of this PI TDP, then such Non-
       NAS PI Claim will not be liquidated hereunder.
1213
       Exhibit F contains two declaration forms. One applies if the Decedent named the Non-NAS PI Claimant as
       executor in his/her will; the other applies if the Decedent had no will.
14
       Subject to extensions which the PI Trust claims administrator may give in his discretion.


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§ 4.       DETERMINING WHETHER A PRODUCT IS QUALIFYING.

One of the following is required to demonstrate a Qualifying Opioid as listed in Exhibit E:

           (a)      A Non-NAS PI Claimant who provides evidence of a prescription for brand name
                    OxyContin, MS Contin, Dilaudid, Hysingla ER, Butrans, DHC Plus, MSIR,
                    OxyFast, OxyIR, Palladone, or Ryzolt may rely on the name alone without the
                    necessity of a corresponding NDC number.

           (b)      In order for a Non-NAS PI Claimant to qualify based on the use of one of the
                    generic products listed in Exhibit E (e.g., oxycodone ER/CR, morphine sulfate
                    ER, hydromorphone), s/he must present either:


                    (i)     The corresponding NDC number, which is set forth in Exhibit E; 1315 or

                    (ii)    A notation in the record that the product is manufactured or sold by
                            Rhodes or Purdue.

           (c)      A Non-NAS PI Claimant who used (or, as applicable, where the Decedent used) a
                    generic oxycodone prescription that does not contain evidence of § 4(a) or (b)
                    may only qualify if the prescription utilizes one of the following:

                    (i)     Oxycodone CR (or controlled release); or

                    (ii)    Oxycodone ER (or extended release).

§ 5.       TYPES OF EVIDENCE REQUIRED FOR QUALIFYING PRODUCTS.

All Non-NAS PI Claimants must demonstrate a prescription (which contains the name of the
Non-NAS PI Claimant or Decedent, as applicable) and a Qualifying Opioid by one of the
following pieces of evidence:

           (a)      Pharmacy prescription records;

           (b)      Prescription records, including without limitation:

                    (i)     A visit note in which the prescribing physician lists a prescription for one
                            of the Qualifying Opioids; or

                    (ii)    A signed prescription from a doctor for one of the Qualifying Opioids;




1315
       Subject to additional NDC numbers after discovery from or other disclosure by Debtors.


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           (c)      A historical reference to one of the Qualifying Opioids, including but not limited
                    to:1416

                    (i)       A reference in contemporaneous medical records to historical use of one
                              of the Qualifying Opioids;

                    (ii)      A reference in contemporaneous substance abuse/rehabilitation/mental
                              health records to historical use of one of the Qualifying Opioids;

                    (iii)     A reference in contemporaneous law enforcement records to historical use
                              of one of the Qualifying Opioids; or

                    (iv)      A reference in contemporaneous family law or other legal proceedings
                              records to historical use of one of the Qualifying Opioids;

           (d)      A photograph of the prescription bottle or packaging of one of the Qualifying
                    Opioids with the name of the Non-NAS PI Claimant or Decedent (as applicable)
                    as the patient listed the prescription label; or

           (e)      A certification supplied by a Debtor, any of its successors (including the PI Trust),
                    or a third party at a Debtor’s or one of its successors’ request, indicating that
                    customer loyalty programs, patient assistance programs (“PAPs”), copay
                    assistance programs, or any other data otherwise available to the certifying entity
                    reflects that the Non-NAS PI Claimant or Decedent (as applicable) had at least
                    one prescription for one of the Qualifying Opioids.


           (f)      With respect to Non-NAS PI Claimants whose Non-NAS PI Channeled Claim is
                    based on the Non-NAS PI Claimant’s or Decedent’s use of only diverted (i.e.,
                    without a lawful prescription) qualifying branded products as a minor pursuant to
                    § 3(b)(i) above and who cannot meet the evidentiary requirements of § 5(a)-(e)
                    above1517 may qualify if the Non-NAS PI Claimant can demonstrate both of the
                    following:1618

                    (i)       A declaration under penalty of perjury (a) from the Non-NAS PI Claimant,
                              or (b) in the case of a claim arising from a Decedent’s opioid use, from
                              any third party with knowledge of the Decedent’s opioid use, that the Non-


1416
       The record must have been created prior to September 15, 2019 only if the historical reference is self-reported
       by the Non-NAS PI Claimant.
1517
       Since by definition diversion cases do not have a prescription, a Non-NAS PI Claimant could otherwise meet
       the evidentiary requirements above only with a historical reference to the diverted use of a qualifying product as
       a minor. In the absence of that historical reference in the medical records, this affidavit requirement can be used
       under the conditions set forth in this subsection.
1618
       Sample affidavits will be made available on the PI Trust website.


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                      NAS PI Claimant or Decedent is known to have used diverted OxyContin,
                      MS Contin, Dilaudid, Hysingla ER, Butrans, DHC Plus, MSIR, OxyFast,
                      OxyIR, Palladone, or Ryzolt as a minor. The declaration must also state
                      how long the diverted OxyContin, MS Contin, Dilaudid, Hysingla ER,
                      Butrans, DHC Plus, MSIR, OxyFast, OxyIR, Palladone, or Ryzolt was
                      used for purposes of determining whether the Non-NAS PI Channeled
                      Claim would qualify for Tier 2 or Tier 3; and

               (ii)   An additional declaration from a third party with personal knowledge of
                      the Non-NAS PI Claimant’s or Decedent’s use of opioids products stating
                      under penalty of perjury that the declarant has personal knowledge that the
                      Non-NAS PI Claimant or Decedent is known to have used diverted
                      OxyContin, MS Contin, Dilaudid, Hysingla ER, Butrans, DHC Plus,
                      MSIR, OxyFast, OxyIR, Palladone, or Ryzolt as a minor. The declaration
                      must claim how long the diverted OxyContin, MS Contin, Dilaudid,
                      Hysingla ER, Butrans, DHC Plus, MSIR, OxyFast, OxyIR, Palladone, or
                      Ryzolt was used for purposes of determining whether the Non-NAS PI
                      Channeled Claim would qualify for Tier 2 or Tier 3.

      (g)      In the event a Non-NAS PI Claimant holds a claim arising from a lawful
               prescription of a qualifying product and cannot meet the evidentiary requirements
               of § 5(a)-(e) above, s/he may only qualify if s/he demonstrates all of the
               following:

               (i)    That the Non-NAS PI Claimant or his/her agents made a bona fide attempt
                      to retrieve all known prescribing physician medical charts, all known
                      pharmacy charts, all known rehabilitation charts, and all known insurance
                      explanation of benefits was made. An affidavit of no records (ANR),
                      certificate of no records (CNR), affidavit of destroyed records (ADR), or
                      certificate of destroyed records (CNR) must be provided as to all known
                      records listed above (and in the Non-NAS PI Claim Form). Alternatively,
                      if some medical records were produced in response to the Non-NAS PI
                      Claimant’s request but others were not, then evidence must be provided
                      that the Non-NAS PI Claimant requested all records but that only limited
                      records were produced by the facilities (with an explanation of how the
                      portion of records not provided by the custodian likely contains the
                      qualifying product and the basis for that assessment of probability); and

               (ii)   A declaration under penalty of perjury from the Non-NAS PI Claimant or,
                      in the case of a claim arising from the opioid use of a Decedent, from a
                      third party with knowledge of the Decedent’s opioid use, that the Non-
                      NAS PI Claimant or Decedent is known to have been prescribed and used
                      OxyContin, MS Contin, Dilaudid, Hysingla ER, Butrans, DHC Plus,
                      MSIR, OxyFast, OxyIR, Palladone, or Ryzolt. The declaration must also
                      state how long the prescribed OxyContin, MS Contin, Dilaudid, Hysingla
                      ER, Butrans, DHC Plus, MSIR, OxyFast, OxyIR, Palladone, or Ryzolt was



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                       used for purposes of determining whether the Non-NAS PI Channeled
                       Claim would qualify for Tier 2 or Tier 3; and

               (iii)   A supporting declaration from a third party with personal knowledge of
                       the Non-NAS PI Claimant’s or Decedent’s use of opioids products stating
                       under penalty of perjury that the declarant has personal knowledge that the
                       Non-NAS PI Claimant or Decedent is known to have used OxyContin,
                       MS Contin, Dilaudid, Hysingla ER, Butrans, DHC Plus, MSIR, OxyFast,
                       OxyIR, Palladone, or Ryzolt. The declaration must also state how long the
                       prescribed OxyContin, MS Contin, Dilaudid, Hysingla ER, Butrans, DHC
                       Plus, MSIR, OxyFast, OxyIR, Palladone, or Ryzolt was used for purposes
                       of determining whether the Non-NAS PI Channeled Claim would qualify
                       for Tier 2 or Tier 3.

       (h)     The Claims Administrator shall have discretion, subject to the appeal process set
               forth in Exhibit C hereto, to determine whether the requirements in § 5(f)-(g)
               above have been met so as to provide sufficient indicia of reliability that the Non-
               NAS PI Claimant or Decedent was prescribed (or as a minor received diverted)
               and used OxyContin, MS Contin, Dilaudid, Hysingla ER, Butrans, DHC Plus,
               MSIR, OxyFast, OxyIR, Palladone, or Ryzolt.

       (i)     In no event may a Non-NAS PI Claimant whose evidence of qualifying product
               use is based solely on the declarations under § 5(f)-(g) qualify for Tier 1A or Tier
               1B. Whether the Non-NAS PI Claimant qualifies for Tier 2 or Tier 3 will be based
               on the length of use stated in the declaration.

       (j)     Any Non-NAS PI Claimant who fails to meet the requirements of § 3, § 4 and
               § 5(a)-(g) is not entitled to any payment, including Easy Payment, Base Payment,
               or Level Award (each as defined below).

       (k)     The Claims Administrator has the discretion to request additional documentation
               believed to be in the possession of the Non-NAS PI Claimant or his or her
               authorized agent or lawyer. The Claims Administrator has the sole discretion,
               subject to the appeal process set forth in Exhibit C hereto, to Disallow, or to
               reduce or eliminate Awards on, claims being liquidated hereunder where he
               concludes that there has been a pattern and practice to circumvent full or truthful
               disclosure under this § 5.

§ 6.   ORDER OF PAYMENTS; EASY PAYMENT.

A Non-NAS PI Claimant may choose between receiving an “Easy Payment” or a “Base
Payment” and “Level Award,” as detailed below.

The PI Trust will make payments in the following order:




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           (a)     Easy Payment (as defined below) of $3,500 per qualifying Non-NAS PI
                   Claimant1719 to those Non-NAS PI Claimants who elect to receive an Easy
                   Payment; and

           (b)     Base Payments and Level Awards (each as defined below) to qualified Non-NAS
                   PI Claimants who did not elect to receive an Easy Payment.

Because monies are being received by the PI Trust in installments, payments of Awards other
than Easy Payments may be in installments. Additionally, payments of awards may be further
delayed into installment payments if a competent court so orders. Finally, distributions to minors
are to be held in trust until the minor becomes a legal adult (unless a competent court orders
otherwise). For all of these reasons, it may take years before you receive all of your Award.

A Non-NAS PI Claimant meeting the requirements of § 3 (Allowance) pursuant to the standards
set in § 4 (Determining What is a Qualifying Product) and § 5 (Evidence Required to
Demonstrate a Qualifying Product) may elect on his/her Non-NAS PI Claim Form to receive a
set payment (an “Easy Payment”) in lieu of other compensation. NOTE: if you select an Easy
Payment, you are NOT eligible to receive any additional funds for your Non-NAS PI
Channeled Claim. That means you cannot receive any of the Base Payments or Level Awards
below. If you select an Easy Payment and your Non-NAS PI Channeled Claim is determined to
be an Allowed Non-NAS PI Channeled Claim, you will receive abe entitled to a gross payment
of $3,500, before deduction of any fees, costs or liens as described herein, within a reasonably
short amount of time after receipt of your claims package by the Claims Administrator, or as
soon as all applicable liens have been cleared. It is expected those declining Easy Payment and
seeking additional Awards may be paid at later stages, including in installments over time. The
Easy Payment is also expected to be free of many (but not all) types of health care liens,
including liens of Third-Party Payors.

§ 7.       ADDITIONAL AWARD DETERMINATION.


           (a)     Allowed Non-NAS PI Channeled Claims held by Non-NAS PI Claimants who do
                   not elect to receive an Easy Payment and who otherwise meet the Qualifying
                   Opioid requirement shall be categorized1820 as follows:

                   (i)      Tier 1A:

                            A.      Base Payment:



1719
       If a Non-NAS PI Claimant has multiple qualified PI Claims on account of personal injuries to more than one
       opioid user, then that Non-NAS PI Claimant may have distinct Non-NAS PI Claims, each of which may recover
       hereunder.
1820
       Non-NAS PI Claimants who assert or allege Qualifying Opioid usage in their Non-NAS PI Claim Forms for
       which they cannot produce corresponding evidence will not recover on account of such alleged opioid usage.


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                             1. For Non-NAS PI Claimants who demonstrate that his/her
                                 or the Decedent’s addiction, dependence or substance
                                 abuse began while using one of the Qualifying Opioids.
                             2. Other than submission of qualifying product records under
                                 § 3, § 4 and § 5(a)-(f), no additional documents are
                                 required for a Holder of an Allowed Non-NAS PI
                                 Channeled Claim to secure a Tier 1A Base Payment. The
                                 showing required for a Tier 1A Base Payment is a temporal
                                 relationship between use of a qualifying product and the
                                 onset of addiction, dependence or substance abuse within
                                 six months after use of a qualifying product. There is a
                                 presumption that proof of qualifying product usage under
                                 the methods above within 6 months before the onset of
                                 addiction, dependence or substance abuse (as set forth in
                                 the Non-NAS PI Claim Form) is sufficient.
                                 aa. However, notwithstanding evidence of a qualifying
                                       product usage before the onset of addiction,
                                       dependence or substance abuse noted in the Non-
                                       NAS PI Claim Form, if the Non-NAS PI Claim Form,
                                       pharmacy, medical or other records demonstrate any
                                       of the below indicia of addiction, dependence or
                                       substance abuse that precede the earliest use of a
                                       qualifying product demonstrated by a Non-NAS PI
                                       Claimant, the claim does not qualify for Tier 1A.
                                       a.    diagnosis of addiction, dependence or substance
                                             abuse relating to opioid use made by any
                                             medical professional;
                                       b.    treatment in a rehabilitation center for opioid
                                             use disorder;
                                       c.    overdose, withdrawal, or detox from an opioid;
                                       d.    consecutive use of opioids with MME of greater
                                             than 90 mg/day for 6 months or more;
                                       e.    use of illegal opioids; or
                                       f.    use of medication-assisted treatment (“MAT”)
                                             like methadone.
                   B.     Level Awards: In addition to Base Payments, Tier 1A Non-NAS PI
                          Claimants meeting the criteria below qualify for the additional
                          payment attendant to the highest Level they qualify for (but not
                          multiple Levels).
                             1. Level A:
                                 aa. For Non-NAS PI Claimants who demonstrate one or
                                       more of the following:




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                                                     a.    Opioid Use Disorder (“OUD”);1921
                                                     b.    MAT usage >6 months. MAT drugs include
                                                           methadone, buprenorphine, Butrans, Suboxone,
                                                           Zubsolv, Methadose, and naltrexone; or
                                                  c.       Administration of Narcan, Evzio or Naloxone.
                                        2. Level B:
                                            aa. For Non-NAS PI Claimants who demonstrate death
                                                  caused by an opioid (such as overdose or withdrawal).
                            C.       Additional Evidence for Level Awards:
                                        1. If making a claim for a Tier 1A Level Award based on
                                            OUD diagnosis, medical records, including rehabilitation
                                            records, primary care, hospital, billing or other records
                                            reflecting a diagnosis of OUD made by a medical or health
                                            professional. No affidavits may be used to meet this
                                            requirement. The records do not have to coincide in time
                                            with the provided qualifying product use.
                                        2. If making a claim for a Tier 1 A Level Award based on
                                            MAT or Narcan, Evzio or Naloxone use, pharmacy or other
                                            medical records reflecting use of MAT, Narcan, Evzio or
                                            Naloxone. The types of evidence that qualify to show
                                            MAT, Narcan, Evzio or Naloxone exposure are the same as
                                            those in § 5(a)-(d). No affidavits may be used to meet this
                                            requirement. The records do not have to coincide in time
                                            with the provided qualifying product use.
                                        3. If making a claim for a Tier 1A Level Award based on
                                            death, the death certificate of the Decedent as well as any
                                            toxicology reports or autopsy reports. The records do not
                                            have to coincide in time with the provided qualifying
                                            product use. No affidavits may be used to meet this
                                            requirement.
                                        4. The Non-NAS PI Claimant may submit such additional
                                            information as the Non-NAS PI Claimant believes will
                                            assist the Claims Administrator’s determination of the
                                            appropriate amount of any Non-NAS PI Channeled Claim
                                            that has satisfied the initial claim validity requirements.

                    (ii)    Tier 1B: Opioid-related death (overdose or withdrawal) while on
                            OxyContin (temporal relationship between date of death and usage of
                            OxyContin) qualify for Tier 1B Base Payment. Only branded OxyContin
                            would qualify under Tier 1B (i.e., no other Qualifying Opioids). There are
                            no Level Awards. If a Non-NAS PI Claimant is making a claim for a Tier

1921
       The diagnosis can be made by any medical professional, specifically including physicians, nurses, physician’s
       assistant, mental health counselor or therapist, or professional at a rehabilitation center.


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                       1B Award, the death certificate of the Decedent as well as any toxicology
                       reports or autopsy reports must be produced. The death must coincide in
                       time with the provided qualifying product use (i.e. the timing of usage,
                       including number of pills, falls within 5 days of the death). For example, if
                       the Decedent had a prescription 20 days before death and the number of
                       pills in that prescription was enough such that it can reasonably be
                       expected the Decedent was using it within 5 days of death, the case
                       qualifies. Conversely, if the Decedent had a prescription 45 days before
                       death and the number of pills in the prescription was such that it can
                       reasonably be expected that the Decedent would have run out of pills 15
                       days before death, the case does not qualify. The underlying addiction
                       does not need to have begun during qualifying product use; OxyContin use
                       at the time of death is sufficient.

               (iii)   Tier 2: Non-NAS PI Claimants must demonstrate use of a qualifying
                       product for more than 6 months; however, the usage does not have to be
                       consecutive.

                       A.     Base Payment: Other than for qualifying product records under § 3,
                              § 4 and § 5(a)-(g), no additional documents are required for a Tier
                              2 Base Payment. All Non-NAS PI Claimants that qualify for Tier 2
                              will receive a Base Payment.
                       B.     Level Awards: In addition to Base Payments, Tier 2 Non-NAS PI
                              Claimants meeting the criteria below qualify for the additional
                              payment attendant to the highest Level they qualify for (but not
                              multiple Levels).
                                  1. Level A:
                                      aa. For Non-NAS PI Claimants who demonstrate one or
                                            more of the following:
                                            a.    Opioid Use Disorder (OUD);
                                            b.    MAT >6 months days; or
                                            c.    Administration of Narcan, Evzio or Naloxone.
                                  2. Level B:
                                      aa. For Non-NAS PI Claimants who demonstrate death
                                            caused by an opioid.
                       C.     Additional Evidence for Level Awards:
                                  1. If making a claim for a Tier 2 Level Award based on OUD
                                      diagnosis, medical records, including rehabilitation records,
                                      primary care, hospital, billing or other records reflecting a
                                      diagnosis of OUD made by a medical or health
                                      professional. No affidavits may be used to meet this
                                      requirement. The records do not have to coincide in time
                                      with the provided qualifying product use.



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                                 2. If making a claim for a for a Tier 2 Level Award based on
                                    MAT or Narcan, Evzio or Naloxone use, pharmacy or other
                                    medical records reflecting use of MAT, Narcan, Evzio or
                                    Naloxone. The types of evidence that qualify to show
                                    MAT, Narcan, Evzio or Naloxone exposure are the same as
                                    those in § 5(a)-(d). No affidavits may be used to meet this
                                    requirement. The records do not have to coincide in time
                                    with the provided qualifying product use.
                                 3. If making a claim for a Tier 2 Level Award based on death,
                                    the death certificate of the Decedent as well as any
                                    toxicology reports or autopsy reports. The records do not
                                    have to coincide in time with the provided qualifying
                                    product use. No affidavits may be used to meet this
                                    requirement.

               (iv)   Tier 3: Use of a qualifying product less than 6 months and otherwise not
                      meeting the criteria of Tier 1A, Tier 1B or Tier 2 are entitled to no
                      additional payments other than the Base Payment. Non-NAS PI Claimants
                      who elect to receive the Easy Payment cannot receive any additional
                      compensation, and no Tier applies to their Non-NAS PI Claim. However,
                      in the event a Non-NAS PI Claimant declines the Easy Payment and elects
                      to proceed but does not qualify for Tiers 1A, 1B, or 2, such Non-NAS PI
                      Claimant will receive the Tier 3 Base Payment and only the Tier 3 Base
                      Payment.

§ 8.   BASE PAYMENTS AND LEVEL AWARDS.

       (a)     Grid Origins.

The point values provided in this grid resulted from the work of counsel to the Ad Hoc Group of
Individual Victims, statistical sampling and modeling performed by financial analysts and subject
matter experts for the Ad Hoc Group of Individual Victims and the other holders of PI Channeled
Claims, and collaborative discussions with stakeholders. The estimated amount per point is based
on a sample, and will be updated periodically on the PI Trust’s website, www._______.com.

       (b)     Amount of Money Per Point.

Based on an initial sample, we estimate that the dollar award amount per point will be between
$0.80 and $1.20. The dollar amount ultimately awarded per point will be determined with
reference to the funds remainingavailable in the PI Trust (after the payment of Easy Payments
and the costs and expenses of the PI Trust, as set forth in further detail in the PI Trust
Agreement) and toand the pool of claims remaining against the PI Trust after the payment of
Easy Payments.

                          Tier 1A             Tier 1B               Tier 2               Tier 3
                       Addiction from    Death on OxyContin   Purdue Opioids Use   No Addiction/ Death
                       Purdue Opioids                             ≥6 months           from Purdue


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                                                                                              Opioids, and Purdue
                                                                                                Opioids Use <6
                                                                                                    months
 BASE PAYMENTS                 20,000 pts2022         40,000 pts             6,000 pts               $3,500
 LEVELS (one of the
    below)2123
             A                  10,000 pts               N/A                 3,000 pts                N/A

                           OUD Diagnosis, OR                            OUD Diagnosis, OR
                           MAT for >6 months                            MAT for >6 months
             B                20,000 pts                 N/A               20,000 pts                 N/A

                              Death from an                                Death from an
                                 Opioid                                       Opioid

§ 9.       ADDITIONAL CLAIM FACTORS AND VALUATION.

           (a)     To the extent practicable, only objective factors are to be scored, based upon the
                   axiom that in mass torts consistency is fairness.

           (b)     This grid is based in part on other scoring grids developed in comparable cases
                   and development of a scoring grid with unique customization according to the
                   claims and injuries encountered and reviewed in sampling individual PI Claims.

           (c)     Because of limited funds, economic damages are not compensable. This Non-
                   NAS PI TDP only compensates general pain and suffering. Nonetheless, all
                   personal injury damages from use of Qualifying Opioids are being channeled to
                   the PI Trust and released, including both economic and non-economic or general
                   damages.

           (d)     Only reported injuries are to be scored.

           (e)     In no circumstance shall the Claims Administrator assign any claim value for any
                   punitive damages, exemplary damages, statutory enhanced damages, or attorneys’
                   fees or costs (including statutory attorneys’ fees and costs).

           (f)     Only Non-NAS PI Claims based on injuries or facts occurring prior to the filing
                   of a Proof ofyour Non-NAS PI Claim in the Chapter 11 Cases Form are eligible
                   for recovery.

           (g) Pursuant to § 5.8(c) of the Plan, 5% of each Distribution made by the PI Trust will be
                   paid to the Common Benefit Escrow and then, upon its establishment, directly to
                   the Common Benefit Fund, on a periodic schedule. To the extent a Holder of a

2022
       Non-NAS PI Claimants who do not claim addiction, dependence or abuse of opioids are not entitled to receive
       Tier 1A Awards.
2123
       If a Non-NAS PI Claimant does not qualify for additional Level Awards, he/she does not get additional money
       above the Base Payment. A Non-NAS PI Claimant can only qualify for one, but not multiple, Level Awards.


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               Non-NAS PI Channeled Claim has retained, or is a member of a group of Holders
               that has retained, separate counsel through an individual contingency fee
               arrangement, the amount payable from such Holder’s Distributions under this §
               9(g) shall be deducted from any contingency fees and/or costs, in accordance with
               the Common Benefit Fund, owed to such separate counsel. If the order
               establishing the Common Benefit Fund provides for the reimbursement of
               attorneys’ costs, a portion of the Common Benefit Fund assessment (up to 2% of
               the applicable Distributions) may be credited to the reimbursement of such
               counsel’s actual costs, with the remainder of such assessment credited against and
               reducing such counsel’s contingency fees. Except as expressly set forth in Section
               5.8 of the Plan, nothing in the Plan shall impair or otherwise affect any
               contingency fee contract between any Holder of a Non-NAS PI Channeled Claim
               (or any group of Holders of Non-NAS PI Channeled Claims) and such Holder’s
               (or group’s) counsel.

§ 10.   BAR FOR PRIOR SETTLED CASES.

A Non-NAS PI Claimant whose Non-NAS PI Channeled Claim was reduced prior to the Petition
Date to a settlement, judgment, or award against a Debtor shall be barred from receiving any
Award under this Non-NAS PI TDP (Easy Payment, Base Payment or Level Award) on account
of such Non-NAS PI Channeled Claim and shall not recover from the PI Trust on account of
such Non-NAS PI Channeled Claim; provided, however, that a prior settlement with respect to a
living person’s OUD claim does not bar a subsequent wrongful death claim arising out of that
settled OUD claim.

§ 11.   SPECIAL PROCEDURES IN RESPECT OF MINORS.

For Non-NAS PI Claimants who are minors under applicable law, the special procedures set
forth in Exhibit G hereto also apply and shall supplement the procedures set forth in this Non-
NAS PI TDP.

§ 12.   FAIRNESS AUDITS AND FRAUD PREVENTION.

The Claims Administrator will use appropriate technology and strategies to prevent paying
fraudulent claims while making the claims process as simple as possible. Reasonable steps will
be taken to mitigate fraud so as to ensure a fair and secure claims review and payment process,
while not falsely flagging legitimate PI Channeled Claims. Among the techniques will be
technology to prevent claims submitted by BOTS, unique Non-NAS PI Claimant identification
numbers, and strategic Non-NAS PI Claim Form fields. Periodic fairness audits will be
conducted on samples of Non-NAS PI Channeled Claims to ensure that they are being graded
and paid fairly.

§ 13.   CHARITY.

The PI Trust will establish a charitable trust to accept donations that can be used to address the
opioid addiction crisis by providing grant funding for recovery support services, addiction and
addiction family harm reduction-related activities, education, family support, community-based


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advocacy efforts, and assistance to organizations providing services to individuals and caregivers
grappling with opioid-related problems of Non-NAS PI Claimants. The distribution of funding
provided by this charity may be streamlined through qualified not-for-profit organizations. The
charity will be funded only through donations; none of the funds received by the PI Trust under
the Plan will be diverted to fund this charity. Non-NAS PI Claimants may choose to allocate part
or all of their share of their recovery to this charity.

§ 14.   APPEALS.

Each Non-NAS PI Claimant who has his/her Non-NAS PI Channeled Claims liquidated under
this Non-NAS PI TDP has an appeal right, which is described in Exhibit C. The decision of the
Appeals Master pursuant to Exhibit C is final and binding, and Non-NAS PI Claimants have no
further appeal rights beyond those set forth in Exhibit C.




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                                    EXHIBIT A

                       SAMPLE CLAIM FORM FOR
        THE INDIVIDUAL PURDUE PHARMA LP PI TRUST DISTRIBUTION
                   PROCEDURE FOR NON-NAS PI CLAIMS
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                                  PURDUE P H A R M A P I T D P
                                   N O N - N A S CLAIM FORM
                                     INSTRUCTIONS PAGE
                                      INS T R U C T I O N S PAGE


THIS IS A SAMPLE CLAIM FORM AND IS SUBJECT TO CHANGE. DO NOT COMPLETE THE FORM
AT THIS TIME. A BLANK COPY OF THE FINAL FORM WILL BE AVAILABLE ONLINE AND BY
MAIL FOR YOU TO COMPLETE AT THE APPROPRIATE TIME AFTER THE PURDUE PLAN OF
REORGANIZATION HAS BEEN APPROVED AND GONE EFFECTIVE.

      This Purdue Bankruptcy Claim Form (the “Claim Form”) must be completed by each Non-NAS PI
Claimant seeking to recover money from the Purdue Personal Injury Trust (The “PI Trust”) on its Non-NAS PI
Channeled Claims.1 IF YOU DO NOT TIMELY RETURN THIS CLAIM FORM AS INSTRUCTED, YOU
WILL BE DEEMED TO HAVE CONSENTED TO HAVE YOUR NON-NAS PI CHANNELED CLAIMS
LIQUIDATED UNDER THE NON-NAS PI TDP, AND YOUR CLAIMS WILL BE DISALLOWED UNDER
THE NON-NAS PI TDP FOR YOUR FAILURE TO TIMELY RESPOND.

       If you hold multiple Non-NAS PI Claims against the Debtors on account of injuries to more than one
opioid user, then fill out one Claim Form for each of those Non-NAS PI Claims. If you hold multiple Non-NAS
PI Claims on account of multiple injuries to the same opioid user, then fill out only one Claim Form. One Claim
Form submitted for a Non-NAS PI Claim shall be deemed to be a Claim Form in respect of that Non-NAS PI
Claim and also any Non-NAS PI Channeled Claims against a Released Person or Shareholder Released Person
that are associated with that Non-NAS PI Claim.

       Follow the instructions of each section carefully to ensure that your Claim Form is submitted correctly. If
any section does not pertain to your claim, leave it blank. Except as otherwise indicated, all words shall be
given their ordinary, dictionary meaning. Submitting this Claim Form does not guarantee that you will receive
payment from the PI Trust. Whether or not you receive payment depends on whether you make the additional
required submissions, as set forth in the Non-NAS PI TDP, and whether or not your claim meets the eligibility
requirements set forth in the Non-NAS PI TDP.

        This Claim Form allows you to choose to “opt out” of the streamlined, expedited Non-NAS PI TDP
liquidation process with respect to any Non-NAS PI Claim against one or more of the Debtors, and instead
pursue that Non-NAS PI Claim in the tort system by filing a lawsuit against the PI Trust at your own expense.
You may litigate in court only with respect to a Non-NAS PI Claim held against one or more Debtors, and may
not litigate other Non-NAS PI Channeled Claims. If you select the “opt out” option, you will not be eligible to
receive the Easy Payment or any “Base Payment” or “Level Award.” Furthermore, you will not be allowed to
opt back in to the Non-NAS PI TDP if your lawsuit is unsuccessful in the tort system. Any final judgment you
obtain in the tort system against the Non-NAS PI Trust will be subject to reduction pursuant to the “opt out”
procedures set forth in Exhibit B to the Non-NAS PI TDP. YOU MAY ONLY OPT OUT BY CHECKING
THE “OPT OUT” BOX AND TIMELY RETURNING THIS CLAIM FORM. FAILURE TO RESPOND DOES
NOT CONSTITUTE OPTING OUT.

     For those who do not “opt out,” this Claim Form requires you to choose between receiving an “Easy
Payment” of $3,500 or seeking a “Base Payment” and “Level Award.” If your Non-NAS PI Claim is eligible for
1
    Capitalized terms used but not defined herein have the meanings ascribed to them in the Non-NAS PI TDP or, if not defined therein,

                                                                  -   1-
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then the meanings ascribed to them in the Chapter 11 Plan.




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payment, then the “Easy Payment” choice will get you money faster, but may not pay as much as a “Base
Payment” or “Level Award” would ultimately pay.




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      By submitting this Form and choosing to liquidate your Claim under the Non-NAS TDP, you are
deemed to consent to the Lien Resolution Program, under which certain health insurance companies,
known as “Third-Party Payors” or “TPPs,” have agreed to resolve their claims against you and/or your
recoveries under the Non-


Non-NAS PI TDP Capitalized terms used but not defined herein have the meanings ascribed to them in the Non-NAS PI
                      1


TDP or, if not defined therein, then the meanings ascribed to them in the Chapter 11 Plan.
      Instructions for Submission: You may complete and submit this Claim Form either online, at ,




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      NAS PI TDP for reduced amounts or, in some cases, by waiving their claims altogether. The LRP
Agreement is attached as Exhibit [ ] to the [ ] Plan Supplement.
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 Instructions for Submission: You may complete and submit this Claim Form either online, at , or by
mailing back the completed Claim Form to
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                           PURDUE P H A R M A P I T D P
                            N O N - N A S CLAIM FORM

PART ONE: PERSONAL INFORMATION OF NON-NAS PI CLAIMANT

What is the Claim Number assigned to your claim by Prime Clerk?                                                    _

Please only fill out one of the following sections (Section 1.A, 1.B, or 1.C).

Section 1.A: If you are filing a PI Claim arising from your own use of opioids, please fill out the
information below.

  Claimant’s Name:                    ______

 Date of Birth:                                                                                                ______

 Claimant’s Address:                                                                                           ______

C l a i m a n t ’ s         S o c i a l       S e c u r i t y           N u m b e r :            _ _ _ _ _ _

Section 1.B: If you are filing a PI Claim due to another’s death from use of opioids, please fill out the
information below.

Opioid User’s Name:                                                                                           _______

Claimant Name Filing on behalf of the Opioid User:
_______
                                                             _      _      _     _       _        _       _
Date of Birth of Opioid User:                                _      _       _        _       _        _        _
  Date of Death:
Date of Death:

Cause of Death:
  Cause of Death:
Opioid User’s Social Security Number:                                      _______


PART TWO: “OPT OUT” OF THE NON-NAS PI TDP PROCEDURE

If you would like to forfeit all rights to have your Non-NAS PI Channeled Claims liquidated under the
Non-NAS PI TDP and instead to pursue your Non-NAS PI Claim by filing a lawsuit against the PI Trust
in court at your own expense, check the following box. If you “opt out,” you will not be eligible to
receive an “Easy Payment,” “Base Payment,” or “Level Award” from the PI Trust.
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Mark the following box only if you elect to “opt out” of the Non-NAS PI TDP liquidation
process and instead pursue your Non-NAS PI Claim in civil court through the tort system
by filing a lawsuit in court at your own expense:




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PART THREE: EASY PAYMENT ELECTION (If you selected “Opt Out,” then skip this Part Three)

Section 3.A: You may elect to receive an “Easy Payment” in lieu of other compensation. If you elect to receive
an Easy Payment, you will receive a one-time payment of $3,500 within a reasonably short amount of time after
receipt of your Claims Package by the Claims Administrator and resolution of any healthcare liens. The Easy
Payment is expected to be free of many but not all types of health care liens. Even if you select the Easy
Payment option, you must comply with the requirements of the Non-NAS PI TDP. WARNING: If you elect to
receive an Easy Payment, you are not eligible to receive any additional Awards for your Non-NAS PI
Channeled Claims. On the other hand, declining the Easy Payment election and seeking a “Base Payment” and
“Level Award” may result in receiving payment at a later date and through installments.

Mark the following box only if you elect to receive the Easy Payment and waive all
additional Awards or compensation:



PART FOUR: PRESCRIBED MEDICATIONS (If you selected “Opt Out,” SKIP this Part Four)

Section 4.A: Identify any of the following Purdue brand opioids that the opioid user who is thesubject of
your Non-NAS PI Claim was prescribed. Include evidence of the prescriptions when submitting this Claim
Form.

Date of first prescription:             Date of last prescription
 OxyContin
 MSContin
 Dilaudid
 Butrans
 Hysingla
 DHC Plus
 MSIR
 OxyFast
 Oxy IR
 Palladone
 Ryzolt

 Rhodes
 Generic
 (name)




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Section 4.B: Identify any of the following Medication Assistance Treatment (MAT) drugs prescribed
to the opioid user who is the subject of your Non-NAS PI Claim. Include evidence of the prescriptions when

                               Date of first prescription: Date of last prescription
 Buprenorphine
 : Butrans:
 Methadone:
 Suboxone
 Zubsoly:
 Naltrexone:



Section 4.C: Identify any of the following medications provided to the opioid user (whether you or
another person) during or after an opioid overdose. Include evidence of the prescriptions when submitting this

                         Date administered:
 Narcan:
 Evzio:
 Naloxone:



PART SIX: OPIOID USER AND OPIOID CLAIMANT INJURIES (If you selected “Opt Out,”


WARNING: IF YOU DO NOT CHECK ANY INJURIES ON THIS LIST, THEN YOUR NON-NAS PI
CHANNELED CLAIMS WILL BE DISALLOWED AND YOU WILL RECEIVE NO RECOVERY

Section 6.A:


               ADDICTION
               Date addiction began:
               Opioid that started the addiction:

               WITHDRAWALS


               OVERDOSE




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                 JAIL
                 Date jail sentence began/ended:
                 The charge:
                 REHAB
                 Dates of inpatient or outpatient rehabilitation:

    PART SEVEN: TIERING AND LEVEL DESIGNATION (If you selected “Opt Out” or Easy Payment, SKIP
    this Part Seven)

    Section 7.A: In this section, please circle the tier that applies to your Non-NAS PI Claim. IF MULTIPLE TIERS
    APPLY, CHECK THE FIRST ONE THAT APPLIES (for example, if 1B and 1A both apply, then check 1B,
    because that appears first in the list below). Please refer to the Non-NAS PI TDP for full definitions and
    qualifying criteria.

           Tier 1B:
Highest
                     You can demonstrate opioid-related death (such as overdose or withdrawal) while on Oxycontin.

           Tier 1A:

                     You can demonstrate that addiction, dependence, or substance abuse began while using one of
                     the qualifying opioids.

           Tier 2:
                     You can demonstrate use of a qualifying product for more than 6 months (does not have to be
                     consecutive use).

           Tier 3:
                     You can demonstrate use of a qualifying product for less than 6 months and otherwise do not
Lowest               meet the criteria of any of the above tiers.

    Section 7.B: If you selected Tier 1A or Tier 2 above, please mark the level designation that applies to your Non-
    NAS PI Claim. IF BOTH LEVEL B AND LEVEL A APPLY TO YOU, CHOOSE LEVEL B. Please refer to
    the Non-NAS PI TDP for full definitions and qualifying criteria. (If you checked a Tier 1B or Tier 3 Claim
    above, SKIP this section.)

                     Level B:

                     You can demonstrate death caused by an opioid (e.g., death caused by overdose or withdrawal).
 Highest             Level A:
 Lowest
                     You can demonstrate (1) a diagnosis of Opioid Use Disorder (OUD), (2) MAT usage of more
                     than 6 months, or (3) administration of Narcan, Evzio, or Naloxone.




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PART EIGHT: MEDICAL PROVIDER INFORMATION (If you selected “Opt Out” or Easy
Payment, SKIP this Part Eight)

Section 8.A: In this section, please identify information for the medical providers (prescribing doctors and
pharmacies) who prescribed opioids to the opioid user that is the subject of your Non-NAS PI Claim:

 Name of                    Addres                  City       State Zip       Date Range      Date Range
 Prescriber/Pharmacy             s                                             From            To




PART NINE: MEDICAL LIENS (If you selected “Opt Out,” SKIP this Part Nine)

Section 9.A: Did any insurance company pay for medical treatment for the opioid-related injuries
that gave rise to your Non-NAS PI Claim?

Yes:
No:

Section 9.B: In the last 20 years, was the opioid user who is the subject of your claim eligible for
coverage by any of the following, or did any of the following actually pay for his/her opioid-related
health costs? Respond by writing “Yes” or “No” next to each insurance provider name, and provide
the requested information as to each. If any insurance carrier who provided coverage to the opioid
user is not identified, please fill in that carrier’s information at the bottom of the chart.

    Type of        Yes/     Street Address          Phone           Policy          Policy       Dates of
   Insurance       No                               Number         Number (if       Holder       Coverage
                                                                     any)
 Medicare
 Medicaid
 Tricare
 VA
 Champus
 Private (Name
 Below):


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PART TEN: SIGNATURE (You must complete this Part Ten regardless of your elections above)

Section 10.A: Please sign this section when you have completed this Claim Form.

Non-NAS PI Claimant’s Name:
Non-NAS PI Claimant’s E-mail:
Non-NAS PI Claimant’s Phone Number:


I am including the evidence requested above in my submission of this form:



I declare under penalty of perjury that the representations made on this Claim Form are true and correct to the
best of my knowledge.




                                                                   Non-NAS PI Claimant’s Signature




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                                                 EXHIBIT B

                PROCEDURES FOR NON-NAS PI CLAIMANTS WHO OPT
               TO LIQUIDATE THEIR NON-NAS PI CLAIMS IN THE TORT
              SYSTEM RATHER THAN UNDER THE INDIVIDUAL PURDUE
              PHARMA LP NON-NAS TRUST DISTRIBUTION PROCEDURE


The following procedures shall apply in the case of a Non-NAS PI Claimant 1 who elects, subject
to the terms hereof, to liquidate his or her Non-NAS PI Claim by commencing a lawsuit in the
tort system after so timely indicating on his or her Non-NAS PI Claim Form. By so electing,
such Non-NAS PI Claimant forfeits any right to have his or her Non-NAS PI Claim liquidated
under sections 6 through 9 (inclusive) of the Non-NAS PI TDP, and instead shall have the right
to liquidate his or her Non-NAS PI Claim exclusively in the tort system. Only claims that meet
the definition of “Non-NAS PI Claim” under the Plan may be litigated in the tort system. The
adjudication of a Non-NAS PI Claim in the tort system shall be deemed to be an adjudication of
that Non-NAS PI Claim and any associated Non-NAS PI Channeled Claims of the Non-NAS PI
Claimant regarding the same injuries that are the subject of his or her Non-NAS PI Claim. Any
Distribution from the PI Trust on a Final Judgment (as defined below) in respect of such Non-
NAS PI Claim, if any, shall be deemed to be a Distribution in satisfaction and conclusive
resolution of such PI Claim and such associated Non-NAS PI Channeled Claims.

§ 1.    SUITS IN THE TORT SYSTEM.

If a Non-NAS PI Claimant timely filed a proof of claim in the Chapter 11 Cases asserting his or
her Non-NAS PI Claim, then he or she may elect to liquidate such Non-NAS PI Claim in the tort
system rather than under the Non-NAS PI TDP by checking the box so indicating on his or her
Non-NAS PI Claim Form, which Non-NAS PI Claim Form must be filed by the date that is
ninety (90) days2 after the applicable Non-NAS PI Claim Form is disseminated to him/her.3 If the
Non-NAS PI Claimant makes such election, then the Non-NAS PI Claimant may file a lawsuit
regarding only his or her Non-NAS PI Claim (and no other claims) against only the PI Trust (and
including no other parties as defendants) solely in the United States District Court for the
Southern District of New York (the “SDNY District Court”),4 unless such court orders pursuant


1
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Non-NAS PI
    TDP or, if not defined in the Non-NAS PI TDP, the meanings ascribed to such terms in the Plan.
2
    Within sixty (60) days after Effective Date, the Non-NAS PI Claim Form will be made available to Non-NAS PI
    Claimants electronically and, if the Non-NAS PI Claimant is a pro se claimant, also mailed to such Non-NAS PI
    Claimant in physical copy. When disseminated, each Non-NAS PI Claim Form will clearly state the absolute
    deadline (e.g., “January 30, 2022”) by which the Non-NAS PI Claim Form must be returned.
3
    The filing of a Non-NAS PI Claim Form indicating that a Non-NAS PI Claimant has elected to liquidate his or
    her Non-NAS PI Claim in the tort system shall have no effect on any federal or state statute of limitation or
    repose applicable to the claims asserted by such Non-NAS PI Claimant’s action.
4
    The Debtors shall seek an order from the SDNY District Court requiring that lawsuits filed by Holders of PI
    Claims who elect, subject to the terms hereof, to liquidate their PI Claims by commencing separate lawsuits in
    the tort system be filed and tried solely in the SDNY District Court pursuant to 28 U.S.C. § 157(b)(5).
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to 28 USC § 157(b)(5) that such suit may be filed and tried in the United States District Court for
the district in which the Non-NAS PI Claim arose.

Any such lawsuit must be filed by the Non-NAS PI Claimant in an individual capacity and not as
a member or representative of a class, and no such lawsuit may be consolidated with the lawsuit
of any other plaintiff by, or on the motion of, any plaintiff.5 All defenses (including, with respect
to the PI Trust, all defenses which could have been asserted by the Debtors, except as otherwise
provided in the Plan) shall be available to both sides at trial. 6

Subject to the PI Trust’s receipt of a Non-NAS PI Claim Form so indicating that a Non-NAS PI
Claimant has elected to file a lawsuit as set forth above in the tort system, NewCo and the Plan
Administration Trust will establish and maintain, as necessary, a document reserve (the “PI
Document Reserve”) containing such materials as are necessary to such lawsuit as discovery
material. Any such Non-NAS PI Claimant will be provided access to the PI Document Reserve
subject to agreeing to (i) a protective order acceptable to the PI Trustee, the Plan Administration
Trustee, and NewCo, and (ii) to the extent that the materials deposited into the PI Document
Reserve by the PI Trust include any documents produced by the Shareholder Released Parties
that are not included in the Public Document Repository in accordance with the Plan and the
Shareholder Settlement Agreement (the “Shareholder Released Party Documents”), the
Protective Order, which shall exclusively govern the terms of disclosure of the Shareholder
Released Party Documents. Any such Non-NAS PI Claimant who propounds on the PI Trust,
NewCo, the Plan Administration Trustee, any other Creditor Trust, or any Debtor a request for
additional document or testimonial discovery must in such request (i) represent that such Non-
NAS PI Claimant has conducted a reasonable search of the PI Document Reserve and, if it has
been established, the Public Document Repository, and believes, based on such reasonable
search, that the documents, information, or testimony it seeks is not available in either the PI
Document Reserve or the Public Document Repository, and (ii) state and explain the basis for
the Non-NAS PI Claimant’s good faith belief that the additional discovery he or she seeks is
relevant to such lawsuit. The PI Trust shall not be liable for any costs incurred by parties other
than the PI Trust in connection with third-party discovery propounded by any party other than the
PI Trust.7

If a Non-NAS PI Claimant obtains a judgment on his or her Non-NAS PI Claim in the tort
system and such judgment becomes a final order (each, a “Final Judgment”), such Final
Judgment shall be deemed “Allowed” for purposes under the Plan and shall be payable by the PI

5
    The trustee of the PI Trust (the “PI Trustee”) shall be empowered (i) to bring one or more consolidated actions
    against multiple Holders of PI Claims who elect, subject to the terms hereof, to liquidate their PI Claims by
    commencing separate lawsuits in the tort system and (ii) to seek to consolidate multiple lawsuits commenced by
    individual Holders of PI Claims who elect, subject to the terms hereof, to liquidate their PI Claims by
    commencing separate lawsuits in the tort system.
6
    Among other things, the PI Trust shall be empowered to assert that the claim that is the subject of a Non-NAS
    PI Claimant’s lawsuit is not a “Non-NAS PI Claim” within the meaning of the Plan.
7
    In order to minimize costs incurred by the PI Trust in connection with third-party discovery, the PI Trustee shall
    be empowered to seek to consolidate discovery propounded by Holders of PI Claims or the PI Trust in multiple
    lawsuits commenced by individual Holders of PI Claims who elect, subject to the terms hereof, to liquidate their
    PI Claims by commencing separate lawsuits in the tort system.


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Trust, subject to the limitation on damages provision set forth below, as well as the Non-NAS
Payment Percentage and Non-NAS Maximum Value (each as defined below), as provided in
Section 6 below, deductions as set forth in Section 6 below, and the resolution of healthcare
liens, as provided in Section 7 below.

§ 2.   LIMITATION ON DAMAGES AND ATTORNEYS’ FEES.

Notwithstanding their availability in the tort system, no multiple, exemplary, statutory enhanced
and/or punitive damages (i.e., damages other than compensatory damages), and no interest,
attorneys’ fees or costs (including statutory attorneys’ fees and costs) shall be payable, with
respect to any Non-NAS PI Claim litigated against the PI Trust in the tort system.

§ 3.   NON-NAS MAXIMUM VALUE.

Payment on a Final Judgment for a Non-NAS Claim shall not exceed the dollar-equivalent of
120,000 points (the “Non-NAS Maximum Value”), which is three times the maximum point
value attributed under the liquidation provisions of the Non-NAS PI TDP to eligible claims for
the most severe injuries.Points will be converted to dollars consistent with the conversion set
forth in section 8 of the Non-NAS PI TDP. As set forth in more detail in the Non-NAS PI TDP,
the dollar amount ultimately awarded per point will be determined with reference to the funds
remaining in the PI Trust and to the pool of claims remaining against the PI Trust. It will vary
depending on how many people choose to opt out their claims and how expensive it is for the PI
Trust to defend those claims in the tort system. It will also depend on the payment elections
made by those who are liquidating their claims under sections 6 through 9 (inclusive) of the Non-
NAS PI TDP. At this time, it is estimated that the dollar award amount per point will be between
$0.80 and $1.20.

§ 4.   NON-NAS PAYMENT PERCENTAGE.

A Final Judgment on a Non-NAS Claim, minus any multiple, exemplary, statutory enhanced
and/or punitive damages (i.e., damages other than compensatory damages), interest, attorneys’
fees or costs (including statutory attorneys’ fees and costs) that may have been awarded as part of
such Final Judgment, shall be subject to reduction by the same percentage that Non-NAS PI
Claims liquidated under the Non-NAS PI TDP are reduced prior to payment. In other words, a
Non-NAS PI Claimant who elects to liquidate his or her Non-NAS PI Claim in the tort system
shall not be entitled to receive more than his or her pro-rata share of the value available for
distribution to all Non-NAS PI Channeled Claims entitled to a recovery pursuant to the Non-
NAS PI TDP. Based upon the work of the Ad Hoc Group of Individual Victims, statistical
sampling and modeling performed by financial analysts and subject-matter experts for the Ad
Hoc Group of Individual Victims and other holders of PI Claims, review of judgments obtained
in lawsuits, settlement history, and collaborative discussions with stakeholders, the Base
Payments and Level Awards described in the Non-NAS PI TDP represent an estimated pro-rata
percentage recovery by PI Claimants holding Allowed PI Channeled Claims of approximately
2.0% (such pro-rata percentage recovery as may be altered over time, the “Non-NAS Payment
Percentage”). Accordingly, the initial Payment Percentage is 2.0%.




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No holder of a Non-NAS PI Claim who elects to liquidate his or her Non-NAS PI Claim in the
tort system shall receive a payment that exceeds the liquidated value of his or her Non-NAS PI
Claim multiplied by the Non-NAS Payment Percentage in effect at the time of payment (such
value so reduced, the “Non-NAS Percentage-Reduced Claim”); provided, however, that if there
is a reduction in the Non-NAS Payment Percentage, the PI Trustee, in his or her sole discretion,
may cause the Non-NAS PI Trust to pay a Non-NAS PI Claim based on the Non-NAS Payment
Percentage that was in effect prior to the reduction if the judgment in respect of such Non-NAS
PI Claim became a Final Judgment prior to the date the PI Trustee proposes the new Non-NAS
Payment Percentage to the Oversight Committee and the processing of such Non-NAS PI Claim
was unreasonably delayed due to circumstances beyond the control of the Non-NAS PI Claimant
or the Claimant’s Counsel (as applicable).

§ 5.   ADJUSTMENT OF THE NON-NAS PAYMENT PERCENTAGE.

The Non-NAS Payment Percentage shall be subject to change if the PI Trustee (with the
assistance of the Claims Administrator), with the consent of the PI Trust’s oversight committee
(the “Oversight Committee”), determines that an adjustment is required. No less frequently than
once every three (3) years, commencing with the date that is three (3) years after the Effective
Date of the Plan, the PI Trustee (with the assistance of the Claims Administrator) shall
reconsider the then-applicable Non-NAS Payment Percentage to assure that it is based on
accurate, current information and may, after such reconsideration, change the Non-NAS Payment
Percentage if necessary with the consent of the Oversight Committee. The PI Trustee shall
reconsider the then-applicable Non-NAS Payment Percentage at shorter intervals if he or she
deems such reconsideration to be appropriate or if requested to do so by the Oversight
Committee.

The PI Trustee shall base his or her determination of the Non-NAS Payment Percentage on
current estimates of the number, types, and values of Non-NAS PI Channeled Claims, the value
of the assets of the PI Trust Non-NAS Fund available for the payment of Non-NAS Allowed PI
Channeled Claims pursuant to the Non-NAS PI TDP and amounts due and estimated to become
due pursuant to the Non-NAS PI TDP in respect to Final Judgments obtained by Non-NAS PI
Claimants who elect to liquidate their Non-NAS PI Claims in the tort system, all anticipated
administrative and legal expenses, and any other material matters that are reasonably likely to
affect the sufficiency of funds to pay a comparable percentage of (i) full value to all Holders of
Allowed Non-NAS PI Channeled Claims and (ii) the Non-NAS Maximum Value to Non-NAS PI
Claimants who elect to liquidate their Non-NAS PI Claims in the tort system. When making
these determinations, the PI Trustee (with the assistance of the Claims Administrator) shall
exercise common sense and flexibly evaluate all relevant factors.

If a redetermination of the Non-NAS Payment Percentage has been proposed in writing to the
Oversight Committee by the PI Trustee, but such redetermination of the Non-NAS Payment
Percentage has not yet been adopted by the Oversight Committee, a Non-NAS PI Claimant that
has obtained a Final Judgment shall receive the lower of the then-current Non-NAS Payment
Percentage and the proposed Non-NAS Payment Percentage. However, if the proposed Non-
NAS Payment Percentage is the lower amount but is not subsequently adopted by the Oversight
Committee, the Non-NAS PI Claimant shall thereafter receive the difference between the lower
proposed amount and the higher current amount. Conversely, if the proposed Non-NAS Payment

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Percentage is the higher amount and subsequent adopted, the Non-NAS PI Claimant who has
obtained a Final Judgment shall thereafter receive the difference between the current amount and
the higher adopted amount.

At least thirty (30) days prior to proposing in writing to the Oversight Committee a change in the
Non-NAS Payment Percentage, the PI Trustee shall post to the PI Trust’s website a notice
indicating the PI Trustee is reconsidering the Non-NAS Payment Percentage.

If the PI Trustee (with the assistance of the Claims Administrator), with the consent of the
Oversight Committee, makes a determination to increase the Non-NAS Payment Percentage due
to a material change in estimates of the future assets and/or liabilities of the PI Trust Non-NAS
Fund, the Claims Administrator shall make supplemental payments to all Non-NAS PI Claimants
who obtained previously a Final Judgment and received payments based on a lower Non-NAS
Payment Percentage. The amount of any such supplemental payment shall be the liquidated
value of the Non-NAS PI Channeled Claim in question multiplied by the newly-adjusted Non-
NAS Payment Percentage, less all amounts paid previously to the Non-NAS PI Claimant with
respect of such Non-NAS PI Channeled Claim.

The PI Trust’s obligation to make a supplemental payment to a Non-NAS PI Claimant shall be
suspended in the event the payment in question would be less than $100.00, and the amount of
the suspended payment shall be added to the amount of any prior supplemental
payment/payments that was/were also suspended because it/they would have been less than
$100.00. However, the PI Trust’s obligation shall resume, and the PI Trust shall pay any such
aggregate supplemental payments due to the PI Claimant that obtained a Final Judgment at such
time that the total exceeds $100.00.

§ 6.   PAYMENT OF JUDGMENTS FOR MONEY DAMAGES.

A Non-NAS PI Claimant who obtains a Final Judgment shall be entitled to receive from the PI
Trust Non-NAS Fund in full and final satisfaction of that Final Judgment, a gross amount
(subject to deductions set forth next) equal to the lesser of (i) the Non-NAS Percentage-Reduced
Claim and (ii) the Non-NAS Maximum Value, in each case as in effect on the date of the
pending payment, as described next (the “Non-NAS Gross Amount”). TheA Non-NAS PI
Claimant’s Non-NAS Gross Amount shall be subject to the following deductions for the Non-
NAS PI Claimant’s ratableand holdbacks: (A) its pro rata share of the fees andoperating
expenses of the PI Trust, as well as; (B) amounts necessary to settle liens held by private
insurance companies against such amount, if any; (C) amounts prepaid to the United States under
the Plan to settle claims or liens of one or more federal government health insurance programs
against such Non-NAS PI Claimant or any Distribution to such Non-NAS PI Claimant on
account of its Non-NAS PI Channeled Claims.United States-PI Claimant Medical Expense
Claim Settlement to settle liens of the federal healthcare programs like Medicare, Tricare, VA, or
Medicaid against such amount, if any; (D) its pro rata share of the compensation, costs and fees
of professionals that represented or advised the Ad Hoc Group of Individual Victims and the
NAS Committee in connection with the Chapter 11 Cases, subject to Section 5.8(g) of the Plan
and the Trust Agreement, and (E) the common benefit assessment required under Section 5.8(c)
of the Plan, and the fees and costs of such Non-NAS PI Claimant’s individual attorney(s) in the
Chapter 11 Cases, if any, reduced by the common benefit assessment in accordance with Section


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5.8(c) of the Plan.8 The resulting net amount shall be paid to the Non-NAS PI Claimant in the
form of an initial payment not to exceed $3,500.00 and five (5) additional equal installments in
years six (6) through ten (10) following the year of the initial payment; subject, however, to the
prior satisfaction of healthcare liens as set forth in Section 7 below. In no event shall interest be
paid in respect of any judgment obtained in the tort system.

None of the Non-NAS Percentage-Reduced Claim, the Non-NAS Maximum Value, the Non-
NAS Gross Amount, the deductions therefrom, or the payment schedule is subject to any appeal
or reconsideration.

§ 7.     RESOLUTION OF HEALTH CARE LIENS.

The PI Trust shall not issue any payment in respect of a Final Judgment until the Claims
Administrator has received proof to his or her reasonable satisfaction that any private or
governmental health care liens or similar claims against such Final Judgment have been satisfied
or will be satisfied out of the recovery.

§ 8.     APPLICABILITY OF SPECIAL PROCEDURES FOR MINORS AND HEIRS.

The special procedures set forth in Exhibit G to the Non-NAS PI TDP shall apply to all Non-
NAS PI Claimants who are minors under applicable law and elect, subject to the terms hereof, to
liquidate their Non-NAS PI Claims by commencing a lawsuit in the tort system. Anyone seeking
a Distribution from the PI Trust in their capacity as an heir must execute and submit the
applicable Heirship Declaration attached to the Non-NAS PI TDP as Exhibit F. 89




8
  Your individual attorney, rather than the PI Trust, will be responsible for deducting his/her fees and expenses from
the award.
89
     Exhibit F contains two declaration forms. One applies if the Decedent named the Non-NAS PI Claimant as
     executor in his/her will; the other applies if the Decedent had no will.


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                                       Exhibit J

                          NAS PI Trust Distribution Procedures
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                        INDIVIDUAL PURDUE PHARMA LP
       PI TRUST DISTRIBUTION PROCEDURE FOR NAS PI CHANNELED CLAIMS


§ 1.     APPLICABILITY AND SUBMISSION INSTRUCTIONS.

This trust distribution procedure for NAS PI Channeled Claims (as defined below) (the “NAS PI
TDP”) sets forth the manner in which NAS PI Channeled Claims may become eligible for
payments from, and shall be fully discharged by, the PI Trust. 1 Distributions in respect of NAS
PI Channeled Claims shall be exclusively in the form of Distributions from the PI Trust NAS
Fund to Holders of NAS PI Channeled Claims on the terms set forth herein.

Pursuant to the Plan and the Master TDP, the following claims (the “NAS PI Channeled
Claims”) will be channeled to, and liability therefore shall be assumed by, the PI Trust as of the
Effective Date of the Plan: (i) all NAS PI Claims, which are claims against any Debtor for
alleged opioid-related personal injury to an NAS Child or similar opioid-related claims or
Causes of Action against any Debtor asserted by or on behalf of an NAS Child, and that arose
prior to the Petition Date, and that are not (A) a Third-Party Payor Claim, an NAS Monitoring
Claim or a Hospital Claim, or (B) held by a Domestic Governmental Entity, and (ii) all Released
Claims or Shareholder Released Claims that are claims for alleged opioid-related personal injury
to an NAS Child or that are similar opioid-related claims or Causes of Action asserted by or on
behalf of an NAS Child, and that arose prior to the Petition Date, and that are not (A) Third-
Party Payor Channeled Claims, NAS Monitoring Channeled Claims or Hospital Channeled
Claims or (B) held by a Domestic Governmental Entity. NAS PI Channeled Claims shall be
administered, liquidated and discharged pursuant to this NAS PI TDP, and satisfied solely from
the PI Trust NAS Fund (as defined below). Holders of NAS PI Channeled Claims are referred to
herein as “NAS PI Claimants.”

NAS PI Channeled Claims liquidated under this NAS PI TDP shall be (i) Allowed or
Disallowed (such NAS PI Channeled Claims so Allowed, “Allowed NAS PI Channeled
Claims”) and, for Allowed NAS PI Channeled Claims, (ii) liquidated to determine the gross
amounts receivable thereon (an “Award”), in each case pursuant to the terms of this NAS PI
TDP.

An Award for an NAS PI Channeled Claim liquidated hereunder will be a gross number before
deduction of the following “PI Trust Deductions and Holdbacks”: (A) a pro rata share of the
operating expenses of the PI Trust; (B) amounts held back under the Lien Resolution Program
(the “LRP Agreement”) to settle liens held by private insurance companies against that Award, if
any; (C) amounts prepaid to the United States under the United States-PI Claimant Medical
Expense Claim Settlement to settle liens of the federal healthcare programs like Medicare,
Tricare, VA, or Medicaid against that Award, if any; (D) a pro rata share of the compensation,

1
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Fifth
    Amended Joint Chapter 11 Plan of Reorganization of Purdue Pharma L.P. and its Affiliated Debtors [ECF No.
    2967] (the “Plan”) in the chapter 11 cases of Purdue Pharma L.P. and its Debtor affiliates (the “Chapter 11
    Cases”) in the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
    Court”).


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costs and fees of professionals that represented or advised the Ad Hoc Group of Individual
Victims and the NAS Committee in connection with the Chapter 11 Cases, subject to Section
5.8(g) of the Plan; and (E) the common benefit assessment required under Section 5.8(c) of the
Plan, and the fees and costs of the NAS PI Claimant’s individual attorney(s) in the Chapter 11
Cases, if any, reduced by the common benefit assessment in accordance with Section 5.8(c) of
the Plan. 2 In addition to the deductions and holdbacks described above, your award may be
subject to claims by certain state or tribal healthcare programs that are not part of the LRP
Agreement.

This NAS PI TDP sets forth what evidence and forms you must submit in order to be eligible to
receive an Award. Forms may be completed online at the PI Trust’s website,
www._______.com, or by mailing back the completed forms to the PI Trust at the below
address. Evidence in support of your NAS PI Claim should be submitted to [___]. 3

                         ELECTION TO LIQUIDATE NAS PI CLAIM IN THE
                       TORT SYSTEM RATHER THAN UNDER THIS NAS PI TDP
       An NAS PI Claimant who (i) timely filed a Proof of Claim in the Chapter 11 Cases prior to
       the General Bar Date asserting his/her NAS PI Claim against one or more Debtors and
       (ii) elects expressly, by timely submission of the NAS PI Claim Form attached hereto as
       Exhibit A, to liquidate his/her NAS PI Claim in the tort system rather than pursuant to the
       streamlined liquidation procedures set herein (a “NAS Opt-Out Claimant”), may assert
       and liquidate such NAS PI Claim in the tort system at his/her own expense, as set forth in
       more detail in Exhibit B, and shall forfeit all rights to liquidate such NAS PI Claim (and
       any associated NAS PI Channeled Claims regarding the same injuries that are the same
       subject of its NAS PI Claim) under the streamlined procedures set forth in this NAS PI
       TDP. The right to litigate in the tort system is available only with respect to Claims that
       meet the definition of “PI Claim” set forth in the Plan.
       OPTING OUT REQUIRES YOU TO TAKE THE AFFIRMATIVE ACTION OF
       CHECKING THE “OPT OUT” BOX ON THE NAS PI CLAIM FORM AND TIMELY
       SUBMITTING YOUR NAS PI CLAIM FORM TO THE PI TRUST. FAILURE TO
       TIMELY SUBMIT THE NAS PI CLAIM FORM SHALL CONSTITUTE CONSENT TO
       HAVE YOUR NAS PI CHANNELED CLAIMS LIQUIDATED PURSUANT TO THE
       PROVISIONS OF THIS NAS PI TDP.

§ 2.       ALLOCATION OF FUNDS; CLAIMS ADMINISTRATOR.

           (a)     Allocations of Funds to the PI Trust and Further Allocation to the PI Trust NAS
                   Fund and the PI Trust Non-NAS Fund.




2
       If you have an individual attorney, then your attorney, rather than the PI Trust, will be responsible for
       deducting his/her fees and expenses from your Award.
3
       Submission instructions to be added after solicitation.


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Under the Plan, the PI Trust will receive a gross amount of between $700 million and $750
million (minus amounts distributed directly to the United States under the United States-PI
Claimant Medical Expense Claim Settlement), in the form of an initial installment of $300
million on the Effective Date of the Plan and subsequent installments, in each case subject to the
United States-PI Claimant Medical Expense Claim Settlement. The PI Trust shall establish a
fund to pay NAS PI Channeled Claims (the “PI Trust NAS Fund”); and a fund to pay Non-NAS
PI Channeled Claims (the “PI Trust Non-NAS Fund”), and shall allocate each distribution it
receives under the Plan as follows: (i) 6.43% to the PI Trust NAS Fund, up to an aggregate
maximum of $45 million, and (ii) the remainder to the PI Trust Non-NAS Fund, in each case
subject to applicable PI Trust Deductions and Holdbacks.

        (b)      Claims Administrator.

                 (i)      The PI Trust shall be established in accordance with § 5.7 of the Plan to
                          (1) assume all liability for the PI Channeled Claims, (2) hold the MDT PI
                          Claim and collect the Initial PI Trust Distribution and payments due under
                          the MDT PI Claim in accordance with the Private Entity Settlements and
                          the PI Trust Documents, (3) administer, process, resolve and liquidate PI
                          Channeled Claims, (4) make Distributions on account of Allowed PI
                          Channeled Claims in accordance with the PI Trust Documents (including
                          this NAS PI TDP), (5) fund the TPP LRP Escrow Account and make
                          payments therefrom to LRP Participating TPPs, in each case, in
                          accordance with and subject to the terms of the LRP Agreement and
                          (6) carry out such other matters as are set forth in the PI Trust
                          Documents.4 The trustee of the PI Trust (the “Trustee”), Edgar Gentle III,
                          of Gentle, Turner, Sexton & Harbison, LLC, will serve as claims
                          administrator (the “Claims Administrator”) to carry out the duties of the
                          Trustee as set forth in the Plan and PI Trust Documents. 5



4
    The PI Trust Agreement shall provide that the Trustee shall have the power to appoint such officers and hire
    such employees and engage such legal, financial, accounting, investment, auditing, forecasting, and other
    consultants, advisors, and agents as the business of the PI Trust requires, and delegate to such persons such
    powers and authorities as the fiduciary duties of the Trustee permit and as the Trustee, in his discretion, deems
    advisable or necessary in order to carry out the terms of the PI Trust Agreement, this NAS PI TDP, the Non-
    NAS PI TDP, and the LRP Agreement, and pay reasonable compensation to those employees, legal, financial,
    accounting, investment, auditing, forecasting, and other consultants, advisors, and agents.
5
    The PI Trust Agreement shall provide that the Trustee shall receive a retainer from the PI Trust for his service
    as a Trustee in the amount of $150,000 per annum, paid annually. Hourly time shall first be billed and applied
    to the annual retainer. Hourly time in excess of the annual retainer shall be paid by the PI Trust. For all time
    expended as Trustee, including attending meetings, preparing for such meetings, and working on authorized
    special projects, the Trustee shall receive the sum of $400 per hour. For all non-working travel time in
    connection with PI Trust business, the Trustee shall receive the sum of $200 per hour. The Trustee shall record
    all hourly time to be charged to the PI Trust. The hourly compensation payable to the Trustee hereunder shall
    be reviewed every year by the Trustee and, after consultation with the members of the PI Trust’s oversight
    committee, appropriately adjusted by the Trustee for changes in the cost of living. The Trustee shall not be
    required to post any bond or other form of surety or security unless otherwise ordered by the Bankruptcy Court.


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                    (ii)     The Trustee and the Claims Administrator6 shall determine, pursuant to
                             the requirements set forth herein, the Allowance or Disallowance of all
                             NAS PI Channeled Claims liquidated under this NAS PI TDP.
                             Distributions hereunder are determined only with consideration to an
                             NAS PI Claim held against the Debtors, and not to any associated NAS PI
                             Channeled Claim against a non-Debtor party. However, any Distribution
                             to an NAS PI Claimant on account of his/her NAS PI Claim is deemed to
                             be a distribution in satisfaction of all NAS PI Channeled Claims held by
                             such NAS PI Claimant with respect to the injuries that are the subject of
                             his/her NAS PI Claim. The Claims Administrator may investigate any
                             such claim, and may request information from any NAS PI Claimant to
                             ensure compliance with the terms outlined in this document. For NAS PI
                             Claimants who execute the required HIPAA forms attached hereto as
                             Exhibit C, the Claims Administrator also has the power to directly obtain
                             such NAS PI Claimant’s medical records.

§ 3.       INITIAL NAS PI CHANNELED CLAIM ALLOWANCE.

For an NAS PI Channeled Claim that is being liquidated pursuant to the streamlined procedures
set forth in this NAS PI TDP to be Allowed, the applicable NAS PI Claimant must, with respect
to that NAS PI Channeled Claim:

           (a)      Hold such NAS PI Channeled Claim against one or more Debtors;

           (b)      Have already timely7 filed an individual personal injury Proof of Claim against
                    one or more Debtors in the Chapter 11 Cases asserting his/her NAS PI Claim
                    against one or more Debtors;

           (c)      Demonstrate by Competent Evidence (as defined below) a diagnosis by a
                    licensed medical provider of a medical, physical, cognitive or emotional
                    condition resulting from the NAS Child’s intrauterine exposure to opioids or

6
       As the same individual is serving as both Trustee and Claims Administrator, reference to actions by each
       reference Mr. Gentle acting in such respective capacity.
7
       If the Proof of Claim was filed after the General Bar Date but before April 23, 2021, the Claims Administrator
       shall consider the NAS PI Channeled Claim without penalty. If the Proof of Claim was filed on April 23, 2021
       or after, the NAS PI Channeled Claim asserted by such Proof of Claim shall be Disallowed unless (i) the
       Claims Administrator determines, which determination shall be on a case-by-case basis, that good cause exists
       to treat the late-filed NAS PI Channeled Claim as if it were timely filed, or (ii) the Bankruptcy Court so orders.
       Notwithstanding this deadline, in addition to the other requirements herein, up to 274 late-filed Claims filed by
       NAS PI Claimants who appear on the West Virginia NAS Birth Score Program and are represented by the WV
       NAS Ad Hoc Group (“WV NAS Claimants”) and who demonstrate the following to the satisfaction of the
       Claims Administrator shall be considered as if their Claim had been timely filed: (1) that the Claimant is a WV
       NAS Claimant, (2) that a Proof of Claim was filed in the Chapter 11 Cases by or on behalf of such WV NAS
       Claimant prior to April 15, 2021, and (3) a sworn declaration from the parent/guardian/custodian of such WV
       NAS Claimant that such parent/guardian/custodian did not know about the Chapter 11 Cases or Bar Date prior
       to the Bar Date.


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                  opioid replacement or treatment medication, including but not limited to the
                  condition known as neonatal abstinence syndrome (“NAS”). The diagnosis can
                  be made by any licensed medical professional, specifically including physicians,
                  nurses, physician assistants, mental health counselor or therapist, or professional
                  at a rehabilitation center. Only NAS PI Claims based on injuries or facts
                  occurring prior to the filing of your NAS PI Claim Form are eligible for recovery.

         (d)      Complete, sign and submit the NAS PI Claim Form attached hereto as Exhibit A
                  by the date that is 150 days8 after the NAS PI Claim Form is disseminated 9 to
                  NAS PI Claimants;10

         (e)      Complete, sign and submit the two HIPAA consent forms attached hereto as
                  Exhibit C; and

         (f)      If the NAS PI Channeled Claim concerns the injuries of a decedent, then also
                  execute and submit the appropriate Heirship Declaration attached hereto as
                  Exhibit D.11

Any NAS PI Claimant who satisfies all of the above requirements (a)-(f) with respect to a given
NAS PI Channeled Claim shall have that NAS PI Channeled Claim Allowed.

If an NAS PI Claimant does not satisfy these requirements with respect to an NAS PI
Channeled Claim that is being liquidated under the liquidation provisions of this NAS PI
TDP, INCLUDING THE REQUIREMENT TO TIMELY SUBMIT HIS/HER NAS PI
CLAIM FORM AND ANY NECESSARY ACCOMPANYING EVIDENCE, then such
NAS PI Channeled Claim shall be Disallowed.

Regardless of whether you elect to “opt out” or to have your claim liquidated under this
NAS PI TDP, you must complete the NAS PI Claim Form as instructed by the deadline,
which is 150 days12 after the NAS PI Claim Form is disseminated. Failure to timely submit
the NAS PI Claim Form (and any required supporting evidence) will result in your claim
being disallowed. In other words, if you do nothing, you will not receive any compensation
from the PI Trust.

8
     Subject to extension in the discretion of the Claims Administrator.
9
     Within 60 days after Effective Date, the NAS PI Claim Form will be made available to NAS PI Claimants
     electronically and, if an NAS PI Claimant is a pro se claimant, also mailed to such NAS PI Claimant in
     physical copy. When disseminated, the NAS PI Claim Form will clearly state the absolute deadline
     (e.g., “January 30, 2022”) by which the NAS PI Claim Form must be returned.
10
     If the NAS PI Claimant checks the box on the NAS PI Claim Form indicating his/her election to liquidate
     his/her NAS PI Claim in the tort system rather than under the liquidation provisions of this NAS PI TDP, then
     such NAS PI Claim will not be liquidated hereunder.
11
     Exhibit D contains two declaration forms. One applies if the decedent named the person filing the NAS PI
     Claim Form as executor in his/her will; the other applies if the decedent had no will.

12
     Subject to extension in the discretion of the Claims Administrator.

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§ 4.       COMPETENT EVIDENCE REQUIRED.

           (a)      To receive a recovery on his/her NAS PI Claim, an NAS PI Claimant must
                    submit one of the following forms of evidence (“Competent Evidence”):

                    (i)     A document from a licensed medical provider diagnosing the NAS Child
                            with a medical, physical, cognitive or emotional condition resulting from
                            the NAS Child’s intrauterine exposure to opioids or opioid replacement or
                            treatment medication, including but not limited to the condition known as
                            NAS;

                    (ii)    A document from a licensed medical provider affirming that the NAS
                            Child had Neonatal Opioid Withdrawal Syndrome (“NOWS”); or

                    (iii)   Other medical records evidencing that the NAS Child had an NAS
                            diagnosis, including post-natal treatment for symptoms caused by opioid
                            exposure, symptoms of post-natal withdrawal from opioids, medical
                            scoring for NAS or NOWS which is positive or indicates fetal opioid
                            exposure, a positive toxicology screen of the birth mother or infant for
                            opioids or opioid-weaning drugs, or a maternal diagnosis of opioid use
                            disorder by the birth mother.

           (b)      The Claims Administrator shall have discretion to determine whether these
                    evidentiary requirements have been met, including whether the forms of evidence
                    submitted constitute Competent Evidence.13 Any NAS PI Claimant who fails to
                    meet these requirements is not entitled to any payment.

           (c)      The Claims Administrator shall have the discretion to request additional relevant
                    documentation believed to be in the possession of the NAS PI Claimant or his or
                    her authorized agent or lawyer. The Claims Administrator has the sole discretion
                    to Disallow, or to reduce or eliminate Awards on, claims being liquidated
                    hereunder where he concludes that there has been a pattern and practice to
                    circumvent full or truthful disclosure under this § 4.

           (d)      If the Claims Administrator determines that an NAS PI Claim Form or
                    accompanying evidence submitted hereunder is incomplete, he will notify the
                    NAS PI Claimant and afford a 30-day period to cure any such deficiency. Such
                    deficiencies include, but are not limited to, failure to sign or complete the NAS PI
                    Claim Form, failure to execute the required HIPAA authorizations, or failure to
                    submit qualifying evidence. If the deficiency is timely cured to the satisfaction of

13
       Competent Evidence necessary for Allowance of an NAS PI Claim is evidence, in the opinion of the Trustee,
       that establishes that the occurrence of a diagnosis of NAS with respect to an NAS PI Claimant is more likely
       true than not true, i.e. a probability standard. Competent Evidence requires more than a mere possibility or
       scintilla of truth, but such standard does not require proof that rises to the level of clear and convincing
       evidence. However, notwithstanding anything to the contrary in this NAS PI TDP, proof of a prescription of an
       opioid product shall not be required.

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               the Claims Administrator, no deduction or penalty will be assessed to an
               otherwise qualifying NAS PI Channeled Claim. If the deficiency is not timely
               cured, or not cured at all, the Claims Administrator, depending on the nature of
               the deficiency, has the authority to prevent the NAS PI Claimant from receiving
               all or part of any Award (s)he would otherwise be entitled to on such NAS PI
               Channeled Claim.

§ 5.   AWARDS.

The money available in the PI Trust NAS Fund for distribution to NAS PI Claimants shall be
divided equally among the Allowed NAS PI Channeled Claims and allocated as equal gross
awards to the Holders of such Allowed NAS PI Channeled Claims. The PI Trust may issue
Distributions on account of Allowed NAS PI Channeled Claims in installments as funds are
received by the PI Trust, or on account of installments pursuant to a court order. Because
distributions to minors are to be held in trust until the minor becomes a legal adult (unless a
competent court orders otherwise), it may take years before you have received all of your
Award.

Your Distribution amount under the NAS PI TDP is a gross award that will be further reduced to
pay the applicable PI Trust Deductions and Holdbacks. In addition, your award may be subject
to claims by certain state or tribal healthcare programs that are not part of the LRP Agreement.

Although the Plan channels claims for all types of personal injury damages to the PI Trust,
including both economic and non-economic or general damages, Awards issued hereunder
compensate only general pain and suffering on account of the NAS Child’s injuries. Because of
limited funds, economic damages and punitive damages are not compensable.

§ 6.   BAR FOR PRIOR SETTLED CASES.

An NAS PI Claimant whose NAS PI Channeled Claim was reduced prior to the Petition Date to
a settlement, judgment, or award against a Debtor shall be barred from receiving any Award
under this NAS PI TDP on account of such NAS PI Channeled Claim and shall not recover from
the PI Trust on account of such NAS PI Channeled Claim.

§ 7.   SPECIAL PROCEDURES IN RESPECT OF MINORS.

For NAS PI Claimants who are minors under applicable law, the special procedures set forth in
Exhibit E hereto also apply and shall supplement the procedures set forth in this NAS PI TDP.

§ 8.   FAIRNESS AUDITS AND FRAUD PREVENTION.

The Claims Administrator will use appropriate technology and strategies to prevent paying
fraudulent claims while making the claims process as simple as possible. Reasonable steps will
be taken to mitigate fraud so as to ensure a fair and secure claims review and payment process,
while not falsely flagging legitimate NAS PI Channeled Claims. Among the techniques will be
technology to prevent claims submitted by BOTS, unique NAS PI Claimant identification



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numbers, and strategic NAS PI Claim Form fields. Periodic fairness audits will be conducted on
samples of NAS PI Channeled Claims to ensure that they are being evaluated and paid fairly.




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                                    EXHIBIT A

                        SAMPLE CLAIM FORM FOR
        THE INDIVIDUAL PURDUE PHARMA LP PI TRUST DISTRIBUTION
                     PROCEDURE FOR NAS PI CLAIMS
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                          P U R D U E P H A R M A P I T D P
                                N A S C L A I M F O R M
                             I N S T R U C T I O N S P A G E

THIS IS A SAMPLE CLAIM FORM AND IS SUBJECT TO CHANGE. DO NOT COMPLETE THE
FORM AT THIS TIME. A BLANK COPY OF THE FINAL FORM WILL BE AVAILABLE ONLINE
AND BY MAIL FOR YOU TO COMPLETE AT THE APPROPRIATE TIME AFTER THE PURDUE
PLAN OF REORGANIZATION HAS BEEN APPROVED AND GONE EFFECTIVE.

       This Purdue Bankruptcy Claim Form (the “Claim Form”) must be completed for each NAS PI Claimant
seeking to recover money from the Purdue Personal Injury Trust (the “PI Trust”) on its NAS PI Channeled
Claims.1 IF YOU DO NOT TIMELY RETURN THIS CLAIM FORM AS INSTRUCTED, YOU WILL BE
DEEMED TO HAVE CONSENTED TO HAVE YOUR NAS PI CHANNELED CLAIMS LIQUIDATED
UNDER THE NAS PI TDP, AND YOUR CLAIMS WILL BE DISALLOWED UNDER THE NAS PI TDP FOR
YOUR FAILURE TO TIMELY RESPOND.

        If you represent the interests of an NAS Child and are seeking to recover money from the Purdue Personal
Injury Trust (The “PI Trust”) on account of an that NAS Child’s NAS PI Channeled Claim, you must complete
this Claim Form (the “Claim Form”) and return the form to __________. If you do not complete the form, you
will NOT qualify to receive funds on behalf of the child you represent.

       If you believe that the NAS Child you represent holds multiple NAS PI Claims against the Debtors on
account of multiple injuries, you should still submit only one Claim Form. One Claim Form submitted for a NAS
PI Claim shall be deemed to be a Claim Form in respect of that NAS PI Claim and also any NAS PI Channeled
Claims against a Released Person or Shareholder Released Person that are associated with that NAS PI Claim.

        If you represent the interests of more than one NAS Child, you must file a Claim Form on behalf of each
individual NAS Child. YOU CANNOT file one Claim Form on behalf of multiple children.

        Please follow the instructions of each section carefully to ensure that your Claim Form is submitted
correctly. Except as otherwise indicated, all words shall be given their ordinary, dictionary meaning. Submitting
this Claim Form does not guarantee that you will receive payment from the PI Trust. Whether or not you receive
payment depends on whether you make the additional required submissions, as set forth in the NAS PI TDP, and
whether or not your claim meets the eligibility requirements set forth in the NAS PI TDP.

        This Claim Form allows you to choose to “opt out” of the streamlined, expedited NAS PI TDP liquidation
process with respect to any NAS PI Claim against one or more of the Debtors, and instead pursue that NAS PI
Claim in the tort system by filing a lawsuit against the PI Trust at your own expense. However, you may litigate
in court only with respect to a NAS PI Claim held against one or more Debtors, and may not litigate any other
NAS PI Channeled Claims. If you select the “opt out” option, you will not be eligible to receive any distribution
under the streamlined liquidation procedures of the NAS PI TDP. Furthermore, you will not be allowed to opt
back in to the liquidation provisions of the NAS PI TDP if your lawsuit is unsuccessful in the tort system. In other
words, if you lose your lawsuit, you cannot return to the NAS PI Trust and ask for money. And importantly, if
you do obtain a judgment in a court against the PI Trust, that award will be subject to reduction pursuant to the

1
  Capitalized terms used but not defined herein have the meanings ascribed to them in the Non-NAS PI TDP or, if not defined therein,
then the meanings ascribed to them in the Chapter 11 Plan.
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“opt out” procedures set forth in Exhibit B to the NAS PI TDP. See the procedures set forth in Exhibit B to the
NAS PI TDP for more detail. YOU MAY ONLY OPT OUT BY CHECKING THE “OPT OUT” BOX AND
TIMELY RETURNING THIS CLAIM FORM. FAILURE TO RESPOND DOES NOT CONSTITUTE OPTING
OUT.

        For those who do not “opt out:” If your claim is Allowed by the Claims Administrator of the PI Trust,
your claim will be liquidated and paid according to the provisions of the NAS PI TDP. If your claim is Disallowed
by the Claims Administrator, you will not receive a distribution from the PI Trust. All claimants whose NAS PI
Channeled Claims are Allowed by the Claims Administrator shall receive an equal distribution from the PI Trust
NAS Fund, subject to the deductions described in the NAS PI TDP.

        By submitting this Claim Form and choosing to liquidate your NAS PI Claim under the NAS PI TDP, you
are deemed to consent to the Lien Resolution Program, under which certain health insurance companies, known
as “Third-Party Payors” or “TPPs,” have agreed to resolve their claims against you and/or your recoveries under
the NAS PI TDP for reduced amounts or, in some cases, by waiving their claims altogether. The LRP Agreement
is attached as Exhibit [ ] to the [ ] Plan Supplement.

      Instructions for Submission: You may complete and submit this Claim Form either online, at [INSERT
URL], or by mailing back the completed Claim Form to [REDACTED IN THE NON-FINAL VERSION
EXHIBITED IN THE SOLICITATION PACKET]




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                      P U R D U E          P H A R M A P I T D P
                            N A S          C L A I M F O R M

PART ONE: PERSONAL INFORMATION OF NAS PI CLAIMANT AND HIS/HER
REPRESENTATIVE

What is the Claim Number assigned to your claim by Prime Clerk?       ______________________


Section 1.A: Fill out the information of the NAS Child below:

NAS Child’s Name:                  _________________________________________________________

NAS Child’s Date of Birth:         _________________________________________________________

NAS Child’s Address:               _________________________________________________________

NAS Child’s Social Security Number: _________________________________________________________


Section 1.B: Fill out your own information below:

Your Name:                         ___________                       ____________________________

Your Date of Birth:                ____________                      ___________________________

Your Address:                      ________                       _______________________________

Your Social Security Number:       ___________                       ____________________________

Your Phone Number:                 ____________                       ___________________________

State whether you are the “natural
parent,” “legal guardian,” or “other
custodian” of the NAS Child:         _____________                   __________________________




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PART TWO: “OPT OUT” OF LIQUIDATION UNDER THE NAS PI TDP PROCEDURE

If you would like to forfeit all rights to have the NAS PI Claimant’s NAS PI Channeled Claims liquidated under
the NAS PI TDP and instead pursue the NAS PI Claimant’s NAS PI Claim by filing a lawsuit against the PI
Trust in court at your own expense, check the following box and provide the additional information sought in
this PART TWO. WARNING: Mark the box in this paragraph of PART TWO only if you elect to “opt
out” of the NAS PI TDP liquidation process and instead pursue your NAS PI Claim in civil court through
the tort system by filing a lawsuit in court at your own expense.


      I have checked this box to opt out of the liquidation procedures of the NAS PI TDP and the PI
      Trust NAS Fund.



PART THREE: MEDICAL PROVIDER INFORMATION (skip this section if you elected to “opt out”)

Section 3.A: This section concerns licensed medical providers who have diagnosed the NAS Child with
any medical, physical, cognitive or emotional condition resulting from his/her intrauterine exposure to
opioids or opioid replacement or treatment medication(s). The diagnoses may include, but are not
limited to, the condition known as neonatal abstinence syndrome (“NAS”). Fill out and provide the
following information, if known:

 Name of Licensed           Address                 City       State Zip        Date of
 Medical Provider                                                               Diagnosis




Section 3.B: Even if you do not know the information sought in Section 3.A, please include with your
submission of this Claim Form Competent Evidence that a licensed medical provider has diagnosed the
NAS PI Claimant with any medical, physical, cognitive or emotional condition resulting from the
Claimant’s intrauterine exposure to opioids or opioid replacement or treatment medication(s). The
diagnoses may include, but are not limited to, the condition known as neonatal abstinence syndrome
(“NAS”). The diagnosis can be made by any medical professional, specifically including physicians,
nurses, physician assistants, mental health counselors or therapists, or professionals at a rehabilitation
center. Evidence can include, among other things, medical records evidencing that the NAS Child had a
NAS diagnosis, post-natal treatment for symptoms caused by opioid exposure, symptoms of post-natal
withdrawal from opioids, medical scoring for NAS or NOWS which is positive or indicates fetal opioid
exposure, a positive toxicology screen of the birth mother or infant for opioids or opioid-weaning drugs,
or a maternal diagnosis of opioid use disorder by the birth mother.




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PART FOUR: MEDICAL LIENS (skip this section if you elected to “opt out”)

Section 4.A: Did any insurance company pay for medical treatment for the NAS Child’s opioid-related
injuries?

 Yes:
 No:

Section 4.B: In the last 20 years, was the NAS Child eligible for coverage by any of the following, or did
any of the following actually pay for his/her opioid-related health costs? Respond by writing “Yes” or
“No” next to each insurance provider name, and provide the requested information as to each. If any
insurance carrier who provided coverage to the opioid user is not identified, please fill in that carrier’s
information at the bottom of the chart.

    Type of        Yes/        Street Address          Phone          Policy         Policy      Dates of
   Insurance       No                                 Number        Number (if       Holder      Coverage
                                                                       any)
 Medicare
 Medicaid
 Tricare
 VA
 Champus
 Private (Name
 Below):




PART FIVE: SIGNATURE (You must complete this Part Five regardless of your elections above)

Please fill out and sign this section when you have completed this Claim Form.

NAS Child’s Name:                               _____________________________

NAS Child’s E-mail (if any):                    _____________________________

NAS Child’s Phone Number (if any):              _____________________________

Your Name:

Your E-mail:

Your Phone Number:


I am including the evidence requested in Section 3.B above in my submission of this form:


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I declare under penalty of perjury that the representations made on this Claim Form are true and correct to the
best of my knowledge.




                                                                  Signature of NAS PI Claimant or individual
                                                                  acting on behalf of the NAS PI Claimant




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                                                    EXHIBIT B
        PROCEDURES FOR NAS PI CLAIMANTS WHO OPT TO LIQUIDATE
     THEIR NAS PI CLAIMS IN THE TORT SYSTEM RATHER THAN UNDER THE
    INDIVIDUAL PURDUE PHARMA LP NAS TRUST DISTRIBUTION PROCEDURE


The following procedures shall apply in the case of an NAS PI Claimant 1 who elects, subject to
the terms hereof, to liquidate his or her NAS PI Claim by commencing a lawsuit in the tort system
after so timely indicating on his or her NAS PI Claim Form. By so electing, such NAS PI Claimant
forfeits any right to have his or her NAS PI Claim liquidated under the liquidation provisions of
the NAS PI TDP, and instead shall have the right to liquidate his or her NAS PI Claim exclusively
in the tort system. Only claims that meet the definition of “NAS PI Claim” under the Plan may be
litigated in the tort system. The adjudication of an NAS PI Claim in the tort system shall be deemed
to be an adjudication of that NAS PI Claim and any associated NAS PI Channeled Claims of the
NAS PI Claimant regarding the same injuries that are the subject of his or her NAS PI Claim. Any
Distribution from the PI Trust on a Final Judgment (as defined below) in respect of such NAS PI
Claim, if any, shall be deemed to be a Distribution in satisfaction and conclusive resolution of such
NAS PI Claim and such associated NAS PI Channeled Claims.

§ 1.    SUITS IN THE TORT SYSTEM.
If an NAS PI Claimant timely filed a proof of claim in the Chapter 11 Cases asserting his or her
NAS PI Claim, then he or she may elect to liquidate such NAS PI Claim in the tort system rather
than under the NAS PI TDP by checking the box so indicating on his or her NAS PI Claim Form,
which NAS PI Claim Form must be filed by the date that is one hundred and fifty (150) days 2 after
the applicable NAS PI Claim Form is disseminated to him/her. 3 If the NAS PI Claimant makes
such election, then the NAS PI Claimant may file a lawsuit regarding only his or her NAS PI Claim
(and no other claims) against only the PI Trust (and including no other parties as defendants) solely
in the United States District Court for the Southern District of New York (the “SDNY District
Court”),4 unless such court orders pursuant to 28 USC § 157(b)(5) that such suit may be filed and
tried in the United States District Court for the district in which the NAS PI Claim arose.

Any such lawsuit must be filed by the NAS PI Claimant in an individual capacity and not as a
member or representative of a class, and no such lawsuit may be consolidated with the lawsuit of

1
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the NAS PI TDP
    or, if not defined in the NAS PI TDP, the meanings ascribed to such terms in the Plan.
2
    Within sixty (60) days after Effective Date, the NAS PI Claim Form will be made available to NAS PI Claimants
    electronically and, if the NAS PI Claimant is a pro se claimant, also mailed to such NAS PI Claimant in physical
    copy. When disseminated, each NAS PI Claim Form will clearly state the absolute deadline (e.g., “January 30,
    2022”) by which the NAS PI Claim Form must be returned.
3
    The filing of an NAS PI Claim Form indicating that an NAS PI Claimant has elected to liquidate his or her NAS
    PI Claim in the tort system shall have no effect on any federal or state statute of limitation or repose applicable to
    the claims asserted by such NAS PI Claimant’s action.
4
    The Debtors shall seek an order from the SDNY District Court requiring that lawsuits filed by Holders of PI
    Claims who elect, subject to the terms hereof, to liquidate their PI Claims by commencing separate lawsuits in
    the tort system be filed and tried solely in the SDNY District Court pursuant to 28 U.S.C. § 157(b)(5).
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any other plaintiff by, or on the motion of, any plaintiff.5 All defenses (including, with respect to
the PI Trust, all defenses which could have been asserted by the Debtors, except as otherwise
provided in the Plan) shall be available to both sides at trial. 6

Subject to the PI Trust’s receipt of an NAS PI Claim Form so indicating that an NAS PI Claimant
has elected to file a lawsuit as set forth above in the tort system, NewCo and the Plan
Administration Trust will establish and maintain, as necessary, a document reserve (the “PI
Document Reserve”) containing such materials as are necessary to such lawsuit as discovery
material. Any such NAS PI Claimant will be provided access to the PI Document Reserve subject
to agreeing to (i) a protective order acceptable to the PI Trustee, the Plan Administration Trustee,
and NewCo, and (ii) to the extent that the materials deposited into the PI Document Reserve by
the PI Trust include any documents produced by the Shareholder Released Parties that are not
included in the Public Document Repository in accordance with the Plan and the Shareholder
Settlement Agreement (the “Shareholder Released Party Documents”), the Protective Order,
which shall exclusively govern the terms of disclosure of the Shareholder Released Party
Documents. Any such NAS PI Claimant who propounds on the PI Trust, NewCo, the Plan
Administration Trustee, any other Creditor Trust, or any Debtor a request for additional document
or testimonial discovery must in such request (i) represent that such NAS PI Claimant has
conducted a reasonable search of the PI Document Reserve and, if it has been established, the
Public Document Repository, and believes, based on such reasonable search, that the documents,
information, or testimony it seeks is not available in either the PI Document Reserve or the Public
Document Repository, and (ii) state and explain the basis for the NAS PI Claimant’s good faith
belief that the additional discovery he or she seeks is relevant to such lawsuit. The PI Trust shall
not be liable for any costs incurred by parties other than the PI Trust in connection with third-party
discovery propounded by any party other than the PI Trust. 7

If an NAS PI Claimant obtains a judgment on his or her NAS PI Claim in the tort system and such
judgment becomes a final order (each, a “Final Judgment”), such Final Judgment shall be deemed
“Allowed” for purposes under the Plan and shall be payable by the PI Trust, subject to the
limitation on damages provision set forth below, as well as the applicable Payment Percentage and
Maximum Value (each as defined below), as provided in Section 6 below, deductions as set forth
in Section 6 below, and the resolution of healthcare liens, as provided in Section 7 below.




5
    The trustee of the PI Trust (the “PI Trustee”) shall be empowered (i) to bring one or more consolidated actions
    against multiple Holders of PI Claims who elect, subject to the terms hereof, to liquidate their PI Claims by
    commencing separate lawsuits in the tort system and (ii) to seek to consolidate multiple lawsuits commenced by
    individual Holders of PI Claims who elect, subject to the terms hereof, to liquidate their PI Claims by commencing
    separate lawsuits in the tort system.
6
    Among other things, the PI Trust shall be empowered to assert that the claim that is the subject of an NAS PI
    Claimant’s lawsuit is not a “NAS PI Claim” within the meaning of the Plan.
7
    In order to minimize costs incurred by the PI Trust in connection with third-party discovery, the PI Trustee shall
    be empowered to seek to consolidate discovery propounded by Holders of PI Claims or the PI Trust in multiple
    lawsuits commenced by individual Holders of PI Claims who elect, subject to the terms hereof, to liquidate their
    PI Claims by commencing separate lawsuits in the tort system.


                                                         2
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§ 2.   LIMITATION ON DAMAGES AND ATTORNEYS’ FEES.
Notwithstanding their availability in the tort system, no multiple, exemplary, statutory enhanced
and/or punitive damages (i.e., damages other than compensatory damages), and no interest,
attorneys’ fees or costs (including statutory attorneys’ fees and costs) shall be payable, with respect
to any NAS PI Claim litigated against the PI Trust in the tort system.

§ 3.   NAS MAXIMUM VALUE.
Payment on a Final Judgment for an NAS Child shall not exceed $21,000 (the “NAS Maximum
Value”) which is estimated to be three times the maximum value that will be distributed under the
NAS PI TDP for a given NAS PI Claim.

§ 4.   NAS PAYMENT PERCENTAGE.
A Final Judgment on an NAS PI Claim, minus any multiple, exemplary, statutory enhanced and/or
punitive damages (i.e., damages other than compensatory damages), interest, attorneys’ fees or
costs (including statutory attorneys’ fees and costs) that may have been awarded as part of such
Final Judgment, shall be subject to reduction by the same percentage that NAS PI Claims
liquidated under the NAS PI TDP are reduced prior to payment. In other words, an NAS PI
Claimant who elects to liquidate his or her NAS PI Claim in the tort system shall not be entitled
to receive more than his or her pro-rata share of the value available for distribution to all NAS PI
Channeled Claims entitled to a recovery pursuant to the NAS PI TDP. In the view of the NAS
Committee, the estimated awards for NAS PI Claims liquidated under the NAS PI TDP represent
an estimated pro-rata percentage recovery by NAS PI Claimants holding Allowed NAS PI
Channeled Claims of approximately [●]% (such pro-rata percentage recovery as may be altered
over time, the “NAS Payment Percentage”). Accordingly, the initial NAS Payment Percentage is
[●]%.

No holder of an NAS PI Claim who elects to liquidate his or her NAS PI Claim in the tort system
shall receive a payment that exceeds the liquidated value of his or her NAS PI Claim multiplied
by the NAS Payment Percentage in effect at the time of payment (such value so reduced, the “NAS
Percentage-Reduced Claim”); provided, however, that if there is a reduction in the NAS Payment
Percentage, the PI Trustee, in his or her sole discretion, may cause the NAS PI Trust Fund to pay
an NAS PI Claim based on the NAS Payment Percentage that was in effect prior to the reduction
if the judgment in respect of such NAS PI Claim became a Final Judgment prior to the date the PI
Trustee proposes the new NAS Payment Percentage to the Oversight Committee and the
processing of such NAS PI Claim was unreasonably delayed due to circumstances beyond the
control of the NAS PI Claimant or the NAS PI Claimant’s Counsel (as applicable).

§ 5.   ADJUSTMENT OF THE NAS PAYMENT PERCENTAGE.
The NAS Payment Percentage shall be subject to change if the PI Trustee (with the assistance of
the Claims Administrator), with the consent of the PI Trust’s oversight committee (the “Oversight
Committee”), determines that an adjustment is required. No less frequently than once every
three (3) years, commencing with the date that is three (3) years after the Effective Date of the
Plan, the PI Trustee (with the assistance of the Claims Administrator) shall reconsider the then-
applicable NAS Payment Percentage to assure that it is based on accurate, current information and


                                                  3
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may, after such reconsideration, change the NAS Payment Percentage if necessary with the consent
of the Oversight Committee. The PI Trustee shall reconsider the then-applicable NAS Payment
Percentage at shorter intervals if he or she deems such reconsideration to be appropriate or if
requested to do so by the Oversight Committee.

The PI Trustee shall base his or her determination of the NAS Payment Percentage on current
estimates of the number of NAS PI Channeled Claims, the value of the assets of the PI Trust NAS
Fund available for the payment of Allowed NAS PI Channeled Claims pursuant to the NAS PI
TDP and amounts due and estimated to become due pursuant to the NAS PI TDP in respect to
Final Judgments obtained by NAS PI Claimants who elect to liquidate their NAS PI Claims in the
tort system, all anticipated administrative and legal expenses, and any other material matters that
are reasonably likely to affect the sufficiency of funds to pay a comparable percentage of (i) full
value to all Holders of Allowed NAS PI Channeled Claims and (ii) the NAS Maximum Value to
NAS PI Claimants who elect to liquidate their NAS PI Claims in the tort system. When making
these determinations, the PI Trustee (with the assistance of the Claims Administrator) shall
exercise common sense and flexibly evaluate all relevant factors.

If a redetermination of the NAS Payment Percentage has been proposed in writing to the Oversight
Committee by the PI Trustee, but such redetermination of the NAS Payment Percentage has not
yet been adopted by the Oversight Committee, a -NAS PI Claimant that has obtained a Final
Judgment shall receive the lower of the then-current NAS Payment Percentage and the proposed
NAS Payment Percentage. However, if the proposed NAS Payment Percentage is the lower
amount but is not subsequently adopted by the Oversight Committee, the NAS PI Claimant shall
thereafter receive the difference between the lower proposed amount and the higher current
amount. Conversely, if the proposed NAS Payment Percentage is the higher amount and
subsequent adopted, the NAS PI Claimant who has obtained a Final Judgment shall thereafter
receive the difference between the current amount and the higher adopted amount.

At least thirty (30) days prior to proposing in writing to the Oversight Committee a change in the
NAS Payment Percentage, the PI Trustee shall post to the PI Trust’s website a notice indicating
the PI Trustee is reconsidering the NAS Payment Percentage.

If the PI Trustee (with the assistance of the Claims Administrator), with the consent of the
Oversight Committee, makes a determination to increase the NAS Payment Percentage due to a
material change in estimates of the future assets and/or liabilities of the PI Trust NAS Fund, the
Claims Administrator shall make supplemental payments to all NAS PI Claimants who obtained
previously a Final Judgment and received payments based on a lower NAS Payment Percentage.
The amount of any such supplemental payment shall be the liquidated value of the NAS PI
Channeled Claim in question multiplied by the newly-adjusted NAS Payment Percentage, less all
amounts paid previously to the NAS PI Claimant with respect of such NAS PI Channeled Claim.

The PI Trust’s obligation to make a supplemental payment to an NAS PI Claimant shall be
suspended in the event the payment in question would be less than $100.00, and the amount of the
suspended payment shall be added to the amount of any prior supplemental payment/payments
that was/were also suspended because it/they would have been less than $100.00. However, the PI
Trust’s obligation shall resume, and the PI Trust shall pay any such aggregate supplemental



                                                4
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payments due to the NAS PI Claimant that obtained a Final Judgment at such time that the total
exceeds $100.00.

§ 6.     PAYMENT OF JUDGMENTS FOR MONEY DAMAGES.
An NAS PI Claimant who obtains a Final Judgment shall be entitled to receive from the PI Trust
NAS Fund, in full and final satisfaction of that Final Judgment, a gross amount (subject to
deductions set forth next) equal to the lesser of (i) the NAS Percentage-Reduced Claim and (ii) the
NAS Maximum Value, in each case as in effect on the date of the pending payment, as described
next (the “NAS Gross Amount”). A NAS PI Claimant’s NAS Gross Amount shall be subject to
the following deductions and holdbacks: (A) its pro rata share of the operating expenses of the PI
Trust; (B) amounts necessary to settle liens held by private insurance companies against such
amount, if any; (C) amounts prepaid to the United States under the United States-PI Claimant
Medical Expense Claim Settlement to settle liens of the federal healthcare programs like Medicare,
Tricare, VA, or Medicaid against such amount, if any; (D) its pro rata share of the compensation,
costs and fees of professionals that represented or advised the Ad Hoc Group of Individual Victims
and the NAS Committee in connection with the Chapter 11 Cases, subject to Section 5.8(g) of the
Plan and the Trust Agreement, and (E) the common benefit assessment required under Section
5.8(c) of the Plan, and the fees and costs of such NAS PI Claimant’s individual attorney(s) in the
Chapter 11 Cases, if any, reduced by the common benefit assessment in accordance with Section
5.8(c) of the Plan.8 The resulting net amount shall be paid to the NAS PI Claimant in the form of
an initial payment not to exceed $3,500.00 and five (5) additional equal installments in years
six (6) through ten (10) following the year of the initial payment; subject, however, to the prior
satisfaction of healthcare liens as set forth in Section 7 below. In no event shall interest be paid in
respect of any judgment obtained in the tort system.

None of the NAS Percentage-Reduced Claim, the NAS Maximum Value, the NAS Gross Amount,
the deductions therefrom, or the payment schedule is subject to any appeal or reconsideration.

§ 7.     RESOLUTION OF HEALTH CARE LIENS.
The PI Trust shall not issue any payment in respect of a Final Judgment until the Claims
Administrator has received proof to his or her reasonable satisfaction that any private or
governmental health care liens or similar claims against such Final Judgment have been satisfied
or will be satisfied out of the recovery.

§ 8.     APPLICABILITY OF SPECIAL PROCEDURES FOR MINORS AND HEIRS.
 The special procedures set forth in Exhibit E to the NAS PI TDP shall apply to all NAS PI
Claimants who are minors under applicable law and elect, subject to the terms hereof, to liquidate
their NAS PI Claims by commencing a lawsuit in the tort system. Anyone seeking a Distribution




8
  Your individual attorney, rather than the PI Trust, will be responsible for deducting his/her fees and expenses from
the award.

                                                          5
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from the PI Trust in their capacity as an heir must execute and submit the applicable Heirship
Declaration attached to the NAS PI TDP as Exhibit D. 9




9
    Exhibit D contains two declaration forms. One applies if the NAS-Decedent named the NAS PI Claimant as
    executor in his/her will; the other applies if the NAS Decedent had no will.


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                                    EXHIBIT C

                       SAMPLE HIPAA FORMS FOR
        THE INDIVIDUAL PURDUE PHARMA LP PI TRUST DISTRIBUTION
                     PROCEDURE FOR NAS PI CLAIMS
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   SAMPLE FORM – DO NOT COMPLETE. A FINAL VERSION WILL BE
    MADE AVAILABLE TO YOU AFTER THE CHAPTER 11 PLAN HAS
            BEEN CONFIRMED AND GONE EFFECTIVE
         AUTHORIZATION TO DISCLOSE HEALTH INFORMATION
  Claimant Name:                                 Date:

  Date of Birth:                                  SSN:

1. The following individuals or organizations are authorized to disclose my health records to
   the parties specified below in section #4: (Note: Please list the names of your medical
   care providers and your health insurance providers that may have records relevant
   to the resolution of your PI Claim. If you are unsure of the exact legal name of your
   medical providers and health insurance providers, you can leave this blank, and we
   will complete it for you with the understanding that you authorize all relevant




                                              e
   parties):




                                 pl
2. The type and amount of information to be used or disclosed as follows:

  The entire record, including but not limited to: any and all medical records, mental health
  records, psychological records, psychiatric records, problem lists, medication lists, lists of
                    m
  allergies, immunization records, history and physicals, discharge summaries, laboratory
  results, x-ray and imaging reports, medical images of any kind, video tapes, photographs,
  consultation reports, correspondence, itemized invoices and billing information, and
  information pertaining to Medicaid or Medicare eligibility and all payments made by those
Sa

  agencies, for the following dates: (Note: List the date range for which the medical
  providers and insurance companies above may have records relevant to the
  resolution of your PI Claim. If you are unsure of the exact dates, then leave this
  blank, and we will complete this section for you with the understanding that you
  authorize all relevant date ranges).

    Dates of Services: From:                             To:

3. I understand that the information in my health records may include information relating
   to sexually transmitted disease, acquired immunodeficiency syndrome (AIDS), or human
   immunodeficiency virus (HIV). It may also include information about behavioral or
   mental health services, as well as treatment for alcohol and drug abuse.

4. The health information may be disclosed to and used by the following individual and/or
   organization:
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                     MASSIVE: Medical & Subrogation Specialists
                               25657 Southfield Road
                                Southfield, MI 48075
                        (p) 833-466-2774 (f) 877-294-7893

5. I understand I have the right to revoke this authorization at any time. I understand if I
   revoke this authorization, I must do so in writing and present my written revocation to the
   health information management department. I understand the revocation will not apply to
   information that has already been released in response to this authorization. I understand
   the revocation will not apply to my insurance company when the law provides my insurer
   with the right to contest a claim under my policy. Unless otherwise revoked, this
   authorization will expire 10 years after the date that I sign it.

6. I understand that authorizing the disclosure of this health information is voluntary. I can
   refuse to sign this authorization and forego a recovery under the Purdue bankruptcy




                                             e
   personal injury trust distribution procedures. I understand that no organization may
   condition treatment, payment, enrollment, or eligibility for benefits on my signing of this
   authorization. I understand I may inspect or copy the information to be used or disclosed,


                                pl
   as provided in CFR 1634.524. I understand any disclosure of information carries with it
   the potential for an unauthorized re-disclosure and the information may not be protected
   by federal confidentiality rules or HIPAA. If I have questions about disclosure of my
   health information, I can contact the parties listed above in section #4.
                   m
  Patient or Legal Representative                                     Date
Sa

  Relationship to Patient (If signed by Legal Representative)
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   SAMPLE FORM – DO NOT COMPLETE. A FINAL VERSION WILL BE
    MADE AVAILABLE TO YOU AFTER THE CHAPTER 11 PLAN HAS
            BEEN CONFIRMED AND GONE EFFECTIVE
         AUTHORIZATION TO DISCLOSE HEALTH INFORMATION
  Claimant Name:                                 Date:

  Date of Birth:                                 SSN:

1. The following individuals or organizations are authorized to disclose my health records to
   the parties specified below in section #4: (Note: Please list the names of your medical
   care providers and your health insurance providers that may have records relevant
   to the resolution of your PI Claim. If you are unsure of the exact legal name of your
   medical providers and health insurance providers, you can leave this blank, and we
   will complete it for you with the understanding that you authorize all relevant




                                              e
   parties):




                                 pl
2. The type and amount of information to be used or disclosed as follows:

  The entire record, including but not limited to: any and all medical records, mental health
  records, psychological records, psychiatric records, problem lists, medication lists, lists of
                    m
  allergies, immunization records, history and physicals, discharge summaries, laboratory
  results, x-ray and imaging reports, medical images of any kind, video tapes, photographs,
  consultation reports, correspondence, itemized invoices and billing information, and
  information pertaining to Medicaid or Medicare eligibility and all payments made by those
Sa

  agencies, for the following dates: (Note: List the date range for which the medical
  providers and insurance companies above may have records relevant to the
  resolution of your PI Claim. If you are unsure of the exact dates, then leave this
  blank, and we will complete this section for you with the understanding that you
  authorize all relevant date ranges).

    Dates of Services: From:                             To:

3. I understand that the information in my health records may include information relating
   to sexually transmitted disease, acquired immunodeficiency syndrome (AIDS), or human
   immunodeficiency virus (HIV). It may also include information about behavioral or
   mental health services, as well as treatment for alcohol and drug abuse.

4. The health information may be disclosed to and used by the following individual and/or
   organization:
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                 GENTLE, TURNER, SEXTON & HARBISON, LLC
                     501 Riverchase Parkway East, Suite 100
                             Hoover, Alabama 35244
                       (p) 205-716-3000 (f) 205-716-2364

5. I understand I have the right to revoke this authorization at any time. I understand if I
   revoke this authorization, I must do so in writing and present my written revocation to the
   health information management department. I understand the revocation will not apply to
   information that has already been released in response to this authorization. I understand
   the revocation will not apply to my insurance company when the law provides my insurer
   with the right to contest a claim under my policy. Unless otherwise revoked, this
   authorization will expire 10 years after the date that I sign it.

6. I understand that authorizing the disclosure of this health information is voluntary. I can
   refuse to sign this authorization and forego a recovery under the Purdue bankruptcy




                                             e
   personal injury trust distribution procedures. I understand that no organization may
   condition treatment, payment, enrollment, or eligibility for benefits on my signing of this
   authorization. I understand I may inspect or copy the information to be used or disclosed,


                                pl
   as provided in CFR 1634.524. I understand any disclosure of information carries with it
   the potential for an unauthorized re-disclosure and the information may not be protected
   by federal confidentiality rules or HIPAA. If I have questions about disclosure of my
   health information, I can contact the parties listed above in section #4.
                   m
  Patient or Legal Representative                                     Date
Sa

  Relationship to Patient (If signed by Legal Representative)
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                                    EXHIBIT D

                  SAMPLE HEIRSHIP DECLARATIONS FOR
        THE INDIVIDUAL PURDUE PHARMA LP PI TRUST DISTRIBUTION
                     PROCEDURE FOR NAS PI CLAIMS
PRA

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               HEIRSHIP DECLARATION FOR PURDUE PI TDP
    THIS IS A SAMPLE DECLARATION FORM FOR PURPOSES OF SOLICITATION. DO NOT FILL OUT THIS FORM AT THIS
    TIME. ONCE THE PI PLAN HAS BEEN CONFIRMED AND GONE EFFECTIVE, THE FINAL COPY OF THIS FORM WILL BE
                  MADE AVAILABLE TO YOU FOR COMPLETION AND SUBMISSION TO THE PI TRUST. 1

                                                             SWORN DECLARATION:
        SD-1                            SIGNATORY IS EXECUTOR UNDER DECEDENT’S LAST WILL AND TESTAMENT
    You are required to complete this declaration if you hold a PI Claim2 (and thus are a “PI Claimant”) regarding the
    opioid-related death of another person (the “Decedent”), and you have not been appointed with the authority to act on
    behalf of the Decedent because no probate or estate proceeding has been commenced, but you have been named
    as executor or executrix (or comparable position under applicable state law) under the Last will and Testament of the
    Decedent.


                                            I.       DECEDENT INFORMATION




                                                                           E
                           First Name                                              M.I.       Last Name
    Name



    Social Security Number


    Residence/Legal Domicile
    Address at Time of Death
                                        |
                                        Street


                                        City




                                        II.
                                                 |
                                                     PL|   |-|   |   |-|   |




                                                     PI CLAIMANT INFORMATION
                                                                               |          |    |
                                                                                                    Date of
                                                                                                    Death


                                                                                                    State
                                                                                                                              /      /
                                                                                                                        (Month/Day/Year)




                                                                                                                   Zip Code
                             M
                           First Name                                              M.I.       Last Name
    Your Name
    Your Social Security
    Number                              |        |     |   |-|   |   |-|   |   |          |    |
    Prime Clerk POC Number
    assigned to your PI Claim
    SA

                           Street
    Your Address
                           City                                                                     State          Zip Code




    Your Relationship to Decedent
    Basis of Your Authority to Act for the
    Decedent




1Submission instructions shall be provided along with the final form after the Plan has been confirmed and gone effective.
2Capitalized terms used but not defined herein shall have the meanings ascribed to them in the [ ] Amended Chapter 11 Plan of
Purdue Pharma L.P. and its affiliated debtors (the “Plan”).
                                                                     1
PRA

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           HEIRSHIP DECLARATION FOR PURDUE PI TDP

                                                1. Last Will and Testament of
 List here and attach copies of all
                                                                                  , dated
 document(s) evidencing the basis for your
                                                                          .
 authority
                                                2.




                                                         E
                                    PL
                       M
 SA



                                                     2
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             HEIRSHIP DECLARATION FOR PURDUE PI TDP

                           III. HEIRS AND BENEFICIARIES OF DECEDENT
                           (ATTACH ADDITIONAL SHEETS FOR THE SECTION IF NEEDED)
 Use the space below to identify the name and address of all persons who may have a legal right to share in any
 settlement payment on behalf of the claim of the Decedent. Also state if and how you notified these persons of the
 settlement, or the reason they cannot be notified.
               Name                                                  Information
                                 Address
                                 Relationship to Decedent




                                                                E
 1.                                                  Yes. How Notified:
                                 Notified of
                                 Settlement?
                                                     No. Why Not:




 2.
                                 Address
                                         PL
                                 Relationship to Decedent


                                                     Yes. How Notified:
                                 Notified of
                          M
                                 Settlement?
                                                     No. Why Not:


                                 Address
 SA

                                 Relationship to Decedent


 3.                                                  Yes. How Notified:
                                 Notified of
                                 Settlement?
                                                     No. Why Not:




                                                           3
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        HEIRSHIP DECLARATION FOR PURDUE PI TDP

          Name                                           Information

                        Address
                        Relationship to Decedent


 4.                                       Yes. How Notified:
                        Notified of
                        Settlement?
                                          No. Why Not:




                                                    E
                        Address
                        Relationship to Decedent


 5.
                                PL
                        Notified of
                        Settlement?
                                          Yes. How Notified:



                                          No. Why Not:
                     M
 SA



                                               4
PRA

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             HEIRSHIP DECLARATION FOR PURDUE PI TDP
                                              IV. PI CLAIMANT CERTIFICATION

 This Sworn Declaration is an official document for submission to the PI Trust. By signing this Sworn Declaration, I certify
 and declare under penalty of perjury pursuant to 28 U.S.C. Section 1746 that:

 (a) I am seeking authority to act on behalf of the Decedent and his or her estate, heirs, and beneficiaries in connection
     with the PI TDP, including with respect to the submission of forms and supporting evidence and the receipt of payment
     for any such awards.

 (b) I will abide by all substantive laws of the Decedent’s last state of domicile concerning the compromise and distribution
     of any monetary award to the appropriate heirs or other beneficiaries and any other parties with any right to receive
     any portion of any payments.




                                                                   E
 (c) No one else has been appointed the personal representative, executor, administrator, or other position with the
     authority to act on behalf of the Decedent and his or her estate.

 (d) The copy of the Last Will and Testament provided by me is the Last Will and Testament of the Decedent.



                                           PL
 (e) No application or proceeding has been filed in state or other court to administer the estate of the Decedent or to
     appoint an executor or administrator because state law does not require it.

 (f) I will notify the Claims Administrator immediately if my authority to act is curtailed, surrendered, withdrawn, or
     terminated.
                           M
 SA



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             HEIRSHIP DECLARATION FOR PURDUE PI TDP

 (g) I am not aware of any objections to my appointment and service as the PI Claimant on behalf of the Decedent
     and his or her estate, heirs, and beneficiaries.

 (h) No person notified under Section III objects to my serving as the PI Claimant and taking such steps as required by
     the PI TDP to resolve all claims related to the Decedent’s prescription and/or use of Purdue opioids. The persons
     named in Section III are all of the persons who may have a legal right to share in any settlement payment issued in
     respect of the injuries of the Decedent.

 (i) I will comply with any and all provisions of the state law regarding the compromise and distribution of the proceeds of
     the settlement of a survival or wrongful death claim to the appropriate heirs or other beneficiaries and any other parties
     with any right to receive any portion of any payments.




                                                                    E
 (j) I will indemnify and hold harmless the PI Trust, the Claims Administrator, the Appeals Master, and the agents and
     representatives of any of the foregoing, from any and all claims, demands, or expenses of any kind arising out
     distributions from the PI trust on account of injuries of the Decedent.

 The information I have provided in this Declaration is true and correct. I understand that the Claims Administrator and


                                            PL
 Court will rely on this Declaration, and false statements or claims made in connection with this Declaration may result in
 fines, imprisonment, and/or any other remedy available by law.
                           M
                                      V.     PI CLAIMANT SIGNATURE

 Signature                                                                                   Date                /         /
 SA

                                                                                                              (Month/Day/Year)




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               HEIRSHIP DECLARATION FOR PURDUE PI TDP
    THIS IS A SAMPLE DECLARATION FORM FOR PURPOSES OF SOLICITATION. DO NOT FILL OUT THIS FORM AT THIS
    TIME. ONCE THE PI PLAN HAS BEEN CONFIRMED AND GONE EFFECTIVE, THE FINAL COPY OF THIS FORM WILL BE
                  MADE AVAILABLE TO YOU FOR COMPLETION AND SUBMISSION TO THE PI TRUST. 1


                                                             SWORN DECLARATION:
       SD-2
                                               DECEDENT DID NOT LEAVE A LAST WILL AND TESTAMENT
    You are required to complete this declaration if you hold a PI Claim2 (and thus are a “PI Claimant”) regarding the
    opioid-related death of another person (the “Decedent”), and you have not been appointed with the authority to act on
    behalf of the Decedent because the Decedent Claimant died without a Will and no probate or estate proceeding has
    been opened.


                                            I.       DECEDENT INFORMATION




                                                                           E
                           First Name                                              M.I.       Last Name
    Name




    Social Security Number


    Residence/Legal Domicile
    Address at Time of Death
                                        |
                                        Street


                                        City




                                        II.
                                                 |
                                                     PL|   |-|   |   |-|   |




                                                     PI CLAIMANT INFORMATION
                                                                               |          |    |
                                                                                                    Date of
                                                                                                    Death


                                                                                                    State
                                                                                                                              /      /
                                                                                                                        (Month/Day/Year)




                                                                                                                   Zip Code
                             M
                           First Name                                              M.I.       Last Name
    Your Name
    Your Social Security
    Number                              |        |     |   |-|   |   |-|   |   |          |    |
    Prime Clerk POC Number
    SA

    assigned to your PI Claim
                           Street
    Your Address
                           City                                                                     State          Zip Code




    Your Relationship to Decedent
    Basis of Your Authority to Act for the
    Decedent




1Submission instructions shall be provided along with the final form after the Plan has been confirmed and gone effective.
2Capitalized terms used but not defined herein shall have the meanings ascribed to them in the [ ] Amended Chapter 11 Plan of
Purdue Pharma L.P. and its affiliated debtors (the “Plan”).
                                                                     1
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          HEIRSHIP DECLARATION FOR PURDUE PI TDP

List here and attach copies of all           1. A copy of the intestate statute of the state or domicile of the
document(s) evidencing the basis for your        Deceased Claimant at the time of his or her death.
authority
                                             2.




                                                       E
                                   PL
                      M
SA



                                                  2
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            HEIRSHIP DECLARATION FOR PURDUE PI TDP

                          III. HEIRS AND BENEFICIARIES OF DECEDENT
                          (ATTACH ADDITIONAL SHEETS FOR THE SECTION IF NEEDED)
Use the space below to identify the name and address of all persons who may have a legal right to share in any
settlement payment on behalf of the claim of the Decedent. Also state if and how you notified these persons of the
settlement, or the reason they cannot be notified.
              Name                                                   Information
                                Address
                                Relationship to Decedent




                                                                E
1.                                                   Yes. How Notified:
                                Notified of
                                Settlement?
                                                     No. Why Not:




2.
                                Address  PL
                                Relationship to Decedent


                                                     Yes. How Notified:
                                Notified of
                         M
                                Settlement?
                                                     No. Why Not:


                                Address
SA

                                Relationship to Decedent


3.                                                   Yes. How Notified:
                                Notified of
                                Settlement?
                                                     No. Why Not:




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            HEIRSHIP DECLARATION FOR PURDUE PI TDP

               Name                                                     Information

                                 Address
                                 Relationship to Decedent


4.                                                    Yes. How Notified:
                                 Notified of
                                 Settlement?
                                                      No. Why Not:




                                                                  E
                                 Address
                                 Relationship to Decedent


5.
                                          PL
                                 Notified of
                                 Settlement?
                                                      Yes. How Notified:



                                                      No. Why Not:
                          M
                                  IV.    PI CLAIMANT CERTIFICATION

This Sworn Declaration is an official document for submission to the PI Trust. By signing this Sworn Declaration, I certify
and declare under penalty of perjury pursuant to 28 U.S.C. Section 1746 that:

(a) I am seeking authority to act on behalf of the Decedent and his or her estate, heirs, and beneficiaries in connection
SA

    with the PI TDP, including with respect to the submission of forms and supporting evidence and the receipt of payment
    for any such awards.

(b) I will abide by all substantive laws of the Decedent’s last state of domicile concerning the compromise and distribution
    of any monetary award to the appropriate heirs or other beneficiaries and any other parties with any right to receive
    any portion of any payments.

(c) No one else has been appointed the personal representative, executor, administrator, or other position with the
    authority to act on behalf of the Decedent and his or her estate.

(d) There is no known last will and testament of the Decedent and no application or proceeding has been filed in state or
    other court to administer the estate of the Decedent or to appoint an executor or administrator;

(e) I will notify the Claims Administrator immediately if my authority to act is curtailed, surrendered, withdrawn, or
    terminated.




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            HEIRSHIP DECLARATION FOR PURDUE PI TDP

(f) I am not aware of any objections to my appointment and service as the PI Claimant on behalf of the Decedent
    and his or her estate, heirs, and beneficiaries.

(g) No person notified under Section III objects to my serving as the PI Claimant and taking such steps as required by
    the PI TDP to resolve all claims related to the Decedent’s prescription and/or use of Purdue opioids. The persons
    named in Section III are all of the persons who may have a legal right to share in any settlement payment issued in
    respect of the injuries of the Decedent.

(h) I will comply with any and all provisions of the state law regarding the compromise and distribution of the proceeds of
    the settlement of a survival or wrongful death claim to the appropriate heirs or other beneficiaries and any other parties
    with any right to receive any portion of any payments.




                                                                   E
(i) I will indemnify and hold harmless the PI Trust, the Claims Administrator, the Appeals Master, and the agents and
    representatives of any of the foregoing, from any and all claims, demands, or expenses of any kind arising out of
    distributions from the PI trust on account of injuries of the Decedent.

The information I have provided in this Declaration is true and correct. I understand that the Claims Administrator and


                                           PL
Court will rely on this Declaration, and false statements or claims made in connection with this Declaration may result in
fines, imprisonment, and/or any other remedy available by law.
                          M
                                     V.     PI CLAIMANT SIGNATURE

Signature                                                                                   Date                /         /
SA

                                                                                                             (Month/Day/Year)




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                                                   EXHIBIT E

    DISTRIBUTIONS TO OR FOR THE BENEFIT OF MINOR CLAIMANTS FOR
 THE INDIVIDUAL PURDUE PHARMA LP PI TRUST DISTRIBUTION PROCEDURE1

           The following procedures apply to any PI Claimant who is a minor under applicable law

           (a “Minor Claimant”) for so long as the PI Claimant remains a minor under applicable law.

           These procedures apply regardless of whether the Minor Claimant holds a NAS PI Claim

           or a Non-NAS PI Claim, and regardless of whether the Minor Claimant’s Proxy (as defined

           below) elects to have that PI Claim liquidated under the PI TDP2 or to pursue it in the tort

           system.

      1. Actions by Proxy of Minor Claimant. A Minor Claimant’s custodial parent, his/her legal

           guardian under applicable law (a “Guardian”), or an adult providing custody and care to

           the minor (any of the foregoing acting on behalf of the Minor Claimant, the “Proxy”) is

           authorized to make submissions on behalf of the Minor Claimant under the PI TDP, subject

           to paragraph 2 below. The Proxy shall be responsible for submitting, on behalf of such

           Minor Claimant, all required forms under the PI TDP, including the Claim Form, as well

           as any evidence required by the PI Trust to support the Claim Form, and any other

           documentation required or requested pursuant to the PI TDP. The Proxy is authorized to

           take, on behalf of a Minor Claimant, all actions under the PI TDP that the Minor Claimant

           would be authorized to take if such Minor Claimant were an adult, other than receiving

           distributions from the PI Trust (unless so authorized by paragraph 5 below). These actions

           include, where permitted, making an opt-out or, if the Minor Claimant is a Non-NAS PI




1
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the PI Trust Distribution
Procedure (“PI TDP”).
2
    “PI TDP” refers to either the NAS PI TDP or the Non-NAS PI TDP, as applicable for any particular PI Claimant.
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      Claimant, making a payment election or requesting an appeal pursuant to Exhibit C to the

      Non-NAS PI TDP.

   2. Establishing Proxy of a Minor Claimant. Any purported Proxy making a submission to

      the PI Trust on behalf of a Minor Claimant shall include along with such submission

      documentation of his/her authority to act on behalf of the Minor Claimant, consisting of

      the following:

         a. If the purported Proxy is the Guardian of the Minor Claimant, then the court order

               appointing that Proxy as Guardian, or other documents reasonably acceptable to the

               Claims Administrator as sufficient under applicable law to evidence the

               guardianship.

         b. If the purported Proxy is the custodial parent of the Minor Claimant, then a sworn

               statement that such Proxy is the custodial parent of the Minor Claimant.

         c. If the purported Proxy is neither the Guardian nor custodial parent of the Minor

               Claimant, then a sworn statement by the purported Proxy that he/she is providing

               custody and care to the Minor Claimant, stating for how long he/she has been

               providing such care and custody, explaining his/her relationship to the Minor

               Claimant and the circumstances around the provision of care and custody, as well

               as a statement and/or records from one or more of the following in support of his/her

               sworn statement:

                          1. Minor Claimant’s school

                          2. Purported Proxy’s landlord or property manager

                          3. Minor Claimant’s health provider

                          4. Minor Claimant’s child care provider


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                         5. Purported Proxy’s placement agency

                         6. Governmental social services agency

                         7. Indian tribe officials

                         8. Purported Proxy’s Employer

      Whether the purported Proxy is a Guardian, custodial parent, or neither, the Claims

      Administrator may require additional corroborating evidence at his discretion, including

      in the event that instructions are received from more than one purported Proxy for the

      same Minor Claimant.

   3. Distributions to Minor Claimants.         When the PI Trust has determined the final

      distributable amount on a Minor Claimant’s claim, it will send notice of such final amount

      to the Minor Claimant’s Proxy and counsel (if known). Such notice will include a letter

      inviting the Proxy to discuss how the distributable amount was determined, and the Claims

      Administrator will take reasonable steps to ensure that the Proxy understands how such

      amount was determined. Any distributions owing to a Minor Claimant that are ready for

      issue by the PI Trust at a time when the Minor Claimant is still a minor under applicable

      law shall be (i) used to pay the individual attorneys’ fees of the Minor Claimant pursuant

      to paragraph (4) below and (ii) with respect to the remainder, paid into an interest-bearing

      sub-fund of the Trust (the “Minor Claimants Account”), held there for the sole benefit of

      the Minor Claimant, and invested in a U.S. governmental money-market fund until such

      funds are distributed pursuant to Section 5 below or until the Minor Claimant becomes an

      adult under applicable law (the “Adult Distribution Date”), at which time the amount then

      held in such account (including interest earned) shall be paid directly to such PI Claimant.

      Pending distributions for all Minor Claimants may be held in the same sub-fund.


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   4. Payments of attorneys’ fees.

      Within a reasonable period following receipt of Notice of the final distributable amount on

      Minor Claimant’s PI Channeled Claim, and using forms to be provided by the Claims

      Administrator, the Minor Claimant’s counsel shall submit to the PI Trust, with a copy to

      the Proxy, a request for payment of legal fees and expenses from the Minor’s recovery. It

      is the Minor Claimant’s attorney’s duty to comply with all ethical and legal rules respecting

      such legal fees and expenses, and the Claims Administrator is permitted to rely upon such

      representation in issuing payments in respect of such fees and expenses. Absent objection

      from the Proxy with respect to such asserted fees and expenses, the Claims Administrator

      shall remit payment to the Minor Claimant’s attorney in accordance with the latter’s

      request.

   5. Early Distributions. Funds held in the Minor Claimants Account for a Minor Claimant

      may be released prior to the Adult Distribution Date only pursuant to (a) an order of a U.S.

      court of general jurisdiction in the Minor Claimant’s state of residence, or (b) an order

      entered by the United States Bankruptcy Court for the Southern District of New York.




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                                     Exhibit J-1

                    Redline of NAS PI Trust Distribution Procedures
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                        INDIVIDUAL PURDUE PHARMA LP
       PI TRUST DISTRIBUTION PROCEDURE FOR NAS PI CHANNELED CLAIMS


§ 1.     APPLICABILITY AND SUBMISSION INSTRUCTIONS.

This trust distribution procedure for NAS PI Channeled Claims (as defined below) (the “NAS PI
TDP”) sets forth the manner in which NAS PI Channeled Claims may become eligible for
payments from, and shall be fully discharged by, the PI Trust. 1 Distributions in respect of NAS
PI Channeled Claims shall be exclusively in the form of Distributions from the PI Trust NAS
Fund to Holders of NAS PI Channeled Claims on the terms set forth herein.

Pursuant to the Plan and the Master TDP, the following claims (the “NAS PI Channeled
Claims”) will be channeled to, and liability therefore shall be assumed by, the PI Trust as of the
Effective Date of the Plan: (i) all NAS PI Claims, which are claims against any Debtor for
alleged opioid-related personal injury to an NAS Child or similar opioid-related claims or
Causes of Action against any Debtor asserted by or on behalf of an NAS Child, and that isarose
prior to the Petition Date, and that are not (A) a Third-Party Payor Claim, an NAS Monitoring
Claim, or a Hospital Claim, or a Claim(B) held by a Domestic Governmental Entity, and (ii) all
Released Claims or Shareholder Released Claims that are claims for alleged opioid-related
personal injury to an NAS Child or that are similar opioid-related claims or Causes of Action
asserted by or on behalf of an NAS Child, and that are notarose prior to the Petition Date, and
that are not (A) Third-Party Payor Channeled Claims, NAS Monitoring Channeled Claims, or
Hospital Channeled Claims or (B) held by a Domestic Governmental Entity. NAS PI Channeled
Claims shall be administered, liquidated and discharged pursuant to this NAS PI TDP, and
satisfied solely from the PI Trust NAS Fund (as defined below). Holders of NAS PI Channeled
Claims are referred to herein as “NAS PI Claimants.”

NAS PI Channeled Claims liquidated under this NAS PI TDP shall be (i) Allowed or
Disallowed (such NAS PI Channeled Claims so Allowed, “Allowed NAS PI Channeled
Claims”) and, for Allowed NAS PI Channeled Claims, (ii) liquidated to determine the gross
amounts receivable thereon (an “Award”), in each case pursuant to the terms of this NAS PI
TDP.


An Award for an NAS PI Channeled Claim liquidated hereunder will be a gross number before
deduction of the following “PI Trust and individual attorney legal fees and expenses, as well as
lien Deductions and Holdbacks”: (A) a pro rata share of the operating expenses of the PI Trust;
(B) amounts held back under the Lien Resolution Program Agreement (the “LRP Agreement”),
if any, and to settle liens held by private insurance companies against that Award, if any; (C)
amounts prepaid to the United States under the Plan to settle claims or liens of one or more
federal government health insurance programs, if any, against such Award. No amounts shall be

1
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the FourthFifth
    Amended Joint Chapter 11 Plan of Reorganization of Purdue Pharma L.P. and its Affiliated Debtors [ECF No.
    29352967] (the “Plan”) in the chapter 11 cases of Purdue Pharma L.P. and its Debtor affiliates (the “Chapter 11
    Cases”) in the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”).


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paid on account of an NAS PI Channeled Claim unless such Claim has been Allowed.United
States-PI Claimant Medical Expense Claim Settlement to settle liens of the federal healthcare
programs like Medicare, Tricare, VA, or Medicaid against that Award, if any; (D) a pro rata
share of the compensation, costs and fees of professionals that represented or advised the Ad
Hoc Group of Individual Victims and the NAS Committee in connection with the Chapter 11
Cases, subject to Section 5.8(g) of the Plan; and (E) the common benefit assessment required
under Section 5.8(c) of the Plan, and the fees and costs of the NAS PI Claimant’s individual
attorney(s) in the Chapter 11 Cases, if any, reduced by the common benefit assessment in
accordance with Section 5.8(c) of the Plan.2 In addition to the deductions and holdbacks
described above, your award may be subject to claims by certain state or tribal healthcare
programs that are not part of the LRP Agreement.


This NAS PI TDP sets forth what evidence and forms you must submit in order to be eligible to
receive an Award. Forms may be completed online at the PI Trust’s website,
www._______.com, or by mailing back the completed forms to the PI Trust at the below
address. Evidence in support of your NAS PI Claim should be submitted to [___]. 23

                           ELECTION TO LIQUIDATE NAS PI CLAIM IN THE
                         TORT SYSTEM RATHER THAN UNDER THIS NAS PI TDP
       An NAS PI Claimant who (i) timely filed a Proof of Claim in the Chapter 11 Cases prior to
       the General Bar Date asserting his/her NAS PI Claim against one or more Debtors and
       (ii) elects expressly, by timely submission of the NAS PI Claim Form attached hereto as
       Exhibit A, to liquidate his/her NAS PI Claim in the tort system rather than pursuant to the
       streamlined liquidation procedures set herein (a “NAS Opt-Out Claimant”), may assert
       and liquidate such NAS PI Claim in the tort system at his/her own expense, as set forth in
       more detail in Exhibit B, and shall forfeit all rights to liquidate such NAS PI Claim (and
       any associated NAS PI Channeled Claims regarding the same injuries that are the same
       subject of its NAS PI Claim) under the streamlined procedures set forth in this NAS PI
       TDP. The right to litigate in the tort system is available only with respect to Claims that
       meet the definition of “PI Claim” set forth in the Plan.
       OPTING OUT REQUIRES YOU TO TAKE THE AFFIRMATIVE ACTION OF
       CHECKING THE “OPT OUT” BOX ON THE NAS PI CLAIM FORM AND TIMELY
       SUBMITTING YOUR NAS PI CLAIM FORM TO THE PI TRUST. FAILURE TO
       TIMELY SUBMIT THE NAS PI CLAIM FORM SHALL CONSTITUTE CONSENT TO
       HAVE YOUR NAS PI CHANNELED CLAIMS LIQUIDATED PURSUANT TO THE
       PROVISIONS OF THIS NAS PI TDP.

§ 2.       ALLOCATION OF FUNDS; CLAIMS ADMINISTRATOR.



2
       If you have an individual attorney, then your attorney, rather than the PI Trust, will be responsible for deducting
       his/her fees and expenses from your Award.
23
       Submission instructions to be added after solicitation.


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         (a)      Allocations of Funds to the PI Trust and Further Allocation to the PI Trust NAS
                  Fund and the PI Trust Non-NAS Fund.

Under the Plan, the PI Trust will receive a gross amount of between $700 million and $750
million (minus amounts distributed directly to the United States under the United States-PI
Claimant Medical Expense Claim Settlement), in the form of an initial installment of $300
million on the Effective Date of the Plan and subsequent installments, in each case subject to the
United States-PI Claimant Medical Expense Claim Settlement. The PI Trust shall establish the
following: (i) a reserve for Creditor Trust Operating Expenses of the PI Trust; (ii) a fund to pay
NAS PI Channeled Claims (the “PI Trust NAS Fund”); and (iii) a fund to pay Non-NAS PI
Channeled Claims (the “PI Trust Non-NAS Fund”).

, and The PI Trust shall allocate each distribution it receives under the Plan as follows: (i) an
amount determined in the discretion of the Trustee (as defined below) to be a necessary to fund
the Creditor Trust Operating Expenses of the PI Trust; (ii) 6.43% of the remainder to the PI Trust
NAS Fund, up to an aggregate maximum of $45 million, and (iiiii) the remainder to the PI Trust
Non-NAS Fund; provided, however, that no more than $45 million in the aggregate shall be
deposited to the PI Trust NAS Fund, in each case subject to applicable PI Trust Deductions and
Holdbacks.

         (b)      Claims Administrator.

                  (i)      The PI Trust shall be established in accordance with § 5.7 of the Plan to
                           (1) assume all liability for the PI Channeled Claims, (2) hold the MDT PI
                           Claim and collect the Initial PI Trust Distribution and payments due under
                           the MDT PI Claim in accordance with the Private Entity Settlements and
                           the PI Trust Documents, (3) administer, process, resolve and liquidate PI
                           Channeled Claims, (4) make Distributions on account of Allowed PI
                           Channeled Claims in accordance with the PI Trust Documents (including
                           this NAS PI TDP), (5) fund the TPP LRP Escrow Account and make
                           payments therefrom to LRP Participating TPPs, in each case, in
                           accordance with and subject to the terms of the LRP Agreement and
                           (6) carry out such other matters as are set forth in the PI Trust
                           Documents.34 The trustee of the PI Trust (the “Trustee”), Edgar Gentle III,
                           of Gentle, Turner, Sexton & Harbison, LLC, will serve as claims
                           administrator (the “Claims Administrator”) to carry out the duties of the
                           Trustee as set forth in the Plan and PI Trust Documents. 45

34
     The PI Trust Agreement shall provide that the Trustee shall have the power to appoint such officers and hire
     such employees and engage such legal, financial, accounting, investment, auditing, forecasting, and other
     consultants, advisors, and agents as the business of the PI Trust requires, and delegate to such persons such
     powers and authorities as the fiduciary duties of the Trustee permit and as the Trustee, in his discretion, deems
     advisable or necessary in order to carry out the terms of the PI Trust Agreement, this NAS PI TDP, the Non-
     NAS PI TDP, and the LRP Agreement, and pay reasonable compensation to those employees, legal, financial,
     accounting, investment, auditing, forecasting, and other consultants, advisors, and agents.
45
     The PI Trust Agreement shall provide that the Trustee shall receive a retainer from the PI Trust for his service
     as a Trustee in the amount of $150,000 per annum, paid annually. Hourly time shall first be billed and applied

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                    (ii)     The Trustee and the Claims Administrator56 shall determine, pursuant to
                             the requirements set forth herein, the Allowance or Disallowance of all
                             NAS PI Channeled Claims liquidated under this NAS PI TDP.
                             Distributions hereunder are determined only with consideration to an
                             NAS PI Claim held against the Debtors, and not to any associated NAS PI
                             Channeled Claim against a non-Debtor party. However, any Distribution
                             to an NAS PI Claimant on account of his/her NAS PI Claim is deemed to
                             be a distribution in satisfaction of all NAS PI Channeled Claims held by
                             such NAS PI Claimant with respect to the injuries that are the subject of
                             his/her NAS PI Claim. The Claims Administrator may investigate any
                             such claim, and may request information from any NAS PI Claimant to
                             ensure compliance with the terms outlined in this document. For NAS PI
                             Claimants who execute the required HIPAA forms attached hereto as
                             Exhibit C, the Claims Administrator also has the power to directly obtain
                             such NAS PI Claimant’s medical records.

§ 3.       INITIAL NAS PI CHANNELED CLAIM ALLOWANCE.

For an NAS PI Channeled Claim that is being liquidated pursuant to the streamlined procedures
set forth in this NAS PI TDP to be Allowed, the applicable NAS PI Claimant must, with respect
to that NAS PI Channeled Claim:

           (a)      Hold such NAS PI Channeled Claim against one or more Debtors;




       as a Trustee in the amount of $150,000 per annum, paid annually. Hourly time shall first be billed and applied
       to the annual retainer. Hourly time in excess of the annual retainer shall be paid by the PI Trust. For all time
       expended as Trustee, including attending meetings, preparing for such meetings, and working on authorized
       special projects, the Trustee shall receive the sum of $400 per hour. For all non-working travel time in
       connection with PI Trust business, the Trustee shall receive the sum of $200 per hour. The Trustee shall record
       all hourly time to be charged to the PI Trust. The hourly compensation payable to the Trustee hereunder shall
       be reviewed every year by the Trustee and, after consultation with the members of the PI Trust’s oversight
       committee, appropriately adjusted by the Trustee for changes in the cost of living. The Trustee shall not be
       required to post any bond or other form of surety or security unless otherwise ordered by the Bankruptcy Court.
56
       As the same individual is serving as both Trustee and Claims Administrator, reference to actions by each
       reference Mr. Gentle acting in such respective capacity.


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          (b)      Have already timely67 filed an individual personal injury Proof of Claim against
                   one or more Debtors in the Chapter 11 Cases asserting his/her NAS PI Claim
                   against one or more Debtors;

          (c)      Demonstrate by Competent Evidence (as defined below) a diagnosis by a
                   licensed medical provider of a medical, physical, cognitive or emotional
                   condition resulting from the NAS Child’s intrauterine exposure to opioids or
                   opioid replacement or treatment medication, including but not limited to the
                   condition known as neonatal abstinence syndrome (“NAS”). The diagnosis can
                   be made by any licensed medical professional, specifically including physicians,
                   nurses, physician assistants, mental health counselor or therapist, or professional
                   at a rehabilitation center. Only NAS PI Claims based on injuries or facts
                   occurring prior to the filing of a Proof ofyour NAS PI Claim in the Chapter 11
                   Cases Form are eligible for recovery.

          (d)      Complete, sign and submit the NAS PI Claim Form attached hereto as Exhibit A
                   by the date that is 150 days78 after the NAS PI Claim Form is disseminated89 to
                   NAS PI Claimants;910

          (e)      Complete, sign and submit the two HIPAA consent forms attached hereto as
                   Exhibit C; and




67
      If the Proof of Claim was filed after the General Bar Date but before April 23, 2021, the Claims Administrator
      shall consider the NAS PI Channeled Claim without penalty. If the Proof of Claim was filed on April 23, 2021
      or after, the NAS PI Channeled Claim asserted by such Proof of Claim shall be Disallowed unless (i) the
      Claims Administrator determines, which determination shall be on a case-by-case basis, that good cause exists
      to treat the late-filed NAS PI Channeled Claim as if it were timely filed, or (ii) the Bankruptcy Court so orders.
      Notwithstanding this deadline, in addition to the other requirements herein, up to 274 late-filed Claims filed by
      NAS PI Claimants who appear on the West Virginia NAS Birth Score Program and are represented by the WV
      NAS Ad Hoc Group (“WV NAS Claimants”) and who demonstrate the following to the satisfaction of the
      Claims Administrator shall be considered as if their Claim had been timely filed: (1) that the Claimant is a WV
      NAS Claimant, (2) that a Proof of Claim was filed in the Chapter 11 Cases by or on behalf of such WV NAS
      Claimant prior to April 15, 2021, and (3) a sworn declaration from the parent/guardian/custodian of such WV
      NAS Claimant that such parent/guardian/custodian did not know about the Chapter 11 Cases or Bar Date prior
      to the Bar Date.
78
      Subject to extension in the discretion of the Claims Administrator.

89
      Within 60 days after Effective Date, the NAS PI Claim Form will be made available to NAS PI Claimants
      electronically and, if an NAS PI Claimant is a pro se claimant, also mailed to such NAS PI Claimant in physical
      copy. When disseminated, the NAS PI Claim Form will clearly state the absolute deadline (e.g., “January 30,
      2022”) by which the NAS PI Claim Form must be returned.
910
      If the NAS PI Claimant checks the box on the NAS PI Claim Form indicating his/her election to liquidate
      his/her NAS PI Claim in the tort system rather than under the liquidation provisions of this NAS PI TDP, then

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           (f)      If the NAS PI Channeled Claim concerns the injuries of a decedent, then also
                    execute and submit the appropriate Heirship Declaration attached hereto as
                    Exhibit D.1011

Any NAS PI Claimant who satisfies all of the above requirements (a)-(f) with respect to a given
NAS PI Channeled Claim shall have that NAS PI Channeled Claim Allowed.

If an NAS PI Claimant does not satisfy these requirements with respect to an NAS PI
Channeled Claim that is being liquidated under the liquidation provisions of this NAS PI
TDP, INCLUDING THE REQUIREMENT TO TIMELY SUBMIT HIS/HER NAS PI
CLAIM FORM AND ANY NECESSARY ACCOMPANYING EVIDENCE, then such
NAS PI Channeled Claim shall be Disallowed.

Regardless of whether you elect to “opt out” or to have your claim liquidated under this
NAS PI TDP, you must complete the NAS PI Claim Form as instructed by the deadline,
which is 150 days12 after the NAS PI Claim Form is disseminated. Failure to timely submit
the NAS PI Claim Form (and any required supporting evidence) will result in your claim
being disallowed. In other words, if you do nothing, you will not receive any compensation
from the PI Trust.

§ 4.       COMPETENT EVIDENCE REQUIRED.

           (a)      To receive a recovery on his/her NAS PI Claim, an NAS PI Claimant must
                    submit one of the following forms of evidence (“Competent Evidence”):

                    (i)      A document from a licensed medical provider diagnosing the NAS Child
                             with a medical, physical, cognitive or emotional condition resulting from
                             the NAS Child’s intrauterine exposure to opioids or opioid replacement or
                             treatment medication, including but not limited to the condition known as
                             NAS;

                    (ii)     A document from a licensed medical provider affirming that the NAS
                             Child had Neonatal Opioid Withdrawal Syndrome (“NOWS”); or

                    (iii)    Other medical records evidencing that the NAS Child had an NAS
                             diagnosis, including post-natal treatment for symptoms caused by opioid
                             exposure, symptoms of post-natal withdrawal from opioids, medical
                             scoring for NAS or NOWS which is positive or indicates fetal opioid
                             exposure, a positive toxicology screen of the birth mother or infant for


       his/her NAS PI Claim in the tort system rather than under the liquidation provisions of this NAS PI TDP, then
       such NAS PI Claim will not be liquidated hereunder.
1011
       Exhibit D contains two declaration forms. One applies if the decedent named the person filing the NAS PI
       Claim Form as executor in his/her will; the other applies if the decedent had no will.

12
       Subject to extension in the discretion of the Claims Administrator.

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                            opioids or opioid-weaning drugs, or a maternal diagnosis of opioid use
                            disorder by the birth mother.

           (b)      The Claims Administrator shall have discretion to determine whether these
                    evidentiary requirements have been met, including whether the forms of evidence
                    submitted constitute Competent Evidence. 1113 Any NAS PI Claimant who fails to
                    meet these requirements is not entitled to any payment.

           (c)      The Claims Administrator shall have the discretion to request additional relevant
                    documentation believed to be in the possession of the NAS PI Claimant or his or
                    her authorized agent or lawyer. The Claims Administrator has the sole discretion
                    to Disallow, or to reduce or eliminate Awards on, claims being liquidated
                    hereunder where he concludes that there has been a pattern and practice to
                    circumvent full or truthful disclosure under this § 4.

           (d)      If the Claims Administrator determines that an NAS PI Claim Form or
                    accompanying evidence submitted hereunder is incomplete, he will notify the
                    NAS PI Claimant and afford a 30-day period to cure any such deficiency. Such
                    deficiencies include, but are not limited to, failure to sign or complete the NAS PI
                    Claim Form, failure to execute the required HIPAA authorizations, or failure to
                    submit qualifying evidence. If the deficiency is timely cured to the satisfaction of
                    the Claims Administrator, no deduction or penalty will be assessed to an
                    otherwise qualifying NAS PI Channeled Claim. If the deficiency is not timely
                    cured, or not cured at all, the Claims Administrator, depending on the nature of
                    the deficiency, has the authority to prevent the NAS PI Claimant from receiving
                    all or part of any Award (s)he would otherwise be entitled to on such NAS PI
                    Channeled Claim.

§ 5.       AWARDS.

The money available in the PI Trust NAS Fund for distribution to NAS PI Claimants shall be
divided equally among the Allowed NAS PI Channeled Claims and distributedallocated as equal
gross awards to the Holders of such Allowed NAS PI Channeled Claims. The PI Trust may issue
Distributions on account of Allowed NAS PI Channeled Claims in installments as funds are
received by the PI Trust, or on account of installments pursuant to a court order. Because
Distributionsdistributions to minors are to be held in trust until the minor becomes a legal adult
(unless a competent court orders otherwise), it may take years before you have received all of
your Award.



1113
       Competent Evidence necessary for Allowance of an NAS PI Claim is evidence, in the opinion of the Trustee,
       that establishes that the occurrence of a diagnosis of NAS with respect to an NAS PI Claimant is more likely
       true than not true, i.e. a probability standard. Competent Evidence requires more than a mere possibility or
       scintilla of truth, but such standard does not require proof that rises to the level of clear and convincing
       evidence. However, notwithstanding anything to the contrary in this NAS PI TDP, proof of a prescription of an
       opioid product shall not be required.

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Your Distribution amount under the NAS PI TDP is a gross numberaward that will be further
reduced to pay the fees and expenses of the PI Trust, and where applicable the fees and expenses
of your own lawyer(s). Your Distribution may also be subject to further reduction under the Lien
Resolution Program Agreement (the “LRP Agreement”), if any, and amounts prepaid to the
United States, if any, to settle claims or liens of one or more federal government health
insurance programs against you or your Distribution on account of your NAS PI Channeled
Claims, if any.applicable PI Trust Deductions and Holdbacks. In addition, your award may be
subject to claims by certain state or tribal healthcare programs that are not part of the LRP
Agreement.

Although the Plan channels claims for all types of personal injury damages to the PI Trust,
including both economic and non-economic or general damages, Awards issued hereunder
compensate only general pain and suffering on account of the NAS Child’s injuries. Because of
limited funds, economic damages and punitive damages are not compensable.

Pursuant to § 5.8(c) of the Plan, 5% of each Distribution made by the PI Trust will be paid to the
Common Benefit Escrow and then, upon its establishment, directly to the Common Benefit
Fund, on a periodic schedule. To the extent a Holder of a NAS PI Channeled Claim has retained,
or is a member of a group of Holders that has retained, separate counsel through an individual
contingency fee arrangement, the amount payable from such Holder’s Distributions under this §
5 shall be deducted from any contingency fees and/or costs, in accordance with the Common
Benefit Fund, owed to such separate counsel. If the order establishing the Common Benefit
Fund provides for the reimbursement of attorneys’ costs, a portion of the Common Benefit Fund
assessment (up to 2% of the applicable Distributions) may be credited to the reimbursement of
such counsel’s actual costs, with the remainder of such assessment credited against and reducing
such counsel’s contingency fees. Except as expressly set forth in Section 5.8 of the Plan, nothing
in the Plan shall impair or otherwise affect any contingency fee contract between any Holder of
an NAS PI Channeled Claim (or any group of Holders of NAS PI Channeled Claims) and such
Holder’s (or group’s) counsel.

§ 6.   BAR FOR PRIOR SETTLED CASES.

An NAS PI Claimant whose NAS PI Channeled Claim was reduced prior to the Petition Date to
a settlement, judgment, or award against a Debtor shall be barred from receiving any Award
under this NAS PI TDP on account of such NAS PI Channeled Claim and shall not recover from
the PI Trust on account of such NAS PI Channeled Claim.

§ 7.   SPECIAL PROCEDURES IN RESPECT OF MINORS.

For NAS PI Claimants who are minors under applicable law, the special procedures set forth in
Exhibit E hereto also apply and shall supplement the procedures set forth in this NAS PI TDP.

§ 8.   FAIRNESS AUDITS AND FRAUD PREVENTION.

The Claims Administrator will use appropriate technology and strategies to prevent paying
fraudulent claims while making the claims process as simple as possible. Reasonable steps will
be taken to mitigate fraud so as to ensure a fair and secure claims review and payment process,


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while not falsely flagging legitimate NAS PI Channeled Claims. Among the techniques will be
technology to prevent claims submitted by BOTS, unique NAS PI Claimant identification
numbers, and strategic NAS PI Claim Form fields. Periodic fairness audits will be conducted on
samples of NAS PI Channeled Claims to ensure that they are being evaluated and paid fairly.




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                                    EXHIBIT A

                       SAMPLE CLAIM FORM FOR
        THE INDIVIDUAL PURDUE PHARMA LP PI TRUST DISTRIBUTION
                    PROCEDURE FOR NAS PI CLAIMS
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                           PURDUE P H A R M A P I T D P
                               N A S CLAIM FORM
                             INS T R U C T I O N S PAGE


THIS IS A SAMPLE CLAIM FORM AND IS SUBJECT TO CHANGE. DO NOT COMPLETE THE FORM
AT THIS TIME. A BLANK COPY OF THE FINAL FORM WILL BE AVAILABLE ONLINE AND BY
MAIL FOR YOU TO COMPLETE AT THE APPROPRIATE TIME AFTER THE PURDUE PLAN OF
REORGANIZATION HAS BEEN APPROVED AND GONE EFFECTIVE.

      This Purdue Bankruptcy Claim Form (the “Claim Form”) must be completed for each NAS PI Claimant
seeking to recover money from the Purdue Personal Injury Trust (the “PI Trust”) on its NAS PI Channeled
Claims.1 IF YOU DO NOT TIMELY RETURN THIS CLAIM FORM AS INSTRUCTED, YOU WILL BE
DEEMED TO HAVE CONSENTED TO HAVE YOUR NAS PI CHANNELED CLAIMS LIQUIDATED
UNDER THE NAS PI TDP, AND YOUR CLAIMS WILL BE DISALLOWED UNDER THE NAS PI TDP
FOR YOUR FAILURE TO TIMELY RESPOND.
      If you represent the interests of an NAS Child and are seeking to recover money from the Purdue
Personal Injury Trust (The “PI Trust”) on account of an that NAS Child’s NAS PI Channeled Claim, you must

      timely complete this Claim Form (the “Claim Form”) and return the form to __________. If you do not
complete the form, you will NOT qualify to receive funds on behalf of the child you represent.

       If you believe that the NAS Child you represent holds multiple NAS PI Claims against the Debtors on
account of multiple injuries, you should still submit only one Claim Form. One Claim Form submitted for a NAS
PI Claim shall be deemed to be a Claim Form in respect of that NAS PI Claim and also any NAS PI Channeled
Claims against a Released Person or Shareholder Released Person that are associated with that NAS PI Claim.

        If you represent the interests of more than one NAS Child, you must file a Claim Form on behalf of
each individual NAS Child. YOU CANNOT file one Claim Form on behalf of multiple children.

       Please follow the instructions of each section carefully to ensure that your Claim Form is submitted
correctly. Except as otherwise indicated, all words shall be given their ordinary, dictionary meaning. Submitting
this Claim Form does not guarantee that you will receive payment from the PI Trust. Whether or not you receive
payment depends on whether you make the additional required submissions, as set forth in the NAS PI TDP,
and whether or not your claim meets the eligibility requirements set forth in the NAS PI TDP.

        This Claim Form allows you to choose to “opt out” of the streamlined, expedited NAS PI TDP liquidation
process with respect to any NAS PI Claim against one or more of the Debtors, and instead pursue that NAS PI
Claim in the tort system by filing a lawsuit against the PI Trust at your own expense. However, you may litigate in
court only with respect to a NAS PI Claim held against one or more Debtors, and may not litigate any other NAS
PI Channeled Claims. If you select the “opt out” option, you will not be eligible to receive any distribution under
the streamlined liquidation procedures of the NAS PI TDP. Furthermore, you will not be allowed to opt back in to
the liquidation provisions of the NAS PI TDP if your lawsuit is unsuccessful in the tort system. In other words, if
you lose your lawsuit, you cannot return to the NAS PI Trust and ask for money. And importantly, if you do
obtain a judgment in a court against the PI Trust, that award will be subject to reduction pursuant to the
1
 Capitalized terms used but not defined herein have the meanings ascribed to them in the Non-NAS PI TDP or, if not defined therein,
then the meanings ascribed to them in the Chapter 11 Plan.


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“opt out” procedures set forth in Exhibit B to the NAS PI TDP. See the procedures set forth in Exhibit B to the
NAS PI TDP for more detail. YOU MAY ONLY OPT OUT BY CHECKING THE “OPT OUT” BOX AND
TIMELY RETURNING THIS CLAIM FORM. FAILURE TO RESPOND DOES NOT CONSTITUTE
OPTING OUT.




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       For those who do not “opt out:” If your claim is Allowed by the Claims Administrator of the PI Trust,
your claim will be liquidated and paid according to the provisions of the NAS PI TDP. If your claim is
Disallowed
 1
   Capitalized terms used but not defined herein have the meanings ascribed to them in the Non-NAS PI TDP or, if not defined therein,
then the meanings ascribed to them in the Chapter 11 Plan.




       By submitting this Claim Form and choosing to liquidate your NAS PI Claim under the NAS PI TDP, you
are deemed to consent to the Lien Resolution Program, under which certain health insurance companies, known as
“Third-Party Payors” or “TPPs,” have agreed to resolve their claims against you and/or your recoveries under the

is attached as Exhibit [ ] to the [ ] Plan Supplement.

       Instructions for Submission: You may complete and submit this Claim Form either online, at ,
      or by mailing back the completed Claim Form to




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          by the Claims Administrator, you will not receive a distribution from the PI Trust. All claimants
 whose NAS PI Channeled Claims are Allowed by the Claims Administrator shall receive an equal
 distribution from the PI Trust NAS Fund, subject to the deductions described in the NAS PI TDP.

       By submitting this Claim Form and choosing to liquidate your NAS PI Claim under the NAS PI TDP,
you are deemed to consent to the Lien Resolution Program, under which certain health insurance companies,
known as “Third-Party Payors” or “TPPs,” have agreed to resolve their claims against you and/or your
recoveries under the NAS PI TDP for reduced amounts or, in some cases, by waiving their claims altogether.
The LRP Agreement is attached as Exhibit [ ] to the [ ] Plan Supplement.
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               PURDUE P H A R M A P I T D P N
                   A S CLAIM FORM
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PART ONE: PERSONAL INFORMATION OF NAS PI CLAIMANT AND HIS/HER
REPRESENTATIVE

What is the Claim Number assigned to your claim by Prime Clerk?


           Section 1.A: Fill out the information of the NAS Child below:

NAS Child’s Name:            ______


NAS Child’s Date of                                               ______

NAS Child’s Address:                                              ______
NAS Child’s Name:                                        _          _      _      _
                                                         _          _
NAS Child’s Date of Birth:
                                                         _          _      _      _
NAS Child’s Address:


Section 1.B: Fill out your own information below:

Your Name:                             ____                                                  ___
Your Date of Birth:                    ____                                                  ___
Your Address:                          ____                                                  ___
Your Social Security Number:           ____                                                  ___

Your Phone Number:                     ____                                                  ___

State whether you are the “natural
parent,” “legal guardian,” or “other
                                       ____                                                 ___
                                                         _          _

                                                         _          _      _      _




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_        _

N A S    C h i l d ’ s     S o c i a l     S e c u r i t y   N u m b e r :    _ _ _ _ _ _




Section 1.B: Fill out your own information below:

                                   ____                                                     ___

                                   ____                                                     ___

Your Address:                      ____                                                     ___

Your Social Security Number:      ____                                                      ___

Your Phone Number:                 ____                                                     ___



                                   ____                                                 ___
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PART TWO: “OPT OUT” OF LIQUIDATION UNDER THE NAS PI TDP PROCEDURE

If you would like to forfeit all rights to have the NAS PI Claimant’s NAS PI Channeled Claims liquidated under
the NAS PI TDP and instead pursue the NAS PI Claimant’s NAS PI Claim by filing a lawsuit against the PI
Trust in court at your own expense, check the following box and provide the additional information sought in
this PART TWO. WARNING: Mark the box in this paragraph of PART TWO only if you elect to “opt out”
of the NAS PI TDP liquidation process and instead pursue your NAS PI Claim in civil court through the tort
system by filing a lawsuit in court at your own expense.


      I have checked this box to opt out of the liquidation procedures of the NAS PI TDP and the
      PI Trust NAS Fund.



PART THREE: MEDICAL PROVIDER INFORMATION (skip this section if you elected to “opt out”)

Section 3.A: This section concerns licensed medical providers who have diagnosed the NAS Child with
any medical, physical, cognitive or emotional condition resulting from his/her intrauterine exposure to
opioids or opioid replacement or treatment medication(s). The diagnoses may include, but are not
limited to, the condition known as neonatal abstinence syndrome (“NAS”). Fill out and provide the




Section 3.B: Even if you do not know the information sought in Section 3.A, please include with your
submission of this Claim Form Competent Evidence that a licensed medical provider has diagnosed the
NAS PI Claimant with any medical, physical, cognitive or emotional condition resulting from the
Claimant’s intrauterine exposure to opioids or opioid replacement or treatment medication(s). The
diagnoses may include, but are not limited to, the condition known as neonatal abstinence syndrome
(“NAS”). The diagnosis can be made by any medical professional, specifically including physicians,
nurses, physician assistants, mental health counselors or therapists, or professionals at a rehabilitation
center. Evidence can include, among other things, medical records evidencing that the NAS Child had a
NAS diagnosis, post-natal treatment for symptoms caused by opioid exposure, symptoms of post-natal
withdrawal from opioids, medical scoring for NAS or NOWS which is positive or indicates fetal opioid
exposure, a positive toxicology screen of the birth mother or infant for opioids or opioid-weaning drugs,




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following information, if known:

 Name of Licensed           Address                     City           Zip     Date of
 Medical Provider                                              State           Diagnosis




Section 3.B: Even if you do not know the information sought in Section 3.A, please include with your
submission of this Claim Form Competent Evidence that a licensed medical provider has diagnosed the
NAS PI Claimant with any medical, physical, cognitive or emotional condition resulting from the
Claimant’s intrauterine exposure to opioids or opioid replacement or treatment medication(s). The
diagnoses may include, but are not limited to, the condition known as neonatal abstinence syndrome
(“NAS”). The diagnosis can be made by any medical professional, specifically including physicians,
nurses, physician assistants, mental health counselors or therapists, or professionals at a rehabilitation
center. Evidence can include, among other things, medical records evidencing that the NAS Child had a
NAS diagnosis, post-natal treatment for symptoms caused by opioid exposure, symptoms of post-natal
withdrawal from opioids, medical scoring for NAS or NOWS which is positive or indicates fetal opioid
exposure, a positive toxicology screen of the birth mother or infant for opioids or opioid-weaning drugs,




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PART FOUR: MEDICAL LIENS (skip this section if you elected to “opt out”)

Section 4.A: Did any insurance company pay for medical treatment for the NAS Child’s opioid-related
injuries?

Yes:
No:

Section 4.B: In the last 20 years, was the NAS Child eligible for coverage by any of the following, or did
any of the following actually pay for his/her opioid-related health costs? Respond by writing “Yes” or
“No” next to each insurance provider name, and provide the requested information as to each. If any
insurance carrier who provided coverage to the opioid user is not identified, please fill in that carrier’s
information at the bottom of the chart.

       Type of      Yes        Street Address          Phone          Policy          Policy       Dates of
      Insurance     /                                 Number         Number (if       Holder       Coverage
                    No                                                 any)

 Medicare
 Medicaid
 Tricare
 VA
 Champus
 Private (Name
 Below):




PART FIVE: SIGNATURE (You must complete this Part Five regardless of your elections above)

Please fill out and sign this section when you have completed this Claim Form.

NAS Child’s Name:

NAS Child’s E-mail (if any):

NAS Child’s Phone Number (if any):

Your Name:

Your E-mail:

Your Phone Number:


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I am including the evidence requested in Section 3.B above in my submission of this form:




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I declare under penalty of perjury that the representations made on this Claim Form are true and correct to the
best of my knowledge.
                                                                   Signature of NAS PI Claimant or individual
                                                                                                                  a
                                                                                                                  c
                                                                                                                  t
                                                                   ing on behalf of the NAS PI Claimant




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                                                   EXHIBIT B
        PROCEDURES FOR NAS PI CLAIMANTS WHO OPT TO LIQUIDATE
     THEIR NAS PI CLAIMS IN THE TORT SYSTEM RATHER THAN UNDER THE
    INDIVIDUAL PURDUE PHARMA LP NAS TRUST DISTRIBUTION PROCEDURE


The following procedures shall apply in the case of an NAS PI Claimant 1 who elects, subject to
the terms hereof, to liquidate his or her NAS PI Claim by commencing a lawsuit in the tort
system after so timely indicating on his or her NAS PI Claim Form. By so electing, such NAS PI
Claimant forfeits any right to have his or her NAS PI Claim liquidated under the liquidation
provisions of the NAS PI TDP, and instead shall have the right to liquidate his or her NAS PI
Claim exclusively in the tort system. Only claims that meet the definition of “NAS PI Claim”
under the Plan may be litigated in the tort system. The adjudication of an NAS PI Claim in the
tort system shall be deemed to be an adjudication of that NAS PI Claim and any associated NAS
PI Channeled Claims of the NAS PI Claimant regarding the same injuries that are the subject of
his or her NAS PI Claim. Any Distribution from the PI Trust on a Final Judgment (as defined
below) in respect of such NAS PI Claim, if any, shall be deemed to be a Distribution in
satisfaction and conclusive resolution of such NAS PI Claim and such associated NAS PI
Channeled Claims.

§ 1.    SUITS IN THE TORT SYSTEM.
If an NAS PI Claimant timely filed a proof of claim in the Chapter 11 Cases asserting his or her
NAS PI Claim, then he or she may elect to liquidate such NAS PI Claim in the tort system rather
than under the NAS PI TDP by checking the box so indicating on his or her NAS PI Claim Form,
which NAS PI Claim Form must be filed by the date that is one hundred and fifty (150) days 2
after the applicable NAS PI Claim Form is disseminated to him/her.3 If the NAS PI Claimant
makes such election, then the NAS PI Claimant may file a lawsuit regarding only his or her NAS
PI Claim (and no other claims) against only the PI Trust (and including no other parties as
defendants) solely in the United States District Court for the Southern District of New York (the
“SDNY District Court”),4 unless such court orders pursuant to 28 USC § 157(b)(5) that such suit




1
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the NAS PI
    TDP or, if not defined in the NAS PI TDP, the meanings ascribed to such terms in the Plan.
2
    Within sixty (60) days after Effective Date, the NAS PI Claim Form will be made available to NAS PI
    Claimants electronically and, if the NAS PI Claimant is a pro se claimant, also mailed to such NAS PI Claimant
    in physical copy. When disseminated, each NAS PI Claim Form will clearly state the absolute deadline (e.g.,
    “January 30, 2022”) by which the NAS PI Claim Form must be returned.
3
    The filing of an NAS PI Claim Form indicating that an NAS PI Claimant has elected to liquidate his or her NAS
    PI Claim in the tort system shall have no effect on any federal or state statute of limitation or repose applicable
    to the claims asserted by such NAS PI Claimant’s action.
4
    The Debtors shall seek an order from the SDNY District Court requiring that lawsuits filed by Holders of PI
    Claims who elect, subject to the terms hereof, to liquidate their PI Claims by commencing separate lawsuits in
    the tort system be filed and tried solely in the SDNY District Court pursuant to 28 U.S.C. § 157(b)(5).
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may be filed and tried in the United States District Court for the district in which the NAS PI
Claim arose.

Any such lawsuit must be filed by the NAS PI Claimant in an individual capacity and not as a
member or representative of a class, and no such lawsuit may be consolidated with the lawsuit of
any other plaintiff by, or on the motion of, any plaintiff. 5 All defenses (including, with respect to
the PI Trust, all defenses which could have been asserted by the Debtors, except as otherwise
provided in the Plan) shall be available to both sides at trial. 6

Subject to the PI Trust’s receipt of an NAS PI Claim Form so indicating that an NAS PI
Claimant has elected to file a lawsuit as set forth above in the tort system, NewCo and the Plan
Administration Trust will establish and maintain, as necessary, a document reserve (the “PI
Document Reserve”) containing such materials as are necessary to such lawsuit as discovery
material. Any such NAS PI Claimant will be provided access to the PI Document Reserve
subject to agreeing to (i) a protective order acceptable to the PI Trustee, the Plan Administration
Trustee, and NewCo, and (ii) to the extent that the materials deposited into the PI Document
Reserve by the PI Trust include any documents produced by the Shareholder Released Parties
that are not included in the Public Document Repository in accordance with the Plan and the
Shareholder Settlement Agreement (the “Shareholder Released Party Documents”), the
Protective Order, which shall exclusively govern the terms of disclosure of the Shareholder
Released Party Documents. Any such NAS PI Claimant who propounds on the PI Trust, NewCo,
the Plan Administration Trustee, any other Creditor Trust, or any Debtor a request for additional
document or testimonial discovery must in such request (i) represent that such NAS PI Claimant
has conducted a reasonable search of the PI Document Reserve and, if it has been established,
the Public Document Repository, and believes, based on such reasonable search, that the
documents, information, or testimony it seeks is not available in either the PI Document Reserve
or the Public Document Repository, and (ii) state and explain the basis for the NAS PI
Claimant’s good faith belief that the additional discovery he or she seeks is relevant to such
lawsuit. The PI Trust shall not be liable for any costs incurred by parties other than the PI Trust
in connection with third-party discovery propounded by any party other than the PI Trust. 7

If an NAS PI Claimant obtains a judgment on his or her NAS PI Claim in the tort system and
such judgment becomes a final order (each, a “Final Judgment”), such Final Judgment shall be
deemed “Allowed” for purposes under the Plan and shall be payable by the PI Trust, subject to
the limitation on damages provision set forth below, as well as the applicable Payment

5
    The trustee of the PI Trust (the “PI Trustee”) shall be empowered (i) to bring one or more consolidated actions
    against multiple Holders of PI Claims who elect, subject to the terms hereof, to liquidate their PI Claims by
    commencing separate lawsuits in the tort system and (ii) to seek to consolidate multiple lawsuits commenced by
    individual Holders of PI Claims who elect, subject to the terms hereof, to liquidate their PI Claims by
    commencing separate lawsuits in the tort system.
6
    Among other things, the PI Trust shall be empowered to assert that the claim that is the subject of an NAS PI
    Claimant’s lawsuit is not a “NAS PI Claim” within the meaning of the Plan.
7
    In order to minimize costs incurred by the PI Trust in connection with third-party discovery, the PI Trustee shall
    be empowered to seek to consolidate discovery propounded by Holders of PI Claims or the PI Trust in multiple
    lawsuits commenced by individual Holders of PI Claims who elect, subject to the terms hereof, to liquidate their
    PI Claims by commencing separate lawsuits in the tort system.


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Percentage and Maximum Value (each as defined below), as provided in Section 6 below,
deductions as set forth in Section 6 below, and the resolution of healthcare liens, as provided in
Section 7 below.

§ 2.   LIMITATION ON DAMAGES AND ATTORNEYS’ FEES.
Notwithstanding their availability in the tort system, no multiple, exemplary, statutory enhanced
and/or punitive damages (i.e., damages other than compensatory damages), and no interest,
attorneys’ fees or costs (including statutory attorneys’ fees and costs) shall be payable, with
respect to any NAS PI Claim litigated against the PI Trust in the tort system.

§ 3.   NAS MAXIMUM VALUE.
Payment on a Final Judgment for an NAS Child shall not exceed $21,000 (the “NAS Maximum
Value”) which is estimated to be three times the maximum value that will be distributed under
the NAS PI TDP for a given NAS PI Claim.

§ 4.   NAS PAYMENT PERCENTAGE.
A Final Judgment on an NAS PI Claim, minus any multiple, exemplary, statutory enhanced
and/or punitive damages (i.e., damages other than compensatory damages), interest, attorneys’
fees or costs (including statutory attorneys’ fees and costs) that may have been awarded as part of
such Final Judgment, shall be subject to reduction by the same percentage that NAS PI Claims
liquidated under the NAS PI TDP are reduced prior to payment. In other words, an NAS PI
Claimant who elects to liquidate his or her NAS PI Claim in the tort system shall not be entitled
to receive more than his or her pro-rata share of the value available for distribution to all NAS PI
Channeled Claims entitled to a recovery pursuant to the NAS PI TDP. In the view of the NAS
Committee, the estimated awards for NAS PI Claims liquidated under the NAS PI TDP represent
an estimated pro-rata percentage recovery by NAS PI Claimants holding Allowed NAS PI
Channeled Claims of approximately [●]% (such pro-rata percentage recovery as may be altered
over time, the “NAS Payment Percentage”). Accordingly, the initial NAS Payment Percentage is
[●]%.

No holder of an NAS PI Claim who elects to liquidate his or her NAS PI Claim in the tort system
shall receive a payment that exceeds the liquidated value of his or her NAS PI Claim multiplied
by the NAS Payment Percentage in effect at the time of payment (such value so reduced, the
“NAS Percentage-Reduced Claim”); provided, however, that if there is a reduction in the NAS
Payment Percentage, the PI Trustee, in his or her sole discretion, may cause the NAS PI Trust
Fund to pay an NAS PI Claim based on the NAS Payment Percentage that was in effect prior to
the reduction if the judgment in respect of such NAS PI Claim became a Final Judgment prior to
the date the PI Trustee proposes the new NAS Payment Percentage to the Oversight Committee
and the processing of such NAS PI Claim was unreasonably delayed due to circumstances
beyond the control of the NAS PI Claimant or the NAS PI Claimant’s Counsel (as applicable).

§ 5.   ADJUSTMENT OF THE NAS PAYMENT PERCENTAGE.
The NAS Payment Percentage shall be subject to change if the PI Trustee (with the assistance of
the Claims Administrator), with the consent of the PI Trust’s oversight committee (the
“Oversight Committee”), determines that an adjustment is required. No less frequently than once

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every three (3) years, commencing with the date that is three (3) years after the Effective Date of
the Plan, the PI Trustee (with the assistance of the Claims Administrator) shall reconsider the
then-applicable NAS Payment Percentage to assure that it is based on accurate, current
information and may, after such reconsideration, change the NAS Payment Percentage if
necessary with the consent of the Oversight Committee. The PI Trustee shall reconsider the then-
applicable NAS Payment Percentage at shorter intervals if he or she deems such reconsideration
to be appropriate or if requested to do so by the Oversight Committee.

The PI Trustee shall base his or her determination of the NAS Payment Percentage on current
estimates of the number of NAS PI Channeled Claims, the value of the assets of the PI Trust
NAS Fund available for the payment of Allowed NAS PI Channeled Claims pursuant to the NAS
PI TDP and amounts due and estimated to become due pursuant to the NAS PI TDP in respect to
Final Judgments obtained by NAS PI Claimants who elect to liquidate their NAS PI Claims in
the tort system, all anticipated administrative and legal expenses, and any other material matters
that are reasonably likely to affect the sufficiency of funds to pay a comparable percentage of
(i) full value to all Holders of Allowed NAS PI Channeled Claims and (ii) the NAS Maximum
Value to NAS PI Claimants who elect to liquidate their NAS PI Claims in the tort system. When
making these determinations, the PI Trustee (with the assistance of the Claims Administrator)
shall exercise common sense and flexibly evaluate all relevant factors.

If a redetermination of the NAS Payment Percentage has been proposed in writing to the
Oversight Committee by the PI Trustee, but such redetermination of the NAS Payment
Percentage has not yet been adopted by the Oversight Committee, a -NAS PI Claimant that has
obtained a Final Judgment shall receive the lower of the then-current NAS Payment Percentage
and the proposed NAS Payment Percentage. However, if the proposed NAS Payment Percentage
is the lower amount but is not subsequently adopted by the Oversight Committee, the NAS PI
Claimant shall thereafter receive the difference between the lower proposed amount and the
higher current amount. Conversely, if the proposed NAS Payment Percentage is the higher
amount and subsequent adopted, the NAS PI Claimant who has obtained a Final Judgment shall
thereafter receive the difference between the current amount and the higher adopted amount.

At least thirty (30) days prior to proposing in writing to the Oversight Committee a change in the
NAS Payment Percentage, the PI Trustee shall post to the PI Trust’s website a notice indicating
the PI Trustee is reconsidering the NAS Payment Percentage.

If the PI Trustee (with the assistance of the Claims Administrator), with the consent of the
Oversight Committee, makes a determination to increase the NAS Payment Percentage due to a
material change in estimates of the future assets and/or liabilities of the PI Trust NAS Fund, the
Claims Administrator shall make supplemental payments to all NAS PI Claimants who obtained
previously a Final Judgment and received payments based on a lower NAS Payment Percentage.
The amount of any such supplemental payment shall be the liquidated value of the NAS PI
Channeled Claim in question multiplied by the newly-adjusted NAS Payment Percentage, less all
amounts paid previously to the NAS PI Claimant with respect of such NAS PI Channeled Claim.

The PI Trust’s obligation to make a supplemental payment to an NAS PI Claimant shall be
suspended in the event the payment in question would be less than $100.00, and the amount of
the suspended payment shall be added to the amount of any prior supplemental


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payment/payments that was/were also suspended because it/they would have been less than
$100.00. However, the PI Trust’s obligation shall resume, and the PI Trust shall pay any such
aggregate supplemental payments due to the NAS PI Claimant that obtained a Final Judgment at
such time that the total exceeds $100.00.

§ 6.     PAYMENT OF JUDGMENTS FOR MONEY DAMAGES.
An NAS PI Claimant who obtains a Final Judgment shall be entitled to receive from the PI Trust
NAS Fund, in full and final satisfaction of that Final Judgment, a gross amount (subject to
deductions set forth next) equal to the lesser of (i) the NAS Percentage-Reduced Claim and
(ii) the NAS Maximum Value, in each case as in effect on the date of the pending payment, as
described next (the “NAS Gross Amount”). TheA NAS PI Claimant’s NAS Gross Amount shall
be subject to the following deductions for the NAS PI Claimant’s ratableand holdbacks: (A) its
pro rata share of the fees andoperating expenses of the PI Trust, as well as; (B) amounts
necessary to settle liens held by private insurance companies against such amount, if any;
(C) amounts prepaid to the United States under the Plan to settle claims or liens of one or more
federal government health insurance programs against such NAS PI Claimant or any Distribution
to such NAS PI Claimant on account of its NAS PI Channeled Claims.United States-PI Claimant
Medical Expense Claim Settlement to settle liens of the federal healthcare programs like
Medicare, Tricare, VA, or Medicaid against such amount, if any; (D) its pro rata share of
the compensation, costs and fees of professionals that represented or advised the Ad Hoc Group
of Individual Victims and the NAS Committee in connection with the Chapter 11 Cases, subject
to Section 5.8(g) of the Plan and the Trust Agreement, and (E) the common benefit assessment
required under Section 5.8(c) of the Plan, and the fees and costs of such NAS PI Claimant’s
individual attorney(s) in the Chapter 11 Cases, if any, reduced by the common benefit
assessment in accordance with Section 5.8(c) of the Plan.8 The resulting net amount shall be
paid to the NAS PI Claimant in the form of an initial payment not to exceed $3,500.00 and
five (5) additional equal installments in years six (6) through ten (10) following the year of the
initial payment; subject, however, to the prior satisfaction of healthcare liens as set forth in
Section 7 below. In no event shall interest be paid in respect of any judgment obtained in the tort
system.

None of the NAS Percentage-Reduced Claim, the NAS Maximum Value, the NAS Gross
Amount, the deductions therefrom, or the payment schedule is subject to any appeal or
reconsideration.

§ 7.     RESOLUTION OF HEALTH CARE LIENS.
The PI Trust shall not issue any payment in respect of a Final Judgment until the Claims
Administrator has received proof to his or her reasonable satisfaction that any private or
governmental health care liens or similar claims against such Final Judgment have been satisfied
or will be satisfied out of the recovery.

§ 8.     APPLICABILITY OF SPECIAL PROCEDURES FOR MINORS AND HEIRS.


8
  Your individual attorney, rather than the PI Trust, will be responsible for deducting his/her fees and expenses from
the award.

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 The special procedures set forth in Exhibit E to the NAS PI TDP shall apply to all NAS PI
Claimants who are minors under applicable law and elect, subject to the terms hereof, to
liquidate their NAS PI Claims by commencing a lawsuit in the tort system. Anyone seeking a
Distribution from the PI Trust in their capacity as an heir must execute and submit the applicable
Heirship Declaration attached to the NAS PI TDP as Exhibit D. 89




89
     Exhibit D contains two declaration forms. One applies if the NAS-Decedent named the NAS PI Claimant as
     executor in his/her will; the other applies if the NAS Decedent had no will.


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